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            EXHIBIT A
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                   IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                   :
CARLOS VEGA                        :
and                                :
JOSEPH WHITEHEAD,                  :       CIVIL ACTION
           Plaintiffs,             :
     v.                            :       No. 2:19-cv-04039
                                   :
CITY OF PHILADELPHIA AND           :
LAWRENCE KRASNER,                  :
           Defendants.             :
                                   :


    SUPPLEMENTAL BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR
SUMMARY JUDGMENT ON PLAINTIFF CARLOS VEGA’S AGE DISCRIMINATION
  CLAIMS BASED ON MR. VEGA’S STATEMENTS IN A MAY 14, 2021 VERIFIED
                     STATE COURT COMPLAINT



              On May 14, 2021, Plaintiff Carlos Vega filed a verified complaint in the

Philadelphia Court of Common Pleas: Carlos Vega v. Shaun King, Real Justice PAC and

Lawrence Krasner for DA (May Term 2021, No. 00305). Defendants respectfully request that

the Court take judicial notice of paragraphs 35-39 and 45-47 of the May 14, 2021 Philadelphia

Court of Common Pleas complaint and Mr. Vega’s verification, and consider Mr. Vega’s

admissions in ruling on Defendants’ motion for summary judgment on Mr. Vega’s age

discrimination claims in this case. Mr. Vega alleges in the Philadelphia Court of Common Pleas

complaint, under penalty of perjury, that Mr. Krasner “has never gotten over being handily

beaten by Mr. Vega” in the Scott/Mohammed trial, that Mr. Krasner “swore to get revenge”

against Mr. Vega, and that Mr. Krasner’s “long-standing malice and resentment of Mr. Vega”

caused Mr. Krasner to terminate Mr. Vega’s employment in the first week after Mr. Krasner

became District Attorney. Mr. Vega’s verified allegations preclude any possibility that Mr.

Vega’s age was the “but-for” reason for the termination of his employment.


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               At any stage in a proceeding, a federal court may take judicial notice of facts that

“can be accurately and readily determined from sources whose accuracy cannot reasonably be

questioned.” Fed. R. Ev. 201(b)(2); see Fed. R. Ev. 201(d). A court must take judicial notice if

a litigant requests that it do so and provides it with the “necessary information.” Fed. R. Ev.

201(c)(2).

               The contents of a court’s dockets are reliable public records of which a court may

take judicial notice in another case. See, e.g., Orabi v. Attorney General, 738 F.3d 535, 537 n.1

(3d Cir. 2014) (“We may take judicial notice of the contents of another Court’s docket.”). Here,

Defendants request that the Court take notice of the May 14, 2021 Philadelphia Court of

Common Pleas complaint. A copy of the verified complaint is attached as Exhibit 1.

               Specifically, Defendants request that the Court take judicial notice of the

following statements made by Mr. Vega under penalty of perjury:

               Para. 35: “In December 2016, less than two months prior to Mr. Krasner’s
               announcement of his candidacy for District Attorney, he defended a cold-blooded
               killer, Ibrahim Muhammed, in a three-week murder trial.”

               Para. 36: “Ibrahim Muhammed and his co-conspirator, Nalik Scott, were charged
               with a triple murder inside a West Philadelphia Bodega.” (Footnote omitted).

               Para. 37: “Plaintiff Carlos Vega was one of two prosecutors assigned by the
               Philadelphia District Attorney’s Office to the Muhammed/Scott murder trial.”

               Para. 38: “At the conclusion of a contentious three-week trial, the jury deliberated
               for approximately ninety minutes then returned a verdict of guilty on all charges
               against defendants Muhammed and Scott.”

               Para. 39: “Krasner has never gotten over being handily beaten by Mr. Vega,
               and swore to get revenge against him.” (Emphasis added).

               Para. 45: “On January 5, 2018 he was sworn in as the top law enforcement officer
               in the City of Philadelphia.”

               Para. 46: “On January 5, 2018, at the end of his first week as the Philadelphia
               [District Attorney], DA Krasner fired thirty-one prosecutors, among them
               Plaintiff, Carlos Vega.”


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               Para. 47: “Krasner’s long-standing malice and resent[ment] of Mr. Vega
               resulted in his illegal termination of Mr. Vega, who was forced to file suit
               against Krasner. That legal action was brought pursuant to the Age
               Discrimination in Employment Act of 1067, 20 U.S.C. §621 et seq. and the
               Pennsylvania Human Relations Act, 43 P.S. § 951 et seq.” (Emphasis added).

               Verification: “I am the Plaintiff in this action, and I verify that the
               statements made in the foregoing Complaint are true and correct to the best
               of my knowledge, information and belief. I also understand that the
               statements made herein are subject to penalties of 18 Pa.C.S.A. § 4904
               relating to unsworn falsification to authorities. /s/ Carlos Vega, Esquire.”
               (Emphasis added).

               Mr. Vega’s verified statements are an admission that the contentious

Scott/Mohammed trial “resulted in” his discharge. As set forth in Defendants’ summary

judgment papers, and as now admitted by Mr. Vega under oath, Mr. Krasner’s negative

experience with Mr. Vega in the Scott/Muhammed case was the primary reason for Mr. Krasner’s

decision to terminate Mr. Vega’s employment. See SMF ¶¶ 19-23. On this record, Mr. Vega

cannot show, as a matter of law, that age was the “but for” reason for his discharge. Gross v.

FBL Fin. Servs., Inc., 557 U.S. 167, 177-78 (2009) (a plaintiff alleging that he was subjected to

adverse employment action in violation of the ADEA must show that his “age was the ‘but-for’

cause of the employer's adverse action.”); see, e.g., Palmer v. Britton Indus., 662 F. App'x 147,

151-53 (3d Cir. 2016) (granting employer’s motion for summary judgment where the plaintiff

admitted that the employer had multiple reasons for firing him and plaintiff’s proffered evidence

did not support a plausible inference that the employer’s purported age bias was the

“determinative” factor in that decision). Accordingly, because Mr. Vega admits that age was

not the ‘but-for’ reason that Defendants terminated his employment, his age discrimination

claims cannot survive summary judgment.




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                                       CONCLUSION

              Defendants respectfully request that the Court take judicial notice of Mr. Vega’s

verified statements in the May 14, 2021 Philadelphia Court of Common Pleas complaint and, for

the reasons set forth above and in Defendants’ Motion for Summary Judgment, grant

Defendants’ Motion for Summary Judgment.



                                            Respectfully submitted,

                                            SCHNADER HARRISON SEGAL &
                                            LEWIS LLP

                                            /s/ David Smith_____________________________
                                            David Smith (Attorney I.D. 21480)
                                            Anne E. Kane (Attorney I.D. 81872)
                                            Samantha Banks (Attorney I.D. 319401)
                                            1600 Market Street, Suite 3600
                                            Philadelphia, PA 19103
                                            Counsel for Lawrence S. Krasner


                                            CITY OF PHILADELPHIA LAW
                                            DEPARTMENT
                                            Diana Cortes, City Solicitor
                                            Renee Garcia, Litigation Chair
                                            Nicole S. Morris, Deputy City Solicitor

                                            /s/ Lisa A. Swiatek__________________________
                                            Lisa A. Swiatek (Attorney I.D. 93045)
                                            Deputy City Solicitors
                                            Labor and Employment Unit
                                            Counsel for the City of Philadelphia

Dated: June 4, 2021




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                  EXHIBIT 1
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                          THE BEASLEY FIRM, LLC                                    Attorneys
                                                                                       Filed for
                                                                                              andPlaintiff
                                                                                                  Attested by the
                          By: James E. Beasley, Jr., Esquire                           Office of Judicial Records
                              Louis F. Tumolo, Esquire                                     14 MAY 2021 10:08 am
                              Lane R. Jubb, Jr., Esquire                                          S. RICE
                          I.D. Nos. 83282/314255/319272
                          1125 Walnut Street
                          Philadelphia, PA 19107-4997
                          (215) 592-1000
                          (215) 592.8360 (telefax)

                          CARLOS VEGA, ESQ.                             :         PHILADELPHIA COUNTY
                          c/o The Beasley Firm, LLC                     :          Court of Common Pleas
                          Philadelphia, PA 19107                        :
                                                                        :                  May, 2021
                                         Plaintiff,                     :
                                                                        :                  No.: 00305
                                 vs.                                    :
                                                                        :         JURY TRIAL DEMANDED
                          SHAUN KING                                    :
                          114 Fifth Avenue, 18th Floor                  :                COMPLAINT
                          New York, NY 10011                            :
                                                                        :               CODE: 2L
                                 And                                    :          LIBEL AND SLANDER
                                                                        :
                          REAL JUSTICE PAC                              :
                          3041 Mission Street 327                       :
                          San Francisco, CA 94110                       :
                                                                        :
                                 And                                    :
                                                                        :
                          LAWRENCE KRASNER FOR DA                       :
                          239 South Camac Street                        :
                          Philadelphia, PA 19107                        :
                                                                        :
                                         Defendants.                    :
                                                                        :

                                                             NOTICE TO DEFEND

                                          “NOTICE”                                        "AVISO"
                          You have been sued in court. If you wish     Le han demandado a usted en la corte. Si
                          to defend against the claims set forth in    usted quiere defenderse de estas demandas
                          the following pages, you must take action    dispuestas en las paginas siguientes, usted
                          within twenty (20) calendar days after       tiene veinte (20) calendario dias de plazo al
                          this complaint and notice are served, by     partir de la fecha de la demanda y la
                          entering a written appearance personally     notificacion.    Hace falta asentar una
                          or by attorney and filing in writing with    comparencia escrita en persona o con un
                          the court your defenses or objections to     abogado y entregar a la corte en forma escrita

                           ____________________________________________________________________________________________
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 PHILADELPHIA, PA 19107
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    215 592 8360 (FAX)
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                          the claims set forth against you. You are     sus defensas o sus objecciones a las demandas
                          warned that if you fail to do so the case     en contra de su persona. Sea avisado que si
                          may proceed without you and a judgment        usted no se defiende, la corte tomara medidas
                          may be entered against you by the court       y puede continuar la demanda en contra suya
                          without further notice for any money          sin previo aviso o notificacion. Ademas, la
                          claimed in the complaint or for any other     corte puede decidir a favor del demandante y
                          claim or relief requested by the plaintiff.   requiere que usted cumpla con todas las
                          You may lose money or property or other       provisiones de esta demanda. Usted puede
                          rights important to you.                      perder dinero o sus propiedades o otros
                          YOU SHOULD TAKE THIS PAPER TO                 derechos iportantes para usted.
                          YOUR LAWYER AT ONCE. IF YOU DO                LLEVE ESTA DEMANDA A UN ABOGADO
                          NOT HAVE A LAWYER, GO TO OR                   INMEDIATAMENTE.             SI    NO    TIENE
                          TELEPHONE THE OFFICE SET FORTH                ABOGADO, VAYA EN PERSONA O LLAME
                          BELOW. THIS OFFICE CAN PROVIDE                POR TELEFONO A LA OFICINA QUE SE
                          YOU WITH INFORMATION ABOUT                    ENCUENTRA ESCRITA ABAJO.                 ESTA
                          HIRING A LAWYER. IF YOU CANNOT                OFICINA PUEDE PROVEER DE USTED
                          AFFORD TO HIRE A LAWYER, THIS                 INFORMACION SOBRE EMPLEAR A UN
                          OFFICE MAY BE ABLE TO PROVIDE YOU             ABOGADO. SI USTED NO TIENE SUFICIENTE
                          WITH        INFORMATION           ABOUT       DINERO PARA EMPLEAR UN ABOGADO,
                          AGENCIES THAT MAY OFFER LEGAL                 ESTA OFICINA PUEDE PODER PROVEER DE
                          SERVICES TO ELIGIBLE PERSONS AT A             USTED LA INFORMACION SOBRE LAS
                          REDUCED FEE OR NO FEE.                        AGENCIAS       QUE      PUEDEN       OFRECER
                                                                        SERVICIOS LEGAL A LAS PERSONAS
                                                                        ELEGIBLES EN UN HONORARIO REDUCIDO
                                                                        O NINGUN HONORARIO.

                                Philadelphia Bar Association              Asociacion de Licenciados de Filadelphia
                                LAWYER REFERRAL & INFO.                    Servicio de Referencia e Informacion
                                    One Reading Center                              One Reading Center
                                      Phila., PA 19107                                Phila., PA 19107
                                       (215) 238-1701                                  (215) 238-1701




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    215 592 8360 (FAX)
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                          THE BEASLEY FIRM, LLC                                          Attorneys for Plaintiff
                          By: James E. Beasley, Jr., Esquire
                              Louis F. Tumolo, Esquire
                              Lane R. Jubb, Jr., Esquire
                          I.D. Nos. 83282/314255/319272
                          1125 Walnut Street
                          Philadelphia, PA 19107-4997
                          (215) 592-1000
                          (215) 592.8360 (telefax)

                          CARLOS VEGA, ESQ.                                  :          PHILADELPHIA COUNTY
                          c/o The Beasley Firm, LLC                          :           Court of Common Pleas
                          Philadelphia, PA 19107                             :
                                                                             :                    May, 2021
                                          Plaintiff,                         :
                                                                             :                   No.: 00305
                                 vs.                                         :
                                                                             :          JURY TRIAL DEMANDED
                          SHAUN KING                                         :
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                          New York, NY 10011                                 :
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                                 And                                         :          LIBEL AND SLANDER
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                          REAL JUSTICE PAC                                   :
                          3041 Mission Street 327                            :
                          San Francisco, CA 94110                            :
                                                                             :
                                 And                                         :
                                                                             :
                          LAWRENCE KRASNER FOR DA                            :
                          239 South Camac Street                             :
                          Philadelphia, PA 19107                             :
                                                                             :
                                          Defendants.                        :
                                                                             :

                                                                 INTRODUCTION

                                 1.      The race for Philadelphia District Attorney should be no different than any

                          other election. There must be a sense of integrity free from malicious and false

                          statements that will invariably tarnish reputation and erode public confidence in the

                          criminal justice system and the City’s elected District Attorney – whomever that may be.

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                                    2.      This action for false light arises out of statements made by the Defendants

                           concerning Plaintiff Carlos Vega, Esquire, which falsely accused Mr. Vega of fabricating

                           evidence, forcing and bribing witnesses to give false testimony, threatening violence to

                           coerce false statements and confessions, suppressing evidence which would routinely

                           have proved individuals arrested and charged with crimes were innocent, framing and

                           convicting Anthony Wright of rape and murder, and decades of morally and ethically

                           reprehensible conduct, including acting in his official capacity as a City prosecutor to

                           obstruct the administration of justice.

                                    3.      Mr. Vega files this lawsuit to expose the truth, not hide from it.

                                    4.      In a remarkably Machiavellian fashion, these Defendants have conspired,

                           for their own greed and using Philadelphia’s citizens as a steppingstone for a desired

                           national political presence, have lied to the citizens of Philadelphia, and funneled

                           significant funds donated by unwitting citizens of Philadelphia to line the pockets of

                           defendant Shaun King, his Real Justice PAC, and the Krasner campaign.

                                    5.      A key aspect of any election is the need for a level of honesty. Neither a

                           candidate nor incumbent should solicit other lawyers or individuals to provide false

                           information about their opponent and publish those false accusations. There must be

                           consequences for doing so. 1

                                    6.      The sad reality is that neither Krasner nor King care a whit about

                           Philadelphia, its citizens, or the malignantly expanding crime that is suffocating this




                           1For attorneys such as DA Krasner, false information can result in professional discipline. Pennsylvania
                           Rules of Professional Conduct Rule 8.4(c) precludes a lawyer from engaging in conduct involving
                           dishonesty, fraud, deceit, or misrepresentation.

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                           City; they will use whatever means are needed, including illegal and false smears against

                           their adversaries, to achieve their goals.

                                     7.      The lies spread by these Defendants about Mr. Vega, a thirty-five (35) year

                           prosecutor that has dedicated his life to protecting the citizens of Philadelphia, are

                           shameful and maliciously false at their core.

                                     8.      And, in spite of being confronted with the truth, these defendants refused

                           to retract, correct, or otherwise withdraw their false claims. See Exhibit “A,” Mr. Vega’s

                           retraction demand which identifies three specific lies spread by these Defendants, as

                           well as the truth regarding these assertions. See also Exhibit “B,” Defendant King’s

                           defiant article titled, “When an evil man sues you for telling the truth about him. Carlos

                           Vega v. Shaun King, Real Justice, and Larry Krasner,” published through

                           www.thenorthstar.com, refusing to correct his false statements, and further spreading

                           the lies.

                                     9.      In order for these Defendants to achieve their national political goals and

                           line their pockets with unsuspecting donor’s hard-earned money, they have sacrificed

                           the lives and safety of all Philadelphians; gun violence and homicides plague

                           Philadelphia communities as murders and violent crimes surge to historic levels.2

                                     10.     The unprecedented level of crime occurred during DA Krasner’s term

                           under his policies.

                                     11.     On Tuesday, May 18, 2021, Philadelphians will cast their vote in the

                           primary election for the next District Attorney.




                           2   Year-to-date as of May 13, 2021 192 murders - a 40% increase. www.phillypolice.com/crime-maps-stats/

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                                    12.     Plaintiff Carlos Vega, Esquire, a former career prosecutor, is on the

                           Democratic ballot opposing DA Krasner in a race that is uncomfortably close for the

                           incumbent.

                                    13.     This election comes at a critical juncture as voters fairly question DA

                           Krasner’s ability to deliver reform and safety. DA Krasner’s abysmal record is

                           indefensible; he and those around him know it.

                                    14.     To distract Philadelphians from the critical issues, the Defendants have

                           embarked on a fear mongering smear campaign to drive their maliciously false message

                           and distract Philadelphians from DA Krasner’s indefensible record as Philadelphia’s

                           chief law enforcement officer.

                                    15.     In order to manipulate the citizens of Philadelphia, these Defendants are

                           lying to them about Mr. Vega, accusing him of, for example, “fixing” the Anthony

                           Wright3 case, “falsely imprisoning [Wright]” for over 25 years, and that Mr. Vega

                           harbors prejudice and bias toward minorities. Further, these Defendants conspired to

                           falsely assert that Mr. Vega, who in his official capacity as a City prosecutor, carried the

                           taint of these biases and acted in a manner consistent with them, all of which are

                           outrageously false, and intended to cast Mr. Vega in a false light before the public.




                           3These Defendants have placed Krasner’s office in a direct conflict of interest in having Anthony Wright
                           support the campaign and spread more lies about Mr. Vega, while at the same time having an open DUI
                           case (MC-51-CR-0006368-2020) against Wright in that office. One must wonder what breaks Mr. Wright
                           will get for helping to smear Mr. Vega and get Krasner re-elected.


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                                  16.     Uncoincidentally, Tony Wright is pictured here campaigning for Larry

                           Krasner:




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                                  17.     The Defendants’ hypocrisy, malice, and abject racism is evident by this

                           outrageous image of Mr. Vega that hangs right inside Krasner’s DA office:




                                  18.     Outside of these intentional misrepresentations, the Defendants have

                           taken additional steps to attack Mr. Vega’s law license, accusing him of significant

                           violations of the Rules of Professional Conduct.

                                  19.     The Defendants falsely assert the culmination of Mr. Vega’s misconduct

                           involved “framing and convicting” an innocent man, Anthony Wright, for a murder he




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                           did not commit. And for these reasons, DA Krasner terminated Mr. Vega in January

                           2018 when he took office.

                                  20.     In spite of knowing the truth, the Defendants have published to

                           Philadelphia and the world countless tweets, Facebook posts, and Instagram posts

                           recycling and republishing their same false accusations.

                                  21.     This lawsuit now follows to repair the damage done to Mr. Vega by these

                           Defendants and to punish them for their reckless and malicious lies.

                                                                        PARTIES

                                  22.     Carlos Vega is an adult individual who is a citizen of, and domiciled in,

                           Philadelphia County, Pennsylvania.

                                  23.     Shaun King is a citizen of the State of New York and was, at all relevant

                           times an agent and/or employee of Defendant Real Justice PAC.

                                  24.     Real Justice PAC is a political action committee approved by the

                           Pennsylvania Department of State, which fundraises and/or donates significant

                           amounts of money to political action committees and individuals in the Commonwealth

                           of Pennsylvania and is located at the address identified above.

                                  25.     The Real Justice PAC supplies fundraising platforms via social media and

                           national email list to raise money directly for candidates.

                                  26.     Lawrence Krasner for DA is a political action committee, located at the

                           address identified above, seeking to re-elect Lawrence Krasner as the District Attorney

                           of Philadelphia County.

                                                          JURISDICTION AND VENUE



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                                    27.   This Court has jurisdiction in that the amount in controversy vastly

                           exceeds the arbitration limits and Plaintiff demands a jury trial.

                                    28.   Venue is proper because the Defendants targeted their specific statements,

                           publications, and tortious conduct at issue in this action directly toward and in

                           Philadelphia County, Pennsylvania.

                                                            FACTUAL BACKGROUND

                                    29.   Mr. Vega was the first Latino Homicide prosecutor in Pennsylvania.

                                    30.   Mr. Vega dedicated thirty-five (35) years protecting Philadelphians as a

                           prosecutor.

                                    31.   Mr. Vega’s prosecutorial work included prosecuting over four hundred

                           (400) murder cases, overturning wrongful convictions, and standing up for

                           marginalized Philadelphia communities like the New York City neighborhood he grew

                           up in.

                                    32.   Mr. Vega possessed an impeccable reputation as a prosecutor for thirty-

                           five (35) years; he was never once disciplined by The Disciplinary Board of the Supreme

                           Court of Pennsylvania.

                                    33.   Mr. Vega, a single father, also worked the night shift at UPS for nearly

                           fifteen (15) years while still employed as a full-time prosecutor to support his children.

                                    34.   While Mr. Vega was pulling double duty as a top homicide prosecutor

                           protecting Philadelphia’s citizens, and raising a family, Krasner was a criminal defense

                           attorney trying to make a name for himself.




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                                    35.     In December 2016, less than two months prior to Mr. Krasner’s

                           announcement of his candidacy for District Attorney, he defended a cold-blooded killer,

                           Ibrahim Muhammed, in a three-week murder trial.

                                    36.     Ibrahim Muhammed and his co-conspirator, Nalik Scott, were charged

                           with a triple murder inside a West Philadelphia Bodega.4

                                    37.     Plaintiff Carlos Vega was one of two prosecutors assigned by the

                           Philadelphia District Attorney’s Office to the Muhammed/Scott murder trial.

                                    38.     At the conclusion of a contentious three-week trial, the jury deliberated for

                           approximately ninety minutes then returned a verdict of guilty on all charges against

                           defendants Muhammed and Scott.

                                    39.     Krasner has never gotten over being handily beaten by Mr. Vega, and

                           swore to get revenge against him.

                                    40.     On February 8, 2017, career defense attorney Larry Krasner announced his

                           candidacy for Philadelphia District Attorney to challenge the incumbent District

                           Attorney Seth Williams in the May 2017 Democratic Primary election.5

                                    41.     During the 2017 campaign, Mr. Krasner was transformed from most

                           unlikely to a high-profile candidate after an investment of nearly $1.5 million dollars

                           from billionaire George Soros in a pro-Krasner independent political action committee.

                                    42.     Indeed, the infusion of out-of-town cash propelled Mr. Krasner to victory

                           in 2017.6


                           4  Commonwealth v. Ibrahim Muhammed and Nalik Scott, CP-51-CR-0004105-2012; CP-51-CR-
                           0004106-2012.
                           5 “Krasner jumps into Philly DA race.” https://whyy.org/articles/krasner-jumps-into-philly-da-race/
                           6 Krasner and his campaign and Real Justice PAC were caught violating campaign finance laws; these

                           parties were forced to return many of the improperly obtained funds and assessed a civil monetary

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                                   43.    On May 17, 2017, Mr. Krasner won the Democratic primary election

                           thereby earning the Democratic nomination for District Attorney in the November 2017

                           general election.

                                   44.    On November 7, 2017 Mr. Krasner was won the general election.

                                   45.    On January 2, 2018 he was sworn in as the top law enforcement officer in

                           the City of Philadelphia.

                                   46.    On January 5, 2018, at the end of his first week as the Philadelphia

                           attorney, DA Krasner fired thirty-one (31) prosecutors, among them Plaintiff, Carlos

                           Vega.

                                   47.    Krasner’s long-standing malice and resent of Mr. Vega resulted in his

                           illegal termination of Mr. Vega, who was forced to file suit against Krasner. That legal

                           action was brought pursuant to the Age Discrimination in Employment Act of 1967, 29

                           U.S.C. §621 et seq. and the Pennsylvania Human Relations Act, 43 P.S. §951 et seq.7

                                                                      The Cover Up

                                   48.    On March 30, 2021, the Philadelphia Inquirer published a damning report

                           on Philadelphia crime with particular focus on gun arrests and violent crime. See “Philly

                           Gun Arrests are on a record pace, but convictions drop under DA Krasner” attached

                           hereto as Exhibit “C.”




                           penalty. In spite of this, and as written below, these Defendants have not learned their lesson, and
                           continue to use the same illegal methods to misappropriate funds donated to the Krasner campaign and
                           Real Justice PAC for their collective greed.
                           7 Vega, et al. v. City of Philadelphia, et al., EDPA No. 2:19-cv-04039.


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                                   49.    This news article reported the alarming pace at which police are making

                           arrests for individuals carrying an illegal gun.

                                   50.    Despite a threefold increase in gun arrests since 2017, those accused

                           reportedly have seen the odds at being convicted by Krasner’s DA Office “plunge from

                           63% in 2017 to 49% two years later.” See Exhibit “C.”

                                   51.    The Inquirer analysis revealed that the drop in conviction rates for being

                           caught with an illegal gun coincided with Krasner being sworn into office in January

                           2018.

                                   52.    Philadelphia Police Commissioner Danielle Outlaw stated:

                                          “If there’s nothing to deter folks, if there’s no consequence
                                          where people believe, “If I do this, this is going to happen,’
                                          [then] there’s no incentive to not carry a gun illegally, quite
                                          frankly.”

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                                  53.     At a hearing soon after the Inquirer’s publication, DA Krasner was

                           questioned by City Councilmembers about the articles findings and was forced to

                           concede, “We are not happy with the conviction rate for possession of guns.”

                                  54.     This damning report by the Inquirer in combination with indisputable

                           crime statistics, including the explosion of shootings and murders in Philadelphia,

                           forced these Defendants, desperate to secure DA Krasner’s re-election and change the

                           narrative of the DA race, to publish the outrageous and false accusations against Mr.

                           Vega complained of herein.

                                             The Defendants’ Social Media Posts and The North Star

                                  55.     Defendant King operates social media accounts on Twitter and Instagram.

                                  56.     Defendant King’s Instagram username has been identified as “shaunking.”




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                                  57.     Defendant King’s twitter handle has been identified as “@shaunking.”




                                  58.     Defendant King also operates the website www.thenorthstar.com.

                           According to its website, “The North Star was relaunched in 2018 by Shaun King.”




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                                  59.     Defendant Real Justice operates a twitter account identified as

                           @RealJusticePAC.




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                                  60.      Defendant Lawrence Krasner for DA operates a twitter account identified

                           as @Krasner4DA.




                                           The Defendants’ Maliciously False Social Media Propaganda

                                  61.     During a time when tensions between police and citizens are one news

                           story away from combusting, these Defendants conspired to publish maliciously false

                           statements concerning Mr. Vega, in part, alleging that he has worked alongside police to

                           wrongfully convict Anthony Wright and hundreds of other black men.

                                  62.     The Defendants published these knowingly false and reckless statements

                           to shamelessly exploit the socio-cultural unrest in the wake of the tragic murders like

                           George Floyd and others who have been wrongfully murdered at the hands of police.




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                                  63.     This scheme manufactured lies about Mr. Vega to outrage the public and

                           line the Defendants’ pockets with donations at the expense of Philadelphians.

                                  64.     The publication of these statements was carried out to help DA Krasner

                           maintain a stranglehold on the City’s top law enforcement position by securing his bid at

                           re-election.

                                  65.     Beginning on or around April 12, 2021 these Defendants launched a social

                           media assault directing maliciously false accusations towards Mr. Vega. In doing so,

                           they falsely report that Mr. Vega wrongfully convicted Tony Wright for rape and murder

                           in 1993.




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                                  66.     Defendant King posted the following to Twitter:




                                  67.     The above tweet by Defendant King falsely claims “Vega framed and

                           convicted an innocent man [Anthony Wright] for the [1991] murder [of Louise Talley]

                           and has lied about it for a generation.”

                                  68.     Mr. Vega was not at all involved in the prosecution and conviction of

                           Anthony Wright for the murder of Louise Talley in the 1993 trial – a fact well known to

                           all defendants.

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                                  69.     Mr. Vega has never “framed” any individual for any crime, including the

                           heinous crime of murder.

                                  70.     On the same day, April 12, 2021, Defendant Real Justice posted the

                           following to their Instagram page:




                                  71.     The above Instagram post by Defendant Real Justice falsely claims

                           “Philadelphia DA @KrasnerforDA’s opponent, Carlos Vega, wrongfully convicted Tony

                           Wright for rape and murder in 1993.” This assertion is outrageous and knowingly false.

                                  72.     As stated, Mr. Vega was not at all involved in the prosecution and

                           conviction of Anthony Wright for the murder of Louise Talley in the 1993 trial.




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                                  73.     On April 27, 2021, Defendant King tweeted the following:




                                  74.     The above is palpably false; it states as fact that Mr. Vega is a

                           “supervillain,” “monster,” “evil personified,” and “[h]e was fired from the Philadelphia

                           DA’s office for corruption.” (emphasis added.)




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                                     75.     Yet another social media post by Defendant King claims Mr. Vega was

                           terminated for “gross misconduct”:




                                     76.     In the pending lawsuit8, neither the City of Philadelphia nor DA Krasner

                           have claimed that Mr. Vega was terminated because of corruption.

                                     77.     These Defendants know this assertion of corruption as a basis for Mr.

                           Vega’s termination is entirely false and have refused to correct the record.




                           8   Vega, et al. v. City of Philadelphia, et al., EDPA No. 2:19-cv-04039.

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                                     78.     On April 1, 2021, the Honorable Gene E.K. Pratter, presiding over the

                           pending lawsuit entered an Order to approve the parties’ stipulation to amend

                           protective orders, dated March 30, 2021. See April 1, 2021 Order attached hereto as

                           Exhibit “D.” This Order has sealed records, including deposition transcripts like Mr.

                           Krasner’s, related to Mr. Vega’s termination.

                                     79.     The Defendants now use the Court’s Order to seal in Vega v. Krasner as a

                           shield and a sword – blocking the public’s access to DA Krasner’s sworn deposition

                           testimony regarding his alleged reason(s) for terminating Mr. Vega while conspiring

                           with the Defendants to publish maliciously and knowingly false statements that Mr.

                           Vega was fired for “corruption” and for “framing and convicting” Tony Wright and other

                           innocent men/women.9

                                     80.     A publicly accessible pretrial memorandum10 outlines the alleged basis for

                           which DA Krasner claims he terminated Mr. Vega in January 2018. This document was

                           electronically filed with the Court on November 11, 2020. Nowhere in that

                           memorandum does DA Krasner accuse Mr. Vega of decades of corruption or make any

                           mention of the Anthony Wright trial.




                           9   These defendants can mitigate their damages by agreeing to release the Seal in Vega v. Krasner.
                           10   See Vega, et al. v. City of Philadelphia, et al., EDPA No. 2:19-cv-04039, Doc. 41.

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                                  81.     Defendant King’s April 27, 2021 tweet referenced above also supplied a

                           direct link to his webpage, www.thenorthstar.com, and the following article:




                           See “Carlos Vega was fired for being corrupt” attached hereto as Exhibit “E.”

                                  82.     Yet another social media post by Defendant King alleges “hundreds of

                           black men across Philadelphia, was framed by the Philadelphia Police and the

                           Philadelphia DA’s office for crimes” … “They used fake evidence, false witnesses, and

                           false confessions – threatening the hell out of people and their family if they didn’t

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                           participate” … “Carlos Vega knew this was going down. It’s why he WAS FIRED on Larry

                           Krasner’s first day in office as the new DA of Philly”:




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                                  83.     In another social media post, Defendant King states as fact that Mr. Vega

                           spent thirty-five (35) years as a prosecutor framing and convicting black men for

                           murders they didn’t commit:




                                  84.     The above posts are laden with falsehoods, improper inferences and

                           innuendos, and knowingly false-light presentations of Mr. Vega.




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                                  85.     In Defendant King’s article published on his website, The North Star, and

                           included in his social media posts, he writes:




                           See Exhibit “E.”




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                                  86.     The following is another social media post by Defendant King:




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                                  87.     Defendant King also published the following:




                                  88.     Defendant King asserts that Mr. Vega’s “records” establish he has never

                           held police accountable, yet somehow in Defendant King’s review of said records he

                           overlooked Mr. Vega’s prosecutions of police officers.




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                                      89.    Contrary to the Defendants’ false statements, public records prove that

                           Mr. Vega held bad police accountable during his career as a prosecutor.

                                      90.    Mr. Vega successfully prosecuted Philadelphia Police Officer Ryan Shiver

                           for two counts of homicide by vehicle while driving under influence11 stemming from a




                           11   75 § 3735.

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                           car crash that killed two Northeast Philadelphia brothers after a Super Bowl party. Mr.

                           Shiver was sentenced to six (6) to twelve (12) year incarceration.12

                                     91.     Additionally, Mr. Vega coordinated a grand jury investigation which

                           culminated in the indictment of Philadelphia Police Homicide Detective Ronald Dove

                           for his involvement in helping his girlfriend, Erica Sanchez, evade investigators who

                           suspected her in a homicide.

                                     92.     Detective Dove was indicted on counts of hindering apprehension, flight to

                           avoid apprehension, criminal conspiracy, obstructing the administration of law,

                           tampering with or fabricating physical evidence, and unsworn falsification to

                           authorities.

                                     93.     Working with investigators, Mr. Vega collected overwhelming evidence of

                           guilt for Erica Sanchez and Detective Dove, thereby securing guilty pleas from both

                           defendants.13

                                     94.     The above writings by Defendant King are plainly false. Either the

                           Defendants knew the facts and buried them, or willfully chose not to inform themselves.

                                                      The Defendants’ Refusal to Correct the Record

                                     95.     On April 29, 2021 the undersigned attorneys sent a letter outlining the

                           maliciously false statements at issue in this lawsuit. That letter and Mr. Vega’s demands

                           for retraction were flatly rejected by the defendants.


                           12Commonwealth v. Ryan Shiver, CP-51-CR-1003031-2000.
                           13Commonwealth v. Erica Sanchez, CP-51-CR-0002797-2014; Commonwealth v. Ronald S. Dove, CP-51-
                           CR-0001382-2015. See also, “Ex-Philly homicide detective pleads guilty to helping girlfriend flee murder
                           charge.”    https://www.inquirer.com/philly/news/crime/Ex-Philly-homicide-detective-pleads-guilty-to-
                           helping-girlfriend-flee-murder-charge.html; “Woman pleads guilty in murder case that got her cop
                           boyfriend fired.”
                           https://www.inquirer.com/philly/news/20161123 Woman pleads guilty to murder from which ex-
                           cop allegedly helped her flee.html

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                                  96.     On May 4, 2021, Mr. Vega initiated this lawsuit by way of Writ of

                           Summons. See Writ of Summons attached hereto as Exhibit “F.”

                                  97.     On or around May 5, 2021, these Defendants doubled down on their

                           maliciously false statements and Defendant King begged Mr. Vega to sue him.

                                  98.     Defendant King posted to his Instagram account:




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                                  99.      On May 6, 2021 the official twitter account for DA Krasner’s campaign,

                           @Krasner4DA, published the below statement in response to Mr. Vega’s initiation of

                           this lawsuit:




                                  100.     DA Krasner’s response fails to separate Defendant King or Defendant Real

                           Justice’s statements as those of his own or his campaigns because he cannot.

                                  101.     In addition to doubling-down on the maliciously false statements, DA

                           Krasner in his response to the notice of an impending lawsuit states the following:



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                                             “Vega thinks no one should criticize him or ask hard
                                             questions about his role as one of two prosecutors who tried
                                             to keep Tony Wright behind bars after the DNA evidence
                                             established with certainty Wright was innocent. He also
                                             thinks that he should get a free pass for committing
                                             prosecutorial misconduct – even though a Republican-
                                             majority PA Supreme Court unanimously recognized that
                                             what he did was completely egregious and called it that.”

                                     102.    This statement asserting the Pennsylvania Supreme Court “recognized that

                           what he did was completely egregious and called it that” is in fact completely

                           unrelated to Anthony Wright, the Wright conviction, or Mr. Vega’s role as a

                           prosecutor in Wright’s 2016 retrial.

                                     103.    The above assertion is intended to cast Mr. Vega in a false light before the

                           public by asserting as fact that the highest State Court authority agrees with these

                           Defendants maliciously false assertions that Mr. Vega “framed and convicted” Tony

                           Wright and DA Krasner fired him for that corruption.

                                     104.    The truth these Defendants intentionally withheld from readers is this: in

                           1999 Mr. Vega tried a capital jury trial in the case of Commonwealth v. DeJesus.14 The

                           jury convicted defendant DeJesus of first-degree murder. Following this conviction, and

                           at the penalty phase the jury found the aggravating circumstances outweighed the

                           mitigating circumstances, and, accordingly, imposed a sentence of death. On appeal, the

                           Pennsylvania Supreme Court found that Mr. Vega committed error during his closing

                           statement by urging the jurors to “send a message to the community.” The Pennsylvania

                           Supreme Court held this error required defendant DeJesus receive a new hearing for the

                           penalty phase only. The Pennsylvania Supreme Court did not find Mr. Vega committed



                           14   See Commonwealth v. DeJesus, 580 Pa. 303, 860 A.2d 102 (2004).

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                           any error or misconduct in securing defendant DeJesus’s first-degree murder

                           conviction.

                                  105.    DA Krasner’s response falsely implies a cause and effect relationship

                           between Mr. Vega’s involvement in the 2016 Wright retrial and the Pennsylvania

                           Supreme Court’s decision to grant defendant DeJesus a new penalty hearing.

                                  106.    The act of resurrecting the Pennsylvania Supreme Court’s opinion in the

                           DeJesus matter – which occurred more than a decade before Mr. Vega’s involvement in

                           the 2016 Wright retrial and is wholly unrelated to Anthony Wright – was intended solely

                           to mislead the public, tarnish Mr. Vega’s reputation, place Mr. Vega in a false light

                           before the public, and help secure DA Krasner’s bid for re-election.

                                  107.    These maliciously false statements, taken in the context in which the

                           Defendants place them, asserts that Mr. Vega, in his official capacity as a City

                           prosecutor, carried out his duties to the detriment of the community to which he served

                           and that he obstructed the fair administration of justice.

                                                        A Civil Conspiracy: Follow the Money

                                  108.    The relationship between DA Krasner, Shaun King, and Real Justice PAC

                           dates back to early 2017 when Real Justice PAC was formed mere days before Larry

                           Krasner announced his candidacy for District Attorney.

                                  109.    During that 2017 campaign, DA Krasner and Real Justice PAC worked

                           together to get Krasner elected.

                                  110.    In February 2019, DA Krasner and Real Justice PAC entered into a

                           settlement agreement with the Board of Ethics of the City of Philadelphia for their

                           violations of campaign finance laws during the 2017 campaign.

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                                     111.    These admitted violations included Real Justice PAC working closely with

                           Krasner and embedding three full-time staffers with his campaign to develop and run a

                           volunteer based peer-to-peer text message program and a phone bank operation using

                           web-based dialer system. The three embedded staffers worked closely with other

                           members of the Krasner campaign. See 2019 Settlement Agreements attached hereto as

                           Exhibit “G.”

                                     112.    Since at least 2019, filings with the Federal Election Commission (“FEC”)

                           by Real Justice PAC demonstrate rent payments, in the monthly amount of $1,550.00,

                           made by Real Justice to Tiger Building LP.

                                     113.    It is well known that DA Larry Krasner has an ownership interest in Tiger

                           Building LP located at 1221 Locust St. Philadelphia, PA. It has also been reported that

                           Tiger Building LP owed $130,000 in taxes to the Philadelphia School District.15

                                     114.    Real Justice PAC reports filed with the FEC since 2019 also account for

                           payroll expenditures by Real Justice to DA Krasner’s campaign manager, Brandon

                           Evans.

                                     115.    Additionally, Real Justice PAC reports filed with the FEC reflect payments

                           by Real Justice for payroll and reimbursement for digital services to the Grassroots Law

                           Project. The Grassroots Law Project is a 501(c)(4) organization focusing on education

                           and advocacy related to the criminal legal system. Shaun King is identified on the

                           Grassroots Law Project as a co-founder:




                           15“DA Krasner’s company owed Philly school district $130k in taxes.”
                           https://www.cityandstatepa.com/content/philly-da-krasner-company-owed-philly-school-district-130k-
                           taxes

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                                  116.    Now, to further their political gain, DA Krasner, Real Justice PAC, and

                           Shaun King conspire to spread these malicious and dirty lies about Mr. Vega. To that

                           end, the Krasner campaign has hooked their wagon to Defendants King and Real Justice

                           to spread this message because it is well-known Defendant King is one of the world’s

                           most influential people on the internet.

                                  117.    Through their outrageous and false social media posts, the Defendants

                           direct readers to their fundraising pages located at www.actblue.org. To achieve their

                           national political goals and line their own pockets, the Defendants spread these

                           falsehoods to anger the public and solicit unsuspecting donor’s hard-earned money.

                           This donation money is collected and redistributed to the Defendants various

                           organizations, businesses, and PACs.




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                                  118.    In spite of prior fines and penalties assessed by the Board of Ethics, these

                           Defendants continue violate Philadelphia Code by coordinating donations, split evenly

                           between the Krasner campaign and Real Justice, but used exclusively to benefit the re-

                           election of DA Krasner.




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                                  119.    The Real Justice PAC website identifies Defendant King as a co-founder of

                           the PAC:




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                                   120.   Defendant Real Justice website also identifies Becky Bond as co-founder:




                                   121.   Defendant Real Justice also identifies DA Krasner’s campaign manager,

                           Brandon Evans, as the “Political Director” of Real Justice PAC.




                                   122.   In exchange for spreading these malicious falsehoods, the Krasner

                           campaign paid thousands of dollars to Real Justice PAC in the last reporting period.

                                   123.   The Real Justice PAC in turn uses that money to keep DA Krasner’s

                           campaign manager, Brandon Evans, on the payroll, along with Shaun King and Becky

                           Bond.

                                   124.   In their most recent Campaign Finance Report, Defendant Real Justice

                           reported $44,000.00 in total monetary contributions and receipts during the April 5,

                           2021 through April 30, 2021 reporting period – the same period during which

                           Defendant King, a co-founder of Real Justice PAC, launched his social media attack on

                           Mr. Vega. See Real Justice PAC Campaign Finance Report attached hereto as Exhibit

                           “H.”



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                                  125.    In Part E of this filing, Real Justice PAC reported the following receipts

                           from Lawrence Krasner for District Attorney:




                                  126.    In turn, Defendant Real Justice used the money received from the Krasner

                           campaign to launder funds to local Philadelphia politicians and their PAC to pay for

                           their public endorsements of DA Krasner.




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                                  127.    During the same reporting period, the Krasner campaign paid a

                           substantial sum, $91,000.00, to The Social Practice, LLC:




                                  See Lawrence Krasner for District Attorney, Campaign Finance Report attached

                           hereto as Exhibit “I.”

                                  128.    As described on their website, www.thesocialpractice.org, “The Social

                           Practice is an ideologically-driven consultancy based in the US and Europe. We help

                           those working for big change to strategize, communicate, and organize at scale.”

                                  129.    The Social Practice, LLC operates from the same address, 3041 Mission

                           St. San Francisco, CA 941104, as Real Justice PAC.




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                                  130.    Additionally, The Social Practice, LLC was founded by Real Justice PAC

                           co-founder, Becky Bond:




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                                     131.    Moreover, Real Justice PAC and Lawrence Krasner for DA fundraise

                           together through the popular Act Blue fundraising platform:16




                           16   https://secure.actblue.com/donate/rjp-larry-2021?refcode=website

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                                    132.   On Saturday, May 15, 2021, DA Krasner, Shaun King, and Anthony Wright

                           plan to canvass the City and campaign for DA Krasner’s reelection:




                                    133.   The above evidence demonstrates the substantial steps taken in

                           furtherance of their scheme and conspiracy as alleged herein, to intentionally and

                           maliciously spread lies about Mr. Vega to deceive the public and place him in a false

                           light.

                                                                 COUNT I
                                                               FALSE LIGHT
                                                       PLAINTIFF v. ALL DEFENDANTS

                                    134.   Plaintiff incorporates by reference all other averments contained in this

                           Complaint as though fully set forth herein.

                                    135.   Defendants Shaun King, Real Justice PAC, and Lawrence Krasner for DA,

                           acting through their agents (actual, ostensible, or otherwise), servants and/or

                           employees, repeatedly published the above-mentioned false and malicious statements,

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                           innuendos and implications to individuals in Philadelphia, Pennsylvania, the nation,

                           and the world.

                                  136.    Despite the Defendants’ awareness of the facts and circumstances relating

                           to Mr. Vega, these Defendants placed Mr. Vega in a false light before the public.

                                  137.    The aforementioned false light in which Mr. Vega was placed would be

                           highly offensive to a reasonable person given the malicious and false accusations of

                           professional gross misconduct, corruption, and criminal acts.

                                  138.    The Defendants intentionally, and/or recklessly, withheld significant and

                           vital facts pertaining to the Anthony Wright conviction and/or lied about specific facts

                           in an effort to convince the unknowing public that Plaintiff was involved in Mr. Wright’s

                           original 1993 conviction.

                                  139.    The Defendants intentionally and/or recklessly, accused Mr. Vega of

                           forcing criminal defendants provide false confessions, coercing witnesses to provide

                           false statements, and intentionally suppressing exculpatory evidence, without any

                           factual basis and in spite of publicly available facts to the contrary.

                                  140.    The Defendants knew or should have known that accusing Mr. Vega of

                           corruption, forcing false confessions, coercing witnesses to provide false statements,

                           suppressing exculpatory evidence, framing and convicting Anthony Wright for rape and

                           murder in 1993, would cause Plaintiff to be held in a false light before the public.

                                  141.    Defendant King repeatedly asserts to the public that he reviewed Mr.

                           Vega’s entire police record, including emails and files; yet Defendant King is woefully

                           ignorant of the facts and never actually cites to the sources of his malicious falsehoods.



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                                  142.    The Defendants’ repeated and knowingly false representations that

                           Plaintiff is corrupt, threatened violence to force defendants to provide false confessions,

                           coerced witnesses to provide false statements, suppressed exculpatory evidence, framed

                           and convicted Anthony Wright, would be highly offensive to a reasonable person.

                                  143.    As a result of the Defendants’ malicious, intentionally, and/or reckless

                           conduct as set forth above, Plaintiff is entitled to such damages as will compensate him

                           for the injury to his professional and personal reputation, and punitive damages to

                           punish the Defendants for their conduct and to deter the Defendant and others similarly

                           situated from similar acts in the future.

                                  WHEREFORE, Plaintiff, Carlos Vega, Esq., demands judgment against all

                           defendants in an amount of compensation for damages in excess of the jurisdiction limit

                           to guarantee a jury trial, together with interest and costs, and punitive damages in an

                           amount which will punish defendants for their conduct and deter them and others

                           similarly situated from similar acts in the future.

                                                                 COUNT II
                                                            CIVIL CONSPIRACY
                                                       PLAINTIFF v. ALL DEFENDANTS

                                  144.    Plaintiff incorporates by reference the averments contained in this

                           Complaint as though fully set forth herein.

                                  145.    All Defendants acted in concert with the purposed of damaging Mr. Vega’s

                           reputation, as well as his relationships with fellow lawyers, judges, and most critically,

                           the Philadelphia voters who will cast their vote for the next District Attorney on

                           Tuesday, May 18, 2021.



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                                  146.    As set forth above, Defendants, between and amongst themselves, entered

                           into an agreement and/or otherwise engaged in a continuing conspiracy to deceive the

                           public by knowingly spreading false and malicious lies about Mr. Vega and his thirty-

                           five (35) year career as a prosecutor at the Philadelphia District Attorney’s Office.

                                  147.    The Defendants took substantial steps in furtherance of their scheme and

                           conspiracy as alleged herein, including but not limited to, intentionally spreading false

                           statements on social media and news media about Mr. Vega accusing him of corruption

                           in his official capacity as a public servant City prosecutor, including but not limited to,

                           forcing false confessions, coercing witnesses to provide false statements, suppressing

                           exculpatory evidence, framing and convicting Anthony Wright in the 1993 rape and

                           murder trial, and wrongfully convicting hundreds of black men.

                                  148.    Meetings, conferences, telephone calls, emails, and other communications

                           were held between and among the Defendants for purposes of discussing the false and

                           malicious scheme to place Mr. Vega in a false light before the public, as alleged herein.

                                  149.    Defendants performed the acts set forth herein intending to injure the

                           reputation of Mr. Vega and place him in a false light before the public.

                                  150.    As a direct and proximate result of the Defendants conspiracy and scheme,

                           Mr. Vega suffered the damages previously set forth herein.

                                  WHEREFORE, Plaintiff, Carlos Vega, Esq., demands judgment against all

                           defendants in an amount of compensation for damages in excess of the jurisdiction limit

                           to guarantee a jury trial, together with interest and costs, and punitive damages in an

                           amount which will punish defendants for their conduct and deter them and others

                           similarly situated from similar acts in the future.

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                                          THE BEASLEY FIRM, LLC
                                                     ATTORNEYS AT LAW
                                                                                           NEW JERSEY OFFICE
JAMES E. BEASLEY, JR., M.D., LL.M.                                                              SUITE 100
                                                                                            1949 BERLIN ROAD
JIM.BEASLEY@BEASLEYFIRM.COM
                                                                                          CHERRY HILL, NJ 08003
                                                                                               856 354 0755
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                                                        29 April 2021

      Via email (news@shaunking.org) and UPS
       Shaun King
       114 Fifth Avenue
       18th Floor
       New York, NY 10011

                          Re:        Carlos Vega

      Mr. King:

              We represent Carlos Vega and I have in hand your most recent missives regarding Mr.
      Vega published through your social media platforms and on your crowdfunding website, The
      North Star. You cloak yourself and these poisonous ramblings in the aura of ethics and morality,
      yet they have neither. Instead, your maliciously misleading rhetoric was strategically aimed to
      attack a former public servant whose distinguished professional career was dedicated to fighting
      for the safety and welfare of all Philadelphia citizens.

              Your regrettable behavior as it relates to Mr. Vega is actionable. Mr. Vega demands that
      you correct the intentional lies that you are propagating about him. If you are unwilling to correct
      what you know is false, we will ensure that a Philadelphia jury sends a clear message to you and
      to those like you who hide behind a keyboard exploiting social cultural unrest and masquerading
      as “social justice warriors” at the expense of the real change this country needs.

               Let me identify just a few things from your writings that we know that you know are false:

              1) You wrote “They (the police) know that Carlos will NEVER hold them accountable. In
      his 35 corrupt years in that office, he didn’t hold a single cop accountable and did NOTHING to
      change that office in a real way.”

             That is false, and you know it. Why did you ignore Mr. Vega’s successful prosecution of,
      for example, Officer Ryan Shiver or homicide detective Ronald Dove? Is it because those
      prosecutions defeat your false narrative? Ironically, your champion, Larry Krasner, is the one
      who has failed to properly address policing issues, and indeed permitted a plea for an officer who
      shot someone in the back. DA Krasner permitted this officer to stay at home rather than go to
      prison. Where is your feigned outrage about that?




                                      IN LOVING MEMORY: JAMES E. BEASLEY, SR. 1926-2004
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                                      Fake threats of a lawsuit from corrupt lawyer Carlos Vega. Like Trump.


           See that document above? That’s the cover page of what it is basically Carlos Vega’s o=cial
           intent to sue me, our organization Real Justice, which has elected over 20 DA’s across the
           country, and the campaign of Philadelphia District Attorney Larry Krasner. It’s garbage. Hot
           garbage. And it’s coming from a man that is so afraid of his own shadow that when you tell him
           about himself he panics and sues you because the truth about his evil record is so ugly that he
           can hardly stand to have it said out loud. I don’t know how this guy lives with himself.



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           All three of them have said about Carlos Vega the very things Larry Krasner and I have said.

           In the 3 short years Larry Krasner has been District Attorney of Philadelphia, he has already
           exonerated a staggering 20 people that his o=ce framed and convicted for crimes they didn’t
           commit before Larry got there. Let me give you the scale of that work. In 3 years Larry has
           exonerated more people than not just any other DA’s o=ce in the country, but more than the
           Innocence Project itself during that same time. Can you imagine what it would be like to serve a
           single day in jail for a crime you didn’t commit? How about a month? Or a year? Or how about
           25 years?

           That’s not hyperbole. That’s how long our dear brother Tony Wright spent in prison after he
           was arrested, charged, and convicted for a heinous rape and murder of a 78-year-old woman that
           he had absolutely nothing to do with. For 25 years Tony begged the Philadelphia DA’s o=ce to
           test the DNA they found in the case and they simply refused. Can you imagine? While Tony was
           in jail he missed 25 years of raising his kids. So many members of his family died. And Tony had
           to carry the shame of people believing that he did something that was unthinkable. They
           sentenced Tony to LIFE WITHOUT PAROLE. Here’s Tony’s story, “Finally Free.”




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           Tony’s case. Here’s The Innocence Project calling Carlos Vega out for his gross dishonesty and
           lack of integrity. He should be disbarred for this. Ask yourself why Carlos didn’t name The
           Innocence Project in his fake lawsuit. They said he lied over and over and over again about his
           entire involvement in Tony’s case.

               In recent months, former ADA (Assistant District Attorney) Carlos Vega, now a candidate for
               Philadelphia District Attorney, has made several statements regarding his role in Mr. Wright’s
               2016 re-prosecution. When Mr. Vega was asked about his role in Mr. Wright’s re-prosecution
               in a February media interview, he said, “My only participation in that case was calling civilian
               witnesses and I think the crime scene personnel. With respect to the rest of the case, I was not
               involved at all. It was not my case.” Earlier this week, the Philadelphia Inquirer reported that
               when speaking at a candidates’ forum in March, Mr. Vega characterized his role in the Wright
               trial as follows: “I was brought in at the 11th hour, two weeks before trial, just to question
               three witnesses.”

               These statements are false. Mr. Vega was co-counsel for the Commonwealth throughout Mr.
               Wright’s 2016 trial, which spanned nearly three full weeks. In that capacity, he questioned
               Nfteen di\erent trial witnesses. They included: (1) presenting the testimony of the three lead
               detectives, whose claims to have extracted a truthful confession from Mr. Wright and to have
               found evidence from the crime in his home were the key disputed issues in the case; (2) cross-
               examining Mr. Wright himself (at great length – over 59 pages), during which Mr. Vega
               repeatedly challenged Mr. Wright’s integrity, veracity, and his claims of innocence; and (3)
               cross-examining the defense’s expert pathologist, who testiNed that the forensic evidence
               from the victim’s autopsy was inconsistent with Mr. Wright’s police-authored “confession.”

               Mr. Vega also testiNed at his post-trial deposition in 2017 about the speciNc role he played in
               Mr. Wright’s pretrial proceedings. Mr. Vega recalled that he was assigned to co-counsel the



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               case with ADA Kirn approximately four to six weeks before trial. He met on numerous
               occasions with the lead detectives to prepare their testimony. He personally consulted with
               the head of the DAO’s homicide division about whether the case should proceed to trial, in
               which he expressed his view that the Commonwealth had a strong case against Mr. Wright.
               He made recommendations to his superiors regarding plea deals(s), which ultimately led to an
               o\er — presented to the defense by Mr. Vega personally — that Mr. Wright plead guilty to a
               minimum term of 40-to-80 years (meaning that he would not be eligible for parole for another
               15 years), which Mr. Wright promptly declined.

               To this day, Mr. Vega has not apologized to Mr. Wright for the role he played in seeking his
               return to prison on a second life sentence, nor publicly acknowledged Mr. Wright’s innocence.
               In fact, during his deposition, Mr. Vega said that he believed Mr. Wright was guilty, and
               further stated that even if he had proof in 2016 that the detectives had knowingly fabricated
               Mr. Wright’s confession or planted physical evidence against him, he would have still
               recommended that the District Attorney’s O=ce proceed to trial.

           Again, those aren’t my words, but the words of The Innocence Project. And when Tony Wright
           successfully sued the city for your misconduct, and the misconduct of your o=ce, you said
           something that I have never seen a prosecutor say in my entire life. You said that even if you
           learned that police planted evidence on Tony Wright, even if you learned that they fabricated a
           false confession, that it wouldn’t even matter to you. This is beyond the pale. Again, you should
           be disbarred and lose your law license over this.




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           And you knew that the same o=cers who framed Tony Wright, O=cers Manuel Santiago and
           Frank Jastrzembski, have been involved in numerous other wrongful convictions, playing a major
           role in putting Jimmy Dennis and Willie Veasy behind bars for decades for murders they had
           nothing to do with. Both of those men were exonerated because of misconduct from your o=ce
           and both of those men were also paid millions of dollars from the taxpayers of Philadelphia
           because of it.

           But that’s not all, both O=cers Santiago and Jastrzembski donated money to the Carlos Vega
           campaign. Think about that. Philadelphia Police O=cers who were involved in at least three
           wrongful convictions while you were a prosecutor are donating to your campaign.

           Jimmy Dennis spent 25 years on death row for a murder he had nothing to do with. Carlos Vega
           knew this. It was his o=ce that convicted Jimmy. And Carlos knew the o=cers who were at the
           center of Jimmy Dennis being framed for murder, but he didn’t care. Here’s Jimmy’s story:




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           The Pennsylvania Supreme Court continued to blast Carlos Vega.




           Then they concluded by saying that if Carlos Vega did anything like this again, in “deNance” of
           the law that it would be at his own “peril.” This, too, was why he was Nred by Larry Krasner.




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           So yeah, I’m standing by every single word I said about you, Carlos. You are a monster. You
           ruined people’s lives. You worked with corrupt cops. Your o=ce repeatedly framed and convicted
           Black men for murders they had NOTHING to do with. And you know this. And you never
           intervened for Tony Wright - you tried him again. Your name is mentioned over 900 times in the
           transcripts on that case. When Tony calls you evil, when he calls you the devil, it’s because you
           earned that moniker.

           I’m going to frame this legal notice, put it on my wall, and show it o\ to friends and family to
           signify the time a monster like you tried to threaten me with a lawsuit for calling you out. Shame
           on you.




           If you’ve made it this far, God Bless You! Please click here to donate to help re-elect Larry
           Krasner so that we can keep Carlos Vega far, far, far away from the DA’s o=ce for the rest of his


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                                                                         ABOUT THE AUTHOR: Shaun King is one of the most followed and shared activists and
                                                                         journalists in the world. In addition to being the Founder and Editor in Chief of The North Star,
                                                                         he also leads the Grassroots Law Project and the Real Justice PAC. A historian by training,
                                                                         Shaun King is the New York Times bestselling author of Make Change: How to Fight Injustice,
                                                                         Dismantle Systemic Oppression, and Own Our Future. Shaun’s daily news podcast, The
                                                                         Breakdown with Shaun King, has been heard and shared hundreds of millions of times in almost
                                                                         every country in the world and is available on Apple Podcasts, Spotify, and everywhere podcasts
                                                                         are heard. Shaun has been with his brilliant wife, Rai, for nearly 25 years, and they are raising
                                                                         their 5 kids in Brooklyn, New York.
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            *+,ÿ4=43;797ÿ2(ÿ526<*ÿ84*4.ÿ*+<26:+ÿ>98EF4<5+GÿH=8ÿ2=3;ÿ?GIBÿJ,<,ÿ34*,<
            5+4<:,8ÿ9=ÿ4ÿ>6<8,<.ÿ4**,>1*,8ÿ>6<8,<.ÿ2<ÿ4::<4C4*,8ÿ477463*G
            K*933.ÿ*+4*ÿ52=536792=ÿ*,337ÿ2=3;ÿ14<*ÿ2(ÿ*+,ÿ7*2<;GÿL,5467,ÿ(26<ÿ26*ÿ2(ÿ(9C,
            7+22*9=:7ÿ9=ÿM+9348,31+94ÿ82ÿ=2*ÿ<,763*ÿ9=ÿ5+4<:,7.ÿN=O69<,<ÿ84*4ÿ7+2J.ÿ9*P7
            9>12779D3,ÿ*2ÿQ=2JÿJ9*+ÿ5,<*49=*;ÿJ+2ÿ52>>9**,8ÿ*+,ÿ5<9>,7.ÿ*+,9<
            D45Q:<26=87.ÿ4=8ÿJ+,*+,<ÿ*+,;ÿ+48ÿ4ÿ1<,C9267ÿ=2=C923,=*ÿ:6=ÿ2((,=7,G
            R+97ÿ>4Q,7ÿ9*ÿ89((9563*ÿ*2ÿ8,*,<>9=,ÿ+2Jÿ>65+ÿC923,=5,ÿ52638ÿ+4C,ÿD,,=
            1<,C,=*,8ÿD;ÿ>2<,ÿ7655,77(63ÿ1<27,56*92=7ÿ2(ÿ=2=C923,=*ÿ:6=ÿ1277,7792=G
            S<47=,<P7ÿ2((95,ÿ7498ÿ9*ÿ+47ÿ7,,=ÿ39**3,ÿ,C98,=5,ÿ*+4*ÿ*+27,ÿ45567,8ÿ2(
            54<<;9=:ÿ:6=7ÿ933,:433;ÿ4<,ÿ<,712=79D3,ÿ(2<ÿ8<9C9=:ÿ*+,ÿC923,=5,.ÿ47ÿ*+,ÿ+6:,
            61*95Qÿ9=ÿ:6=ÿ4<<,7*7ÿ79=5,ÿ347*ÿ;,4<ÿ+47ÿ82=,ÿ=2*+9=:ÿ*2ÿ732Jÿ*+,ÿ56<<,=*
            *2<<,=*ÿ2(ÿ:6=ÿC923,=5,G
            T,ÿ4:<,,7ÿJ9*+ÿ>4=;ÿ4=*9C923,=5,ÿ45*9C97*7ÿJ+2ÿ74;ÿ4=;ÿ134=ÿ*2ÿ7*,>ÿ*+,
            933,:43ÿ67,ÿ2(ÿ:6=7ÿD;ÿ;26=:ÿ1,213,ÿ>67*ÿ5,=*,<ÿ2=ÿ1<2C989=:ÿ<,726<5,7
            4=8ÿ76112<*ÿ*2ÿ*+27,ÿJ+2ÿ>4;ÿD,ÿ*,>1*,8ÿ*2ÿ82ÿ72G
            H8C254*,7ÿ39Q,ÿU,6D,=ÿV2=,7.ÿ,W,56*9C,ÿ89<,5*2<ÿ2(ÿX<2=*39=,ÿY487.ÿ4
            >,=*2<9=:ÿ2<:4=9Z4*92=.ÿ7,,ÿ<,472=7ÿD,+9=8ÿ*+,ÿ<97,[ÿH7ÿ7+22*9=:7ÿ76<:,
            9=ÿ=,9:+D2<+2287ÿJ+,<,ÿ<,798,=*7ÿ+4C,ÿ32=:ÿ(,3*ÿ*4<:,*,8ÿ\ÿ=2*ÿ1<2*,5*,8
            \ÿD;ÿ12395,.ÿ;26=:ÿ1,213,ÿ82=P*ÿ(,,3ÿ74(,.ÿ4=8ÿJ2638ÿ<4*+,<ÿ<97Qÿ:,**9=:
            546:+*ÿJ9*+ÿ4=ÿ6=395,=7,8ÿ2<ÿ933,:43ÿ:6=ÿ*+4=ÿ:,**9=:ÿ7+2*ÿ2<ÿQ933,8G
            V2=,7ÿ7498[ÿ]^+,=ÿ;26=:ÿ1,213,ÿ82=P*ÿ(,,3ÿC436,8.ÿ<,71,5*,8.ÿ*<67*,8.ÿ2<
            52==,5*,8ÿ*2ÿ*+,ÿ59*;P7ÿ>49=7*<,4>.ÿ*+,;ÿ5<,4*,ÿ*+,9<ÿ2J=ÿ7*<6::3,.ÿ*+,9<
            2J=ÿ14*+ÿ*2ÿ76<C9C43G_
            S,C9=ÿ̀238.ÿaI.ÿ(26=8,<ÿ2(ÿ*+,ÿH33ÿ*+,ÿS9=:7ÿF,=ÿ>,=*2<9=:ÿ1<2:<4>ÿ(2<
            >43,7ÿ4*ÿ*+,ÿ897*<95*P7ÿL69389=:ÿ?-ÿ+9:+ÿ75+223.ÿ7498ÿ+,ÿD,39,C,7ÿ>4=;ÿ2(
            *+27,ÿJ+2ÿ4<>ÿ*+,>7,3C,7ÿ2=ÿ59*;ÿ7*<,,*7ÿ82ÿ72ÿ47ÿ]4ÿ<,712=7,ÿ*2ÿJ+4*
            *+,;ÿ+4C,ÿD,,=ÿ1<,7,=*,8ÿ9=ÿ39(,G_
            ]Nÿ<,(67,ÿ*2ÿD,39,C,ÿ*+4*ÿ1,213,ÿ9=C23C,8ÿ9=ÿ*+4*ÿ39(,7*;3,ÿ45*6433;ÿJ4=*ÿ*2
            D,._ÿ7498ÿ̀238.ÿ89<,5*2<ÿ2(ÿ7*68,=*ÿ76112<*ÿ4*ÿ*+,ÿ^,7*ÿ'4Qÿb4=,ÿ16D395
            75+223G
            '(ÿ*+,ÿ=,4<3;ÿ?00ÿ;26=:ÿ>,=ÿ+,ÿ+47ÿ>,=*2<,8ÿ79=5,ÿ?00A.ÿc67*ÿ2=,ÿ+47
            D,,=ÿ7+2*ÿd4=8ÿ76<C9C,8e.ÿ4=8ÿ=2=,ÿ+47ÿD,,=ÿ4<<,7*,8ÿ(2<ÿ54<<;9=:ÿ4ÿ:6=.
            +,ÿ7498Gÿ]L6*ÿNÿJ933ÿ74;.ÿ433ÿ2(ÿ*+,>ÿ4<,ÿ,W127,8ÿ*2ÿ2112<*6=9*9,7ÿ*2ÿ+4C,
            455,77ÿ*2ÿ:6=7ÿ4=8ÿ455,77ÿ*2ÿ*+4*ÿ39(,7*;3,G_




            K*,(4=ÿK+4J.ÿ-A.ÿJ+2ÿ:<4864*,8ÿ9=ÿ?0-Aÿ(<2>ÿL69389=:ÿ?-ÿ4=8ÿ97ÿ7*933ÿD,9=:
            >,=*2<,8ÿD;ÿ̀238.ÿ,5+2,8ÿ+97ÿ7,=*9>,=*G


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            F:9B.-+9)1ÿ4Aÿ;.::+10B/:9/ÿ/:3ÿ9+ÿ:46ÿ/ÿ=/-ÿ+/0.+@/:ÿ9:ÿG-/:HA4-3I
            'J47ÿ=/:ÿ5/)2.-ÿ/ÿ-44@ÿA700ÿ4AÿKLLÿ>41+ÿ@1ÿ/5.ÿ/:3ÿ(*3ÿ>.)ÿ)2.1*3ÿ/00ÿ-/9+.
            )2.9-ÿ2/:3+ÿ9Aÿ147ÿ/+H.3ÿ9Aÿ)2.1*B.ÿ>..:ÿ/-47:3ÿ/ÿ57:ÿ4-ÿ+..:ÿ57:
            B940.:=.<ÿ4-ÿ+4@.>431ÿ)2.1ÿH:46ÿ39.3ÿA-4@ÿ57:ÿB940.:=.<CÿD2/6ÿ+/93I
            M403ÿ+/93ÿ@/:1ÿE0/=Hÿ/:3ÿ>-46:ÿ147:5ÿ@.:ÿ9:ÿ;290/3.0829/ÿ>.09.B.ÿ)2.
            8409=.ÿ/-.ÿ:4)ÿ/>0.ÿ)4ÿ8-4).=)ÿ)2.@<ÿ4-ÿ:4)ÿ9:).-.+).3ÿ9:ÿ349:5ÿ+4IÿN+ÿ/
            -.+70)<ÿ)2.+.ÿ147:5ÿ@.:ÿOÿ9:=0739:5ÿ)24+.ÿ624ÿ/-.ÿ4)2.-69+.ÿ0/6P/>939:5
            Oÿ/-.ÿ/-@9:5ÿ)2.@+.0B.+I
            D2/6ÿ/:3ÿ29+ÿA-9.:3ÿD212..@ÿE413<ÿQL<ÿ624ÿ9+ÿ/0+4ÿ/ÿ@.:)..ÿ4AÿM403*+<
            ./=2ÿ+/93ÿ)2.1ÿ80/:ÿ)4ÿ>71ÿ/ÿ57:ÿ0.5/001ÿ62.:ÿ)2.1ÿ/-.ÿQKIÿR(:ÿ;290/3.0829/<
            /370)+ÿQKÿ4-ÿ403.-ÿ=/:ÿ5.)ÿ/ÿ09=.:+.ÿ)4ÿ=/--1ÿ/ÿ=4:=./0.3ÿ6./84:ÿ47)+93.
            )2.9-ÿ24@.ÿ9Aÿ)2.1ÿ8/++ÿ/ÿ=-9@9:/0ÿ>/=H5-47:3ÿ=2.=Hÿ/:3ÿ@..)ÿ4)2.-
            -.S79-.@.:)+IT
            '(*00ÿ+/1ÿ9)ÿ09H.ÿ)29+Uÿ(*3ÿ-/)2.-ÿ)2-46ÿ/ÿ>700.)ÿ)2/:ÿ=/)=2ÿ/ÿ>700.)<CÿD2/6ÿ+/93I
            F84:ÿ-.A0.=)94:<ÿE413ÿ+/93Uÿ'(*@ÿ:4)ÿ54::/ÿ09.Iÿ(*00ÿ8-4>/>01ÿ5.)ÿ4:.ÿ>.A4-.ÿ(
            )7-:ÿQKIÿV2.-.*+ÿ/ÿ04)ÿ4Aÿ+)7AAÿ)2/)ÿ=/:ÿ2/88.:ÿ9:ÿ/ÿ1./-IC
            W7)0/6ÿ/:3ÿ2.-ÿ)./@ÿ+)-4:501ÿ+7884-)ÿ@.:)4-9:5<ÿ9:).-B.:)94:<ÿ/:3ÿ@4-.
            =4@@7:9)1ÿ-.+47-=.+IÿE7)ÿ+2.ÿ=4:).:3.3ÿ)2/)ÿ)2.ÿ'B/+)ÿ@/X4-9)1Cÿ4Aÿ)2.
            8.480.ÿ8409=.ÿ2/B.ÿ>..:ÿ=/)=29:5ÿ69)2ÿA9-./-@+ÿ/-.ÿ.9)2.-ÿ09:H.3ÿ)4ÿ)2.
            =9)1*+ÿ57:ÿB940.:=.ÿ4-ÿ/-.ÿ/)ÿ-9+Hÿ4Aÿ>.=4@9:5ÿ.:+:/-.3ÿ9:ÿ9)ÿOÿ.+8.=9/001
            /+ÿ)-9B9/0ÿ=4:A09=)+<ÿ+7=2ÿ/+ÿ(:+)/5-/@ÿA.73+<ÿ2/B.ÿ>..:ÿ0./39:5ÿ)4
            B940.:=.I
            'Y.*-.ÿ:4)ÿ)/0H9:5ÿ/>47)ÿ+4@.>431ÿ)2/)ÿ@/3.ÿ/ÿ@9+)/H.<ÿ+4@.>431ÿ)2/)
            6/+ÿ=/--19:5ÿA4-ÿ8-4).=)94:ÿ/:3ÿ)2.1ÿ393:*)ÿ2/B.ÿ)2.9-ÿ09=.:+.<CÿW7)0/6
            +/93Iÿ'Y.*-.ÿ)/0H9:5ÿ/>47)ÿ8.480.ÿ624ÿH:46ÿA700ÿ6.00ÿ147*-.ÿ:4)ÿ+7884+.3
            )4ÿ2/B.ÿ9)IC

            Y.+)ÿ;29001ÿ=48+ÿ5-46ÿA-7+)-/).3
            ;409=.ÿ/-.ÿ.:=47:).-9:5ÿ)2.+.ÿ900.5/0ÿ57:+ÿ4:ÿ)2.ÿ+)-..)ÿ.B.-1ÿ:952)I
            D4ÿA/-ÿ)29+ÿ1./-<ÿ)2.ÿ3.8/-)@.:)ÿ2/+ÿ-.=4-3.3ÿZQÿ3/1+ÿ4AÿKLÿ4-ÿ@4-.ÿ57:
            /--.+)+<ÿ=4@8/-.3ÿ69)2ÿX7+)ÿ)64ÿ3/1+ÿ4B.-ÿ)2.ÿ+/@.ÿ)9@.ÿ0/+)ÿ1./-I
            (:ÿ)2.ÿD47)26.+)ÿ;290/3.0829/ÿ8409=.ÿ39B9+94:<ÿ)2.ÿ-/394ÿ=-/=H0.+ÿ69)2
            -.84-)+ÿ4Aÿ57:ÿ/--.+)+ÿ/)ÿ/ÿ39[[19:5ÿ=098IÿWAA9=.-+ÿ)2.-.ÿ2/B.ÿ/--.+).3ÿ@4-.
            900.5/0ÿ57:ÿ+7+8.=)+ÿ)2/:ÿ/:162.-.ÿ.0+.ÿ9:ÿ)2.ÿ=9)1Uÿ\Z]ÿ8.480.ÿ0/+)ÿ1./-<
            /:3ÿ4:ÿ8/=.ÿ)4ÿ347>0.ÿ)2/)ÿ9:ÿQLQKI
            D244)9:5+ÿ)2.-.ÿ2/B.ÿ347>0.3ÿ+9:=.ÿQLK^I




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            8--/2@<-+)ÿ).7+ÿ.:ÿ-=+ÿ)*23+ÿ2(ÿABCDÿ8//+)-)ÿ-.ÿ>=8-ÿ=+ÿ5+),/2@+)ÿ8)ÿ8
            9/.>2(9ÿE8,3ÿ.:ÿ:+8/ÿ87.(9ÿ*+.*E+ÿ,8//F2(9ÿ9<()ÿ5<+ÿ-.ÿ5/.**2(9
            ,.(?2,-2.(ÿ/8-+)ÿ8(5ÿE.>+/ÿ@82E)ÿ)+-ÿ@Fÿ@82Eÿ,.772))2.(+/)G
            H4=8-ÿ'ÿ)++ÿ2)ÿ-=8-ÿ-=+ÿ,2-Fÿ8(5ÿ-=+ÿ,/272(8EÿI<)-2,+ÿ)F)-+7ÿ5.ÿ(.-ÿ-83+
            2EE+98EEFÿ,8//F2(9ÿ:2/+8/7)ÿ)+/2.<)EF6Jÿ4..5ÿ)825GÿHK=+/+L)ÿ@++(ÿ8(
            +M*E.)2.(ÿ.:ÿ9<(ÿ?2.E+(,+ÿ2(ÿ-=+ÿE8)-ÿ-=/++ÿF+8/)6ÿ8(5ÿ-=+/+L)ÿ7./+ÿ-=8(
            .(+ÿ/+8).(ÿNÿ@<-ÿ'ÿ-=2(3ÿ.(+ÿ/+8).(ÿ2)ÿ>+ÿ5.(L-ÿ-83+ÿ2-ÿ)+/2.<)EFGJ
            D(ÿ'(O<2/+/ÿ/+?2+>ÿ.:ÿPQRSÿ9<(ÿ8//+)-)ÿ:/.7ÿ-=+ÿRT-=ÿU.E2,+ÿ12)-/2,-6ÿ2(
            4..5L)ÿ;.<-=>+)-ÿ12?2)2.(6ÿ)=.>+5ÿ-=8-ÿ.:ÿ-=+ÿTPÿ*+.*E+ÿ>=.)+ÿ,8)+)
            >+/+ÿ/+).E?+5ÿ8)ÿ.:ÿV8(<8/FÿPQPR6ÿ7./+ÿ-=8(ÿ=8E:6ÿWXY6ÿ=85ÿ-=+2/ÿ,=8/9+)
            >2-=5/8>(ÿ./ÿ52)72))+5G
            4..5ÿ8(5ÿ).7+ÿ.:ÿ=2)ÿ.::2,+/)ÿ,.(-+(5ÿ-=8-ÿ8725ÿ-=2)ÿ/+8E2-F6ÿ-=+Fÿ8/+
            +(,.<(-+/2(9ÿ-=+ÿ)87+ÿ)<)*+,-)ÿ.?+/ÿ8(5ÿ.?+/ÿ8982(GÿC+5ÿ<*6ÿ-=+Fÿ@+98(
            *.)-2(9ÿ*=.-.)ÿ.(ÿ).,28Eÿ7+528ÿ.:ÿ,.(:2),8-+5ÿ:2/+8/7)ÿ8(5ÿ,8EE2(9ÿ:./
            )-/2,-+/ÿ,.()+O<+(,+)ÿ:./ÿ,8//F2(9ÿ-=+7G




            HK=+Fÿ3(.>ÿ-=+/+L)ÿ(.ÿ,.()+O<+(,+)ÿ:./ÿ,8//F2(9ÿ8ÿ9<(ÿ2(ÿU=2EEFGÿ'-L)ÿZ+/.
            -.ÿ(.(+6Jÿ=+ÿ)825GÿH'ÿ5.(L-ÿ,8/+ÿ>=8-ÿ32(5ÿ.:ÿ*/.9/87)ÿF.<ÿ,.7+ÿ<*ÿ>2-=6
            >=8-ÿ32(5ÿ.:ÿ7.(+FÿF.<ÿ*<-ÿ2(ÿ*/+?+(-2.(ÿNÿ2:ÿ*+.*E+ÿ8/+ÿ(.-ÿ=+E5
            8,,.<(-8@E+6ÿ-=+(ÿ*+.*E+ÿ8/+ÿ9.2(9ÿ-.ÿ3++*ÿ,8//F2(9ÿ9<()GJ
            [+ÿ855+5\ÿH'L7ÿ(.-ÿ>.//2+5ÿ8@.<-ÿ=</-2(9ÿ*+.*E+L)ÿ:++E2(9)ÿ8(F7./+6J
            >2-=.<-ÿ)*+,2:F2(9ÿ(87+)GÿH4+L?+ÿ9.-ÿ-.ÿ5.ÿ).7+-=2(9ÿ52::+/+(-Gÿ4+ÿ,8(L-
            3++*ÿ5.2(9ÿ-=+ÿ)87+ÿ-=2(9GJ
            4=2E+ÿ(.-ÿ/+)*.(52(9ÿ52/+,-EFÿ-.ÿ4..56ÿ]/8)(+/ÿ)825ÿ=+ÿ@+E2+?+5ÿ-=8-
            ).7+ÿ,.*)6ÿ:/<)-/8-+5ÿ@Fÿ-=+ÿ2(,/+8)2(9ÿ?2.E+(,+ÿNÿ8(9+/ÿ=+ÿ)=8/+)ÿN
            78Fÿ@+ÿ:.,<)2(9ÿ.(ÿ-=+ÿ)</9+ÿ2(ÿ9<(^*.))+))2.(ÿ,8)+)ÿ-.ÿ)=2:-ÿ-=+
            (8//8-2?+ÿ8>8Fÿ:/.7ÿ-=+ÿ5+*8/-7+(-L)ÿE.>ÿ,E+8/8(,+ÿ/8-+ÿ:./ÿ)=..-2(9)
            8(5ÿ=.72,25+)G
            H4=8-ÿ'ÿ=+8/ÿ7./+ÿ8(5ÿ7./+ÿ2)ÿ_`+-ÿ7+ÿ-+EEÿF.<ÿ=.>ÿ78(Fÿ9<()ÿ>+ÿ9.-ÿ.::
            -=+ÿ)-/++-ÿ-=2)ÿ>++36ÿE+-ÿ7+ÿ/+5+:2(+ÿ-=+ÿ2))<+6LJÿ]/8)(+/ÿ)825G
            [+ÿ,/+52-+5ÿ.::2,+/)ÿ>2-=ÿ5.2(9ÿ-=+2/ÿ@+)-ÿ-.ÿ:.EE.>ÿ./5+/)6ÿ)+2Z+ÿ2EE+98E
            :2/+8/7)ÿ>=+(ÿ-=+Fÿ:2(5ÿ-=+76ÿ8(5ÿ,.EE+,-ÿ+?25+(,+ÿ-=+Fÿ-=2(3ÿ2)ÿ)-/.(9
            +(.<9=ÿ-.ÿ)<)-82(ÿ8ÿ*/.)+,<-2.(G
            ;-2EE6ÿ=+ÿ855+5\ÿH'ÿ-=2(3ÿ2-L)ÿ8E>8F)ÿ8ÿ9..5ÿ-=2(9ÿ-.ÿ9+-ÿ9<()ÿ.::ÿ-=+ÿ)-/++-G
            a<-ÿ2-ÿ2)ÿ(.-ÿ-=+ÿ*/278/FÿI.@ÿ.:ÿ*.E2,+ÿ-.ÿ=8/?+)-ÿ9<()Gÿ'-ÿ2)ÿ-=+ÿ*/278/FÿI.@
            .:ÿ*.E2,+ÿ-.ÿ8//+)-ÿ*+.*E+ÿ>2-=ÿ).E25ÿ+?25+(,+ÿ-=8-ÿ,8(ÿ@+ÿ*/.?+5ÿ@+F.(5ÿ8
            /+8).(8@E+ÿ5.<@-GJ

            _[+ÿ525(L-ÿ5+)+/?+ÿ-.ÿ9.ÿ.<-ÿE23+ÿ-=8-L
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                       ÿ      ÿ        ÿÿ ÿ               ÿ ÿ ÿÿ           ÿ         ÿ                  ajklmnokp i   abcdÿbdÿfÿabcdÿgh
                   ÿ
            =/*ÿ>6?2,;*;ÿ4(263ÿ@Aÿ,6-+061*-ÿ,6ÿB/,1/ÿ-()*(6*ÿ1/0;5*3ÿB,+/ÿ0ÿCDEF
            10-*ÿ,6ÿGH@IÿB0-ÿ:0+*;ÿ1/0;5*3ÿB,+/ÿ/(),1,3*Jÿ)2;3*;Jÿ(;ÿ0++*)7+*3
            )2;3*;<
            K6*ÿ(4ÿ+/*)ÿB0-ÿ'08,;ÿL261/JÿB/(ÿ/0-ÿ8**6ÿ1/0;5*3ÿB,+/ÿ40+0::M
            -/((+,65ÿ'*06ÿN26+/*;Jÿ06ÿ*O7*1+06+ÿ40+/*;Jÿ(2+-,3*ÿ0ÿ80;8*;-/(7ÿ,6
            =,(50ÿ,6ÿP*1*)8*;ÿGH@Q<
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             EXHIBIT “D”
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Carlos Vega was fired for being corrupt. Now police are backing his run f...   https://www.thenorthstar.com/p/carlos-vega-was-fired-for-being-corrupt
                        Case 2:19-cv-04039-GEKP Document 54-1 Filed 06/04/21 Page 102 of 318

           be against the law to run an oEce you’ve been Qred from, but here we are.

           Also, two things, PBS has a new documentary on Larry Krasner that I want you to see.
           Here’s the trailer. The full episode is below.




           And here’s Episode 1. It’s powerful - and already has nearly 3 million views.




6 of 10                                                                                                                           4/27/21, 11:45 AM
Carlos Vega was fired for being corrupt. Now police are backing his run f...   https://www.thenorthstar.com/p/carlos-vega-was-fired-for-being-corrupt
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           Season 2 of our popular podcast series, W.O.C. at Work with Rai King and Dr. Blanca Ruiz
           is back! Episode 1 is available today on all podcasting platforms! Listen in as the hosts recap
           the year that was 2020 and what it meant for mothers, professional women, and the gains
           we may never recover. Also discussed is the idea of overworking as a trauma response!

           Video episodes and Episode 2 are available exclusively to The North Star members here!

           Here’s a preview:




7 of 10                                                                                                                           4/27/21, 11:45 AM
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           ABOUT THE AUTHOR: Shaun King is one of the most followed and shared activists and
           journalists in the world. In addition to being the Founder and Editor in Chief of The North
           Star, he also leads the Grassroots Law Project and the Real Justice PAC. A historian by
           training, Shaun King is the New York Times bestselling author of Make Change: How to
           Fight Injustice, Dismantle Systemic Oppression, and Own Our Future. Shaun’s daily news
           podcast, The Breakdown with Shaun King, has been heard and shared hundreds of millions
           of times in almost every country in the world and is available on Apple Podcasts, Spotify,
           and everywhere podcasts are heard. Shaun has been with his brilliant wife, Rai, for nearly 25
           years, and they are raising their 5 kids in Brooklyn, New York.

           You can also follow Shaun King on Instagram, Twitter, and Facebook.




8 of 10                                                                                                                           4/27/21, 11:45 AM
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10 of 10                                                                                                                          4/27/21, 11:45 AM
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              EXHIBIT “F”
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                            THE BEASLEY FIRM, LLC                                          Attorneys
                                                                                               Filed for
                                                                                                      andPlaintiff
                                                                                                          Attested by the
                            By: James E. Beasley, Jr., Esquire                                 Office of Judicial Records
                                Louis F. Tumolo, Esquire                                           04 MAY 2021 02:36 pm
                                Lane R. Jubb, Jr., Esquire                                                S. RICE
                            I.D. Nos. 83282/314255/319272
                            1125 Walnut Street
                            Philadelphia, PA 19107-4997
                            (215) 592-1000
                            (215) 592.8360 (telefax)

                            CARLOS VEGA, ESQ.                                  :          PHILADELPHIA COUNTY
                            c/o The Beasley Firm, LLC                          :           Court of Common Pleas
                            Philadelphia, PA 19107                             :
                                                                               :                    May, 2021
                                            Plaintiff,                         :
                                                                               :          No.:_______________
                                   vs.                                         :
                                                                               :          JURY TRIAL DEMANDED
                            SHAUN KING                                         :
                            114 Fifth Avenue, 18th Floor                       :           PRAECIPE TO ISSUE
                            New York, NY 10011                                 :           WRIT OF SUMMONS
                                                                               :
                                   And                                         :               CODE: 2L
                                                                               :          LIBEL AND SLANDER
                            REAL JUSTICE PAC                                   :
                            Tiger Building                                     :
                            1221 Locust Street, Suite 3002                     :
                            Philadelphia, PA 19107                             :
                                                                               :
                                   And                                         :
                                                                               :
                            LAWRENCE KRASNER FOR DA                            :
                            Tiger Building                                     :
                            1221 Locust Street, Suite 3003                     :
                            Philadelphia, PA 19107                             :
                                                                               :
                                            Defendants.


                                                  PRAECIPE TO ISSUE WRIT OF SUMMONS
                                                     CODE: 2L - LIBEL AND SLANDER




                              ___________________________________________________________________________________________________
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET                                         CARLOS VEGA V. SHAUN KING, ET AL.
 PHILADELPHIA, PA 19107
                                                            PRAECIPE TO ISSUE WRIT OF SUMMONS
       215 592 1000
    215 592 8360 (FAX)
 WWW.BEASLEYFIRM.COM
                                                                                                                  Case ID: 210500305
                          Case 2:19-cv-04039-GEKP Document 54-1 Filed 06/04/21 Page 110 of 318




                            TO THE PROTHONOTARY:

                                   Kindly issue a Writ of Summons upon the Defendants in the above-captioned

                            Civil Action.



                                                                           THE BEASLEY FIRM, LLC

                            Dated: 4 May 2021                      BY:     /s/ Louis F. Tumolo
                                                                           LOUIS F. TUMOLO, ESQUIRE
                                                                           Attorney for Plaintiff




                              ___________________________________________________________________________________________________
THE BEASLEY FIRM, LLC
  1125 WALNUT STREET                                         CARLOS VEGA V. SHAUN KING, ET AL.
 PHILADELPHIA, PA 19107
                                                            PRAECIPE TO ISSUE WRIT OF SUMMONS
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Case 2:19-cv-04039-GEKP Document 54-1 Filed 06/04/21 Page 111 of 318
Case 2:19-cv-04039-GEKP Document 54-1 Filed 06/04/21 Page 112 of 318




                      Court of Common Pleas
                            MAY             Term, 20 21

                                   No.




                       CARLOS VEGA, ESQ.
                       Plaintiff
                                         vs.

                       SHAUN KING, et al.
                       Defendant




                                   SUMMONS
                               Louis F. Tumolo, Esquire
                               The Beasley Firm, LLC
                               1125 Walnut Street
                               Philadelphia, PA 19107
                               (215) 592-1000
                               Attorney for Plaintiff



                                                                       Case ID: 210500305
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              EXHIBIT “G”
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                                   SETTLEMENT AGREEMENT
        This Settlement Agreement (“Agreement”) is made and entered into by the Board of
Ethics of the City of Philadelphia, J. Shane Creamer, Jr., the Executive Director of the Board,
Real Justice PAC, and Rebecca Bond, the Treasurer of Real Justice PAC, jointly referred to as
“the Parties.”

    RECITALS
A.      The Board of Ethics of the City of Philadelphia is an independent, five-member City
        board established in 2006 through voter approval of an amendment to the Philadelphia
        Home Rule Charter. Pursuant to Section 4-1100 of the Home Rule Charter, the Board is
        charged with administering and enforcing the City’s Campaign Finance Law.
B.      Real Justice PAC is a political committee based in San Francisco, California. In early
        2017, the committee registered with the Pennsylvania Department of State in order to
        engage in activity in Pennsylvania. Rebecca Bond is the Treasurer of Real Justice PAC.
C.      Under the City’s Campaign Finance Law, a political committee could not make
        contributions of more than $23,800 1 in 2017 to a candidate for District Attorney. Both
        monetary and in-kind contributions count towards the limits.
D.      An excess contribution by a political committee violates Philadelphia Code § 20-1002(2)
        and is subject to a civil monetary penalty of three times the amount by which the
        contribution exceeded the limit, or $2,000, whichever is less.
E.      As provided by Board Regulation No. 1, Paragraph 1.1(q), an in-kind contribution occurs
        if a person: (i) provides goods or services directly to a candidate’s campaign without
        charge or at a reduced charge; (ii) pays someone else to provide goods or services to the
        candidate’s campaign; or (iii) coordinates expenditures it makes to advocate or influence
        the election of the candidate with the candidate’s campaign.
F.      Pursuant to the City’s Campaign Finance Law, if a political committee makes
        expenditures or incurs debt to influence a covered City election, it is required to
        electronically file with the Board a campaign finance report that discloses the
        committee’s financial transactions during the relevant reporting period. Pursuant to
        Philadelphia Code § 20-1006(4) and Regulation No. 1, Paragraph 1.24, the making of a
        material misstatement or omission in a report filed with the Board is a violation of the
        City’s Campaign Finance Law.
G.      In June of 2018, Board Enforcement Staff received a referral that indicated potential
        violations of the City’s Campaign Finance Law in 2017 by Real Justice PAC and the
        campaign of District Attorney candidate Lawrence Krasner. Accordingly, the Executive
        Director opened an investigation during which Enforcement Staff obtained bank records,
        emails, text messages, campaign records, and other documents and information.



1
 This figure was double the usual contribution limit because one of the candidates for District Attorney in
2017 contributed more than $250,000 of his own money to his campaign.

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H.     Real Justice PAC was founded in February of 2017 as a national federal PAC with the
       goal of changing the criminal justice system by electing reform-minded District
       Attorneys. Real Justice PAC identified the 2017 Philadelphia District Attorney election
       and the candidacy of Mr. Krasner as being of particular interest. Real Justice PAC
       decided that the best way for it to support Mr. Krasner’s candidacy would be to embed
       three full time staffers with his campaign to develop and run a volunteer based peer-to-
       peer text message program and a phone bank operation using a web-based dialer system.
       The three embedded staffers worked closely with other members of the Krasner
       campaign.
I.     Two of these embedded staffers worked with the Krasner campaign from late March
       through the May 16, 2017 Primary Election. Real Justice PAC paid these two staffers a
       total of $17,104.84 during this time period and also reimbursed them a total of $465.24
       for travel. The Krasner campaign did not make any payments to these two staffers.
J.     The third staffer worked with the Krasner campaign from early April through the
       November 7, 2017 General Election. Real Justice PAC paid this staffer a total of $16,250
       for the time period of April through early September. In August of 2017, the Krasner
       campaign named the staffer a Deputy Campaign Manager and began making payments to
       him.
K.     In addition to the payments made to the three staffers, Real Justice PAC made
       administrative expenditures of $1,000 related to the work they did for the Krasner
       campaign.
L.     By paying people who worked as staffers on the Krasner campaign, as described above,
       Real Justice PAC made in-kind contributions to the Krasner campaign totaling
       $34,820.08 in 2017, which was $11,020.08 in excess of the limits imposed by the City’s
       Campaign Finance Law.
M.     Real Justice PAC and the Krasner campaign were aware that any expenditures Real
       Justice PAC made in coordination with the campaign would be in-kind contributions. In
       2017, however, Real Justice PAC miscalculated the amount of expenditures to the
       embedded staffers that would be attributable as in-kind contributions. Neither Real
       Justice PAC nor the three embedded staffers kept documentation of the specific amount
       of time they spent working on matters related to the Krasner campaign nor did anyone
       from the Krasner campaign request such documentation.
N.     Real Justice PAC filed campaign finance reports with the Board in 2017, as required by
       the City’s Campaign Finance Law, but the reports the PAC filed for Cycles 2, 3, and 4
       did not properly disclose the in-kind contributions Real Justice PAC made to the Krasner
       campaign.
O.     Real Justice PAC and Ms. Bond cooperated with the Board’s investigation.
P.     The Parties desire to enter into this Agreement in order to resolve the issues described
       herein.



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 AGREEMENT
 The Parties agree that:
1. By making in-kind contributions to the campaign of Lawrence Krasner in excess of the
   City’s contribution limits, Real Justice PAC violated Philadelphia Code § 20-1002(2), for
   which it is liable for a civil monetary penalty of $2,000.
2. Because the 2017 Cycle 2 campaign finance report they filed with the Board contained
   material misstatements and omissions in violation of Philadelphia Code § 20-1006(4), Real
   Justice PAC and Ms. Bond are jointly and severally liable for a civil monetary penalty of
   $2,000.
3. Because the 2017 Cycle 3 campaign finance report they filed with the Board contained
   material misstatements and omissions in violation of Philadelphia Code § 20-1006(4), Real
   Justice PAC and Ms. Bond are jointly and severally liable for a civil monetary penalty of
   $2,000.
4. Because the 2017 Cycle 4 campaign finance report they filed with the Board contained
   material misstatements and omissions in violation of Philadelphia Code § 20-1006(4), Real
   Justice PAC and Ms. Bond are jointly and severally liable for a civil monetary penalty of
   $2,000.
5. The civil monetary penalties set forth in Paragraphs 1 through 4 are due within 30 days of the
   effective date of the Agreement. Payment shall be by check or money order made payable to
   the City of Philadelphia and delivered to the offices of the Board of Ethics.
6. Within 30 days of the effective date of the Agreement, Real Justice PAC will electronically
   file with the Board amended campaign finance reports correcting the reporting failures
   described in this Agreement.
7. From the effective date of the Agreement through December 31, 2021, Real Justice PAC
   shall notify the Board's Executive Director if it intends to make any expenditures to influence
   a particular covered City election. Such notice shall be due within 14 days of Real Justice
   PAC making its initial expenditure for that election.
8. Real Justice PAC and Ms. Bond release and hold harmless the Board and its staff from any
   potential claims, liabilities, and causes of action arising from the Board’s investigation,
   enforcement, and settlement of the matters described in the Agreement.
9. In consideration of the above and in exchange for the compliance of Real Justice PAC and
   Ms. Bond with all of the terms of the Agreement, the Board waives any further penalties or
   fines against them for the conduct described in the Agreement.
10. The Parties will not make any public statements that are inconsistent with the terms of the
    Agreement.




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                                   SETTLEMENT AGREEMENT
        This Settlement Agreement (“Agreement”) is made and entered into by the Board of
Ethics of the City of Philadelphia, J. Shane Creamer, Jr., the Executive Director of the Board,
Lawrence Krasner for District Attorney, Lawrence Krasner, and Vernon Anastasio, the Treasurer
of Lawrence Krasner for District Attorney, jointly referred to as “the Parties.”

    RECITALS
A.      The Board of Ethics of the City of Philadelphia is an independent, five-member City
        board established in 2006 through voter approval of an amendment to the Philadelphia
        Home Rule Charter. Pursuant to Section 4-1100 of the Home Rule Charter, the Board is
        charged with administering and enforcing the City’s Campaign Finance Law.
B.      Lawrence Krasner is the Philadelphia District Attorney. In 2017, he was a candidate for
        that office and used Lawrence Krasner for District Attorney as the candidate political
        committee for his campaign. Vernon Anastasio is the Treasurer of Lawrence Krasner for
        District Attorney.
C.      Real Justice PAC is a political committee based in San Francisco, California. In early
        2017, the committee registered with the Pennsylvania Department of State in order to
        engage in activity in Pennsylvania.
D.      Under the City’s Campaign Finance Law, a political committee could not make
        contributions of more than $23,800 1 in 2017 to a candidate for District Attorney. Both
        monetary and in-kind contributions count towards the limits.
E.      The acceptance by a candidate of an excess contribution from a political committee
        violates Philadelphia Code § 20-1002(12) and is subject to a civil monetary penalty of
        three times the amount by which the contribution exceeded the limit, or $2,000,
        whichever is less.
F.      As provided by Board Regulation No. 1, Paragraph 1.1(q), an in-kind contribution occurs
        if a person: (i) provides goods or services directly to a candidate’s campaign without
        charge or at a reduced charge; (ii) pays someone else to provide goods or services to the
        candidate’s campaign; or (iii) coordinates expenditures it makes to advocate or influence
        the election of the candidate with the candidate’s campaign.
G.      Pursuant to the City’s Campaign Finance Law, candidates and candidate political
        committees must file campaign finance reports with the Board several times during the
        year of a covered City election. Pursuant to Philadelphia Code § 20-1006(4) and
        Regulation No. 1, Paragraph 1.24, the making of a material misstatement or omission in a
        report filed with the Board is a violation of the City’s Campaign Finance Law.

1
 This figure was double the usual contribution limit because one of the candidates for District Attorney in
2017 contributed more than $250,000 of his own money to his campaign.

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H.     In June of 2018, Board Enforcement Staff received a referral that indicated potential
       violations of the City’s Campaign Finance Law in 2017 by Real Justice PAC and the
       campaign of District Attorney candidate Larry Krasner. Accordingly, the Executive
       Director opened an investigation during which Enforcement Staff obtained bank records,
       emails, text messages, campaign records, and other documents and information.
I.     Real Justice PAC was founded in February of 2017 as a federal PAC with the goal of
       changing the criminal justice system by electing reform-minded District Attorneys across
       the country. During the 2017 Philadelphia District Attorney election, in order to support
       Mr. Krasner’s candidacy, Real Justice PAC embedded three full time staffers with his
       campaign. These staffers developed and ran a volunteer based peer-to-peer text message
       program and a phone bank operation using a web-based dialer system. The three
       embedded staffers worked closely with other members of the Krasner campaign.
J.     Two of these embedded staffers worked with the Krasner campaign from late March
       through the May 16, 2017 Primary Election. Real Justice PAC paid these two staffers a
       total of $17,104.84 during this time period and also reimbursed them a total of $465.24
       for travel. The Krasner campaign did not make any payments to these two staffers.
K.     The third staffer worked with the Krasner campaign from early April through the
       November 7, 2017 General Election. Real Justice PAC paid this staffer a total of $16,250
       for the time period of April through early September. In August of 2017, the Krasner
       campaign named the staffer a Deputy Campaign Manager and began making payments to
       him.
L.     In addition to the payments made to the three staffers, Real Justice PAC made
       administrative expenditures of $1,000 related to the work they did for the Krasner
       campaign.
M.     By paying people who worked as staffers on the Krasner campaign, as described above,
       Real Justice PAC made in-kind contributions to the Krasner campaign totaling
       $34,820.08 in 2017, which was $11,020.08 in excess of the limits imposed by the City’s
       Campaign Finance Law.
N.     Real Justice PAC and the Krasner campaign were aware that any expenditures Real
       Justice PAC made in coordination with the campaign would be in-kind contributions. In
       2017, however, Real Justice PAC miscalculated the amount of expenditures to the
       embedded staffers that would be attributable as in-kind contributions. During the time the
       three staffers were embedded with the Krasner campaign, Real Justice PAC did not
       provide documentation to the campaign detailing how much the PAC was paying them,
       nor did the Krasner campaign request such documentation.
O.     Lawrence Krasner for District Attorney filed campaign finance reports with the Board as
       required by the City’s Campaign Finance Law but failed to disclose in any of those
       reports the in-kind contributions the campaign received from Real Justice PAC.
P.     Lawrence Krasner for District Attorney, Mr. Krasner, and Mr. Anastasio fully cooperated
       with the Board’s investigation.


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Q.      The Parties desire to enter into this Agreement in order to resolve the issues described
        herein.


 AGREEMENT
 The Parties agree that:
1. By accepting in-kind contributions from Real Justice PAC in excess of the City’s
   contribution limits, Lawrence Krasner for District Attorney and Mr. Krasner violated
   Philadelphia Code § 20-1002(12), for which they shall be jointly and severally liable for a
   civil monetary penalty of $2,000, which shall be due within 60 days of the effective date of
   the Agreement.
2. Lawrence Krasner for District Attorney shall disgorge to the City $11,020.08, which is the
   excess portion of the in-kind contribution it received from Real Justice PAC. Payment shall
   be made on the following schedule:
     2.1. $2,000 within 90 days of the effective date of the Agreement; and
     2.2. At least $500 every 60 days thereafter until the full amount is paid, provided that the full
          amount shall be paid by December 31, 2019.
3. By failing to disclose in-kind contributions from Real Justice PAC in campaign finance
   reports that they filed with the Board, Lawrence Krasner for District Attorney and Mr.
   Anastasio violated Philadelphia Code § 20-1006(4), for which they are jointly and severally
   liable for a civil monetary penalty of $2,000, which shall be due within 60 days of the
   effective date of the Agreement.
4. All payments required by this Agreement shall be by check or money order made payable to
   the City of Philadelphia and delivered to the offices of the Board of Ethics.
5. Within 30 days of the effective date of the Agreement, Lawrence Krasner for District
   Attorney will electronically file with the Board amended campaign finance reports correcting
   the reporting failures described in this Agreement.
6. Lawrence Krasner for District Attorney shall not use funds received from Real Justice PAC,
   its officers, or affiliates to pay the penalties or disgorgement required by this Agreement.
7. Lawrence Krasner for District Attorney, Mr. Krasner, and Mr. Anastasio release and hold
   harmless the Board and its staff from any potential claims, liabilities, and causes of action
   arising from the Board’s investigation, enforcement, and settlement of the matters described
   in the Agreement.
8. In consideration of the above and in exchange for the compliance of Lawrence Krasner for
   District Attorney, Mr. Krasner, and Mr. Anastasio with all of the terms of the Agreement, the
   Board waives any further penalties or fines against them for the conduct described in the
   Agreement.
9. The Parties will not make any public statements that are inconsistent with the terms of the
   Agreement.

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             EXHIBIT “H”
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                                                               Commonwealth of Pennsylvania
                                                        Campaign Finance Report
                              (Note: This report must be clear and legible. It may be typed or printed in blue or black ink.)


 Filer Identification                                 Report                                      1.                             2.                            3.
 Number:
                                  17760773            Filed By:
                                                                            CANDIDATE                      COMMITTEE                      LOBBYIST
 Name of Filing Committee, Candidate or Lobbyist:
 RealJusticePAC
 Street Address:
 3041 Mission St. 327
 City:                                                                State:                                        Zip Code:
 San Francisco                                                        CA                                            94110
                   6th Tuesday       1.        2nd Friday          2.            30 Day            3.        Amendment
                   Pre-Primary                 Pre-Primary              X        Post Primary                Report?
                                                                                                                                  Yes                No        X
 TYPE OF
 REPORT            6th Tuesday       4.        2nd Friday          5.            30 Day            6.        Termination
                   Pre-Election                Pre-Election                      Post Election               Report?
                                                                                                                                  Yes                No        X

  Other                              7.
                   Annual Report               YEAR                2021

                                                                        DATE OF ELECTION                 District       Office          Party         County
 Name of Office Sought by Candidate:
                                                                  MO.         DAY      YEAR              Number:        Code:           Code:         Code:
                                                                  5               18         2021
 Summary of Receipts                  MO.       DAY        YEAR                        MO.       DAY      YEAR             FOR OFFICE USE ONLY
                                                                            To
 and Expenditures from:              3       30          2021                          5     3           2021
 A. Amount Brought Forward From Last Report                                                        ¤14,750.00
 B. Total Monetary Contributions and Receipts (From Schedule I)                                    ¤44,000.00
 C. Total Funds Available (Sum of Lines A and B)                                                   ¤58,750.00
 D. Total Expenditures (From Schedule III)                                                         ¤18,000.00
 E. Ending Cash Balance (Subtract Line D from Line C)                                              ¤40,750.00
 F. Value of In-Kind Contributions Received (From Schedule II)                                              ¤0.00
 G. Unpaid Debts and Obligations (From Schedule IV)                                                         ¤0.00
                                                                        AFFIDAVIT SECTION
 PART I - If this is a Committee report, treasurer sign here. If this is a Candidate report, candidate sign here.
 I swear (or affirm) that this report, including the attached schedules, on paper or computer diskette, are to the best of my knowledge and belief true,
 correct and complete.
 Sworn to and subscribed before me this


                     day of                        20
                                                                                                             Signature of Person Submitting Report

                                 Signature
                                                                                                                          Printed Name
  My Commission expires
                                   MO.          DAY           YEAR
                                                                                                       Area Code                  Daytime Telephone Number

                                                                        AFFIDAVIT SECTION
 PART II - If this is a report of a Candidate's Authorized Committee, candidate shall sign here.
 I swear (or affirm) that to the best of my knowledge and belief this political committee has not violated any provisions of the Act of June 3, 1937 (P.L.
 1333, No 320) as amended.
 Sworn to and subscribed before me this


                     day of                        20
                                                                                                             Signature of Person Submitting Report

                                 Signature
                                                                                                                          Printed Name
  My Commission expires
                                   MO.          DAY           YEAR
                                                                                                       Area Code                  Daytime Telephone Number


                                          Department of State Bureau of Commissions, Elections and Legislation
                                          210 North Office Building Harrisburg, PA 17120-0029 (717)787-5280



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               EXHIBIT “I”
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                                                               Commonwealth of Pennsylvania
                                                        Campaign Finance Report
                              (Note: This report must be clear and legible. It may be typed or printed in blue or black ink.)


 Filer Identification                                 Report                                      1.                              2.                            3.
 Number:
                                  1776637             Filed By:
                                                                            CANDIDATE                        COMMITTEE                      LOBBYIST
 Name of Filing Committee, Candidate or Lobbyist:
 Lawrence Krasner for District Attorney
 Street Address:
 239 S Camac St
 City:                                                            State:                                            Zip Code:
 Philadelphia                                                     PA                                                19107
                   6th Tuesday       1.        2nd Friday          2.            30 Day            3.         Amendment
                   Pre-Primary                 Pre-Primary              X        Post Primary                 Report?
                                                                                                                                   Yes                No        X
 TYPE OF
 REPORT            6th Tuesday       4.        2nd Friday          5.            30 Day            6.         Termination
                   Pre-Election                Pre-Election                      Post Election                Report?
                                                                                                                                   Yes                No        X

  Other                              7.
                   Annual Report               YEAR                2021

                                                                     DATE OF ELECTION                    District        Office          Party         County
 Name of Office Sought by Candidate:
                                                                   MO.     DAY      YEAR                 Number:         Code:           Code:         Code:
 District Attorney                                                                                       1               PH2             DEM           51
                                                                     5            18         2021
 Summary of Receipts                  MO.       DAY        YEAR                        MO.       DAY      YEAR              FOR OFFICE USE ONLY
                                                                            To
 and Expenditures from:              3       30          2021                          5     3           2021
 A. Amount Brought Forward From Last Report                                                       ¤352,060.98
 B. Total Monetary Contributions and Receipts (From Schedule I)                                   ¤400,751.66
 C. Total Funds Available (Sum of Lines A and B)                                                  ¤752,812.64
 D. Total Expenditures (From Schedule III)                                                        ¤272,292.53
 E. Ending Cash Balance (Subtract Line D from Line C)                                             ¤480,520.11
 F. Value of In-Kind Contributions Received (From Schedule II)                                         ¤4,826.04
 G. Unpaid Debts and Obligations (From Schedule IV)                                                    ¤1,183.53
                                                                         AFFIDAVIT SECTION
 PART I - If this is a Committee report, treasurer sign here. If this is a Candidate report, candidate sign here.
 I swear (or affirm) that this report, including the attached schedules, on paper or computer diskette, are to the best of my knowledge and belief true,
 correct and complete.
 Sworn to and subscribed before me this


                     day of                        20
                                                                                                              Signature of Person Submitting Report

                                 Signature
                                                                                                                           Printed Name
  My Commission expires
                                   MO.          DAY           YEAR
                                                                                                       Area Code                   Daytime Telephone Number

                                                                         AFFIDAVIT SECTION
 PART II - If this is a report of a Candidate's Authorized Committee, candidate shall sign here.
 I swear (or affirm) that to the best of my knowledge and belief this political committee has not violated any provisions of the Act of June 3, 1937 (P.L.
 1333, No 320) as amended.
 Sworn to and subscribed before me this


                     day of                        20
                                                                                                              Signature of Person Submitting Report

                                 Signature
                                                                                                                           Printed Name
  My Commission expires
                                   MO.          DAY           YEAR
                                                                                                       Area Code                   Daytime Telephone Number


                                          Department of State Bureau of Commissions, Elections and Legislation
                                          210 North Office Building Harrisburg, PA 17120-0029 (717)787-5280



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Adaku Ononogbo                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 400 68th St
 City:                                     State:             Zip Code (Plus 4):
 Guttenberg                                NJ                 070932457
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Adam Cronrath                                                                            ¤160.00
                                                                 4        29       2021
 Mailing Address:
 1934 Annin St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191462908
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Adam Cronrath                                                                             ¤25.00
                                                                 5         3       2021
 Mailing Address:
 1934 Annin St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191462908
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Adam Fuchs                                                                                ¤27.00
                                                                4         26       2021
 Mailing Address:
 11035 72nd Rd
 City:                                     State:             Zip Code (Plus 4):
 Forest Hills                              NY                 113755471
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Adam Fuchs                                                                                ¤50.00
                                                                4         27       2021
 Mailing Address:
 11035 72nd Rd
 City:                                     State:             Zip Code (Plus 4):
 Forest Hills                              NY                 113755471
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Adam Rom                                                                                 ¤200.00
                                                                4         24       2021
 Mailing Address:
 4629 Hazel Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191432103
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Adam Snow                                                                                ¤100.00
                                                                5         2        2021
 Mailing Address:
 4612 Denver Cir
 City:                                     State:             Zip Code (Plus 4):
 Englewood                                 OH                 453223701
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Adamaka Ajaelo                                                                           ¤100.00
                                                                4         26       2021
 Mailing Address:
 2532 83rd Ave
 City:                                     State:             Zip Code (Plus 4):
 Oakland                                   CA                 946053422
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Adrienne Chapek                                                                          ¤100.00
                                                                 4        27       2021
 Mailing Address:
 8515 Holly Ln
 City:                                     State:             Zip Code (Plus 4):
 Edmonds                                   WA                 980268635



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ailsa Wong                                                                               ¤100.00
                                                                 4        26       2021
 Mailing Address:
 95 Greene St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100123856
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Aimee Ando                                                                                ¤50.00
                                                                 4        27       2021
 Mailing Address:
 810 S 49th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191433402
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Aimee Ando                                                                                ¤60.00
                                                                 4        29       2021
 Mailing Address:
 810 S 49th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191433402
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Aisha Husbands                                                                           ¤100.00
                                                                 4        26       2021
 Mailing Address:
 5735 Kings Hwy
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112034828
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Al Baik                                                                                  ¤100.00
                                                                4         26       2021
 Mailing Address:
 2333 SE 38th Ave
 City:                                     State:             Zip Code (Plus 4):
 Portland                                  OR                 972145907
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Alec Mento                                                                               ¤100.00
                                                                 4         3       2021
 Mailing Address:
 315 Edgemore Rd
 City:                                     State:             Zip Code (Plus 4):
 Secane                                    PA                 190182719
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Alec Sulkin                                                                              ¤250.00
                                                                 5         1       2021
 Mailing Address:
 248 Scraggy Neck Rd
 City:                                     State:             Zip Code (Plus 4):
 Cataumet                                  MA                 025341091
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Alev Fanny Karaman                                                                       ¤100.00
                                                                 4        27       2021
 Mailing Address:
 193 Moffat St
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112073382
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Alex Flores                                                                              ¤100.00
                                                                 5         1       2021
 Mailing Address:
 7300 Franklin Ave
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900462255



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Alex Levinson                                                                            ¤100.00
                                                                 4        26       2021
 Mailing Address:
 1230 26th Ave
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941221505
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Alexander Bomstein                                                                       ¤100.00
                                                                 4         1       2021
 Mailing Address:
 1438 S 9th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191475733
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Alexander Marshall                                                                       ¤100.00
                                                                 4        26       2021
 Mailing Address:
 453 W 21st St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100112955
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Alexandra Leal                                                                           ¤100.00
                                                                 4        28       2021
 Mailing Address:
 2 Livingston Rd
 City:                                     State:             Zip Code (Plus 4):
 Bellport                                  NY                 117132712
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Alexandra Van Dine                                                                       ¤150.00
                                                                 4        25       2021
 Mailing Address:
 3131 Connecticut Ave NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200085000
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Alicia Plerhoples                                                                        ¤100.00
                                                                 4        26       2021
 Mailing Address:
 1938 Lorraine Ave
 City:                                     State:             Zip Code (Plus 4):
 McLean                                    VA                 221015330
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Alisa Bandlow                                                                             ¤27.00
                                                                 4        27       2021
 Mailing Address:
 1401 Cumbres St NE
 City:                                     State:             Zip Code (Plus 4):
 Albuquerque                               NM                 871126360
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Alisa Bandlow                                                                             ¤25.00
                                                                 5         3       2021
 Mailing Address:
 1401 Cumbres St NE
 City:                                     State:             Zip Code (Plus 4):
 Albuquerque                               NM                 871126360
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Alisha Sydnor                                                                            ¤200.00
                                                                4         27       2021
 Mailing Address:
 2901 W Parker Rd
 City:                                     State:             Zip Code (Plus 4):
 Plano                                     TX                 750860320



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 Full Name of Contributor:                                     MO.       DAY        YEAR
 Alison Gray                                                                               ¤100.00
                                                                 4        27        2021
 Mailing Address:
 1370 Elwood Dr
 City:                                     State:             Zip Code (Plus 4):
 Los Gatos                                 CA                 950321008
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Alison Jenkins                                                                            ¤100.00
                                                                 4        27        2021
 Mailing Address:
 835 N 16th St
 City:                                     State:             Zip Code (Plus 4):
 San Jose                                  CA                 951121542
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Alison Stanton                                                                             ¤50.00
                                                                 4        26        2021
 Mailing Address:
 248 Treasure Dr
 City:                                     State:             Zip Code (Plus 4):
 San Marcos                                CA                 920782055
 Full Name of Contributor:                                      MO.      DAY        YEAR
 Alison Stanton                                                                            ¤100.00
                                                                 5         1        2021
 Mailing Address:
 248 Treasure Dr
 City:                                     State:             Zip Code (Plus 4):
 San Marcos                                CA                 920782055
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Allan Hutchison-Maxwell                                                                    ¤65.00
                                                                 4        21        2021
 Mailing Address:
 7 Orchard St
 City:                                     State:              Zip Code (Plus 4):
 Northampton                               MA                  010602324
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Allison Fabara                                                                            ¤100.00
                                                                 4        27        2021
 Mailing Address:
 2732 La Bajada
 City:                                     State:             Zip Code (Plus 4):
 Santa Fe                                  NM                 875055332
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Allison Gay                                                                               ¤250.00
                                                                4         27        2021
 Mailing Address:
 4901 Southcrest Dr
 City:                                     State:             Zip Code (Plus 4):
 Austin                                    TX                 787465532
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Allison Thomas                                                                            ¤100.00
                                                                 4        27        2021
 Mailing Address:
 332 Ardon Ln
 City:                                     State:             Zip Code (Plus 4):
 Cincinnati                                OH                 452154138
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Alston Lamber                                                                             ¤250.00
                                                                 4        27        2021
 Mailing Address:
 900 N Lake Shore Dr
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606111580



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 Full Name of Contributor:                                      MO.       DAY       YEAR
 Amanda Hill                                                                                ¤50.00
                                                                 4        15        2021
 Mailing Address:
 625 Wilder St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191475815
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Amanda Hill                                                                                ¤25.00
                                                                 5         3        2021
 Mailing Address:
 625 Wilder St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191475815
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Amanda Matthews                                                                           ¤100.00
                                                                 4        27        2021
 Mailing Address:
 317 N Horton St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191391121
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Amanda Trivizas                                                                           ¤100.00
                                                                 5         1        2021
 Mailing Address:
 1530 N Poinsettia Pl
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900467914
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Amanda Weilenmann                                                                         ¤250.00
                                                                 4        27        2021
 Mailing Address:
 1 Las Brisas Dr
 City:                                      State:             Zip Code (Plus 4):
 West Lake Hills                            TX                 787465328
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Ami Freyberger                                                                            ¤100.00
                                                                 4        26        2021
 Mailing Address:
 1905 Huguenot Street Unit 1905
 City:                                     State:             Zip Code (Plus 4):
 New Rochelle                              NY                 10801
 Full Name of Contributor:                                      MO.      DAY        YEAR
 Amy OLeary                                                                                ¤250.00
                                                                 5         1        2021
 Mailing Address:
 352 Washington Ave
 City:                                     State:             Zip Code (Plus 4):
 Phoenixville                              PA                 194603754
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Amy Smith                                                                                 ¤250.00
                                                                5          1        2021
 Mailing Address:
 1720 Crestview Ln
 City:                                     State:             Zip Code (Plus 4):
 Erie                                      CO                 805164029
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Amy Sommer                                                                                 ¤50.00
                                                                 5         1        2021
 Mailing Address:
 2401 Pennsylvania Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191303014



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Amy Sommer                                                                                ¤25.00
                                                                5         2        2021
 Mailing Address:
 2401 Pennsylvania Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191303014
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Amy Sommer                                                                                ¤25.00
                                                                4         2        2021
 Mailing Address:
 2401 Pennsylvania Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191303014
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Anas Thommil                                                                              ¤27.00
                                                                4         27       2021
 Mailing Address:
 2022 Cannon Heights Dr
 City:                                     State:             Zip Code (Plus 4):
 Chesterfield                              MO                 630178382
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Anas Thommil                                                                              ¤27.00
                                                                4         26       2021
 Mailing Address:
 2022 Cannon Heights Dr
 City:                                     State:             Zip Code (Plus 4):
 Chesterfield                              MO                 630178382
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Andre Ferguson                                                                           ¤100.00
                                                                4        26        2021
 Mailing Address:
 3717 Rutherford Ct
 City:                                     State:             Zip Code (Plus 4):
 Inglewood                                 CA                 903052242
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Andrea Coleman                                                                           ¤100.00
                                                                4         26       2021
 Mailing Address:
 4414 Feldspar Ct
 City:                                     State:             Zip Code (Plus 4):
 Greensboro                                NC                 274098617
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Andrea G Preis                                                                           ¤200.00
                                                                4         15       2021
 Mailing Address:
 338 Fitzwater St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191473204
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Andreas Gros                                                                             ¤250.00
                                                                4         27       2021
 Mailing Address:
 647 Athens St
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941123530
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Andrew Engel                                                                             ¤100.00
                                                                4        21        2021
 Mailing Address:
 850 Quincy St NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200115876



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Andrew Fabricius                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 4350 Kirkham St
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941222959
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Andrew Ferguson                                                                          ¤200.00
                                                                 4         7       2021
 Mailing Address:
 4623 Ellicott St NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200164050
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Andrew Hall                                                                              ¤250.00
                                                                4         26       2021
 Mailing Address:
 300 S Ocean Blvd
 City:                                     State:             Zip Code (Plus 4):
 Palm Beach                                FL                 334804205
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Andrew Stone                                                                             ¤250.00
                                                                4         26       2021
 Mailing Address:
 611 W Upsal St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193627
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Angela Berryman                                                                          ¤100.00
                                                                 4        11       2021
 Mailing Address:
 3818 Hamilton St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191042316
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Angela Phillips                                                                          ¤100.00
                                                                4         27       2021
 Mailing Address:
 1721 N Rodney St
 City:                                     State:             Zip Code (Plus 4):
 Wilmington                                DE                 198063021
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Angelica Lopez                                                                           ¤100.00
                                                                5         1        2021
 Mailing Address:
 6425 San Ignacio Ave
 City:                                     State:             Zip Code (Plus 4):
 San Jose                                  CA                 951191729
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ann Dixon                                                                                ¤100.00
                                                                4         28       2021
 Mailing Address:
 4523 Osage Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191432111
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ann Lesch                                                                                ¤150.00
                                                                4         23       2021
 Mailing Address:
 1326 Spruce St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191075826



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ann Zahner                                                                                ¤75.00
                                                                4         27       2021
 Mailing Address:
 5672 Bellevue Ave
 City:                                     State:             Zip Code (Plus 4):
 La Jolla                                  CA                 920377525
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Anna Forbes                                                                               ¤50.00
                                                                 5         3       2021
 Mailing Address:
 3017 Fayette Rd
 City:                                     State:             Zip Code (Plus 4):
 Kensington                                MD                 208952748
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Anna Forbes                                                                               ¤50.00
                                                                 4         1       2021
 Mailing Address:
 3017 Fayette Rd
 City:                                     State:             Zip Code (Plus 4):
 Kensington                                MD                 208952748
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Anne Burns                                                                               ¤100.00
                                                                 5         2       2021
 Mailing Address:
 1637 Yardley Dr
 City:                                     State:             Zip Code (Plus 4):
 West Chester                              PA                 193805760
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Anne Furstenberg                                                                         ¤250.00
                                                                 4        13       2021
 Mailing Address:
 31 W Southampton Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191183908
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Anne Igoe                                                                                 ¤50.00
                                                                4         15       2021
 Mailing Address:
 1116 W Morse Townhouse E
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 60626
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Anne Igoe                                                                                ¤100.00
                                                                4         15       2021
 Mailing Address:
 1116 W Morse Townhouse E
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 60626
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Annette Fierro                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 1944 Delancey Pl
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191036612
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Annie Ballard                                                                            ¤100.00
                                                                4         28       2021
 Mailing Address:
 16490 Robertson Rd
 City:                                     State:             Zip Code (Plus 4):
 Truckee                                   CA                 961612653



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 Full Name of Contributor:                                     MO.       DAY        YEAR
 Anthony Acevedo                                                                           ¤100.00
                                                                 5         1        2021
 Mailing Address:
 3600 Virginia St
 City:                                     State:             Zip Code (Plus 4):
 Lynwood                                   CA                 902624356
 Full Name of Contributor:                                      MO.      DAY        YEAR
 Anthony Fabricatore                                                                        ¤20.00
                                                                 4         7        2021
 Mailing Address:
 407 Briarwood Rd
 City:                                     State:             Zip Code (Plus 4):
 Wallingford                               PA                 190866502
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Anthony Fabricatore                                                                       ¤100.00
                                                                 4        26        2021
 Mailing Address:
 407 Briarwood Rd
 City:                                     State:             Zip Code (Plus 4):
 Wallingford                               PA                 190866502
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Anthony Lozada                                                                            ¤100.00
                                                                4         27        2021
 Mailing Address:
 1173 Bushwick Ave
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112214810
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Antoinette Artukovich                                                                     ¤100.00
                                                                 4        26        2021
 Mailing Address:
 820 Highland Dr
 City:                                     State:              Zip Code (Plus 4):
 La Canada Flintridge                      CA                  910114037
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Antoinette Coates                                                                         ¤250.00
                                                                 4        26        2021
 Mailing Address:
 1 S Wacker Dr
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606064614
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Antoinette Dempsey                                                                         ¤25.00
                                                                 5         3        2021
 Mailing Address:
 111 Still Pine Bnd
 City:                                     State:             Zip Code (Plus 4):
 Smyrna                                    GA                 300821839
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Antoinette Dempsey                                                                        ¤100.00
                                                                 4        27        2021
 Mailing Address:
 111 Still Pine Bnd
 City:                                     State:             Zip Code (Plus 4):
 Smyrna                                    GA                 300821839
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Antoinette Dempsey                                                                         ¤50.00
                                                                 4        21        2021
 Mailing Address:
 111 Still Pine Bnd
 City:                                     State:             Zip Code (Plus 4):
 Smyrna                                    GA                 300821839



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 Full Name of Contributor:                                      MO.       DAY       YEAR
 Anzonetta Moore                                                                           ¤100.00
                                                                 5         1        2021
 Mailing Address:
 52 Sack St
 City:                                     State:              Zip Code (Plus 4):
 North Providence                          RI                  029112710
 Full Name of Contributor:                                      MO.       DAY       YEAR
 April Brian                                                                                ¤50.00
                                                                 4        26        2021
 Mailing Address:
 812 Emerald Bay
 City:                                     State:             Zip Code (Plus 4):
 Laguna Beach                              CA                 926511273
 Full Name of Contributor:                                      MO.       DAY       YEAR
 April Brian                                                                                ¤50.00
                                                                 4        27        2021
 Mailing Address:
 812 Emerald Bay
 City:                                     State:             Zip Code (Plus 4):
 Laguna Beach                              CA                 926511273
 Full Name of Contributor:                                      MO.       DAY       YEAR
 April Brian                                                                                ¤25.00
                                                                 4        29        2021
 Mailing Address:
 812 Emerald Bay
 City:                                     State:             Zip Code (Plus 4):
 Laguna Beach                              CA                 926511273
 Full Name of Contributor:                                     MO.       DAY        YEAR
 April Smith                                                                                ¤50.00
                                                                 4        15        2021
 Mailing Address:
 424 S 48th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191431770
 Full Name of Contributor:                                     MO.       DAY        YEAR
 April Smith                                                                                ¤46.00
                                                                 4        23        2021
 Mailing Address:
 424 S 48th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191431770
 Full Name of Contributor:                                      MO.      DAY        YEAR
 April Smith                                                                                ¤30.00
                                                                 5         3        2021
 Mailing Address:
 424 S 48th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191431770
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Ari Rosen                                                                                 ¤250.00
                                                                 4        16        2021
 Mailing Address:
 411 Piper St
 City:                                     State:             Zip Code (Plus 4):
 Healdsburg                                CA                 954483913
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Ariel Santana                                                                             ¤100.00
                                                                 4        27        2021
 Mailing Address:
 4045 68th St
 City:                                     State:             Zip Code (Plus 4):
 Woodside                                  NY                 113774023



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ariela Gross                                                                             ¤150.00
                                                                4         14       2021
 Mailing Address:
 1912 Shell Ave
 City:                                     State:             Zip Code (Plus 4):
 Venice                                    CA                 902913879
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Arthur Schmidt                                                                           ¤200.00
                                                                 4        22       2021
 Mailing Address:
 8512 Ardleigh St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191183313
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Arthur Waskow                                                                            ¤100.00
                                                                 4        17       2021
 Mailing Address:
 6711 Lincoln Dr
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193119
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ashley Blackmon                                                                          ¤100.00
                                                                 4        27       2021
 Mailing Address:
 4624 Rutledge Dr NW
 City:                                     State:             Zip Code (Plus 4):
 Huntsville                                AL                 358161210
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Asianee Shackelford                                                                       ¤25.00
                                                                 4        27       2021
 Mailing Address:
 5419 N Paramount Blvd
 City:                                     State:             Zip Code (Plus 4):
 Long Beach                                CA                 908055773
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Asianee Shackelford                                                                       ¤27.00
                                                                 4        27       2021
 Mailing Address:
 5419 N Paramount Blvd
 City:                                     State:             Zip Code (Plus 4):
 Long Beach                                CA                 908055773
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Asmaa Abdul-Haqq                                                                         ¤100.00
                                                                 5         2       2021
 Mailing Address:
 8951 Town Center Cir
 City:                                     State:             Zip Code (Plus 4):
 Upper Marlboro                            MD                 207744748
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Athena King                                                                              ¤100.00
                                                                4         28       2021
 Mailing Address:
 12443 Tech Ridge Blvd
 City:                                     State:             Zip Code (Plus 4):
 Austin                                    TX                 787533389
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Austin Young                                                                             ¤100.00
                                                                 4        28       2021
 Mailing Address:
 2243 10th St
 City:                                     State:             Zip Code (Plus 4):
 Rockford                                  IL                 611047210



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 Full Name of Contributor:                                     MO.       DAY        YEAR
 Austin Young                                                                              ¤100.00
                                                                 4        28        2021
 Mailing Address:
 2243 10th St
 City:                                     State:             Zip Code (Plus 4):
 Rockford                                  IL                 611047210
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Ava Schlossmacher                                                                         ¤100.00
                                                                 4        26        2021
 Mailing Address:
 8412 Millbridge Cir
 City:                                     State:              Zip Code (Plus 4):
 Huntington Beach                          CA                  926464417
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Barbara Adams                                                                             ¤250.00
                                                                 4        29        2021
 Mailing Address:
 112 N Woodstock St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191031111
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Barbara Baran                                                                              ¤50.00
                                                                 5         1        2021
 Mailing Address:
 920 Greenwood Ave
 City:                                     State:             Zip Code (Plus 4):
 Wilmette                                  IL                 600911752
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Barbara Baran                                                                              ¤25.00
                                                                 4        26        2021
 Mailing Address:
 920 Greenwood Ave
 City:                                     State:             Zip Code (Plus 4):
 Wilmette                                  IL                 600911752
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Barbara Baran                                                                              ¤50.00
                                                                 4        21        2021
 Mailing Address:
 920 Greenwood Ave
 City:                                     State:             Zip Code (Plus 4):
 Wilmette                                  IL                 600911752
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Barbara Baran                                                                              ¤25.00
                                                                 4        25        2021
 Mailing Address:
 920 Greenwood Ave
 City:                                     State:             Zip Code (Plus 4):
 Wilmette                                  IL                 600911752
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Barbara Costigan                                                                          ¤100.00
                                                                 5         3        2021
 Mailing Address:
 258 Parkland Ave
 City:                                     State:             Zip Code (Plus 4):
 Saint Louis                               MO                 631224710
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Barbara O'Brien                                                                            ¤25.00
                                                                 5         3        2021
 Mailing Address:
 1020 Glenhaven Ave
 City:                                     State:             Zip Code (Plus 4):
 East Lansing                              MI                 488232623



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Barbara O'Brien                                                                          ¤100.00
                                                                4         14       2021
 Mailing Address:
 1020 Glenhaven Ave
 City:                                     State:             Zip Code (Plus 4):
 East Lansing                              MI                 488232623
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Barbara Ransom                                                                           ¤100.00
                                                                4         20       2021
 Mailing Address:
 1721 6th St
 City:                                     State:             Zip Code (Plus 4):
 Sacramento                                CA                 958116229
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Barrett Karber                                                                           ¤100.00
                                                                4         27       2021
 Mailing Address:
 2383 Union St
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941233951
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ben Miller                                                                               ¤250.00
                                                                 5        3        2021
 Mailing Address:
 1953 S 1100 E
 City:                                     State:             Zip Code (Plus 4):
 Salt Lake City                            UT                 84105
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Benell Grant                                                                              ¤27.00
                                                                4         27       2021
 Mailing Address:
 2046 14th St
 City:                                     State:             Zip Code (Plus 4):
 Santa Monica                              CA                 904051656
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Benell Grant                                                                              ¤27.00
                                                                4         27       2021
 Mailing Address:
 2046 14th St
 City:                                     State:             Zip Code (Plus 4):
 Santa Monica                              CA                 904051656
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Benjamin Jordan                                                                          ¤100.00
                                                                4         22       2021
 Mailing Address:
 4523 Larchwood Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191432105
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Benjamin Sprung                                                                          ¤100.00
                                                                5         3        2021
 Mailing Address:
 4810 Beaumont Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191433408
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Benno Friedman                                                                           ¤250.00
                                                                4        21        2021
 Mailing Address:
 120 Kellogg Rd
 City:                                     State:             Zip Code (Plus 4):
 Sheffield                                 MA                 012579575



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Beth Cole                                                                                 ¤80.00
                                                                4         24       2021
 Mailing Address:
 800 Admirals Way
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191465240
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Beth Dann                                                                                ¤100.00
                                                                4         26       2021
 Mailing Address:
 7024 Thompson Ave SE
 City:                                     State:             Zip Code (Plus 4):
 Snoqualmie                                WA                 980659001
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Betsy Dunklin                                                                            ¤100.00
                                                                5         3        2021
 Mailing Address:
 1519 E Holly St
 City:                                     State:             Zip Code (Plus 4):
 Boise                                     ID                 837128355
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Bianca Abernathy                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 724 Quaker St SW
 City:                                     State:             Zip Code (Plus 4):
 Atlanta                                   GA                 303157234
 Full Name of Contributor:                                     MO.       DAY       YEAR
 BJ Hauswald                                                                              ¤100.00
                                                                 4        16       2021
 Mailing Address:
 131 W Springfield Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191184020
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Blake Washington                                                                         ¤100.00
                                                                 5         1       2021
 Mailing Address:
 490 La Grande Ave
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941122868
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Bonnie Brier                                                                             ¤100.00
                                                                 4        24       2021
 Mailing Address:
 450 N 18th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191303918
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Bookman Marc                                                                             ¤100.00
                                                                 4        14       2021
 Mailing Address:
 8704 Carlisle Rd
 City:                                     State:             Zip Code (Plus 4):
 Wyndmoor                                  PA                 190387408
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Bozena Gerits                                                                             ¤50.00
                                                                4         27       2021
 Mailing Address:
 1127 NW 65th St
 City:                                     State:             Zip Code (Plus 4):
 Seattle                                   WA                 981175220



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Bozena Gerits                                                                             ¤27.00
                                                                 4        27       2021
 Mailing Address:
 1127 NW 65th St
 City:                                     State:             Zip Code (Plus 4):
 Seattle                                   WA                 981175220
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Brad Kaiserman                                                                            ¤50.00
                                                                 4        27       2021
 Mailing Address:
 6627 Willoughby Ave
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900382507
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Brad Kaiserman                                                                            ¤10.00
                                                                 4        27       2021
 Mailing Address:
 6627 Willoughby Ave
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900382507
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Brandon Leon                                                                             ¤100.00
                                                                 4        27       2021
 Mailing Address:
 920 John Adams St
 City:                                     State:             Zip Code (Plus 4):
 Oregon City                               OR                 970451961
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Bree Nichols                                                                             ¤100.00
                                                                4         26       2021
 Mailing Address:
 52 Lexington Ave
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112381916
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Brett Schaeffer                                                                           ¤75.00
                                                                 4         1       2021
 Mailing Address:
 744 Fitzwater St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191472815
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Brett Torgan                                                                             ¤100.00
                                                                 4        27       2021
 Mailing Address:
 431 Fairmount Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191232850
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Brian Brasch                                                                             ¤100.00
                                                                4         27       2021
 Mailing Address:
 4001 32nd St N
 City:                                     State:             Zip Code (Plus 4):
 Fargo                                     ND                 581026214
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Brian Chism                                                                              ¤250.00
                                                                 4        27       2021
 Mailing Address:
 14300 Terra Bella St
 City:                                     State:             Zip Code (Plus 4):
 Panorama City                             CA                 914026753



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 Full Name of Contributor:                                      MO.      DAY        YEAR
 Brian Gralnick                                                                            ¤250.00
                                                                 4        21        2021
 Mailing Address:
 780
 City:                                     State:             Zip Code (Plus 4):
 Elkins Park                               PA                 19027
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Brian Kabatznick                                                                          ¤100.00
                                                                 4         9        2021
 Mailing Address:
 527 Brown St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191232107
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Brian Walker                                                                              ¤100.00
                                                                 5         1        2021
 Mailing Address:
 1183 Shannon Ln
 City:                                     State:             Zip Code (Plus 4):
 Arroyo Grande                             CA                 934205147
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Brian Wildeman                                                                            ¤100.00
                                                                 4        27        2021
 Mailing Address:
 24 Austin Ln
 City:                                     State:             Zip Code (Plus 4):
 Little Compton                            RI                 028371647
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Briana Lawson                                                                             ¤100.00
                                                                5         1         2021
 Mailing Address:
 1243 Payne Ave
 City:                                     State:             Zip Code (Plus 4):
 Batavia                                   IL                 605103079
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Bruce Green                                                                               ¤100.00
                                                                4         28        2021
 Mailing Address:
 418 Central Park W
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100254818
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Bryan Hamilton                                                                            ¤250.00
                                                                 4        26        2021
 Mailing Address:
 24 Clonavor Rd
 City:                                     State:             Zip Code (Plus 4):
 West Orange                               NJ                 070524304
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Bryanna Harris                                                                            ¤100.00
                                                                 5         3        2021
 Mailing Address:
 6422 Rodman Rd
 City:                                      State:             Zip Code (Plus 4):
 Aberdeen Proving Ground                    MD                 210051959
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Caitlin Brown                                                                             ¤100.00
                                                                 3        31        2021
 Mailing Address:
 1922 Naudain St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191461413



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Caitlin Coslett                                                                          ¤250.00
                                                                4         27       2021
 Mailing Address:
 2043 Bainbridge St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191461308
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Cameron Baston                                                                           ¤100.00
                                                                 5         3       2021
 Mailing Address:
 769 S Mole St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191462145
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Cameron Baston                                                                            ¤25.00
                                                                 3        30       2021
 Mailing Address:
 769 S Mole St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191462145
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Camille Orman                                                                            ¤100.00
                                                                 4        28       2021
 Mailing Address:
 308 Spruce St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191064201
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Camille Russell                                                                          ¤250.00
                                                                4         27       2021
 Mailing Address:
 834 Jericho Tpke
 City:                                     State:             Zip Code (Plus 4):
 Westbury                                  NY                 115901448
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carl Del Balzo                                                                           ¤100.00
                                                                4         15       2021
 Mailing Address:
 2849 NW 132nd Ave
 City:                                     State:             Zip Code (Plus 4):
 Portland                                  OR                 972293689
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carl Del Balzo                                                                            ¤25.00
                                                                4         26       2021
 Mailing Address:
 2849 NW 132nd Ave
 City:                                     State:             Zip Code (Plus 4):
 Portland                                  OR                 972293689
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carl Del Balzo                                                                            ¤50.00
                                                                5         1        2021
 Mailing Address:
 2849 NW 132nd Ave
 City:                                     State:             Zip Code (Plus 4):
 Portland                                  OR                 972293689
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carl Onuchovsky                                                                           ¤25.00
                                                                 4        21       2021
 Mailing Address:
 20 Sycamore Dr
 City:                                     State:             Zip Code (Plus 4):
 Medford                                   NJ                 080558715



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carl Onuchovsky                                                                           ¤50.00
                                                                4         30       2021
 Mailing Address:
 20 Sycamore Dr
 City:                                     State:             Zip Code (Plus 4):
 Medford                                   NJ                 080558715
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carl Onuchovsky                                                                           ¤25.00
                                                                4         27       2021
 Mailing Address:
 20 Sycamore Dr
 City:                                     State:             Zip Code (Plus 4):
 Medford                                   NJ                 080558715
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carlos Donis                                                                              ¤27.00
                                                                4         28       2021
 Mailing Address:
 665 5th Ave
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100225305
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carlos Donis                                                                              ¤27.00
                                                                5         1        2021
 Mailing Address:
 665 5th Ave
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100225305
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carlos Munoz                                                                              ¤50.00
                                                                4         14       2021
 Mailing Address:
 4332 Pine St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191045193
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carlos Munoz                                                                             ¤100.00
                                                                4         15       2021
 Mailing Address:
 4332 Pine St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191045193
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carlotta Hayes                                                                             ¤5.00
                                                                4         27       2021
 Mailing Address:
 61 South St
 City:                                     State:             Zip Code (Plus 4):
 Concord                                   NH                 033013671
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carlotta Hayes                                                                            ¤25.00
                                                                4         28       2021
 Mailing Address:
 61 South St
 City:                                     State:             Zip Code (Plus 4):
 Concord                                   NH                 033013671
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carlotta Hayes                                                                            ¤25.00
                                                                4         21       2021
 Mailing Address:
 61 South St
 City:                                     State:             Zip Code (Plus 4):
 Concord                                   NH                 033013671



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carly Anderson                                                                           ¤100.00
                                                                 5         1       2021
 Mailing Address:
 1000 E 4th Ave
 City:                                     State:             Zip Code (Plus 4):
 Ellensburg                                WA                 989263530
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carol Houston                                                                            ¤100.00
                                                                4         28       2021
 Mailing Address:
 2519 S Washington St
 City:                                     State:             Zip Code (Plus 4):
 Seattle                                   WA                 981442376
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carol Pearlman                                                                            ¤25.00
                                                                 4        15       2021
 Mailing Address:
 3120 Veteran Ave
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900343037
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carol Pearlman                                                                            ¤25.00
                                                                 4        27       2021
 Mailing Address:
 3120 Veteran Ave
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900343037
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carol Pearlman                                                                            ¤25.00
                                                                 5         3       2021
 Mailing Address:
 3120 Veteran Ave
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900343037
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Caroline Clarke                                                                          ¤100.00
                                                                4         1        2021
 Mailing Address:
 1812 Riverside Dr
 City:                                     State:             Zip Code (Plus 4):
 Trenton                                   NJ                 086185841
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Caroline Kennedy                                                                         ¤100.00
                                                                 5         2       2021
 Mailing Address:
 1450 Preston Trl
 City:                                     State:             Zip Code (Plus 4):
 Carmel                                    IN                 460328971
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Carrie Konold                                                                            ¤100.00
                                                                 4         1       2021
 Mailing Address:
 1110 Morris St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191481140
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Catherine Diggins                                                                        ¤100.00
                                                                 4        28       2021
 Mailing Address:
 111 Robin St
 City:                                     State:             Zip Code (Plus 4):
 Albany                                    NY                 122083490



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 Full Name of Contributor:                                      MO.       DAY       YEAR
 Catherine Raphael                                                                         ¤100.00
                                                                 5         1        2021
 Mailing Address:
 1 PPG Place
 City:                                     State:              Zip Code (Plus 4):
 Pittsburgh                                PA                  15217
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Catherine Spieth                                                                           ¤25.00
                                                                 4        28        2021
 Mailing Address:
 2323 NE 55th Ave
 City:                                     State:             Zip Code (Plus 4):
 Portland                                  OR                 972132626
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Catherine Spieth                                                                           ¤27.00
                                                                 5         3        2021
 Mailing Address:
 2323 NE 55th Ave
 City:                                     State:             Zip Code (Plus 4):
 Portland                                  OR                 972132626
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Cecilia Macias                                                                            ¤100.00
                                                                 4        26        2021
 Mailing Address:
 471 Hannah St
 City:                                     State:             Zip Code (Plus 4):
 San Jose                                  CA                 951263514
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Charlene Goldfarb                                                                         ¤100.00
                                                                 4        28        2021
 Mailing Address:
 2120 Kallin Ave
 City:                                     State:             Zip Code (Plus 4):
 Long Beach                                CA                 908153511
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Charles Frazier                                                                           ¤200.00
                                                                 4        27        2021
 Mailing Address:
 5036 Kingsesse Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 19143
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Cherise Hill                                                                              ¤100.00
                                                                 5         3        2021
 Mailing Address:
 21781 SW Chehalis Ct
 City:                                     State:             Zip Code (Plus 4):
 Tualatin                                  OR                 970629035
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Cherise Hill                                                                              ¤100.00
                                                                4         26        2021
 Mailing Address:
 21781 SW Chehalis Ct
 City:                                     State:             Zip Code (Plus 4):
 Tualatin                                  OR                 970629035
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Cheryl Demos Fludas                                                                        ¤27.00
                                                                 4        27        2021
 Mailing Address:
 6784 N Dowagiac Ave
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606462809



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Cheryl Demos Fludas                                                                       ¤25.00
                                                                 4         3       2021
 Mailing Address:
 6784 N Dowagiac Ave
 City:                                       State:           Zip Code (Plus 4):
 Chicago                                     IL               606462809
 Full Name of Contributor:                                     MO.       DAY       YEAR
 China Meier                                                                              ¤100.00
                                                                4        27        2021
 Mailing Address:
 2664 5th Ave
 City:                                       State:           Zip Code (Plus 4):
 Sacramento                                  CA               958183506
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Christian Salgado                                                                        ¤100.00
                                                                 5        1        2021
 Mailing Address:
 3299 Polo Club Dr N
 City:                                       State:           Zip Code (Plus 4):
 Fort Worth                                  TX               761335743
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Christina H Cantrill                                                                     ¤100.00
                                                                 4        21       2021
 Mailing Address:
 1136 Waverly St
 City:                                       State:           Zip Code (Plus 4):
 Philadelphia                                PA               191471277
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Christina H Cantrill                                                                     ¤100.00
                                                                 5         3       2021
 Mailing Address:
 1136 Waverly St
 City:                                       State:           Zip Code (Plus 4):
 Philadelphia                                PA               191471277
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Christina Kautzky                                                                        ¤100.00
                                                                4         27       2021
 Mailing Address:
 House 8 3 Consort Rise Pokfulam Hong Kong
 City:                                       State:           Zip Code (Plus 4):
 Hong Kong                                   PA               00000
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Christine Kelsey                                                                         ¤100.00
                                                                4         24       2021
 Mailing Address:
 230 Old Adobe Rd
 City:                                       State:           Zip Code (Plus 4):
 Watsonville                                 CA               950768575
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Christine Meuers                                                                         ¤250.00
                                                                4         26       2021
 Mailing Address:
 2253 Saint Clair Ave
 City:                                       State:           Zip Code (Plus 4):
 Saint Paul                                  MN               551051153
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Christine Myers                                                                          ¤100.00
                                                                4         30       2021
 Mailing Address:
 104 Bayside Pl
 City:                                       State:           Zip Code (Plus 4):
 Bellingham                                  WA               982257706



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 Full Name of Contributor:                                      MO.       DAY       YEAR
 Christopher Gillespie                                                                      ¤60.00
                                                                 4        30        2021
 Mailing Address:
 1340 N 5th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191224304
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Christopher Gillespie                                                                      ¤50.00
                                                                 4        10        2021
 Mailing Address:
 1340 N 5th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191224304
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Christopher Nevin                                                                          ¤50.00
                                                                 4        23        2021
 Mailing Address:
 1730 S 5th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191481849
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Christopher Nevin                                                                         ¤150.00
                                                                 3        31        2021
 Mailing Address:
 1730 S 5th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191481849
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Christopher Patterson                                                                     ¤100.00
                                                                 4        26        2021
 Mailing Address:
 1008 2nd St
 City:                                     State:              Zip Code (Plus 4):
 Santa Monica                              CA                  904033644
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Christy Lopez                                                                             ¤250.00
                                                                 4        30        2021
 Mailing Address:
 7003 Westmoreland Ave
 City:                                     State:             Zip Code (Plus 4):
 Takoma Park                               MD                 209124405
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Chritsine Breen                                                                           ¤100.00
                                                                 4        26        2021
 Mailing Address:
 330 Tres Pinos Rd
 City:                                     State:             Zip Code (Plus 4):
 Hollister                                 CA                 950235579
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Cindy Calder                                                                              ¤100.00
                                                                 4        28        2021
 Mailing Address:
 751 Gleason Ln
 City:                                     State:             Zip Code (Plus 4):
 Langley                                   WA                 982608614
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Cindy Rosenthal                                                                           ¤100.00
                                                                 3        31        2021
 Mailing Address:
 4921 Larchwood Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191431623



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Clare Shepherd                                                                           ¤100.00
                                                                 4        21       2021
 Mailing Address:
 16 S Yewdall St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191393356
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Claudia Arzaga                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 3225 Ocean Front Walk
 City:                                     State:             Zip Code (Plus 4):
 San Diego                                 CA                 921097740
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Claudia Dunne                                                                            ¤100.00
                                                                 4        27       2021
 Mailing Address:
 42 Woodlawn St
 City:                                     State:             Zip Code (Plus 4):
 Jamaica Plain                             MA                 021304102
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Claudia Hogan                                                                            ¤100.00
                                                                 4        27       2021
 Mailing Address:
 7276 Oakmont Dr
 City:                                     State:             Zip Code (Plus 4):
 Lake Worth                                FL                 334671326
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Clem Balanoff                                                                            ¤150.00
                                                                4         30       2021
 Mailing Address:
 907 W Ainslie St
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606403811
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Coeli Baker                                                                              ¤100.00
                                                                4         27       2021
 Mailing Address:
 1180 Sewell Ln
 City:                                     State:             Zip Code (Plus 4):
 Jenkintown                                PA                 190461422
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Cole Field                                                                                ¤50.55
                                                                4         26       2021
 Mailing Address:
 9015 Ten Mile Rd
 City:                                     State:             Zip Code (Plus 4):
 Knoxville                                 TN                 379233838
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Coleen Clarke                                                                            ¤100.00
                                                                 4        27       2021
 Mailing Address:
 520 W 157th St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100327602
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Coleen Weeks                                                                             ¤100.00
                                                                4         26       2021
 Mailing Address:
 1316 Ridgecrest Way
 City:                                     State:             Zip Code (Plus 4):
 Roseville                                 CA                 956615051



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Connor Heyburn                                                                           ¤100.00
                                                                5         1        2021
 Mailing Address:
 2125 Aldah Dr
 City:                                     State:             Zip Code (Plus 4):
 Tucker                                    GA                 300844302
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Coralyn Alexander                                                                         ¤50.00
                                                                 4        27       2021
 Mailing Address:
 4981 E Inverness Dr
 City:                                     State:             Zip Code (Plus 4):
 Post Falls                                ID                 838548891
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Coralyn Alexander                                                                        ¤100.00
                                                                 4        28       2021
 Mailing Address:
 4981 E Inverness Dr
 City:                                     State:             Zip Code (Plus 4):
 Post Falls                                ID                 838548891
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Corky Brown                                                                              ¤100.00
                                                                4         27       2021
 Mailing Address:
 203 Lakeside Dr
 City:                                     State:             Zip Code (Plus 4):
 Glassboro                                 NJ                 080281228
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Cristina Martinez                                                                        ¤100.00
                                                                4         26       2021
 Mailing Address:
 1150 S Oxnard Blvd
 City:                                     State:             Zip Code (Plus 4):
 Oxnard                                    CA                 930307445
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Crystal Eiswert                                                                           ¤25.00
                                                                 4        21       2021
 Mailing Address:
 4317 Enfield Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191362861
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Crystal Eiswert                                                                           ¤50.00
                                                                 4        23       2021
 Mailing Address:
 4317 Enfield Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191362861
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Cynthia Cheetham                                                                         ¤100.00
                                                                4         27       2021
 Mailing Address:
 15 Pollard Dr
 City:                                     State:             Zip Code (Plus 4):
 Millis                                    MA                 020541225
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Cynthia Franklin                                                                          ¤70.00
                                                                 4        26       2021
 Mailing Address:
 2603 30th St SE
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200203103



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Cynthia Godsoe                                                                           ¤250.00
                                                                 4        26       2021
 Mailing Address:
 96 Amity St
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112016005
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Cynthia Maltbie                                                                          ¤175.00
                                                                 5         3       2021
 Mailing Address:
 62 Gorham St
 City:                                     State:             Zip Code (Plus 4):
 Cambridge                                 MA                 021381904
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Cynthia Nolan                                                                             ¤30.00
                                                                 4        28       2021
 Mailing Address:
 21 Crosby St
 City:                                     State:             Zip Code (Plus 4):
 Northampton                               MA                 010601853
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Cynthia Nolan                                                                             ¤25.00
                                                                 5         3       2021
 Mailing Address:
 21 Crosby St
 City:                                     State:             Zip Code (Plus 4):
 Northampton                               MA                 010601853
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Dan Murphy                                                                               ¤150.00
                                                                4         16       2021
 Mailing Address:
 2614 W Iowa St
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606222504
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Dan Winikur                                                                               ¤60.00
                                                                 4        27       2021
 Mailing Address:
 693 Dekalb Ave
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112165527
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Daniel Gray                                                                              ¤200.00
                                                                 5        1        2021
 Mailing Address:
 64 Orlando Ave
 City:                                     State:             Zip Code (Plus 4):
 Winthrop                                  MA                 021522248
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Daniel Greenberg                                                                         ¤200.00
                                                                 4        26       2021
 Mailing Address:
 115 E 87th St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 101281136
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Daniel Morgan                                                                            ¤100.00
                                                                4         15       2021
 Mailing Address:
 5605 S Dorchester Ave
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606371721



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 Full Name of Contributor:                                     MO.       DAY        YEAR
 Daniel Petruzzi                                                                           ¤100.00
                                                                 4        27        2021
 Mailing Address:
 24 W 75th St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100232067
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Daniel Roemer                                                                             ¤100.00
                                                                 4        27        2021
 Mailing Address:
 49 Loma Vis
 City:                                     State:             Zip Code (Plus 4):
 Walnut Creek                              CA                 945973454
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Daniel Silverman                                                                          ¤100.00
                                                                 4        14        2021
 Mailing Address:
 709 W Mount Airy Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193323
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Daniel Stevenson Esq                                                                      ¤250.00
                                                                 4        13        2021
 Mailing Address:
 2319 Spruce St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191035518
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Daniel Urevick-Ackelsberg                                                                 ¤100.00
                                                                 5         3        2021
 Mailing Address:
 925 Mountain St
 City:                                     State:              Zip Code (Plus 4):
 Philadelphia                              PA                  191481117
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Danielle Berman                                                                           ¤100.00
                                                                 5         1        2021
 Mailing Address:
 14049 Painted Desert Rd
 City:                                     State:             Zip Code (Plus 4):
 Poway                                     CA                 920641447
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Darvin Williams                                                                           ¤100.00
                                                                 5         2        2021
 Mailing Address:
 16900 NW 14th Ave
 City:                                     State:             Zip Code (Plus 4):
 Miami                                     FL                 331695102
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Daryl McLaren                                                                             ¤100.00
                                                                4         27        2021
 Mailing Address:
 3499 E Bougival Ln
 City:                                     State:             Zip Code (Plus 4):
 Sandy                                     UT                 840931208
 Full Name of Contributor:                                     MO.       DAY        YEAR
 David Bell                                                                                ¤100.00
                                                                 5         3        2021
 Mailing Address:
 513 E Allens Ln
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191191106



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Blackburn                                                                          ¤100.00
                                                                 4        15       2021
 Mailing Address:
 4822 E Charleston Ave
 City:                                     State:             Zip Code (Plus 4):
 Scottsdale                                AZ                 852547546
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Blackburn                                                                           ¤50.00
                                                                 4        15       2021
 Mailing Address:
 4822 E Charleston Ave
 City:                                     State:             Zip Code (Plus 4):
 Scottsdale                                AZ                 852547546
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David C Harrison                                                                         ¤150.00
                                                                 4        28       2021
 Mailing Address:
 1901 John F Kennedy Blvd
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191031520
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Deming                                                                              ¤27.00
                                                                 4        28       2021
 Mailing Address:
 2229 Carpenter St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191462517
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Deming                                                                              ¤30.00
                                                                 4        29       2021
 Mailing Address:
 2229 Carpenter St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191462517
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Elesh                                                                              ¤150.00
                                                                4         2        2021
 Mailing Address:
 1900 Rittenhouse Sq
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191036042
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Elesh                                                                              ¤100.00
                                                                3         30       2021
 Mailing Address:
 1900 Rittenhouse Sq
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191036042
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Fair                                                                               ¤250.00
                                                                4         28       2021
 Mailing Address:
 302 W Earlham Ter
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191443920
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Gross                                                                              ¤100.00
                                                                 4        14       2021
 Mailing Address:
 5420 Austin Road
 City:                                     State:             Zip Code (Plus 4):
 Santa Barbara                             CA                 93111



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Hoose                                                                              ¤200.00
                                                                4         28       2021
 Mailing Address:
 36 S Park Ter
 City:                                     State:             Zip Code (Plus 4):
 Northampton                               MA                 010604115
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Lapp                                                                               ¤100.00
                                                                5         2        2021
 Mailing Address:
 903 S 47th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191433618
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Lasensky                                                                           ¤100.00
                                                                 4        21       2021
 Mailing Address:
 43 Boot Rd
 City:                                     State:             Zip Code (Plus 4):
 Newtown Square                            PA                 190732301
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Masur                                                                              ¤100.00
                                                                4         2        2021
 Mailing Address:
 1320 McKean St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191482228
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Moscow                                                                             ¤100.00
                                                                 4        26       2021
 Mailing Address:
 7917 1/2 Norton Ave
 City:                                     State:             Zip Code (Plus 4):
 West Hollywood                            CA                 900465204
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Nagdeman                                                                           ¤100.00
                                                                 3        30       2021
 Mailing Address:
 830 S 49th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191433453
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Quinlan                                                                             ¤25.00
                                                                4         30       2021
 Mailing Address:
 22 Monterey Dr
 City:                                     State:             Zip Code (Plus 4):
 Princeton Jct                             NJ                 085501318
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Quinlan                                                                             ¤25.00
                                                                4         27       2021
 Mailing Address:
 22 Monterey Dr
 City:                                     State:             Zip Code (Plus 4):
 Princeton Jct                             NJ                 085501318
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Quinlan                                                                             ¤10.00
                                                                4         20       2021
 Mailing Address:
 22 Monterey Dr
 City:                                     State:             Zip Code (Plus 4):
 Princeton Jct                             NJ                 085501318



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Ross                                                                               ¤200.00
                                                                 4        27       2021
 Mailing Address:
 315 Riverside Dr
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100254100
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Shayer                                                                             ¤100.00
                                                                 4        20       2021
 Mailing Address:
 2502 Emerson St
 City:                                     State:             Zip Code (Plus 4):
 Palo Alto                                 CA                 943014222
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Suisman                                                                            ¤250.00
                                                                 4        14       2021
 Mailing Address:
 235 Bainbridge St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191472331
 Full Name of Contributor:                                     MO.       DAY       YEAR
 David Tate                                                                               ¤100.00
                                                                 5         1       2021
 Mailing Address:
 43 Bridge St
 City:                                     State:             Zip Code (Plus 4):
 Belleville                                NJ                 071092431
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Dawn Greenwood                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 142 Wakefield St
 City:                                     State:             Zip Code (Plus 4):
 Reading                                   MA                 018671855
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Dean Beer                                                                                ¤100.00
                                                                4         14       2021
 Mailing Address:
 547 Daventry Rd
 City:                                     State:             Zip Code (Plus 4):
 Berwyn                                    PA                 193121740
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Debbie Chenoweth                                                                         ¤100.00
                                                                 5         2       2021
 Mailing Address:
 305 Beaver Run Ct
 City:                                     State:             Zip Code (Plus 4):
 Westminster                               MD                 211577255
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Deborah Carr                                                                             ¤100.00
                                                                 4        26       2021
 Mailing Address:
 3952 S Bronson Ave
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900082635
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Deborah Maskar                                                                           ¤100.00
                                                                 4        26       2021
 Mailing Address:
 314 Queen St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191473216



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Deborah Waber                                                                            ¤100.00
                                                                 4        29       2021
 Mailing Address:
 275 Cypress St
 City:                                     State:             Zip Code (Plus 4):
 Brookline                                 MA                 024456774
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Debra Karl                                                                               ¤100.00
                                                                4         30       2021
 Mailing Address:
 7810 Pine Rd
 City:                                     State:             Zip Code (Plus 4):
 Glenside                                  PA                 190388527
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Dediako Rodgers                                                                          ¤100.00
                                                                 5         2       2021
 Mailing Address:
 7691 Deboe Rd
 City:                                     State:             Zip Code (Plus 4):
 Summerfield                               NC                 273589025
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Demetrius Matthews                                                                       ¤100.00
                                                                 4        26       2021
 Mailing Address:
 16180 Highway 7
 City:                                     State:             Zip Code (Plus 4):
 Minnetonka                                MN                 553453403
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Denise Jordan                                                                            ¤100.00
                                                                 4        27       2021
 Mailing Address:
 4061 E Castro Valley Blvd
 City:                                     State:             Zip Code (Plus 4):
 Castro Valley                             CA                 945524840
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Derrick Johnson                                                                          ¤100.00
                                                                 4        28       2021
 Mailing Address:
 1271 Delmar Ave
 City:                                     State:             Zip Code (Plus 4):
 West Chester                              PA                 193804026
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Devon Steinbacher                                                                        ¤100.00
                                                                 5         1       2021
 Mailing Address:
 2176 Tiger View Ct NW
 City:                                     State:             Zip Code (Plus 4):
 Issaquah                                  WA                 980275639
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Diane Karp                                                                               ¤100.00
                                                                5         3        2021
 Mailing Address:
 939 Don Cubero Ave
 City:                                     State:             Zip Code (Plus 4):
 Santa Fe                                  NM                 875051616
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Dionna Jones                                                                              ¤27.00
                                                                 5         2       2021
 Mailing Address:
 433 Wellington Rd
 City:                                     State:             Zip Code (Plus 4):
 Indianapolis                              IN                 462604619



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Dionna Jones                                                                              ¤27.00
                                                                4         27       2021
 Mailing Address:
 433 Wellington Rd
 City:                                     State:             Zip Code (Plus 4):
 Indianapolis                              IN                 462604619
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Dipa Mair                                                                                ¤100.00
                                                                4         26       2021
 Mailing Address:
 5209 Timber Creek Rd
 City:                                     State:             Zip Code (Plus 4):
 Flower Mound                              TX                 750282563
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Dominique Myers                                                                           ¤50.00
                                                                 5         1       2021
 Mailing Address:
 594 5th St
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112153504
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Dominique Myers                                                                            ¤5.00
                                                                 5         1       2021
 Mailing Address:
 594 5th St
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112153504
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Don Avallone                                                                              ¤25.00
                                                                4         22       2021
 Mailing Address:
 3636 Weightman St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191291621
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Don Avallone                                                                              ¤75.00
                                                                 5         1       2021
 Mailing Address:
 3636 Weightman St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191291621
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Donald F Tibbs                                                                           ¤200.00
                                                                 4        12       2021
 Mailing Address:
 1816 Spruce St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191032530
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Donald G Meaders                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 4047 Anderson Ave SE
 City:                                     State:             Zip Code (Plus 4):
 Albuquerque                               NM                 871084308
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Doug Seidman                                                                              ¤25.00
                                                                4         28       2021
 Mailing Address:
 30 E 10th St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100036202



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 Full Name of Contributor:                                      MO.      DAY       YEAR
 Doug Seidman                                                                              ¤45.00
                                                                 5         3       2021
 Mailing Address:
 30 E 10th St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100036202
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Doug Seidman                                                                              ¤31.00
                                                                 4        15       2021
 Mailing Address:
 30 E 10th St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100036202
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Douglas Hansen                                                                           ¤100.00
                                                                 4        26       2021
 Mailing Address:
 4052 Kinsale St
 City:                                     State:             Zip Code (Plus 4):
 Dublin                                    CA                 945684286
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Duran Goodyear                                                                           ¤100.00
                                                                 5         3       2021
 Mailing Address:
 527 Reed St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191475834
 Full Name of Contributor:                                     MO.       DAY       YEAR
 E. Mike Gelin                                                                            ¤250.00
                                                                 4        27       2021
 Mailing Address:
 5901 Abbey Rd
 City:                                     State:             Zip Code (Plus 4):
 Tamarac                                   FL                 333214110
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Earl Bell                                                                                ¤200.00
                                                                4         26       2021
 Mailing Address:
 27555 Franklin Rd
 City:                                     State:             Zip Code (Plus 4):
 Southfield                                MI                 480348242
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Edward Main                                                                                ¤5.00
                                                                 5         2       2021
 Mailing Address:
 2031 Branard St
 City:                                     State:             Zip Code (Plus 4):
 Houston                                   TX                 770982516
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Edward Main                                                                              ¤101.00
                                                                 4        27       2021
 Mailing Address:
 2031 Branard St
 City:                                     State:             Zip Code (Plus 4):
 Houston                                   TX                 770982516
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Edward Quiroz                                                                            ¤100.00
                                                                 4        27       2021
 Mailing Address:
 675 Dolores St
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941101546



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Edward Toomey                                                                            ¤100.00
                                                                 5         3       2021
 Mailing Address:
 45 Glades Rd
 City:                                     State:             Zip Code (Plus 4):
 Scituate                                  MA                 020661647
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Eileen Pedone                                                                              ¤5.00
                                                                 4        27       2021
 Mailing Address:
 142 Harding Ave
 City:                                     State:             Zip Code (Plus 4):
 Ventura                                   CA                 930032517
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Eileen Pedone                                                                             ¤50.00
                                                                 5         1       2021
 Mailing Address:
 142 Harding Ave
 City:                                     State:             Zip Code (Plus 4):
 Ventura                                   CA                 930032517
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Elaine Griffin                                                                            ¤50.00
                                                                 4        21       2021
 Mailing Address:
 702 N 3rd St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191232904
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Elaine Griffin                                                                            ¤50.00
                                                                 5         3       2021
 Mailing Address:
 702 N 3rd St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191232904
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Elaine Robbins                                                                           ¤100.00
                                                                4         21       2021
 Mailing Address:
 415 Blowhole Rd
 City:                                     State:             Zip Code (Plus 4):
 Marshall                                  NC                 287530257
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Elaine Swift                                                                             ¤100.00
                                                                4         20       2021
 Mailing Address:
 10201 Grosvenor Pl
 City:                                     State:             Zip Code (Plus 4):
 Rockville                                 MD                 208524600
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Elaine Swift                                                                             ¤100.00
                                                                4         11       2021
 Mailing Address:
 10201 Grosvenor Pl
 City:                                     State:             Zip Code (Plus 4):
 Rockville                                 MD                 208524600
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Eli Staub                                                                                ¤100.00
                                                                5         2        2021
 Mailing Address:
 1370 Taylor St NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200115508



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 Full Name of Contributor:                                     MO.       DAY        YEAR
 Elisabeth Semel                                                                           ¤250.00
                                                                 4        14        2021
 Mailing Address:
 2320 Spaulding Ave
 City:                                     State:             Zip Code (Plus 4):
 Berkeley                                  CA                 947031628
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Elizabeth Foy                                                                             ¤100.00
                                                                 4        27        2021
 Mailing Address:
 120 McKinney Ave
 City:                                     State:             Zip Code (Plus 4):
 Pacifica                                  CA                 940442323
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Elizabeth Gombosi                                                                         ¤100.00
                                                                 5         3        2021
 Mailing Address:
 351 E Hector St
 City:                                     State:             Zip Code (Plus 4):
 Conshohocken                              PA                 194281916
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Elizabeth Gombosi                                                                          ¤27.00
                                                                 4        28        2021
 Mailing Address:
 351 E Hector St
 City:                                     State:             Zip Code (Plus 4):
 Conshohocken                              PA                 194281916
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Elizabeth Kukura                                                                          ¤100.00
                                                                 5         3        2021
 Mailing Address:
 2043 Bainbridge St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191461308
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Elizabeth Moersh                                                                          ¤100.00
                                                                 4         7        2021
 Mailing Address:
 813 Wharton St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191475014
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Elizabeth Stokes                                                                          ¤200.00
                                                                 4        12        2021
 Mailing Address:
 7100 Wayne Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193346
 Full Name of Contributor:                                      MO.       DAY       YEAR
 ELIZABETH WALKER                                                                          ¤250.00
                                                                 5         3        2021
 Mailing Address:
 210 Locust St
 City:                                     State:              Zip Code (Plus 4):
 Philadelphia                              PA                  191060137
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Elizabeth Werthan                                                                         ¤105.00
                                                                 4        30        2021
 Mailing Address:
 520 Carpenter Ln
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193500



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 Full Name of Contributor:                                      MO.      DAY       YEAR
 Elizabeth Williams                                                                       ¤150.00
                                                                 4        14       2021
 Mailing Address:
 4 Moreland Cir
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191184222
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ellen Feldman                                                                            ¤200.00
                                                                 4        28       2021
 Mailing Address:
 61 Canary Cres
 City:                                     State:             Zip Code (Plus 4):
 Plandome                                  NY                 110304022
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ellen Katz                                                                               ¤100.00
                                                                4         23       2021
 Mailing Address:
 1616 Granger Ave
 City:                                     State:             Zip Code (Plus 4):
 Ann Arbor                                 MI                 481044429
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Elliot Langford                                                                          ¤100.00
                                                                 4        26       2021
 Mailing Address:
 3811 53rd St
 City:                                     State:             Zip Code (Plus 4):
 Sacramento                                CA                 958201638
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Elliot Zashin                                                                            ¤250.00
                                                                4         30       2021
 Mailing Address:
 715 Asbury Ave
 City:                                     State:             Zip Code (Plus 4):
 Evanston                                  IL                 602022157
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Elsa Nunes-Ueno                                                                          ¤250.00
                                                                 4        26       2021
 Mailing Address:
 957 NW 64th St
 City:                                     State:             Zip Code (Plus 4):
 Seattle                                   WA                 981072219
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Emerson Wyper                                                                            ¤100.00
                                                                 4        26       2021
 Mailing Address:
 1345 Clement St
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941181072
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Emily Alexander                                                                           ¤60.00
                                                                 4        27       2021
 Mailing Address:
 4513 Spruce St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191394526
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Emily Robb                                                                               ¤100.00
                                                                 4        13       2021
 Mailing Address:
 1528 Walnut St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191023606



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Emily Rodriguez                                                                          ¤100.00
                                                                 5        3        2021
 Mailing Address:
 422 N St NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200014610
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Emmanuel Callahan                                                                        ¤100.00
                                                                4         27       2021
 Mailing Address:
 45848 Gainsborough Dr
 City:                                     State:             Zip Code (Plus 4):
 Canton                                    MI                 481871522
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Emmanuel Velasco                                                                         ¤100.00
                                                                 5        3        2021
 Mailing Address:
 4512 Oregon St
 City:                                     State:             Zip Code (Plus 4):
 San Diego                                 CA                 921164919
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Emmanuel Velasco                                                                          ¤50.00
                                                                 4        27       2021
 Mailing Address:
 4512 Oregon St
 City:                                     State:             Zip Code (Plus 4):
 San Diego                                 CA                 921164919
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Enilda Mateo                                                                             ¤100.00
                                                                4         27       2021
 Mailing Address:
 8330 Kew Gardens Rd
 City:                                     State:             Zip Code (Plus 4):
 Kew Gardens                               NY                 114151905
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Eric Brandon Horst                                                                        ¤25.00
                                                                 4        20       2021
 Mailing Address:
 2919 Harper St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191301123
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Eric Brandon Horst                                                                        ¤75.00
                                                                 4        30       2021
 Mailing Address:
 2919 Harper St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191301123
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Eric Edwards                                                                             ¤100.00
                                                                4         26       2021
 Mailing Address:
 380 14th St
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941032493
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Erica Itz                                                                                ¤100.00
                                                                4         9        2021
 Mailing Address:
 50 Poplar Pl
 City:                                     State:             Zip Code (Plus 4):
 New Rochelle                              NY                 108052005



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Erika Miller                                                                              ¤27.00
                                                                4         26       2021
 Mailing Address:
 2817 11th St N
 City:                                     State:             Zip Code (Plus 4):
 Arlington                                 VA                 222012888
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Erika Miller                                                                              ¤50.00
                                                                4         27       2021
 Mailing Address:
 2817 11th St N
 City:                                     State:             Zip Code (Plus 4):
 Arlington                                 VA                 222012888
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Erika Owens                                                                              ¤100.00
                                                                4         25       2021
 Mailing Address:
 2034 S Bouvier St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191452910
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Erin Bischoffberger                                                                      ¤100.00
                                                                 4        23       2021
 Mailing Address:
 141 Cook Ave
 City:                                     State:             Zip Code (Plus 4):
 Syracuse                                  NY                 132063240
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Erin Evans                                                                                ¤18.00
                                                                4         27       2021
 Mailing Address:
 1406 P St NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200051998
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Erin Evans                                                                                ¤40.00
                                                                 5        3        2021
 Mailing Address:
 1406 P St NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200051998
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Erin Moffat                                                                              ¤100.00
                                                                4         12       2021
 Mailing Address:
 131 N Mole St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191021400
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Erin Moffat                                                                               ¤25.00
                                                                 4         8       2021
 Mailing Address:
 131 N Mole St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191021400
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Erin Purser                                                                               ¤50.00
                                                                4         27       2021
 Mailing Address:
 740 14th Way SW
 City:                                     State:             Zip Code (Plus 4):
 Edmonds                                   WA                 980206612



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 Full Name of Contributor:                                     MO.       DAY        YEAR
 Erin Purser                                                                                ¤50.00
                                                                 4        26        2021
 Mailing Address:
 740 14th Way SW
 City:                                     State:             Zip Code (Plus 4):
 Edmonds                                   WA                 980206612
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Erin Wylie                                                                                ¤100.00
                                                                4         11        2021
 Mailing Address:
 4818 Lawton Ave
 City:                                     State:             Zip Code (Plus 4):
 Oakland                                   CA                 946092209
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Esther Kim                                                                                ¤100.00
                                                                4         27        2021
 Mailing Address:
 1008 6th Ave N
 City:                                     State:             Zip Code (Plus 4):
 Seattle                                   WA                 981093872
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Esther Kim                                                                                ¤100.00
                                                                5         1         2021
 Mailing Address:
 1008 6th Ave N
 City:                                     State:             Zip Code (Plus 4):
 Seattle                                   WA                 981093872
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Etelvina Chavez                                                                            ¤10.00
                                                                 4        29        2021
 Mailing Address:
 4020 W 5th St
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900203640
 Full Name of Contributor:                                      MO.      DAY        YEAR
 Etelvina Chavez                                                                           ¤100.00
                                                                 4        26        2021
 Mailing Address:
 4020 W 5th St
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900203640
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Ethni Case                                                                                ¤100.00
                                                                4         28        2021
 Mailing Address:
 4134 Via Mar De Delfinas
 City:                                     State:             Zip Code (Plus 4):
 San Diego                                 CA                 921302670
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Eugenia Cooper Merchant                                                                   ¤100.00
                                                                 4        27        2021
 Mailing Address:
 214 Sugar Tree Dr
 City:                                     State:              Zip Code (Plus 4):
 Myrtle Beach                              SC                  295888838
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Eva Gold                                                                                  ¤100.00
                                                                 4         7        2021
 Mailing Address:
 3605 Hamilton St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191042327



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Eva Yuen                                                                                 ¤250.00
                                                                4         20       2021
 Mailing Address:
 5213 Webster St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191432626
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Evan Steinberg                                                                           ¤100.00
                                                                 4        26       2021
 Mailing Address:
 1236 Spruce St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191075919
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Eve Hesselroth                                                                           ¤100.00
                                                                 4        26       2021
 Mailing Address:
 95 Roslyn Forest Ln
 City:                                     State:             Zip Code (Plus 4):
 Charlottesville                           VA                 229017544
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Faith Washington                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 5755 Almeda Rd
 City:                                     State:             Zip Code (Plus 4):
 Houston                                   TX                 770048123
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Farid Azfar                                                                              ¤100.00
                                                                4         30       2021
 Mailing Address:
 510 S 7th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191471411
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Felicia Banks                                                                            ¤100.00
                                                                 4        30       2021
 Mailing Address:
 545 Hilliard Dr
 City:                                     State:             Zip Code (Plus 4):
 Fayetteville                              NC                 283112689
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Frances Milberg                                                                          ¤150.00
                                                                 4        27       2021
 Mailing Address:
 150 E 56th St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100223633
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Frances Ortiz                                                                            ¤100.00
                                                                4         27       2021
 Mailing Address:
 175 Ward St
 City:                                     State:             Zip Code (Plus 4):
 Revere                                    MA                 021511359
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Francesca Uberoi                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 2901 Boulderton Ct
 City:                                     State:             Zip Code (Plus 4):
 Baltimore                                 MD                 212095276



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Franciscs Strern                                                                         ¤100.00
                                                                4         27       2021
 Mailing Address:
 775 Grape Ave
 City:                                     State:             Zip Code (Plus 4):
 Boulder                                   CO                 803042122
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Frank Bernt                                                                               ¤75.00
                                                                4         21       2021
 Mailing Address:
 6209 N Fairhill St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191263827
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Frazar Thomas                                                                             ¤60.00
                                                                 4        29       2021
 Mailing Address:
 2447 Grays Ferry Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191462450
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Fred Baurer                                                                              ¤250.00
                                                                4         22       2021
 Mailing Address:
 418 S Taney St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191461043
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Fredrecio Washington                                                                     ¤100.00
                                                                 4        27       2021
 Mailing Address:
 910 Gray Hawk Ln
 City:                                     State:             Zip Code (Plus 4):
 Euless                                    TX                 760391739
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Gabriel Jimenez                                                                          ¤100.00
                                                                4         16       2021
 Mailing Address:
 5015 Temple City Blvd
 City:                                     State:             Zip Code (Plus 4):
 Temple City                               CA                 917803830
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Gabriel Jimenez                                                                          ¤100.00
                                                                4         26       2021
 Mailing Address:
 5015 Temple City Blvd
 City:                                     State:             Zip Code (Plus 4):
 Temple City                               CA                 917803830
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Gabrielle Peluso                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 31 Nassau St
 City:                                     State:             Zip Code (Plus 4):
 North Haledon                             NJ                 075082356
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Gail Loney                                                                               ¤125.00
                                                                4         8        2021
 Mailing Address:
 2219 N Lambert St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191324817



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Gary Jones                                                                               ¤100.00
                                                                4         26       2021
 Mailing Address:
 302 Beresford Rd
 City:                                     State:             Zip Code (Plus 4):
 Rochester                                 NY                 146101425
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Geoffrey Mrema                                                                           ¤250.00
                                                                 5         1       2021
 Mailing Address:
 161 W 61st St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100237400
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Geoffrey Rabinowitz                                                                      ¤100.00
                                                                 4        27       2021
 Mailing Address:
 169 Preamble Dr
 City:                                     State:             Zip Code (Plus 4):
 Marlton                                   NJ                 080535352
 Full Name of Contributor:                                     MO.       DAY       YEAR
 George Beeler                                                                            ¤135.00
                                                                 4        26       2021
 Mailing Address:
 100 Fair St
 City:                                     State:             Zip Code (Plus 4):
 Petaluma                                  CA                 949522515
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Gerardo Gafford                                                                          ¤100.00
                                                                 4        27       2021
 Mailing Address:
 654 Duncan Cir
 City:                                     State:             Zip Code (Plus 4):
 Auburndale                                FL                 33823
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Girardeau Spann                                                                          ¤250.00
                                                                 4        28       2021
 Mailing Address:
 4821 Montgomery Ln
 City:                                     State:             Zip Code (Plus 4):
 Bethesda                                  MD                 208146324
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Glenda Marshall                                                                          ¤100.00
                                                                 4        12       2021
 Mailing Address:
 1919 Chestnut St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191033436
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Gloria Rohlfs                                                                             ¤50.00
                                                                 4         7       2021
 Mailing Address:
 249 E Sydney St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191191836
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Gloria Rohlfs                                                                             ¤50.00
                                                                 5         1       2021
 Mailing Address:
 249 E Sydney St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191191836



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 Full Name of Contributor:                                      MO.       DAY       YEAR
 Gregory Lyles                                                                              ¤80.00
                                                                 4        28        2021
 Mailing Address:
 1147 N 4th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191231572
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Gwen Callan                                                                               ¤150.00
                                                                 5         1        2021
 Mailing Address:
 1153 S Dorrance St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191462911
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Gwendolyn Speeth                                                                          ¤100.00
                                                                 5         1        2021
 Mailing Address:
 16 Churchill Ave
 City:                                     State:             Zip Code (Plus 4):
 Cambridge                                 MA                 021401114
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Halimah Wright                                                                            ¤100.00
                                                                 4        26        2021
 Mailing Address:
 4726 Olds Ave
 City:                                     State:             Zip Code (Plus 4):
 Memphis                                   TN                 381284845
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Hannah Banks                                                                              ¤100.00
                                                                 5         3        2021
 Mailing Address:
 107 Garland Rd
 City:                                     State:             Zip Code (Plus 4):
 Newton                                    MA                 024591741
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Hannah Schwarzschild                                                                       ¤27.00
                                                                 5         2        2021
 Mailing Address:
 99 Jerome St
 City:                                     State:             Zip Code (Plus 4):
 Medford                                   MA                 021556736
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Hannah Schwarzschild                                                                       ¤27.00
                                                                 4        21        2021
 Mailing Address:
 99 Jerome St
 City:                                     State:             Zip Code (Plus 4):
 Medford                                   MA                 021556736
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Hardy Ervin                                                                               ¤100.00
                                                                 4        27        2021
 Mailing Address:
 12400 Ventura Blvd
 City:                                     State:             Zip Code (Plus 4):
 Studio City                               CA                 916042406
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Harriet Barlow                                                                            ¤100.00
                                                                 4        30        2021
 Mailing Address:
 3 Los Reyes Drive PO 265
 City:                                     State:              Zip Code (Plus 4):
 Point Reyes Station                       CA                  94956



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Harriette Starr                                                                          ¤100.00
                                                                4         29       2021
 Mailing Address:
 3436 W Coulter St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191291402
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Hayley Macon                                                                              ¤25.00
                                                                4         28       2021
 Mailing Address:
 3000 Castle Heights Ave
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900342753
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Hayley Macon                                                                              ¤27.00
                                                                4         27       2021
 Mailing Address:
 3000 Castle Heights Ave
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900342753
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Heather Newstead                                                                         ¤100.00
                                                                 4        26       2021
 Mailing Address:
 301 Melodywood Dr
 City:                                     State:             Zip Code (Plus 4):
 Friendswood                               TX                 775462853
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Helen Raleigh                                                                            ¤100.00
                                                                4         26       2021
 Mailing Address:
 6350 Lyndale Ave S
 City:                                     State:             Zip Code (Plus 4):
 Richfield                                 MN                 554231478
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Helene Tomlinson                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 14 Brenton St
 City:                                     State:             Zip Code (Plus 4):
 Dorchester                                MA                 021214108
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Henry Sommer                                                                             ¤100.00
                                                                 4        15       2021
 Mailing Address:
 233 S 6th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191063753
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Henry Sommer                                                                              ¤25.00
                                                                 4        21       2021
 Mailing Address:
 233 S 6th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191063753
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Herbert Belton                                                                           ¤100.00
                                                                4         27       2021
 Mailing Address:
 4601 Presidents Dr
 City:                                     State:             Zip Code (Plus 4):
 Lanham                                    MD                 207064365



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Holly Sprenger                                                                           ¤250.00
                                                                 4        28       2021
 Mailing Address:
 142 Union St
 City:                                     State:             Zip Code (Plus 4):
 Encinitas                                 CA                 920242118
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Hugh Dancy                                                                               ¤100.00
                                                                 4        26       2021
 Mailing Address:
 One Pennsylvania Plaza Suite 3500
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 10119
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Hugh Dancy                                                                               ¤100.00
                                                                 5         1       2021
 Mailing Address:
 One Pennsylvania Plaza Suite 3500
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 10119
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ian Gavigan                                                                               ¤75.00
                                                                 4        29       2021
 Mailing Address:
 5034 Hazel Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191431622
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ian Hinonangan                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 140 Bay St
 City:                                     State:             Zip Code (Plus 4):
 Jersey City                               NJ                 073025911
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Iris Calderon                                                                            ¤250.00
                                                                 4        26       2021
 Mailing Address:
 2921 51st St NW
 City:                                     State:             Zip Code (Plus 4):
 Albuquerque                               NM                 871201294
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Isabel Loya                                                                              ¤100.00
                                                                4         27       2021
 Mailing Address:
 36338 Beech Pl
 City:                                     State:             Zip Code (Plus 4):
 Newark                                    CA                 945602219
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Isla Fruchter                                                                            ¤100.00
                                                                 4        14       2021
 Mailing Address:
 7604 Montgomery Ave
 City:                                     State:             Zip Code (Plus 4):
 Elkins Park                               PA                 190272901
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Jack Malinowski                                                                           ¤25.00
                                                                 4        12       2021
 Mailing Address:
 520 Carpenter Ln
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193500



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 Full Name of Contributor:                                      MO.       DAY       YEAR
 Jack Malinowski                                                                            ¤50.00
                                                                 4         6        2021
 Mailing Address:
 520 Carpenter Ln
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193500
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Jacob Ebby                                                                                ¤200.00
                                                                 5         1        2021
 Mailing Address:
 410 W 53rd St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100195629
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Jacqueline Alfo                                                                           ¤100.00
                                                                 5         1        2021
 Mailing Address:
 24 Riviera Dr
 City:                                     State:             Zip Code (Plus 4):
 Selden                                    NY                 117841748
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Jadrian Miles                                                                             ¤150.00
                                                                 4        13        2021
 Mailing Address:
 348 Franklin St
 City:                                     State:             Zip Code (Plus 4):
 Cambridge                                 MA                 021393163
 Full Name of Contributor:                                      MO.       DAY       YEAR
 JAMES BOATWRIGHT                                                                          ¤100.00
                                                                 5         3        2021
 Mailing Address:
 1908 S 10th St
 City:                                     State:              Zip Code (Plus 4):
 Philadelphia                              PA                  191482317
 Full Name of Contributor:                                      MO.       DAY       YEAR
 James Patterson                                                                           ¤100.00
                                                                 4        26        2021
 Mailing Address:
 42 Kemp Ave
 City:                                     State:             Zip Code (Plus 4):
 Fair Haven                                NJ                 077043504
 Full Name of Contributor:                                      MO.       DAY       YEAR
 James Peter Graham                                                                         ¤25.00
                                                                 5         3        2021
 Mailing Address:
 1049 S Paxon St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191434221
 Full Name of Contributor:                                      MO.       DAY       YEAR
 James Peter Graham                                                                         ¤25.00
                                                                 5         3        2021
 Mailing Address:
 1049 S Paxon St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191434221
 Full Name of Contributor:                                      MO.       DAY       YEAR
 James Peter Graham                                                                        ¤100.00
                                                                 4        15        2021
 Mailing Address:
 1049 S Paxon St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191434221



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 James Wells                                                                              ¤150.00
                                                                3         30       2021
 Mailing Address:
 1602 S Bancroft St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191451508
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jamie Crowley                                                                             ¤25.00
                                                                 4        29       2021
 Mailing Address:
 3821 39th St NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200162834
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jamie Crowley                                                                             ¤25.00
                                                                 4        20       2021
 Mailing Address:
 3821 39th St NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200162834
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jamie Crowley                                                                             ¤25.00
                                                                 4        22       2021
 Mailing Address:
 3821 39th St NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200162834
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jamie Goguen                                                                             ¤100.00
                                                                4         26       2021
 Mailing Address:
 704 13th St E
 City:                                     State:             Zip Code (Plus 4):
 Whitefish                                 MT                 599372994
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jamie Rossetti                                                                           ¤100.00
                                                                4         27       2021
 Mailing Address:
 1361 4th St
 City:                                     State:             Zip Code (Plus 4):
 Los Osos                                  CA                 934021205
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jan Kralovec                                                                             ¤100.00
                                                                5         2        2021
 Mailing Address:
 907 W Ainslie St
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606403811
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jane Shull                                                                               ¤250.00
                                                                4         16       2021
 Mailing Address:
 823 E Phil Ellena St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191191534
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Janean Wheeler                                                                           ¤100.00
                                                                 4        28       2021
 Mailing Address:
 219 Brooklyn Ave
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112131906



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Janeth Paris                                                                              ¤27.00
                                                                 4        27       2021
 Mailing Address:
 1333 Star Bush Ln
 City:                                     State:             Zip Code (Plus 4):
 San Jose                                  CA                 951183544
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Janeth Paris                                                                              ¤30.00
                                                                 4        27       2021
 Mailing Address:
 1333 Star Bush Ln
 City:                                     State:             Zip Code (Plus 4):
 San Jose                                  CA                 951183544
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Jared Darby                                                                              ¤100.00
                                                                 4        28       2021
 Mailing Address:
 54 Noble St
 City:                                     State:             Zip Code (Plus 4):
 West Newton                               MA                 024651016
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jasan Alvarez                                                                            ¤100.00
                                                                4         26       2021
 Mailing Address:
 8251 Laurel Lakes Way
 City:                                     State:             Zip Code (Plus 4):
 Naples                                    FL                 341196793
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jason Agron                                                                              ¤100.00
                                                                 4        27       2021
 Mailing Address:
 99 S 12th St
 City:                                     State:             Zip Code (Plus 4):
 San Jose                                  CA                 951122046
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jason Bradshaw                                                                           ¤100.00
                                                                 5         2       2021
 Mailing Address:
 1159 E 4875 S
 City:                                     State:             Zip Code (Plus 4):
 Ogden                                     UT                 844034766
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jason Edwards                                                                            ¤100.00
                                                                 4        26       2021
 Mailing Address:
 301 Chestnut St
 City:                                     State:             Zip Code (Plus 4):
 Harrisburg                                PA                 171012700
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jason Hartman                                                                            ¤100.00
                                                                 4        27       2021
 Mailing Address:
 6125 106th Ave
 City:                                     State:             Zip Code (Plus 4):
 Kenosha                                   WI                 531427599
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jason Sears                                                                              ¤100.00
                                                                4         21       2021
 Mailing Address:
 7231 Boyer St
 City:                                     State:             Zip Code (Plus 4):
 Phila                                     PA                 191191705



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jason Taylor                                                                             ¤100.00
                                                                 4        26       2021
 Mailing Address:
 1210 Ramble Dr
 City:                                     State:             Zip Code (Plus 4):
 Fredericksburg                            VA                 224015363
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jawairia Nasir                                                                            ¤50.00
                                                                 5         2       2021
 Mailing Address:
 325 Van Sant Dr
 City:                                     State:             Zip Code (Plus 4):
 Palmyra                                   NJ                 080651301
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jawairia Nasir                                                                             ¤5.00
                                                                 4        30       2021
 Mailing Address:
 325 Van Sant Dr
 City:                                     State:             Zip Code (Plus 4):
 Palmyra                                   NJ                 080651301
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Jeanine Zalduendo                                                                        ¤100.00
                                                                 4        27       2021
 Mailing Address:
 11 Pine Ct
 City:                                     State:             Zip Code (Plus 4):
 Inglewood                                 CA                 903022929
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Jeanne Salidar                                                                            ¤60.00
                                                                 4        26       2021
 Mailing Address:
 639 Rosedale Rd
 City:                                     State:             Zip Code (Plus 4):
 Kennett Square                            PA                 193482519
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jeannie Jukes                                                                            ¤100.00
                                                                4         26       2021
 Mailing Address:
 54 Danbury Ln
 City:                                     State:             Zip Code (Plus 4):
 Irvine                                    CA                 926183972
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jeehan Nasir                                                                             ¤250.00
                                                                4         27       2021
 Mailing Address:
 4851 Saint Lawrence St
 City:                                     State:             Zip Code (Plus 4):
 Detroit                                   MI                 482102110
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jeff Latts                                                                               ¤100.00
                                                                5         2        2021
 Mailing Address:
 908 La Terraza Ct
 City:                                     State:             Zip Code (Plus 4):
 Monterey                                  CA                 939407610
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jeffrey Allen                                                                            ¤100.00
                                                                 4        27       2021
 Mailing Address:
 1715 E Francisquito Ave
 City:                                     State:             Zip Code (Plus 4):
 West Covina                               CA                 917913826



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jennifer Goupil                                                                           ¤50.00
                                                                 4        28       2021
 Mailing Address:
 4731 Barrington Ct
 City:                                     State:             Zip Code (Plus 4):
 Riverside                                 CA                 925061005
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jennifer Goupil                                                                           ¤25.00
                                                                 4        21       2021
 Mailing Address:
 4731 Barrington Ct
 City:                                     State:             Zip Code (Plus 4):
 Riverside                                 CA                 925061005
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jennifer Jones                                                                           ¤100.00
                                                                4         27       2021
 Mailing Address:
 2036 N Prospect Ave
 City:                                     State:             Zip Code (Plus 4):
 Milwaukee                                 WI                 532021265
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jennifer Kraft                                                                           ¤100.00
                                                                 4        28       2021
 Mailing Address:
 914 S 25th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191463905
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jennifer Shaw                                                                            ¤100.00
                                                                4         25       2021
 Mailing Address:
 210 W 94th St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100256962
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jennifer Stone                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 72 Roberts Dr
 City:                                     State:             Zip Code (Plus 4):
 Weymouth                                  MA                 021901643
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jennifer Zindel                                                                          ¤100.00
                                                                4         27       2021
 Mailing Address:
 3740 N Wayne Ave
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606133723
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jeremy Varon                                                                             ¤100.00
                                                                4         14       2021
 Mailing Address:
 442 3rd St
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112152953
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jeremy Varon                                                                              ¤50.00
                                                                4         15       2021
 Mailing Address:
 442 3rd St
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112152953



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jeremy Varon                                                                              ¤50.00
                                                                 5        3        2021
 Mailing Address:
 442 3rd St
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112152953
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jerreece Noel                                                                            ¤100.00
                                                                4         29       2021
 Mailing Address:
 165 S Opdyke Rd
 City:                                     State:             Zip Code (Plus 4):
 Auburn Hills                              MI                 483263170
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jessi Skaarvold                                                                          ¤100.00
                                                                4         27       2021
 Mailing Address:
 3497 Linden Grove Dr
 City:                                     State:             Zip Code (Plus 4):
 Waldorf                                   MD                 206034039
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jessica Brown                                                                            ¤100.00
                                                                 5        3        2021
 Mailing Address:
 617 Ashmead Rd
 City:                                     State:             Zip Code (Plus 4):
 Cheltenham                                PA                 190121505
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jessica Brown                                                                            ¤100.00
                                                                 4        6        2021
 Mailing Address:
 617 Ashmead Rd
 City:                                     State:             Zip Code (Plus 4):
 Cheltenham                                PA                 190121505
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jessica Lee                                                                              ¤100.00
                                                                 5        1        2021
 Mailing Address:
 101 Polk St
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941024753
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jessica Lowing                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 4937 Catharine St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191432007
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jessica McBreen                                                                          ¤100.00
                                                                 3        31       2021
 Mailing Address:
 11 Forest Rd
 City:                                     State:             Zip Code (Plus 4):
 Springfield                               PA                 190642209
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jessica Moore                                                                             ¤27.00
                                                                 4        26       2021
 Mailing Address:
 1532 Purdue Ave
 City:                                     State:             Zip Code (Plus 4):
 Saint Louis                               MO                 631331012



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 Full Name of Contributor:                                      MO.       DAY      YEAR
 Jessica Moore                                                                             ¤27.00
                                                                 4        27       2021
 Mailing Address:
 1532 Purdue Ave
 City:                                     State:             Zip Code (Plus 4):
 Saint Louis                               MO                 631331012
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jill Saling                                                                              ¤100.00
                                                                4         27       2021
 Mailing Address:
 2140 Hamble Ave
 City:                                     State:             Zip Code (Plus 4):
 Eugene                                    OR                 974032102
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Jim Pettis                                                                               ¤100.00
                                                                 5         3       2021
 Mailing Address:
 1229 1st St
 City:                                     State:             Zip Code (Plus 4):
 Hermosa Beach                             CA                 902545328
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jin Ding                                                                                 ¤100.00
                                                                 4        21       2021
 Mailing Address:
 53 Coleridge St
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941105155
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jin Kang                                                                                 ¤100.00
                                                                 4        27       2021
 Mailing Address:
 412 Amherst St
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941341602
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jo Klein                                                                                 ¤250.00
                                                                 4        21       2021
 Mailing Address:
 47 Sherwood Dr
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 19130
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joan Adler                                                                               ¤100.00
                                                                 5         2       2021
 Mailing Address:
 6913 Heyward St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193417
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joan Castronuovo                                                                         ¤100.00
                                                                 4        28       2021
 Mailing Address:
 1100 Market St
 City:                                     State:             Zip Code (Plus 4):
 Dresher                                   PA                 190251275
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Joan Dalton                                                                               ¤50.00
                                                                 4        29       2021
 Mailing Address:
 1 Nonquitt Ave
 City:                                     State:             Zip Code (Plus 4):
 South Dartmouth                           MA                 027485024



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joan Dalton                                                                               ¤25.00
                                                                 3        31       2021
 Mailing Address:
 1 Nonquitt Ave
 City:                                     State:             Zip Code (Plus 4):
 South Dartmouth                           MA                 027485024
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joan Martini                                                                             ¤100.00
                                                                4         12       2021
 Mailing Address:
 201 W Evergreen Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191183828
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joan Schiff                                                                               ¤25.00
                                                                4         2        2021
 Mailing Address:
 31 N Preston St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191042258
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joan Schiff                                                                               ¤25.00
                                                                5         2        2021
 Mailing Address:
 31 N Preston St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191042258
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joan Schiff                                                                               ¤25.00
                                                                4         5        2021
 Mailing Address:
 31 N Preston St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191042258
 Full Name of Contributor:                                     MO.       DAY       YEAR
 JoAnn Seaver                                                                              ¤50.00
                                                                4         12       2021
 Mailing Address:
 625 Burnham Rd
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193511
 Full Name of Contributor:                                     MO.       DAY       YEAR
 JoAnn Seaver                                                                             ¤100.00
                                                                4         26       2021
 Mailing Address:
 625 Burnham Rd
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193511
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joanne Howard                                                                            ¤100.00
                                                                4         26       2021
 Mailing Address:
 3810 Leahi Ave
 City:                                     State:             Zip Code (Plus 4):
 Honolulu                                  HI                 968154460
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jocquese Blackwell                                                                       ¤250.00
                                                                4         27       2021
 Mailing Address:
 7904 S 29th Pl
 City:                                     State:             Zip Code (Plus 4):
 Phoenix                                   AZ                 850427140



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joel Adams                                                                               ¤100.00
                                                                4         27       2021
 Mailing Address:
 29595 Dutchmans Ln
 City:                                     State:             Zip Code (Plus 4):
 Easton                                    MD                 216018807
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joel Steiker                                                                              ¤50.00
                                                                 5         2       2021
 Mailing Address:
 4813 Beaumont Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191433407
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joel Steiker                                                                             ¤200.00
                                                                 4        18       2021
 Mailing Address:
 4813 Beaumont Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191433407
 Full Name of Contributor:                                      MO.       DAY      YEAR
 JoEllen Kunz                                                                              ¤27.00
                                                                 4        26       2021
 Mailing Address:
 3835 S Rancho Vista Ln
 City:                                     State:             Zip Code (Plus 4):
 West Valley City                          UT                 841202764
 Full Name of Contributor:                                      MO.       DAY      YEAR
 JoEllen Kunz                                                                              ¤27.00
                                                                 4        27       2021
 Mailing Address:
 3835 S Rancho Vista Ln
 City:                                     State:             Zip Code (Plus 4):
 West Valley City                          UT                 841202764
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Johannah Betts                                                                           ¤250.00
                                                                 4        27       2021
 Mailing Address:
 841 Highland Ave
 City:                                     State:             Zip Code (Plus 4):
 Jenkintown                                PA                 190461518
 Full Name of Contributor:                                      MO.      DAY       YEAR
 John Dillon                                                                              ¤100.00
                                                                 5         3       2021
 Mailing Address:
 PO Box 157
 City:                                     State:             Zip Code (Plus 4):
 East Chatham                              NY                 120600157
 Full Name of Contributor:                                      MO.       DAY      YEAR
 John Douglas                                                                              ¤75.00
                                                                 4        27       2021
 Mailing Address:
 259 Loma Media Rd
 City:                                     State:             Zip Code (Plus 4):
 Santa Barbara                             CA                 931032153
 Full Name of Contributor:                                     MO.       DAY       YEAR
 John Landis                                                                              ¤250.00
                                                                 4        26       2021
 Mailing Address:
 1727 Watkins St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191452118



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 John MacAlarney                                                                          ¤250.00
                                                                4         13       2021
 Mailing Address:
 6 Elderberry Dr
 City:                                     State:             Zip Code (Plus 4):
 Medford                                   NJ                 080553800
 Full Name of Contributor:                                     MO.       DAY       YEAR
 John Meyerson                                                                             ¤75.00
                                                                4         12       2021
 Mailing Address:
 508 W Mount Airy Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191192948
 Full Name of Contributor:                                     MO.       DAY       YEAR
 John Meyerson                                                                             ¤50.00
                                                                4         25       2021
 Mailing Address:
 508 W Mount Airy Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191192948
 Full Name of Contributor:                                     MO.       DAY       YEAR
 John Meyerson                                                                             ¤50.00
                                                                 5         2       2021
 Mailing Address:
 508 W Mount Airy Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191192948
 Full Name of Contributor:                                     MO.       DAY       YEAR
 John O'Donnell                                                                           ¤100.00
                                                                4         21       2021
 Mailing Address:
 214 Morlyn Ave
 City:                                     State:             Zip Code (Plus 4):
 Bryn Mawr                                 PA                 190103747
 Full Name of Contributor:                                     MO.       DAY       YEAR
 John Onoroski                                                                             ¤25.00
                                                                4         12       2021
 Mailing Address:
 63 Wason Rd
 City:                                     State:             Zip Code (Plus 4):
 Hudson                                    NH                 030515061
 Full Name of Contributor:                                     MO.       DAY       YEAR
 John Onoroski                                                                             ¤40.00
                                                                5         3        2021
 Mailing Address:
 63 Wason Rd
 City:                                     State:             Zip Code (Plus 4):
 Hudson                                    NH                 030515061
 Full Name of Contributor:                                     MO.       DAY       YEAR
 John Saplala                                                                             ¤100.00
                                                                5         1        2021
 Mailing Address:
 1022 Auburn Ln
 City:                                     State:             Zip Code (Plus 4):
 Buffalo Grove                             IL                 600896737
 Full Name of Contributor:                                     MO.       DAY       YEAR
 John Saplala                                                                             ¤100.00
                                                                4         9        2021
 Mailing Address:
 1022 Auburn Ln
 City:                                     State:             Zip Code (Plus 4):
 Buffalo Grove                             IL                 600896737



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 John Sellers                                                                             ¤250.00
                                                                4         10       2021
 Mailing Address:
 13324 SW 220th St
 City:                                     State:             Zip Code (Plus 4):
 Vashon                                    WA                 980706306
 Full Name of Contributor:                                     MO.       DAY       YEAR
 John Steele                                                                              ¤100.00
                                                                 4        21       2021
 Mailing Address:
 159 Eastern Parkway
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 19147
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jonas Ellenberg                                                                          ¤100.00
                                                                 4        23       2021
 Mailing Address:
 319 S 17th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191036726
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Jonathan Feinberg                                                                        ¤100.00
                                                                 4        30       2021
 Mailing Address:
 55 Dogwood Ln
 City:                                     State:             Zip Code (Plus 4):
 Swarthmore                                PA                 190811202
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Jorge Gozalo                                                                             ¤100.00
                                                                4         27       2021
 Mailing Address:
 13846 Close St
 City:                                     State:             Zip Code (Plus 4):
 Whittier                                  CA                 906053340
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joseph Best                                                                              ¤100.00
                                                                 4         1       2021
 Mailing Address:
 200 Scott Rd
 City:                                     State:             Zip Code (Plus 4):
 Worthington                               MA                 010989651
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Joseph Corrigan                                                                          ¤150.00
                                                                 4         1       2021
 Mailing Address:
 1424 S 19th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191464656
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joseph Flood                                                                             ¤200.00
                                                                5         1        2021
 Mailing Address:
 109 Wilmar Pl NW
 City:                                     State:             Zip Code (Plus 4):
 Vienna                                    VA                 221804528
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joseph Titano                                                                            ¤100.00
                                                                 5         1       2021
 Mailing Address:
 1249 Park Ave
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100297245



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Josh Busch                                                                               ¤100.00
                                                                4         28       2021
 Mailing Address:
 1220A 5th Ave N
 City:                                     State:             Zip Code (Plus 4):
 Seattle                                   WA                 981093303
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Joshua Boyette                                                                           ¤200.00
                                                                 5         3       2021
 Mailing Address:
 212 Brown St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191232951
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joshua Kayer                                                                              ¤50.00
                                                                 4        26       2021
 Mailing Address:
 10224 Sioux Rd
 City:                                     State:             Zip Code (Plus 4):
 Richmond                                  VA                 232351131
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joshua Kayer                                                                              ¤25.00
                                                                 5         3       2021
 Mailing Address:
 10224 Sioux Rd
 City:                                     State:             Zip Code (Plus 4):
 Richmond                                  VA                 232351131
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Joshua Nold                                                                              ¤200.00
                                                                 5         1       2021
 Mailing Address:
 900 Painter Ave
 City:                                     State:             Zip Code (Plus 4):
 Natrona Heights                           PA                 150652446
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joshua Steele                                                                            ¤100.00
                                                                 4         8       2021
 Mailing Address:
 11641 Valley Spring Ln
 City:                                     State:             Zip Code (Plus 4):
 Studio City                               CA                 916042891
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joshua Steele                                                                             ¤50.00
                                                                 4        18       2021
 Mailing Address:
 11641 Valley Spring Ln
 City:                                     State:             Zip Code (Plus 4):
 Studio City                               CA                 916042891
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joshua Steele                                                                             ¤50.00
                                                                 4        25       2021
 Mailing Address:
 11641 Valley Spring Ln
 City:                                     State:             Zip Code (Plus 4):
 Studio City                               CA                 916042891
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Joshua Steele                                                                             ¤50.00
                                                                 5         2       2021
 Mailing Address:
 11641 Valley Spring Ln
 City:                                     State:             Zip Code (Plus 4):
 Studio City                               CA                 916042891



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 Full Name of Contributor:                                      MO.       DAY       YEAR
 Joslyn Marie Newman                                                                       ¤100.00
                                                                 5         3        2021
 Mailing Address:
 2236 S 22nd St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191453303
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Judith Bernstein-Baker                                                                    ¤100.00
                                                                 4         2        2021
 Mailing Address:
 154 W Hortter St
 City:                                     State:              Zip Code (Plus 4):
 Philadelphia                              PA                  191192706
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Judith Everitt                                                                             ¤25.00
                                                                 4        15        2021
 Mailing Address:
 2020 Walnut St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191035639
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Judith Everitt                                                                             ¤25.00
                                                                 4         8        2021
 Mailing Address:
 2020 Walnut St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191035639
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Judith Everitt                                                                             ¤25.00
                                                                 4         3        2021
 Mailing Address:
 2020 Walnut St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191035639
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Judith Everitt                                                                             ¤25.00
                                                                 4        29        2021
 Mailing Address:
 2020 Walnut St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191035639
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Judith Muse                                                                                ¤27.00
                                                                 5         1        2021
 Mailing Address:
 136 Elm St
 City:                                     State:             Zip Code (Plus 4):
 Worcester                                 MA                 016091928
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Judith Muse                                                                                ¤50.00
                                                                 4        26        2021
 Mailing Address:
 136 Elm St
 City:                                     State:             Zip Code (Plus 4):
 Worcester                                 MA                 016091928
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Judith Muse                                                                                ¤27.00
                                                                 4        27        2021
 Mailing Address:
 136 Elm St
 City:                                     State:             Zip Code (Plus 4):
 Worcester                                 MA                 016091928



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Judith Wicks                                                                             ¤100.00
                                                                 4        10       2021
 Mailing Address:
 332 S 24th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191036432
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Judy Buchanan                                                                              ¤5.00
                                                                 4         6       2021
 Mailing Address:
 3726 Spring Garden St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191042354
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Judy Buchanan                                                                            ¤100.00
                                                                 4         6       2021
 Mailing Address:
 3726 Spring Garden St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191042354
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Julia Chiang                                                                             ¤250.00
                                                                4         27       2021
 Mailing Address:
 14 College Pl
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112012404
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Julia Levitan                                                                            ¤100.00
                                                                4         29       2021
 Mailing Address:
 3015 Country Club Dr
 City:                                     State:             Zip Code (Plus 4):
 Glendale                                  CA                 912081711
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Julia Watsek                                                                              ¤30.00
                                                                 4        26       2021
 Mailing Address:
 2036 Linnington Ave
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900255902
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Julia Watsek                                                                              ¤25.00
                                                                 5         2       2021
 Mailing Address:
 2036 Linnington Ave
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900255902
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Julian Boggs                                                                             ¤250.00
                                                                 4        16       2021
 Mailing Address:
 2336 E Norris St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191251929
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Julie Darmody                                                                            ¤100.00
                                                                4         27       2021
 Mailing Address:
 4341 Lanai Rd
 City:                                     State:             Zip Code (Plus 4):
 Encino                                    CA                 914363616



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Julie Easton                                                                              ¤13.50
                                                                4         26       2021
 Mailing Address:
 285 Fisk Rd
 City:                                     State:             Zip Code (Plus 4):
 Danby                                     VT                 057399456
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Julie Easton                                                                              ¤18.00
                                                                5         3        2021
 Mailing Address:
 285 Fisk Rd
 City:                                     State:             Zip Code (Plus 4):
 Danby                                     VT                 057399456
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Julie Easton                                                                              ¤15.00
                                                                4         30       2021
 Mailing Address:
 285 Fisk Rd
 City:                                     State:             Zip Code (Plus 4):
 Danby                                     VT                 057399456
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Julie Easton                                                                              ¤12.00
                                                                4         25       2021
 Mailing Address:
 285 Fisk Rd
 City:                                     State:             Zip Code (Plus 4):
 Danby                                     VT                 057399456
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Julie Parr                                                                               ¤145.00
                                                                5         3        2021
 Mailing Address:
 329 Greene St
 City:                                     State:             Zip Code (Plus 4):
 New Haven                                 CT                 065116968
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Julie Puderbaugh                                                                          ¤50.00
                                                                 4        26       2021
 Mailing Address:
 433 Kachinka Hollow Rd
 City:                                     State:             Zip Code (Plus 4):
 Berwick                                   PA                 186035201
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Julie Puderbaugh                                                                          ¤50.00
                                                                 5         2       2021
 Mailing Address:
 433 Kachinka Hollow Rd
 City:                                     State:             Zip Code (Plus 4):
 Berwick                                   PA                 186035201
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Julie Shannon                                                                             ¤27.00
                                                                 4        30       2021
 Mailing Address:
 736 N Fuller Ave
 City:                                     State:             Zip Code (Plus 4):
 West Hollywood                            CA                 900467505
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Julie Shannon                                                                             ¤27.00
                                                                 3        30       2021
 Mailing Address:
 736 N Fuller Ave
 City:                                     State:             Zip Code (Plus 4):
 West Hollywood                            CA                 900467505



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 Full Name of Contributor:                                      MO.       DAY       YEAR
 June Crawford Jackson                                                                     ¤100.00
                                                                 5         3        2021
 Mailing Address:
 3833 Pearl St
 City:                                     State:              Zip Code (Plus 4):
 Philadelphia                              PA                  191045115
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Juniper Maas                                                                               ¤27.00
                                                                 4        26        2021
 Mailing Address:
 1328 Beaverton Valley Rd
 City:                                     State:             Zip Code (Plus 4):
 Friday Harbor                             WA                 982508999
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Juniper Maas                                                                               ¤25.00
                                                                 5         1        2021
 Mailing Address:
 1328 Beaverton Valley Rd
 City:                                     State:             Zip Code (Plus 4):
 Friday Harbor                             WA                 982508999
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Justin Gero                                                                               ¤100.00
                                                                 4        16        2021
 Mailing Address:
 1213 S 21st St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191464321
 Full Name of Contributor:                                      MO.      DAY        YEAR
 Kaino Long                                                                                ¤100.00
                                                                 4        28        2021
 Mailing Address:
 602 Hickory Dr
 City:                                     State:             Zip Code (Plus 4):
 Plain Dealing                             LA                 71064
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Kaiomarz Bhada                                                                            ¤100.00
                                                                 4        27        2021
 Mailing Address:
 1249 S Bundy Dr
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900251121
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Kaitlin McCann                                                                            ¤100.00
                                                                 4        26        2021
 Mailing Address:
 656 Highpointe Cir
 City:                                     State:             Zip Code (Plus 4):
 Langhorne                                 PA                 190475159
 Full Name of Contributor:                                      MO.      DAY        YEAR
 Kareem Gibson                                                                             ¤100.00
                                                                 3        31        2021
 Mailing Address:
 6222 Old York Rd
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191411936
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Karel Kilimnik                                                                             ¤50.00
                                                                 4         4        2021
 Mailing Address:
 4913 Morris St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191444713



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 Full Name of Contributor:                                      MO.       DAY      YEAR
 Karel Kilimnik                                                                            ¤50.00
                                                                 4        25       2021
 Mailing Address:
 4913 Morris St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191444713
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Karen Freeman                                                                            ¤100.00
                                                                 5         2       2021
 Mailing Address:
 2625 Arkansas Ave
 City:                                     State:             Zip Code (Plus 4):
 Saint Louis                               MO                 631181119
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Karen Freeman                                                                              ¤5.00
                                                                 4        27       2021
 Mailing Address:
 2625 Arkansas Ave
 City:                                     State:             Zip Code (Plus 4):
 Saint Louis                               MO                 631181119
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Karen Hartmann                                                                           ¤100.00
                                                                 4        29       2021
 Mailing Address:
 19 Berkeley Pl
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112173554
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Karen Kahn                                                                                ¤75.00
                                                                 5         1       2021
 Mailing Address:
 259 Garfield Pl
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112152249
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Karen King                                                                               ¤100.00
                                                                4         27       2021
 Mailing Address:
 912 Courtlandt Ave
 City:                                     State:             Zip Code (Plus 4):
 Bronx                                     NY                 104514892
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Karen Melk                                                                                ¤50.00
                                                                 4        27       2021
 Mailing Address:
 1900 Lincoln Ave
 City:                                     State:             Zip Code (Plus 4):
 Saint Paul                                MN                 551051421
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Karen Melk                                                                                ¤27.00
                                                                 4        28       2021
 Mailing Address:
 1900 Lincoln Ave
 City:                                     State:             Zip Code (Plus 4):
 Saint Paul                                MN                 551051421
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Karen Melk                                                                                ¤27.00
                                                                 5         2       2021
 Mailing Address:
 1900 Lincoln Ave
 City:                                     State:             Zip Code (Plus 4):
 Saint Paul                                MN                 551051421



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Karen Sisk                                                                                ¤50.00
                                                                4         28       2021
 Mailing Address:
 7425 La Vista Dr
 City:                                     State:             Zip Code (Plus 4):
 Dallas                                    TX                 752144429
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Karen Sisk                                                                                ¤20.00
                                                                5          3       2021
 Mailing Address:
 7425 La Vista Dr
 City:                                     State:             Zip Code (Plus 4):
 Dallas                                    TX                 752144429
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Karen Tokarz                                                                             ¤100.00
                                                                 4        26       2021
 Mailing Address:
 4434 Laclede Ave
 City:                                     State:             Zip Code (Plus 4):
 Saint Louis                               MO                 631082204
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Karima Popatia                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 50 Dey St
 City:                                     State:             Zip Code (Plus 4):
 Jersey City                               NJ                 073065190
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Karine Greene                                                                              ¤5.00
                                                                 4        26       2021
 Mailing Address:
 6484 E Surrey Dr
 City:                                     State:             Zip Code (Plus 4):
 Long Beach                                CA                 908154743
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Karine Greene                                                                             ¤50.00
                                                                 4        27       2021
 Mailing Address:
 6484 E Surrey Dr
 City:                                     State:             Zip Code (Plus 4):
 Long Beach                                CA                 908154743
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Karis Jackson                                                                            ¤100.00
                                                                 5         1       2021
 Mailing Address:
 8551 Burnet Ave
 City:                                     State:             Zip Code (Plus 4):
 North Hills                               CA                 913436070
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Kate Jameson-Fowler                                                                      ¤100.00
                                                                 4        27       2021
 Mailing Address:
 127 Jonestown Rd
 City:                                     State:             Zip Code (Plus 4):
 Asheville                                 NC                 288043040
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Katherine Bruce                                                                           ¤27.00
                                                                 5         1       2021
 Mailing Address:
 85 Russell St Brookly
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 11222



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Katherine Bruce                                                                           ¤27.00
                                                                 4        27       2021
 Mailing Address:
 85 Russell St Brookly
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 11222
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Katherine Ernst                                                                          ¤100.00
                                                                 4        13       2021
 Mailing Address:
 3915 Dexter St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191285217
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Katherine Law-Hart                                                                        ¤27.00
                                                                 4        30       2021
 Mailing Address:
 2843 County Road 3838
 City:                                     State:             Zip Code (Plus 4):
 Bridgeport                                TX                 764264828
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Katherine Law-Hart                                                                        ¤50.00
                                                                 5         1       2021
 Mailing Address:
 2843 County Road 3838
 City:                                     State:             Zip Code (Plus 4):
 Bridgeport                                TX                 764264828
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Katherine Martin                                                                         ¤100.00
                                                                4         27       2021
 Mailing Address:
 1130 Piedmont Ave NE
 City:                                     State:             Zip Code (Plus 4):
 Atlanta                                   GA                 303093782
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Katherine Ray-Riek                                                                       ¤200.00
                                                                 4        15       2021
 Mailing Address:
 659 Cypress St
 City:                                     State:             Zip Code (Plus 4):
 Yeadon                                    PA                 190503335
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Katherine Roberson                                                                       ¤100.00
                                                                 5         2       2021
 Mailing Address:
 620 Carpenter Ln
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193404
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kathleen Bentley                                                                         ¤100.00
                                                                4         26       2021
 Mailing Address:
 140 Dolly Varden Rd
 City:                                     State:             Zip Code (Plus 4):
 Forks                                     WA                 983319402
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kathleen Judge                                                                           ¤100.00
                                                                4         22       2021
 Mailing Address:
 722 Americana Way
 City:                                     State:             Zip Code (Plus 4):
 Glendale                                  CA                 912101550



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 Full Name of Contributor:                                      MO.      DAY       YEAR
 Kathryn Cacciamani                                                                       ¤250.00
                                                                 4         9       2021
 Mailing Address:
 1800 John F Kennedy Blvd
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191037402
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kathryn Lipman                                                                            ¤80.00
                                                                 4        23       2021
 Mailing Address:
 2060 E Susquehanna Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191251542
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kathy Davilla                                                                             ¤60.00
                                                                 5         3       2021
 Mailing Address:
 2 Danbury Dr
 City:                                     State:             Zip Code (Plus 4):
 Sicklerville                              NJ                 080819646
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Katie Llaneza                                                                            ¤100.00
                                                                4         26       2021
 Mailing Address:
 21601 11th Ct SE
 City:                                     State:             Zip Code (Plus 4):
 Bothell                                   WA                 980217653
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Katrina Kelly                                                                             ¤27.00
                                                                 4        27       2021
 Mailing Address:
 7288 Simsbury Dr
 City:                                     State:             Zip Code (Plus 4):
 West Bloomfield                           MI                 483223548
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Katrina Kelly                                                                             ¤25.00
                                                                 4        11       2021
 Mailing Address:
 7288 Simsbury Dr
 City:                                     State:             Zip Code (Plus 4):
 West Bloomfield                           MI                 483223548
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Keenan OConnell                                                                          ¤100.00
                                                                 5         2       2021
 Mailing Address:
 1310 N Hope St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191224625
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Keith Couch                                                                              ¤250.00
                                                                4         29       2021
 Mailing Address:
 203 Oakdale Rd
 City:                                     State:             Zip Code (Plus 4):
 Baltimore                                 MD                 212102519
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Keith Daviston                                                                           ¤100.00
                                                                 4        12       2021
 Mailing Address:
 1601 N Philip St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191223112



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Keith Donoghue                                                                           ¤100.00
                                                                 4        11       2021
 Mailing Address:
 314 Catharine St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191473217
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Keith Kelleher                                                                           ¤250.00
                                                                 5         3       2021
 Mailing Address:
 4931 N Keystone Ave
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606302808
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kellie Allen                                                                             ¤100.00
                                                                4         28       2021
 Mailing Address:
 6166 N Kingsmill Ct
 City:                                     State:             Zip Code (Plus 4):
 Fontana                                   CA                 923365699
 Full Name of Contributor:                                      MO.      DAY       YEAR
 KELLIE Lang                                                                              ¤100.00
                                                                 5         2       2021
 Mailing Address:
 621 30th St
 City:                                     State:             Zip Code (Plus 4):
 Hermosa Beach                             CA                 902542212
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kellie Morin                                                                             ¤100.00
                                                                 4        28       2021
 Mailing Address:
 1310 Creekside Dr
 City:                                     State:             Zip Code (Plus 4):
 Walnut Creek                              CA                 945965788
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kelly Currington                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 9600 Fallgold Pkwy N
 City:                                     State:             Zip Code (Plus 4):
 Minneapolis                               MN                 554431592
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kelly Dietz                                                                              ¤250.00
                                                                 4        26       2021
 Mailing Address:
 5270 NORTH LAKE BLVD
 City:                                     State:             Zip Code (Plus 4):
 Carnelian Bay                             CA                 96140
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kelly Liao                                                                                ¤75.00
                                                                 4        26       2021
 Mailing Address:
 2361 W 29th Pl
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900182946
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Kenneth Beiser                                                                           ¤100.00
                                                                 5         2       2021
 Mailing Address:
 326 W Allens Ln
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191192801



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kenneth Brown                                                                            ¤100.00
                                                                4         27       2021
 Mailing Address:
 3010 SW 194th Ter
 City:                                     State:             Zip Code (Plus 4):
 Miramar                                   FL                 330295810
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kerry Slade                                                                              ¤100.00
                                                                4         30       2021
 Mailing Address:
 1625 Wallace St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191303348
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kerryann Delaney                                                                         ¤250.00
                                                                 4        27       2021
 Mailing Address:
 500 W Superior St
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606548132
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kevin Werner                                                                             ¤150.00
                                                                4         28       2021
 Mailing Address:
 5611 Abalone Pl
 City:                                     State:             Zip Code (Plus 4):
 La Jolla                                  CA                 920377502
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Khalil Cumberbatch                                                                        ¤25.00
                                                                 4        27       2021
 Mailing Address:
 4244 Parkside Dr SE
 City:                                     State:             Zip Code (Plus 4):
 Smyrna                                    GA                 300824046
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Khalil Cumberbatch                                                                        ¤27.00
                                                                 4        28       2021
 Mailing Address:
 4244 Parkside Dr SE
 City:                                     State:             Zip Code (Plus 4):
 Smyrna                                    GA                 300824046
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Khatia DaSilva                                                                            ¤27.00
                                                                 4        27       2021
 Mailing Address:
 3510 Avenue H
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112103406
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Khatia DaSilva                                                                            ¤27.00
                                                                 4        26       2021
 Mailing Address:
 3510 Avenue H
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112103406
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kiana Flemmonds                                                                           ¤10.00
                                                                 4        28       2021
 Mailing Address:
 8690 Virginia Pkwy
 City:                                     State:             Zip Code (Plus 4):
 McKinney                                  TX                 750715774



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kiana Flemmonds                                                                           ¤10.00
                                                                 4         1       2021
 Mailing Address:
 8690 Virginia Pkwy
 City:                                     State:             Zip Code (Plus 4):
 McKinney                                  TX                 750715774
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kiana Flemmonds                                                                           ¤50.00
                                                                 4         8       2021
 Mailing Address:
 8690 Virginia Pkwy
 City:                                     State:             Zip Code (Plus 4):
 McKinney                                  TX                 750715774
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kim Jankowski                                                                            ¤100.00
                                                                4         27       2021
 Mailing Address:
 3200 Hilltop Ct
 City:                                     State:             Zip Code (Plus 4):
 Lewisville                                TX                 750776474
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kim Keenan                                                                               ¤100.00
                                                                4         26       2021
 Mailing Address:
 1015 33rd St NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200073523
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kim Saechao                                                                              ¤100.00
                                                                4        27        2021
 Mailing Address:
 9464 Syrah Ct
 City:                                     State:             Zip Code (Plus 4):
 Elk Grove                                 CA                 956244601
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kimberly Rowe                                                                            ¤100.00
                                                                 4        27       2021
 Mailing Address:
 1762 Kelton Ave
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900245508
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kimberly Simmons                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 2014 Kitty Hawk Dr
 City:                                     State:             Zip Code (Plus 4):
 Missouri City                             TX                 774895933
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kirsten Albers                                                                           ¤100.00
                                                                 5        2        2021
 Mailing Address:
 4304 Forest Ln NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200071136
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kirsten Moy                                                                              ¤100.00
                                                                5         3        2021
 Mailing Address:
 197 Georgia Way
 City:                                     State:             Zip Code (Plus 4):
 San Leandro                               CA                 945771832



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Komichell Johnson                                                                        ¤250.00
                                                                 4        27       2021
 Mailing Address:
 2380 Northside Pkwy NW
 City:                                     State:             Zip Code (Plus 4):
 Atlanta                                   GA                 303271527
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kris Hermes                                                                              ¤100.00
                                                                4         28       2021
 Mailing Address:
 2366 Grant Street Vancouver BC V5L 2Z9 Canada
 City:                                     State:             Zip Code (Plus 4):
 Vancouver                                 PA                 00000
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kristie Jeffrey                                                                           ¤50.00
                                                                4         27       2021
 Mailing Address:
 6062 Honeysuckle Ln
 City:                                     State:             Zip Code (Plus 4):
 Walls                                     MS                 386809502
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kristie Jeffrey                                                                            ¤6.00
                                                                4         25       2021
 Mailing Address:
 6062 Honeysuckle Ln
 City:                                     State:             Zip Code (Plus 4):
 Walls                                     MS                 386809502
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kristin Henning                                                                          ¤250.00
                                                                 4        25       2021
 Mailing Address:
 7416 Holly Ave
 City:                                     State:             Zip Code (Plus 4):
 Takoma Park                               MD                 209124220
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kristin Perkins                                                                           ¤27.00
                                                                 4        26       2021
 Mailing Address:
 2200 Wilson Blvd
 City:                                     State:             Zip Code (Plus 4):
 Arlington                                 VA                 222013397
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kristin Perkins                                                                           ¤25.00
                                                                 5         1       2021
 Mailing Address:
 2200 Wilson Blvd
 City:                                     State:             Zip Code (Plus 4):
 Arlington                                 VA                 222013397
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kristin Rodgers                                                                          ¤100.00
                                                                 5         1       2021
 Mailing Address:
 2571 47th St
 City:                                     State:             Zip Code (Plus 4):
 Astoria                                   NY                 111031108
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Kullen Dickinson                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 2103 Haventree Ct
 City:                                     State:             Zip Code (Plus 4):
 Lawrenceville                             GA                 300435220



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kurt Smith                                                                                ¤27.00
                                                                 5         1       2021
 Mailing Address:
 810 S Flower St
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900174648
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kurt Smith                                                                                ¤27.00
                                                                 4        27       2021
 Mailing Address:
 810 S Flower St
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900174648
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kyle Purdy                                                                                ¤25.00
                                                                4         27       2021
 Mailing Address:
 850 Fairway View Dr
 City:                                     State:             Zip Code (Plus 4):
 Eugene                                    OR                 974017609
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kyle Purdy                                                                                ¤25.00
                                                                4         29       2021
 Mailing Address:
 850 Fairway View Dr
 City:                                     State:             Zip Code (Plus 4):
 Eugene                                    OR                 974017609
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kyle Purdy                                                                               ¤100.00
                                                                5         2        2021
 Mailing Address:
 850 Fairway View Dr
 City:                                     State:             Zip Code (Plus 4):
 Eugene                                    OR                 974017609
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kyle Scherer                                                                             ¤100.00
                                                                 5         1       2021
 Mailing Address:
 49 W 8th St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100119025
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Kylie Boughter                                                                            ¤60.00
                                                                 4        28       2021
 Mailing Address:
 1515 N Lawrence St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191223720
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lache Kamani                                                                             ¤100.00
                                                                 4        28       2021
 Mailing Address:
 134 Behrens St
 City:                                     State:             Zip Code (Plus 4):
 El Cerrito                                CA                 945303703
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lance Laver                                                                              ¤100.00
                                                                 4         1       2021
 Mailing Address:
 200 Garnet Ln
 City:                                     State:             Zip Code (Plus 4):
 Bala Cynwyd                               PA                 190041313



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lani Torres Garcia                                                                        ¤50.00
                                                                 4        27       2021
 Mailing Address:
 6708 Cattail Creek Way
 City:                                     State:             Zip Code (Plus 4):
 Bakersfield                               CA                 933112475
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lani Torres Garcia                                                                        ¤27.00
                                                                 4        26       2021
 Mailing Address:
 6708 Cattail Creek Way
 City:                                     State:             Zip Code (Plus 4):
 Bakersfield                               CA                 933112475
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Larissa J Mogano                                                                         ¤100.00
                                                                 5         3       2021
 Mailing Address:
 5234 Webster St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191432627
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Larissa Pahomov                                                                          ¤100.00
                                                                 3        31       2021
 Mailing Address:
 5028 Pine St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191431615
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Larry Cohen                                                                              ¤250.00
                                                                4         29       2021
 Mailing Address:
 560 N St SW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200244621
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Laslo Boyd                                                                               ¤250.00
                                                                5         3        2021
 Mailing Address:
 1737 Chestnut St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191034137
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Latoya Rodriguez-Martin                                                                  ¤100.00
                                                                 4        27       2021
 Mailing Address:
 1005 Bridgestone Pl
 City:                                     State:             Zip Code (Plus 4):
 Knoxville                                 TN                 379198188
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Laura Birdsall                                                                           ¤100.00
                                                                 4        30       2021
 Mailing Address:
 520 Carpenter Ln
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193500
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Laura Lunde                                                                               ¤50.00
                                                                4         26       2021
 Mailing Address:
 782 S Vine St
 City:                                     State:             Zip Code (Plus 4):
 Denver                                    CO                 802094617



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Laura Lunde                                                                               ¤50.00
                                                                 5         2       2021
 Mailing Address:
 782 S Vine St
 City:                                     State:             Zip Code (Plus 4):
 Denver                                    CO                 802094617
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Laura Pflug                                                                              ¤100.00
                                                                4         27       2021
 Mailing Address:
 340 Collingwood Ave
 City:                                     State:             Zip Code (Plus 4):
 Fairfield                                 CT                 068251821
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Laura Sztejnberg                                                                         ¤100.00
                                                                 4        26       2021
 Mailing Address:
 50 Plaza St E
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112385076
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lauren Vrettos                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 2441 W Walton St
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606224670
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Laurie Siegel                                                                             ¤25.00
                                                                4         21       2021
 Mailing Address:
 1510 S Mills Ave
 City:                                     State:             Zip Code (Plus 4):
 Lodi                                      CA                 952424240
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Laurie Siegel                                                                             ¤27.00
                                                                4         27       2021
 Mailing Address:
 1510 S Mills Ave
 City:                                     State:             Zip Code (Plus 4):
 Lodi                                      CA                 952424240
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lawrence Litvak                                                                          ¤100.00
                                                                 4        20       2021
 Mailing Address:
 14 Midhill Dr
 City:                                     State:             Zip Code (Plus 4):
 Mill Valley                               CA                 949411420
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Lawrence W Lindsay                                                                        ¤50.00
                                                                 4         1       2021
 Mailing Address:
 1010 Carpenter St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191473704
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Lawrence W Lindsay                                                                       ¤100.00
                                                                 5         2       2021
 Mailing Address:
 1010 Carpenter St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191473704



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lee Pete                                                                                 ¤100.00
                                                                4         28       2021
 Mailing Address:
 24 W Main Ave
 City:                                     State:             Zip Code (Plus 4):
 Spokane                                   WA                 992010108
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Leigh Cuesta                                                                             ¤100.00
                                                                 5         1       2021
 Mailing Address:
 2707 Mavor Ln
 City:                                     State:             Zip Code (Plus 4):
 Highland Park                             IL                 600351525
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Leigh Goldenberg                                                                         ¤100.00
                                                                 3        30       2021
 Mailing Address:
 1411 S Franklin St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191475724
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Leonard Sosnov                                                                           ¤200.00
                                                                 4        25       2021
 Mailing Address:
 1027 E Abington Ave
 City:                                     State:             Zip Code (Plus 4):
 Wyndmoor                                  PA                 190387915
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Leslie Slavens                                                                            ¤27.00
                                                                 4        14       2021
 Mailing Address:
 11 Hamilton St
 City:                                     State:             Zip Code (Plus 4):
 Sag Harbor                                NY                 119633527
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Leslie Slavens                                                                            ¤27.00
                                                                 4        27       2021
 Mailing Address:
 11 Hamilton St
 City:                                     State:             Zip Code (Plus 4):
 Sag Harbor                                NY                 119633527
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lessie Miller                                                                            ¤250.00
                                                                 4        26       2021
 Mailing Address:
 165 24th Ave
 City:                                     State:             Zip Code (Plus 4):
 Santa Cruz                                CA                 950625301
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Letitia Allen                                                                            ¤100.00
                                                                 4        25       2021
 Mailing Address:
 27 Stanton Rd
 City:                                     State:             Zip Code (Plus 4):
 Brookline                                 MA                 024456889
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Leyvoy Joensen                                                                           ¤100.00
                                                                 4        29       2021
 Mailing Address:
 771 Pinetree Rd
 City:                                     State:             Zip Code (Plus 4):
 Pittsburgh                                PA                 152431043



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lida Vala                                                                                ¤100.00
                                                                4         27       2021
 Mailing Address:
 5876 Bridgeport Lake Way
 City:                                     State:             Zip Code (Plus 4):
 San Jose                                  CA                 951232435
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Linda Carp                                                                               ¤100.00
                                                                 4        26       2021
 Mailing Address:
 420 Quequechan St
 City:                                     State:             Zip Code (Plus 4):
 Fall River                                MA                 027231652
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Linda Ecker                                                                              ¤100.00
                                                                 4        26       2021
 Mailing Address:
 354 E Orange St
 City:                                     State:             Zip Code (Plus 4):
 Lancaster                                 PA                 176022963
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Linda Howard                                                                             ¤100.00
                                                                 4        27       2021
 Mailing Address:
 1106 Terrapin St
 City:                                     State:             Zip Code (Plus 4):
 Bristol                                   PA                 190073401
 Full Name of Contributor:                                     MO.        DAY      YEAR
 Linda Moore                                                                               ¤50.00
                                                                 4        26       2021
 Mailing Address:
 18 S Hawthorne St
 City:                                     State:             Zip Code (Plus 4):
 Manchester                                CT                 060404010
 Full Name of Contributor:                                     MO.        DAY      YEAR
 Linda Moore                                                                               ¤50.00
                                                                 4        28       2021
 Mailing Address:
 18 S Hawthorne St
 City:                                     State:             Zip Code (Plus 4):
 Manchester                                CT                 060404010
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Lindsay A Liprando                                                                       ¤250.00
                                                                 4        21       2021
 Mailing Address:
 3629 Reed St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191463214
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lindsay Weston                                                                           ¤250.00
                                                                 4        29       2021
 Mailing Address:
 1215 Bucknell Dr
 City:                                     State:             Zip Code (Plus 4):
 Davis                                     CA                 956161714
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lindsey Bruning                                                                          ¤100.00
                                                                 4        27       2021
 Mailing Address:
 6839 Meadow Lake Ave
 City:                                     State:             Zip Code (Plus 4):
 Dallas                                    TX                 752143409



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lindsey Taggart                                                                          ¤100.00
                                                                 4        28       2021
 Mailing Address:
 9476 Fermi Ave
 City:                                     State:             Zip Code (Plus 4):
 San Diego                                 CA                 921233223
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Linnea Crum                                                                              ¤100.00
                                                                4         27       2021
 Mailing Address:
 12656 61st Pl S
 City:                                     State:             Zip Code (Plus 4):
 Seattle                                   WA                 981783527
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Linsey Will                                                                              ¤100.00
                                                                 5         3       2021
 Mailing Address:
 2405 Pine St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191036416
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Linsey Will                                                                              ¤100.00
                                                                 4         1       2021
 Mailing Address:
 2405 Pine St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191036416
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lionel Dripps                                                                            ¤100.00
                                                                 4        12       2021
 Mailing Address:
 3742 9th St NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200101502
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lisa Garcia                                                                              ¤100.00
                                                                4         27       2021
 Mailing Address:
 1417 Chadwyck Ln
 City:                                     State:             Zip Code (Plus 4):
 Manheim                                   PA                 175458685
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lisa Jackson                                                                              ¤20.00
                                                                 4         9       2021
 Mailing Address:
 501 E 87th St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 101287617
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lisa Jackson                                                                              ¤50.00
                                                                 4        27       2021
 Mailing Address:
 501 E 87th St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 101287617
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lisa Kroiz                                                                               ¤100.00
                                                                4         27       2021
 Mailing Address:
 333 E Lancaster Ave
 City:                                     State:             Zip Code (Plus 4):
 Wynnewood                                 PA                 190961929



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lisa Oppenheim                                                                           ¤250.00
                                                                4         25       2021
 Mailing Address:
 431 S Dearborn St
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606051152
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lisa Sable                                                                                ¤50.00
                                                                4         24       2021
 Mailing Address:
 2323 Race St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191031082
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lisa Sable                                                                                ¤50.00
                                                                 5         3       2021
 Mailing Address:
 2323 Race St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191031082
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lisa Torre-Igwe                                                                          ¤100.00
                                                                4         26       2021
 Mailing Address:
 545 Cottage Park Dr
 City:                                     State:             Zip Code (Plus 4):
 Hayward                                   CA                 945443557
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Liz Carson                                                                                ¤50.00
                                                                4         26       2021
 Mailing Address:
 1147 N 4th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191231572
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Liz Carson                                                                                ¤60.00
                                                                4         28       2021
 Mailing Address:
 1147 N 4th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191231572
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Liz Villarino                                                                            ¤100.00
                                                                4         27       2021
 Mailing Address:
 22405 Mariposa Rd
 City:                                     State:             Zip Code (Plus 4):
 Tehachapi                                 CA                 935618006
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lora Cooperman                                                                           ¤100.00
                                                                 4        28       2021
 Mailing Address:
 93 Worth St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100133412
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lord Barrington                                                                          ¤100.00
                                                                 4        27       2021
 Mailing Address:
 10541 National Blvd
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900343612



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 Full Name of Contributor:                                      MO.       DAY      YEAR
 Lord Barrington                                                                            ¤5.00
                                                                 4        27       2021
 Mailing Address:
 10541 National Blvd
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900343612
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lord Cole                                                                                ¤100.00
                                                                4         26       2021
 Mailing Address:
 1401 S Emerald St
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606074441
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Louis Fischer                                                                            ¤100.00
                                                                 5         3       2021
 Mailing Address:
 506 S 41st St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191044524
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Louis Fischer                                                                            ¤100.00
                                                                 4        21       2021
 Mailing Address:
 506 S 41st St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191044524
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Luana Goodwin                                                                            ¤200.00
                                                                 4        21       2021
 Mailing Address:
 2401 Pennsylvania Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191303002
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Luanne Nguyen                                                                            ¤100.00
                                                                 4        26       2021
 Mailing Address:
 8130 Baymist Dr
 City:                                     State:             Zip Code (Plus 4):
 Huntington Beach                          CA                 926469019
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Luisa Iskin                                                                               ¤27.00
                                                                 3        31       2021
 Mailing Address:
 10640 Woodbridge St
 City:                                     State:             Zip Code (Plus 4):
 Toluca Lake                               CA                 916022938
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Luisa Iskin                                                                               ¤27.00
                                                                 4        30       2021
 Mailing Address:
 10640 Woodbridge St
 City:                                     State:             Zip Code (Plus 4):
 Toluca Lake                               CA                 916022938
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Lydia Joan Robbins                                                                       ¤150.00
                                                                 5         1       2021
 Mailing Address:
 835 S 49th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191433431



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lydia Merl                                                                               ¤100.00
                                                                4         7        2021
 Mailing Address:
 3798 NE 7th Dr
 City:                                     State:             Zip Code (Plus 4):
 Boca Raton                                FL                 334316124
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lydia Merl                                                                               ¤100.00
                                                                4         26       2021
 Mailing Address:
 3798 NE 7th Dr
 City:                                     State:             Zip Code (Plus 4):
 Boca Raton                                FL                 334316124
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lynn Mather                                                                              ¤100.00
                                                                4         19       2021
 Mailing Address:
 7425 Boyer St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191191602
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lynn Robinson                                                                            ¤105.00
                                                                 5         2       2021
 Mailing Address:
 44 Ashmead Pl S
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191442917
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Lynne Iser                                                                               ¤250.00
                                                                4         12       2021
 Mailing Address:
 1016 W Upsal St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193715
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Madison Stewart                                                                           ¤50.00
                                                                 4        27       2021
 Mailing Address:
 40 Linden Blvd
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112263183
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Madison Stewart                                                                           ¤27.00
                                                                 4        27       2021
 Mailing Address:
 40 Linden Blvd
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112263183
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Maha Elashri                                                                              ¤50.00
                                                                4         26       2021
 Mailing Address:
 95 Horatio St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100141527
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Maha Elashri                                                                              ¤25.00
                                                                4         15       2021
 Mailing Address:
 95 Horatio St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100141527



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mahari Bailey                                                                            ¤100.00
                                                                 5        3        2021
 Mailing Address:
 1027 Arch St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191072317
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Malcolm Gaissert                                                                         ¤100.00
                                                                4         27       2021
 Mailing Address:
 PO Box 478
 City:                                     State:             Zip Code (Plus 4):
 Arnold                                    CA                 952230478
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Marc O'Donnell                                                                           ¤100.00
                                                                 5         2       2021
 Mailing Address:
 2733 W Girard Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191301212
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Marc Preston                                                                             ¤100.00
                                                                4         27       2021
 Mailing Address:
 1450 Soapstone Rd
 City:                                     State:             Zip Code (Plus 4):
 Gladwyne                                  PA                 190351355
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Marci Chenoweth                                                                          ¤250.00
                                                                4         27       2021
 Mailing Address:
 2600 Bembridge Dr
 City:                                     State:             Zip Code (Plus 4):
 Raleigh                                   NC                 276131643
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Margaret Grace Nash Peace                                                                ¤100.00
                                                                 4        27       2021
 Mailing Address:
 1891 Cedar Canyon Dr NE
 City:                                     State:             Zip Code (Plus 4):
 Atlanta                                   GA                 303454046
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Margaret Petersen                                                                        ¤100.00
                                                                 4        27       2021
 Mailing Address:
 344 Division St
 City:                                     State:             Zip Code (Plus 4):
 Pleasanton                                CA                 945666893
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Maria Duca                                                                                ¤50.00
                                                                4         14       2021
 Mailing Address:
 7700B Stenton Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191183161
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Maria Duca                                                                                ¤25.00
                                                                4         25       2021
 Mailing Address:
 7700B Stenton Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191183161



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 Full Name of Contributor:                                     MO.       DAY        YEAR
 Maria Duncan                                                                               ¤20.00
                                                                4         27        2021
 Mailing Address:
 1746 Comstock Ln
 City:                                     State:             Zip Code (Plus 4):
 San Jose                                  CA                 951241701
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Maria Duncan                                                                               ¤15.00
                                                                4         27        2021
 Mailing Address:
 1746 Comstock Ln
 City:                                     State:             Zip Code (Plus 4):
 San Jose                                  CA                 951241701
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Maria Duncan                                                                               ¤27.00
                                                                4         27        2021
 Mailing Address:
 1746 Comstock Ln
 City:                                     State:             Zip Code (Plus 4):
 San Jose                                  CA                 951241701
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Marie-Christine Balabanian                                                                ¤100.00
                                                                 4        25        2021
 Mailing Address:
 301 King St
 City:                                     State:              Zip Code (Plus 4):
 San Francisco                             CA                  941581655
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Marilu Lopez                                                                              ¤100.00
                                                                4         28        2021
 Mailing Address:
 152 Hoyt St
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112172224
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Marissa Johnson-Valenzuela                                                                 ¤25.00
                                                                 4        21        2021
 Mailing Address:
 501 N 32nd St
 City:                                     State:              Zip Code (Plus 4):
 Philadelphia                              PA                  191042503
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Marissa Johnson-Valenzuela                                                                 ¤50.00
                                                                 4         1        2021
 Mailing Address:
 501 N 32nd St
 City:                                     State:              Zip Code (Plus 4):
 Philadelphia                              PA                  191042503
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Marissa Oxenrider                                                                         ¤100.00
                                                                 5         2        2021
 Mailing Address:
 160 Aurora St
 City:                                     State:             Zip Code (Plus 4):
 Hudson                                    OH                 442362943
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Marja Ceron Chavez                                                                         ¤27.00
                                                                 4        27        2021
 Mailing Address:
 488 Winslow St
 City:                                     State:             Zip Code (Plus 4):
 Redwood City                              CA                 940631847



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 Full Name of Contributor:                                      MO.       DAY      YEAR
 Marja Ceron Chavez                                                                        ¤25.00
                                                                 4        27       2021
 Mailing Address:
 488 Winslow St
 City:                                     State:             Zip Code (Plus 4):
 Redwood City                              CA                 940631847
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mark Meyer                                                                               ¤100.00
                                                                4         27       2021
 Mailing Address:
 1445 Nashua St
 City:                                     State:             Zip Code (Plus 4):
 Houston                                   TX                 770083747
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mark Pickett                                                                             ¤250.00
                                                                 4         9       2021
 Mailing Address:
 759 Glenside Cir
 City:                                     State:             Zip Code (Plus 4):
 Bolingbrook                               IL                 604905495
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mark Sloan                                                                               ¤100.00
                                                                 4        13       2021
 Mailing Address:
 3214 Sage Ln
 City:                                     State:             Zip Code (Plus 4):
 Port Townsend                             WA                 983685140
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mark Starkey                                                                             ¤100.00
                                                                4         28       2021
 Mailing Address:
 1595 E. Pender St Vancouver BC V5L 1V9 Canada
 City:                                     State:             Zip Code (Plus 4):
 Vancouver                                 PA                 00000
 Full Name of Contributor:                                     MO.       DAY       YEAR
 MARK STERN                                                                               ¤200.00
                                                                 4        24       2021
 Mailing Address:
 7421 Boyer St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191191602
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Mark Waqanivavalagi                                                                      ¤100.00
                                                                 4        26       2021
 Mailing Address:
 22758 4th St
 City:                                     State:             Zip Code (Plus 4):
 Hayward                                   CA                 945414359
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Marla Samora                                                                             ¤100.00
                                                                 4         1       2021
 Mailing Address:
 88 Howard St
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941051647
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Marleen Schroder                                                                         ¤100.00
                                                                 5         1       2021
 Mailing Address:
 1261 Afton St
 City:                                     State:             Zip Code (Plus 4):
 Pasadena                                  CA                 911032305



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Marlo Hardeman                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 2828 Green Trail Dr
 City:                                     State:             Zip Code (Plus 4):
 College Park                              GA                 303494127
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Marlowe Almeida                                                                           ¤50.00
                                                                 5         2       2021
 Mailing Address:
 10 William Fairfield Dr
 City:                                     State:             Zip Code (Plus 4):
 Wenham                                    MA                 019841124
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Marlowe Almeida                                                                           ¤13.50
                                                                4         28       2021
 Mailing Address:
 10 William Fairfield Dr
 City:                                     State:             Zip Code (Plus 4):
 Wenham                                    MA                 019841124
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Marni Snyder                                                                             ¤100.00
                                                                4         14       2021
 Mailing Address:
 2003 Cypress St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191036520
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Marsha Johnson                                                                            ¤27.00
                                                                4         26       2021
 Mailing Address:
 1667 Grand Ave
 City:                                     State:             Zip Code (Plus 4):
 Bronx                                     NY                 104537726
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Marsha Johnson                                                                            ¤27.00
                                                                4         27       2021
 Mailing Address:
 1667 Grand Ave
 City:                                     State:             Zip Code (Plus 4):
 Bronx                                     NY                 104537726
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mary Ann Alatorre                                                                        ¤100.00
                                                                4         27       2021
 Mailing Address:
 3304 S 95th Dr
 City:                                     State:             Zip Code (Plus 4):
 Tolleson                                  AZ                 853538593
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mary Day Day Kent                                                                        ¤100.00
                                                                 4         5       2021
 Mailing Address:
 6604 Wayne Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193516
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mary Day Day Kent                                                                        ¤100.00
                                                                 4         5       2021
 Mailing Address:
 6604 Wayne Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193516



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 Full Name of Contributor:                                      MO.      DAY       YEAR
 Mary Day Day Kent                                                                         ¤50.00
                                                                 5         3       2021
 Mailing Address:
 6604 Wayne Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193516
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mary Garcia                                                                              ¤100.00
                                                                5         2        2021
 Mailing Address:
 55 Wyllis Ave
 City:                                     State:             Zip Code (Plus 4):
 Malden                                    MA                 021487524
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mary Garrett                                                                             ¤100.00
                                                                4         27       2021
 Mailing Address:
 947 Skip Away Ct
 City:                                     State:             Zip Code (Plus 4):
 Morgan Hill                               CA                 950376070
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mary Garrett                                                                              ¤50.00
                                                                 4        27       2021
 Mailing Address:
 947 Skip Away Ct
 City:                                     State:             Zip Code (Plus 4):
 Morgan Hill                               CA                 950376070
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mary GONZALEZ                                                                            ¤100.00
                                                                4         26       2021
 Mailing Address:
 361 Rutgers Ave
 City:                                     State:             Zip Code (Plus 4):
 Hillside                                  NJ                 072052008
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mary Harris                                                                               ¤25.00
                                                                 5         3       2021
 Mailing Address:
 1015 W Allens Ln
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193316
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mary Harris                                                                              ¤100.00
                                                                5         2        2021
 Mailing Address:
 1015 W Allens Ln
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193316
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mary L Goldman                                                                           ¤200.00
                                                                 4        26       2021
 Mailing Address:
 4107 Pine St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191044008
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Mary Lou Langenhop                                                                       ¤100.00
                                                                 4        27       2021
 Mailing Address:
 16790 Connector Rd
 City:                                     State:             Zip Code (Plus 4):
 Fredericktown                             OH                 430199579



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 Full Name of Contributor:                                     MO.       DAY        YEAR
 Mary Lou Terreri                                                                          ¤100.00
                                                                 4        28        2021
 Mailing Address:
 4830 McAnulty Rd
 City:                                     State:             Zip Code (Plus 4):
 Pittsburgh                                PA                 152361927
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Mary Meyers                                                                               ¤100.00
                                                                 4        30        2021
 Mailing Address:
 PO Box 103
 City:                                     State:             Zip Code (Plus 4):
 Hancock                                   NH                 034490103
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Mary Waldron                                                                              ¤100.00
                                                                 4        26        2021
 Mailing Address:
 54 Sycamore St
 City:                                     State:             Zip Code (Plus 4):
 Brockton                                  MA                 023013154
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Marywynn Ryan                                                                             ¤100.00
                                                                 4        27        2021
 Mailing Address:
 445 SE 41st Ave
 City:                                     State:             Zip Code (Plus 4):
 Portland                                  OR                 972142009
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Matt Smith                                                                                ¤100.00
                                                                 5         1        2021
 Mailing Address:
 8424 Santa Monica Blvd
 City:                                     State:             Zip Code (Plus 4):
 West Hollywood                            CA                 900696233
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Matt Stern                                                                                ¤100.00
                                                                 5         1        2021
 Mailing Address:
 1839 S Mole St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191452211
 Full Name of Contributor:                                      MO.      DAY        YEAR
 Matthew Feldman                                                                           ¤100.00
                                                                 4        17        2021
 Mailing Address:
 1027 Carpenter St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191473703
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Matthew McDonald                                                                          ¤100.00
                                                                 4        27        2021
 Mailing Address:
 5140 Diamond Heights Blvd
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941311733
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Matthew Stevens                                                                            ¤50.00
                                                                 4        27        2021
 Mailing Address:
 PO Box 2073
 City:                                     State:              Zip Code (Plus 4):
 Carmel By The Sea                         CA                  939212073



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 Full Name of Contributor:                                      MO.       DAY       YEAR
 Matthew Stevens                                                                            ¤50.00
                                                                 4         9        2021
 Mailing Address:
 PO Box 2073
 City:                                     State:              Zip Code (Plus 4):
 Carmel By The Sea                         CA                  939212073
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Maureen Montgomery                                                                        ¤100.00
                                                                 4         8        2021
 Mailing Address:
 328 Chapin Ln
 City:                                     State:             Zip Code (Plus 4):
 Burlingame                                CA                 940105104
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Maureen Montgomery                                                                        ¤100.00
                                                                 4        27        2021
 Mailing Address:
 328 Chapin Ln
 City:                                     State:             Zip Code (Plus 4):
 Burlingame                                CA                 940105104
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Maurice Champagne                                                                          ¤60.00
                                                                 4        29        2021
 Mailing Address:
 8704 Baskerville Pl
 City:                                     State:              Zip Code (Plus 4):
 Upper Marlboro                            MD                  207725102
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Maurice Champagne                                                                          ¤15.00
                                                                 5         2        2021
 Mailing Address:
 8704 Baskerville Pl
 City:                                     State:              Zip Code (Plus 4):
 Upper Marlboro                            MD                  207725102
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Maya Cameron                                                                              ¤100.00
                                                                 4        27        2021
 Mailing Address:
 3621 Dimond Ave
 City:                                     State:             Zip Code (Plus 4):
 Oakland                                   CA                 946022238
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Mayer Rus                                                                                 ¤100.00
                                                                 4        27        2021
 Mailing Address:
 77 7th Ave
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100116636
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Megan Granat                                                                              ¤100.00
                                                                 4        28        2021
 Mailing Address:
 418 45th St
 City:                                     State:             Zip Code (Plus 4):
 Oakland                                   CA                 946092125
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Megan Stimpson                                                                             ¤75.00
                                                                 4        30        2021
 Mailing Address:
 7 Edgecroft Rd
 City:                                     State:             Zip Code (Plus 4):
 Kensington                                CA                 947071412



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Melanie Sugarbroad                                                                       ¤100.00
                                                                 4        26       2021
 Mailing Address:
 3 Vallejo Dr
 City:                                     State:             Zip Code (Plus 4):
 Millbrae                                  CA                 940302833
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Melinda Dean                                                                             ¤100.00
                                                                 4        26       2021
 Mailing Address:
 5720 Toth Pl
 City:                                     State:             Zip Code (Plus 4):
 Agoura Hills                              CA                 913012249
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Melinda Ramos                                                                             ¤80.00
                                                                 4        28       2021
 Mailing Address:
 1515 S Chadwick St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191464730
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Melinda Ramos                                                                             ¤25.00
                                                                 5         3       2021
 Mailing Address:
 1515 S Chadwick St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191464730
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Melissa Ahrens                                                                           ¤100.00
                                                                 5         1       2021
 Mailing Address:
 17 Clinton Ave
 City:                                     State:             Zip Code (Plus 4):
 Centereach                                NY                 117204217
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Melissa Ahrens                                                                            ¤75.00
                                                                 4        27       2021
 Mailing Address:
 17 Clinton Ave
 City:                                     State:             Zip Code (Plus 4):
 Centereach                                NY                 117204217
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Melissa Chow                                                                             ¤100.00
                                                                4         26       2021
 Mailing Address:
 2515 4th Ave
 City:                                     State:             Zip Code (Plus 4):
 Seattle                                   WA                 981211468
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Melissa English                                                                           ¤27.00
                                                                 4        27       2021
 Mailing Address:
 3709 N 8th St
 City:                                     State:             Zip Code (Plus 4):
 Tacoma                                    WA                 984064913
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Melissa English                                                                           ¤25.00
                                                                 5         1       2021
 Mailing Address:
 3709 N 8th St
 City:                                     State:             Zip Code (Plus 4):
 Tacoma                                    WA                 984064913



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Melissa Payne                                                                            ¤100.00
                                                                4         26       2021
 Mailing Address:
 6210 Southridge Pkwy
 City:                                      State:            Zip Code (Plus 4):
 Parker                                     TX                750025530
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Meosha Tall                                                                              ¤100.00
                                                                4         27       2021
 Mailing Address:
 2710 Pontiac Ln
 City:                                      State:            Zip Code (Plus 4):
 Aurora                                     IL                605029007
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Meredith Pugh                                                                            ¤100.00
                                                                 4        27       2021
 Mailing Address:
 54 Brewer Way
 City:                                      State:            Zip Code (Plus 4):
 Holden                                     MA                015202629
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mervin Jebaraj                                                                           ¤100.00
                                                                 4        28       2021
 Mailing Address:
 317 W North St
 City:                                      State:            Zip Code (Plus 4):
 Fayetteville                               AR                727011941
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Meva Justice                                                                             ¤100.00
                                                                 5         1       2021
 Mailing Address:
 644 W Phil Ellena St
 City:                                      State:            Zip Code (Plus 4):
 Philadelphia                               PA                191193523
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Mia Williams                                                                              ¤25.00
                                                                 5         3       2021
 Mailing Address:
 7301 W Cermak Rd M-15A
 City:                                      State:            Zip Code (Plus 4):
 North Riverside                            IL                60501
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Mia Williams                                                                              ¤27.00
                                                                 4        26       2021
 Mailing Address:
 7301 W Cermak Rd M-15A
 City:                                      State:            Zip Code (Plus 4):
 North Riverside                            IL                60501
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Michael Bradshaw                                                                         ¤100.00
                                                                 4        26       2021
 Mailing Address:
 83 Staniford Farms Rd
 City:                                      State:            Zip Code (Plus 4):
 Burlington                                 VT                054082585
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Dugent                                                                           ¤100.00
                                                                 4        28       2021
 Mailing Address:
 Via Genzana 10 Massagno 6900 Switzerland
 City:                                      State:            Zip Code (Plus 4):
 Massagno                                   PA                00000



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Fisher                                                                           ¤100.00
                                                                4         23       2021
 Mailing Address:
 7003 Westmoreland Ave
 City:                                     State:             Zip Code (Plus 4):
 Takoma Park                               MD                 209124405
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Friedman                                                                          ¤25.00
                                                                 4        20       2021
 Mailing Address:
 490 Pebble Dr
 City:                                     State:             Zip Code (Plus 4):
 El Sobrante                               CA                 948031812
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Friedman                                                                          ¤25.00
                                                                 5         1       2021
 Mailing Address:
 490 Pebble Dr
 City:                                     State:             Zip Code (Plus 4):
 El Sobrante                               CA                 948031812
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Friedman                                                                          ¤25.00
                                                                 3        31       2021
 Mailing Address:
 490 Pebble Dr
 City:                                     State:             Zip Code (Plus 4):
 El Sobrante                               CA                 948031812
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Friedman                                                                          ¤25.00
                                                                 4        21       2021
 Mailing Address:
 490 Pebble Dr
 City:                                     State:             Zip Code (Plus 4):
 El Sobrante                               CA                 948031812
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Gebhardt                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 3814 Columbiana Rd
 City:                                     State:             Zip Code (Plus 4):
 New Springfield                           OH                 444439776
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Hanlon                                                                           ¤200.00
                                                                5         1        2021
 Mailing Address:
 3493 N Century Oak Cir
 City:                                     State:             Zip Code (Plus 4):
 Oakland                                   MI                 483632646
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Hoyt                                                                             ¤250.00
                                                                 4        26       2021
 Mailing Address:
 17826 La Amapola
 City:                                     State:             Zip Code (Plus 4):
 Rancho Santa Fe                           CA                 92067
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Kaib                                                                             ¤100.00
                                                                4         27       2021
 Mailing Address:
 4947 Pine St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191431651



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Marsico                                                                          ¤200.00
                                                                3         30       2021
 Mailing Address:
 2117 Saint Albans St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191461224
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Meline                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 315 Meigs Rd
 City:                                     State:             Zip Code (Plus 4):
 Santa Barbara                             CA                 931091900
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael N Huff                                                                            ¤50.00
                                                                 4        1        2021
 Mailing Address:
 309 Bryn Mawr Ave
 City:                                     State:             Zip Code (Plus 4):
 Bala Cynwyd                               PA                 190042606
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael N Huff                                                                            ¤60.00
                                                                4         30       2021
 Mailing Address:
 309 Bryn Mawr Ave
 City:                                     State:             Zip Code (Plus 4):
 Bala Cynwyd                               PA                 190042606
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael N Huff                                                                            ¤13.50
                                                                4         12       2021
 Mailing Address:
 309 Bryn Mawr Ave
 City:                                     State:             Zip Code (Plus 4):
 Bala Cynwyd                               PA                 190042606
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Powers                                                                           ¤100.00
                                                                4        26        2021
 Mailing Address:
 124 Clifton Pl
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112381409
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Sherman                                                                          ¤250.00
                                                                 4        27       2021
 Mailing Address:
 6525 Sunset Blvd Garden Suite 8
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 90028
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Waters                                                                            ¤27.00
                                                                4         26       2021
 Mailing Address:
 6151 Blue Dawn Trl
 City:                                     State:             Zip Code (Plus 4):
 San Diego                                 CA                 921306902
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Waters                                                                            ¤27.00
                                                                4         27       2021
 Mailing Address:
 6151 Blue Dawn Trl
 City:                                     State:             Zip Code (Plus 4):
 San Diego                                 CA                 921306902



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michael Wishnie                                                                          ¤100.00
                                                                4         17       2021
 Mailing Address:
 272 Edgehill Rd
 City:                                     State:             Zip Code (Plus 4):
 Hamden                                    CT                 065174015
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michaela Richardson                                                                      ¤100.00
                                                                 4        28       2021
 Mailing Address:
 355 Atlantic St
 City:                                     State:             Zip Code (Plus 4):
 Stamford                                  CT                 069013523
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michelle Amado                                                                            ¤27.00
                                                                 4        27       2021
 Mailing Address:
 3237 Orange Ave
 City:                                     State:             Zip Code (Plus 4):
 Signal Hill                               CA                 907555227
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michelle Amado                                                                            ¤25.00
                                                                 5         1       2021
 Mailing Address:
 3237 Orange Ave
 City:                                     State:             Zip Code (Plus 4):
 Signal Hill                               CA                 907555227
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michelle Bach                                                                            ¤150.00
                                                                5         1        2021
 Mailing Address:
 1375 121st Ave NE
 City:                                     State:             Zip Code (Plus 4):
 Bellevue                                  WA                 980055068
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michelle Bach                                                                            ¤100.00
                                                                4         27       2021
 Mailing Address:
 1375 121st Ave NE
 City:                                     State:             Zip Code (Plus 4):
 Bellevue                                  WA                 980055068
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michelle Catalan                                                                         ¤100.00
                                                                4         27       2021
 Mailing Address:
 230 N Shadyglen Dr
 City:                                     State:             Zip Code (Plus 4):
 Covina                                    CA                 917242909
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michelle Conklyn                                                                          ¤27.00
                                                                 4        30       2021
 Mailing Address:
 22190 Hibiscus Hill Dr
 City:                                     State:             Zip Code (Plus 4):
 Woodland Hills                            CA                 913677226
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michelle Conklyn                                                                          ¤27.00
                                                                 3        31       2021
 Mailing Address:
 22190 Hibiscus Hill Dr
 City:                                     State:             Zip Code (Plus 4):
 Woodland Hills                            CA                 913677226



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michelle Gross                                                                           ¤100.00
                                                                4         30       2021
 Mailing Address:
 358 Saint Johns Pl
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112385325
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michelle Joy                                                                              ¤50.00
                                                                4         21       2021
 Mailing Address:
 5031 Osage Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191431610
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michelle Joy                                                                              ¤25.00
                                                                4         21       2021
 Mailing Address:
 5031 Osage Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191431610
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michelle Joy                                                                              ¤50.00
                                                                4         25       2021
 Mailing Address:
 5031 Osage Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191431610
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michelle Joy                                                                              ¤80.00
                                                                4         27       2021
 Mailing Address:
 5031 Osage Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191431610
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michelle Walker                                                                           ¤27.00
                                                                4         26       2021
 Mailing Address:
 7719 Fishing Creek Way
 City:                                     State:             Zip Code (Plus 4):
 Clinton                                   MD                 207351499
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michelle Walker                                                                           ¤35.00
                                                                5         2        2021
 Mailing Address:
 7719 Fishing Creek Way
 City:                                     State:             Zip Code (Plus 4):
 Clinton                                   MD                 207351499
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Michiko Theurer                                                                          ¤100.00
                                                                4         30       2021
 Mailing Address:
 206 Cherrywood Dr
 City:                                     State:             Zip Code (Plus 4):
 Greenville                                NC                 278588610
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Millicent Bain                                                                           ¤100.00
                                                                4         28       2021
 Mailing Address:
 205 Goodwood Gdns
 City:                                     State:             Zip Code (Plus 4):
 Baltimore                                 MD                 212102531



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Millicent Bain                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 205 Goodwood Gdns
 City:                                     State:             Zip Code (Plus 4):
 Baltimore                                 MD                 212102531
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Millie Chung                                                                             ¤100.00
                                                                 4        27       2021
 Mailing Address:
 5321 Dockweiler Pl
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900192623
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Milton Lindsay                                                                            ¤30.00
                                                                 5         3       2021
 Mailing Address:
 3818 Lancaster Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191042318
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Milton Lindsay                                                                            ¤30.00
                                                                 4        30       2021
 Mailing Address:
 3818 Lancaster Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191042318
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Milton Lindsay                                                                            ¤30.00
                                                                 5         3       2021
 Mailing Address:
 3818 Lancaster Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191042318
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mina Ch                                                                                  ¤100.00
                                                                4         27       2021
 Mailing Address:
 PO Box 380006
 City:                                     State:             Zip Code (Plus 4):
 Cambridge                                 MA                 022380006
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Mitchell Comfort                                                                          ¤60.00
                                                                 4        30       2021
 Mailing Address:
 1007 Dickinson St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191476317
 Full Name of Contributor:                                     MO.       DAY       YEAR
 ML Caring                                                                                ¤100.00
                                                                4         27       2021
 Mailing Address:
 10 W 15th St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100116838
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Molly McKaughan                                                                           ¤40.00
                                                                 4        12       2021
 Mailing Address:
 120 Clarken Dr
 City:                                     State:             Zip Code (Plus 4):
 West Orange                               NJ                 070523422



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 Full Name of Contributor:                                      MO.      DAY       YEAR
 Molly McKaughan                                                                           ¤25.00
                                                                 4        22       2021
 Mailing Address:
 120 Clarken Dr
 City:                                     State:             Zip Code (Plus 4):
 West Orange                               NJ                 070523422
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Mona Procopio                                                                            ¤200.00
                                                                4         27       2021
 Mailing Address:
 776 17th Ave S
 City:                                     State:             Zip Code (Plus 4):
 Naples                                    FL                 341027411
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Monica Calderon                                                                          ¤100.00
                                                                 4        27       2021
 Mailing Address:
 206 S Emerson St
 City:                                     State:             Zip Code (Plus 4):
 Denver                                    CO                 802092212
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Monica Canales                                                                           ¤100.00
                                                                 5         1       2021
 Mailing Address:
 1686 American Ave
 City:                                     State:             Zip Code (Plus 4):
 Pomona                                    CA                 917673624
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Muhammad Yousef                                                                          ¤100.00
                                                                 4        28       2021
 Mailing Address:
 712 Diamond Ave
 City:                                     State:             Zip Code (Plus 4):
 Alexandria                                VA                 223011748
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Munisa Mohamed                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 3455 Kearny Villa Rd
 City:                                     State:             Zip Code (Plus 4):
 San Diego                                 CA                 921231979
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Myra Diggs                                                                               ¤100.00
                                                                4         27       2021
 Mailing Address:
 2250 W 11th St
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112234325
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Nadege Louis                                                                             ¤100.00
                                                                4         27       2021
 Mailing Address:
 71 Willowwood St
 City:                                     State:             Zip Code (Plus 4):
 Boston                                    MA                 021244029
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Nadina Lambert                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 4019 Veazey St NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200162121



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 Full Name of Contributor:                                      MO.       DAY       YEAR
 Nam-phuong Nguyen                                                                         ¤100.00
                                                                 5         2        2021
 Mailing Address:
 16931 Boulder Oaks Dr
 City:                                     State:             Zip Code (Plus 4):
 Ramona                                    CA                 920656846
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Nancy Doorey                                                                              ¤100.00
                                                                 4        26        2021
 Mailing Address:
 407 Lancaster Dr
 City:                                     State:             Zip Code (Plus 4):
 Chapel Hill                               NC                 275176553
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Naomi Wildflower                                                                          ¤100.00
                                                                 4        27        2021
 Mailing Address:
 2912 Hartville St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191343013
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Natalie La Rose                                                                            ¤27.00
                                                                 5         1        2021
 Mailing Address:
 12712 Moorpark St
 City:                                     State:             Zip Code (Plus 4):
 Studio City                               CA                 916044555
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Natalie La Rose                                                                            ¤27.00
                                                                 4        27        2021
 Mailing Address:
 12712 Moorpark St
 City:                                     State:             Zip Code (Plus 4):
 Studio City                               CA                 916044555
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Nathan Condella                                                                           ¤250.00
                                                                 4        27        2021
 Mailing Address:
 3444 Lake Mendota Dr
 City:                                     State:             Zip Code (Plus 4):
 Madison                                   WI                 537051471
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Navarad Phonethibsavads                                                                    ¤27.00
                                                                 4        29        2021
 Mailing Address:
 1802 Meriday Ln
 City:                                     State:              Zip Code (Plus 4):
 Santa Ana                                 CA                  927063223
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Navarad Phonethibsavads                                                                    ¤27.00
                                                                 4        28        2021
 Mailing Address:
 1802 Meriday Ln
 City:                                     State:              Zip Code (Plus 4):
 Santa Ana                                 CA                  927063223
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Neela Patel                                                                                ¤35.00
                                                                 4        24        2021
 Mailing Address:
 2712 Monserat Ave
 City:                                     State:             Zip Code (Plus 4):
 Belmont                                   CA                 940021448



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Neela Patel                                                                               ¤25.00
                                                                4         27       2021
 Mailing Address:
 2712 Monserat Ave
 City:                                     State:             Zip Code (Plus 4):
 Belmont                                   CA                 940021448
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Nicholas Hara                                                                            ¤100.00
                                                                4         26       2021
 Mailing Address:
 413 NE 70th St
 City:                                     State:             Zip Code (Plus 4):
 Seattle                                   WA                 981155486
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Nicholas O'Connor                                                                         ¤25.00
                                                                 4         8       2021
 Mailing Address:
 PO Box 1061
 City:                                     State:             Zip Code (Plus 4):
 Grand Lake                                CO                 804471061
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Nicholas O'Connor                                                                        ¤100.00
                                                                 4        30       2021
 Mailing Address:
 PO Box 1061
 City:                                     State:             Zip Code (Plus 4):
 Grand Lake                                CO                 804471061
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Nicola Armster                                                                           ¤100.00
                                                                4         27       2021
 Mailing Address:
 23 High Ridge Rd
 City:                                     State:             Zip Code (Plus 4):
 Guilford                                  CT                 064373511
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Nicole Hitchcock                                                                         ¤139.00
                                                                 5         2       2021
 Mailing Address:
 308 Oak Tree Dr
 City:                                     State:             Zip Code (Plus 4):
 Chapel Hill                               NC                 275174066
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Nicole Saldana                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 30 Wall St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100052205
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Nicole Tanner                                                                            ¤100.00
                                                                5         2        2021
 Mailing Address:
 7941 Stewart And Gray Rd
 City:                                     State:             Zip Code (Plus 4):
 Downey                                    CA                 902414757
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Nicole Tanner                                                                             ¤50.00
                                                                4         27       2021
 Mailing Address:
 7941 Stewart And Gray Rd
 City:                                     State:             Zip Code (Plus 4):
 Downey                                    CA                 902414757



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Noah Kraft                                                                               ¤250.00
                                                                 4        25       2021
 Mailing Address:
 1895 Pacific Ave
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941092388
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Noel Rosenberg                                                                           ¤200.00
                                                                 4        24       2021
 Mailing Address:
 21 Village Ln
 City:                                     State:             Zip Code (Plus 4):
 Berlin                                    MA                 015031709
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Nora Hinsley                                                                             ¤100.00
                                                                 4        27       2021
 Mailing Address:
 9158 Gotta Pl
 City:                                     State:             Zip Code (Plus 4):
 Lakeside                                  CA                 920405202
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Norbert Hornstein                                                                        ¤100.00
                                                                 5         3       2021
 Mailing Address:
 1124 10th St NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200014302
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Omar Metwally                                                                            ¤100.00
                                                                 5         2       2021
 Mailing Address:
 PO Box 1521
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 101011521
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Pamela Lee                                                                               ¤100.00
                                                                 5         2       2021
 Mailing Address:
 5402 Blue Diamond St
 City:                                     State:             Zip Code (Plus 4):
 Memphis                                   TN                 381096544
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Pania Rose                                                                               ¤100.00
                                                                 4        27       2021
 Mailing Address:
 181 Old Stump Rd
 City:                                     State:             Zip Code (Plus 4):
 Brookhaven                                NY                 117199635
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Pat Ruck                                                                                 ¤100.00
                                                                4         21       2021
 Mailing Address:
 119 Green Point Rd
 City:                                     State:             Zip Code (Plus 4):
 Catskill                                  NY                 124145306
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Patience Yi                                                                              ¤100.00
                                                                 5         1       2021
 Mailing Address:
 5161 Masonic Ave
 City:                                     State:             Zip Code (Plus 4):
 Oakland                                   CA                 946182629



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Patricia Kuhi                                                                             ¤75.00
                                                                4         21       2021
 Mailing Address:
 855 Seaview Dr
 City:                                     State:             Zip Code (Plus 4):
 El Cerrito                                CA                 945303008
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Patrick Coue                                                                             ¤150.00
                                                                5         3        2021
 Mailing Address:
 1107 Spruce St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191076737
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Patrick Fapore                                                                            ¤25.00
                                                                4         16       2021
 Mailing Address:
 4749 Friendship Ave
 City:                                     State:             Zip Code (Plus 4):
 Pittsburgh                                PA                 152241771
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Patrick Fapore                                                                            ¤50.00
                                                                3         30       2021
 Mailing Address:
 4749 Friendship Ave
 City:                                     State:             Zip Code (Plus 4):
 Pittsburgh                                PA                 152241771
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Patrick Fapore                                                                            ¤50.00
                                                                4         30       2021
 Mailing Address:
 4749 Friendship Ave
 City:                                     State:             Zip Code (Plus 4):
 Pittsburgh                                PA                 152241771
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Patrick J Egan                                                                           ¤250.00
                                                                4         14       2021
 Mailing Address:
 2929 Arch St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191047326
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Paul Beach                                                                                ¤28.00
                                                                4         17       2021
 Mailing Address:
 527 Carpenter Ln
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193402
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Paul Beach                                                                                ¤38.00
                                                                5         2        2021
 Mailing Address:
 527 Carpenter Ln
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193402
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Paul Davis                                                                                ¤25.00
                                                                4         23       2021
 Mailing Address:
 28 Constitution Rd
 City:                                     State:             Zip Code (Plus 4):
 Charlestown                               MA                 021292008



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Paul Davis                                                                                ¤50.00
                                                                4         1        2021
 Mailing Address:
 28 Constitution Rd
 City:                                     State:             Zip Code (Plus 4):
 Charlestown                               MA                 021292008
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Paul Espinosa                                                                            ¤100.00
                                                                4         27       2021
 Mailing Address:
 4800 Marlborough Dr
 City:                                     State:             Zip Code (Plus 4):
 San Diego                                 CA                 921162343
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Paul G Fitzgerald                                                                         ¤50.00
                                                                 4        26       2021
 Mailing Address:
 140 Montgomery St
 City:                                     State:             Zip Code (Plus 4):
 Rhinebeck                                 NY                 125721109
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Paul G Fitzgerald                                                                         ¤13.50
                                                                 4        21       2021
 Mailing Address:
 140 Montgomery St
 City:                                     State:             Zip Code (Plus 4):
 Rhinebeck                                 NY                 125721109
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Paul Mack                                                                                ¤100.00
                                                                4         9        2021
 Mailing Address:
 342 W Durham St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191192901
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Paul Mack                                                                                 ¤50.00
                                                                5         3        2021
 Mailing Address:
 342 W Durham St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191192901
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Paul Marquardt                                                                           ¤140.00
                                                                5         3        2021
 Mailing Address:
 2929 Lavista Way
 City:                                     State:             Zip Code (Plus 4):
 Decatur                                   GA                 300331145
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Paul Rabin                                                                               ¤100.00
                                                                4         27       2021
 Mailing Address:
 42 Eliot St
 City:                                     State:             Zip Code (Plus 4):
 Jamaica Plain                             MA                 021302752
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Paul Rathblott                                                                           ¤200.00
                                                                 5        2        2021
 Mailing Address:
 1901 Walnut St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191034605



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 Full Name of Contributor:                                      MO.       DAY       YEAR
 Paul Rathblott                                                                             ¤25.00
                                                                 4         8        2021
 Mailing Address:
 1901 Walnut St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191034605
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Paul Rathblott                                                                             ¤25.00
                                                                 4        17        2021
 Mailing Address:
 1901 Walnut St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191034605
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Paul Starkman                                                                             ¤100.00
                                                                 5         1        2021
 Mailing Address:
 400 Sackett St
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112314704
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Paula Ramsay                                                                              ¤100.00
                                                                 4        26        2021
 Mailing Address:
 106 Black Olive Cres
 City:                                     State:             Zip Code (Plus 4):
 Royal Palm Beach                          FL                 334114946
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Paula Yeske                                                                               ¤100.00
                                                                4         27        2021
 Mailing Address:
 300 N State St
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606545414
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Peg Cheng                                                                                 ¤100.00
                                                                 5         1        2021
 Mailing Address:
 2207 Bancroft St
 City:                                     State:             Zip Code (Plus 4):
 Houston                                   TX                 770273727
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Penelope LeGrande                                                                         ¤100.00
                                                                 4        21        2021
 Mailing Address:
 132 Walnut Lane
 City:                                     State:              Zip Code (Plus 4):
 Philadelphia                              PA                  19119
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Penelope LeGrande                                                                         ¤100.00
                                                                 4        27        2021
 Mailing Address:
 132 Walnut Lane
 City:                                     State:              Zip Code (Plus 4):
 Philadelphia                              PA                  19119
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Penny Scott-Sedley                                                                        ¤100.00
                                                                 5         3        2021
 Mailing Address:
 2967 W School House Ln
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191445222



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Peter Elvin                                                                              ¤100.00
                                                                4         27       2021
 Mailing Address:
 1714 Union Ave
 City:                                     State:             Zip Code (Plus 4):
 Chattanooga                               TN                 374043527
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Peter Kuriloff                                                                           ¤200.00
                                                                 4        12       2021
 Mailing Address:
 826 Addison St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191471303
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Peter Orbach                                                                             ¤100.00
                                                                4         27       2021
 Mailing Address:
 4057 Ludlow St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191043039
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Peter Wolanin                                                                            ¤250.00
                                                                 4        27       2021
 Mailing Address:
 1620 E Berks St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191252804
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Peter Zeftel                                                                              ¤35.00
                                                                 4        27       2021
 Mailing Address:
 3840 Elliot Ave
 City:                                     State:             Zip Code (Plus 4):
 Minneapolis                               MN                 554072616
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Peter Zeftel                                                                              ¤25.00
                                                                 4         8       2021
 Mailing Address:
 3840 Elliot Ave
 City:                                     State:             Zip Code (Plus 4):
 Minneapolis                               MN                 554072616
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Philip Rosati                                                                            ¤100.00
                                                                4         27       2021
 Mailing Address:
 109 2nd Pl
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112314135
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Q Williams                                                                               ¤250.00
                                                                5         1        2021
 Mailing Address:
 5917 Dungeness Ln
 City:                                     State:             Zip Code (Plus 4):
 Alexandria                                VA                 223154726
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Qwalyne Lawson                                                                           ¤100.00
                                                                 5        1        2021
 Mailing Address:
 325 27th St
 City:                                     State:             Zip Code (Plus 4):
 Oakland                                   CA                 946123238



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rachael Gaeta                                                                            ¤250.00
                                                                 4         6       2021
 Mailing Address:
 4838 Hazel Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191432025
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rachel Earnest                                                                            ¤75.00
                                                                 5         3       2021
 Mailing Address:
 303 Central Ave
 City:                                     State:             Zip Code (Plus 4):
 Glenside                                  PA                 190382214
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Rachel Fichtenbaum                                                                       ¤250.00
                                                                 4        19       2021
 Mailing Address:
 34 Calvin St
 City:                                     State:             Zip Code (Plus 4):
 Somerville                                MA                 021434315
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Rachel Greenberg                                                                         ¤100.00
                                                                 5         1       2021
 Mailing Address:
 2757 Woodlawn Ave
 City:                                     State:             Zip Code (Plus 4):
 Falls Church                              VA                 220422008
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rachel Haggard                                                                           ¤150.00
                                                                 4        26       2021
 Mailing Address:
 26 Seaview Ave
 City:                                     State:             Zip Code (Plus 4):
 Marblehead                                MA                 019451732
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Rachel Haggard                                                                            ¤50.00
                                                                 5         2       2021
 Mailing Address:
 26 Seaview Ave
 City:                                     State:             Zip Code (Plus 4):
 Marblehead                                MA                 019451732
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rachel Johnson                                                                            ¤25.00
                                                                 4        28       2021
 Mailing Address:
 809 Limelight Ave NW
 City:                                     State:             Zip Code (Plus 4):
 Salem                                     OR                 973043291
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rachel Johnson                                                                            ¤27.00
                                                                 4        27       2021
 Mailing Address:
 809 Limelight Ave NW
 City:                                     State:             Zip Code (Plus 4):
 Salem                                     OR                 973043291
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rachel Ooms                                                                              ¤100.00
                                                                4         27       2021
 Mailing Address:
 1321 Ormewood Ave SE
 City:                                     State:             Zip Code (Plus 4):
 Atlanta                                   GA                 303163810



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rachel Reed                                                                              ¤100.00
                                                                 4        21       2021
 Mailing Address:
 4915 Sansom St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191393523
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rafi Ziauddin                                                                            ¤100.00
                                                                4         28       2021
 Mailing Address:
 PO Box 4392
 City:                                     State:             Zip Code (Plus 4):
 Frisco                                    CO                 804434392
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rahul Datta                                                                              ¤100.00
                                                                4         23       2021
 Mailing Address:
 250 N Columbus Blvd
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191061455
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Raliat Savage                                                                            ¤100.00
                                                                4         27       2021
 Mailing Address:
 24115 Evans Ave
 City:                                     State:             Zip Code (Plus 4):
 Newhall                                   CA                 913212449
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Ramona Fae Johnson                                                                       ¤100.00
                                                                 4        20       2021
 Mailing Address:
 604 S Washington Sq
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191064128
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Randall Frank                                                                            ¤100.00
                                                                4         21       2021
 Mailing Address:
 3502 Barton Farm Dr
 City:                                     State:             Zip Code (Plus 4):
 Ann Arbor                                 MI                 481051074
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ravi Garla                                                                               ¤100.00
                                                                5         3        2021
 Mailing Address:
 100 8th Ave
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100115104
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Raydrian Wyche                                                                            ¤50.00
                                                                 5         1       2021
 Mailing Address:
 1434 Princess Ave
 City:                                     State:             Zip Code (Plus 4):
 Camden                                    NJ                 081032913
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Raydrian Wyche                                                                           ¤100.00
                                                                4         27       2021
 Mailing Address:
 1434 Princess Ave
 City:                                     State:             Zip Code (Plus 4):
 Camden                                    NJ                 081032913



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Razakhan Wali                                                                            ¤100.00
                                                                4        12        2021
 Mailing Address:
 PO Box 188
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191050188
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rebecca Baehr                                                                            ¤200.00
                                                                4        13        2021
 Mailing Address:
 637 W Sedgwick St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193442
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rebecca Johnson                                                                          ¤100.00
                                                                4         27       2021
 Mailing Address:
 5754 Stevens Ave
 City:                                     State:             Zip Code (Plus 4):
 Minneapolis                               MN                 554192416
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rebecca Linsalato                                                                        ¤250.00
                                                                4         27       2021
 Mailing Address:
 1110 Freewill Way
 City:                                     State:             Zip Code (Plus 4):
 Chesapeake                                VA                 233222897
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rebecca Suss                                                                              ¤25.00
                                                                5         3        2021
 Mailing Address:
 2012 E Dauphin St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191251518
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rebecca Suss                                                                              ¤50.00
                                                                4         20       2021
 Mailing Address:
 2012 E Dauphin St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191251518
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rebekah Drechsel                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 175 Bluxome St
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941071552
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Reed Gustow                                                                              ¤100.00
                                                                4        26        2021
 Mailing Address:
 608 Fulton St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191472916
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Reena Hawley                                                                              ¤27.00
                                                                5         2        2021
 Mailing Address:
 3681 W Chapman Ln
 City:                                     State:             Zip Code (Plus 4):
 Inglewood                                 CA                 903052300



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Reena Hawley                                                                              ¤27.00
                                                                5         1        2021
 Mailing Address:
 3681 W Chapman Ln
 City:                                     State:             Zip Code (Plus 4):
 Inglewood                                 CA                 903052300
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Renee Montmorency                                                                        ¤100.00
                                                                4         27       2021
 Mailing Address:
 2120 NE Knott St
 City:                                     State:             Zip Code (Plus 4):
 Portland                                  OR                 972123427
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Renee Quarterman                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 500 N 21st St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191304265
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Renee Quarterman                                                                         ¤100.00
                                                                 5        2        2021
 Mailing Address:
 500 N 21st St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191304265
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Reuben Wade                                                                              ¤100.00
                                                                4         9        2021
 Mailing Address:
 715 S 7th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191472123
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rhea Wenceslao                                                                            ¤25.00
                                                                 5        3        2021
 Mailing Address:
 2249 Meadowvale Ave
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900311108
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rhea Wenceslao                                                                           ¤100.00
                                                                4         26       2021
 Mailing Address:
 2249 Meadowvale Ave
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900311108
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Richard Bobbe                                                                            ¤100.00
                                                                4        14        2021
 Mailing Address:
 12 Firethorn Ln
 City:                                     State:             Zip Code (Plus 4):
 Sicklerville                              NJ                 080814154
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Richard Goldman                                                                          ¤100.00
                                                                 5        3        2021
 Mailing Address:
 107 W Allens Ln
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191194101



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Richard McBride                                                                          ¤100.00
                                                                 4        20       2021
 Mailing Address:
 2221 Polo Run Dr
 City:                                     State:             Zip Code (Plus 4):
 Yardley                                   PA                 190677263
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Richard Nichols                                                                          ¤150.00
                                                                 5         3       2021
 Mailing Address:
 208 Chestnut Ave
 City:                                     State:             Zip Code (Plus 4):
 Narberth                                  PA                 190722406
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rico Zorkendorfer                                                                        ¤100.00
                                                                 4        27       2021
 Mailing Address:
 750 W Saddle Butte Dr
 City:                                     State:             Zip Code (Plus 4):
 Jackson                                   WY                 830018462
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Rise Van Doosselaere                                                                     ¤250.00
                                                                 4        27       2021
 Mailing Address:
 421 Broome St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100133288
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rita Russella                                                                            ¤100.00
                                                                 4        21       2021
 Mailing Address:
 2718 S 8th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191485044
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rob Warden                                                                               ¤250.00
                                                                4         14       2021
 Mailing Address:
 1934 N Hudson Ave
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606145218
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Robert Bobb                                                                              ¤100.00
                                                                 4        29       2021
 Mailing Address:
 1737 Taylor St NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200115312
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Robert Boyden Sr                                                                          ¤25.00
                                                                 5         3       2021
 Mailing Address:
 371 Windermere Ave
 City:                                     State:             Zip Code (Plus 4):
 Lansdowne                                 PA                 190501033
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Robert Boyden Sr                                                                          ¤25.00
                                                                 4        19       2021
 Mailing Address:
 371 Windermere Ave
 City:                                     State:             Zip Code (Plus 4):
 Lansdowne                                 PA                 190501033



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Robert Boyden Sr                                                                          ¤30.00
                                                                 5         1       2021
 Mailing Address:
 371 Windermere Ave
 City:                                     State:             Zip Code (Plus 4):
 Lansdowne                                 PA                 190501033
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Robert Boyden Sr                                                                          ¤25.00
                                                                 5         2       2021
 Mailing Address:
 371 Windermere Ave
 City:                                     State:             Zip Code (Plus 4):
 Lansdowne                                 PA                 190501033
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Robert Lambert                                                                            ¤25.00
                                                                 5         1       2021
 Mailing Address:
 8046 Sonoma Pointe Dr
 City:                                     State:             Zip Code (Plus 4):
 Columbus                                  GA                 319096020
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Robert Lambert                                                                            ¤25.00
                                                                 4        26       2021
 Mailing Address:
 8046 Sonoma Pointe Dr
 City:                                     State:             Zip Code (Plus 4):
 Columbus                                  GA                 319096020
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Robert Lambert                                                                            ¤25.00
                                                                 4        27       2021
 Mailing Address:
 8046 Sonoma Pointe Dr
 City:                                     State:             Zip Code (Plus 4):
 Columbus                                  GA                 319096020
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Robert Lardner                                                                           ¤100.00
                                                                4         27       2021
 Mailing Address:
 1355 N Sandburg Ter
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606102067
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Robert Nelson                                                                            ¤100.00
                                                                 4         8       2021
 Mailing Address:
 1033 S 50th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191433305
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Robert Reinhart                                                                          ¤100.00
                                                                4         27       2021
 Mailing Address:
 199 Massachusetts Ave
 City:                                     State:             Zip Code (Plus 4):
 Boston                                    MA                 021153051
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Roberta Russette                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 235 Nathan Ln N
 City:                                     State:             Zip Code (Plus 4):
 Plymouth                                  MN                 554416329



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Robin Weaver                                                                             ¤100.00
                                                                 4        28       2021
 Mailing Address:
 1680 Oak St NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200101818
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rod Parks                                                                                 ¤50.00
                                                                 5         2       2021
 Mailing Address:
 1500 Grand Blvd
 City:                                     State:             Zip Code (Plus 4):
 Kansas City                               MO                 641081404
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rod Parks                                                                                 ¤50.00
                                                                4         26       2021
 Mailing Address:
 1500 Grand Blvd
 City:                                     State:             Zip Code (Plus 4):
 Kansas City                               MO                 641081404
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rohan Ganguli                                                                            ¤250.00
                                                                4         21       2021
 Mailing Address:
 118 S Dallas Ave
 City:                                     State:             Zip Code (Plus 4):
 Pittsburgh                                PA                 152082624
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rolonda Carr                                                                             ¤100.00
                                                                 4        26       2021
 Mailing Address:
 505 Central Ave
 City:                                     State:             Zip Code (Plus 4):
 White Plains                              NY                 106061539
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Romona Sutton                                                                            ¤100.00
                                                                4         27       2021
 Mailing Address:
 10438 Lucaya Dr
 City:                                     State:             Zip Code (Plus 4):
 Tampa                                     FL                 336473324
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ronda Goldfein                                                                           ¤250.00
                                                                 5         2       2021
 Mailing Address:
 2021 Waverly St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191461342
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ronny Morantus                                                                           ¤100.00
                                                                4         27       2021
 Mailing Address:
 2176 Kay Ave
 City:                                     State:             Zip Code (Plus 4):
 Union                                     NJ                 070835268
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rory McClenaghan                                                                         ¤250.00
                                                                 4        27       2021
 Mailing Address:
 2129 W Le Moyne St
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606221817



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rosa White                                                                                ¤50.00
                                                                4         27       2021
 Mailing Address:
 11730 Sugarhill Rd
 City:                                     State:             Zip Code (Plus 4):
 Davidson                                  NC                 280369556
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rosa White                                                                                ¤50.00
                                                                4         27       2021
 Mailing Address:
 11730 Sugarhill Rd
 City:                                     State:             Zip Code (Plus 4):
 Davidson                                  NC                 280369556
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rosalind Eaton                                                                           ¤100.00
                                                                 4        26       2021
 Mailing Address:
 12070 Francis Lewis Blvd
 City:                                     State:             Zip Code (Plus 4):
 Cambria Heights                           NY                 114112028
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rosemary Auge                                                                            ¤100.00
                                                                 4         1       2021
 Mailing Address:
 1243 Federal St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191474563
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rosemary Duffey                                                                          ¤100.00
                                                                 4        18       2021
 Mailing Address:
 255 Wyncote Rd
 City:                                     State:             Zip Code (Plus 4):
 Jenkintown                                PA                 190463130
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Rosslyn Wuchinich                                                                        ¤100.00
                                                                 4        15       2021
 Mailing Address:
 4510 Osage Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191432112
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Roxana Contreras                                                                         ¤250.00
                                                                 4        26       2021
 Mailing Address:
 1807 Blueridge Ave
 City:                                     State:             Zip Code (Plus 4):
 Silver Spring                             MD                 209022933
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Russell Seawright                                                                        ¤100.00
                                                                 4        29       2021
 Mailing Address:
 5553 Webster St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191432520
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ruth Angeletti                                                                           ¤100.00
                                                                 4        23       2021
 Mailing Address:
 14525 Spanish Breaks Trl
 City:                                     State:             Zip Code (Plus 4):
 Gallatin Gateway                          MT                 597309693



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ruthanne Harlow                                                                          ¤250.00
                                                                 4        27       2021
 Mailing Address:
 64 Elkmont Dr
 City:                                     State:             Zip Code (Plus 4):
 Asheville                                 NC                 288041348
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ryan Cooper                                                                              ¤100.00
                                                                4         27       2021
 Mailing Address:
 900 S Figueroa St
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900153927
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ryan Seibert                                                                             ¤100.00
                                                                4         23       2021
 Mailing Address:
 2235 Meadowood Blvd
 City:                                     State:             Zip Code (Plus 4):
 Twinsburg                                 OH                 440871372
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Salvatore J. J Cucinotta                                                                 ¤100.00
                                                                 4        22       2021
 Mailing Address:
 516 Parkview Dr
 City:                                     State:             Zip Code (Plus 4):
 Wynnewood                                 PA                 190961622
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sam MacBride                                                                             ¤100.00
                                                                 3        31       2021
 Mailing Address:
 1320 Lafayette Dr NE
 City:                                     State:             Zip Code (Plus 4):
 Albuquerque                               NM                 871061123
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sam Nordean                                                                              ¤100.00
                                                                 4        26       2021
 Mailing Address:
 2563 Camino del plata
 City:                                     State:             Zip Code (Plus 4):
 Costa Mesa                                CA                 92626
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Samantha Toste                                                                            ¤50.00
                                                                 5         1       2021
 Mailing Address:
 2103 NW Woodland Dr
 City:                                     State:             Zip Code (Plus 4):
 McMinnville                               OR                 971286762
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Samantha Toste                                                                            ¤27.00
                                                                 5         1       2021
 Mailing Address:
 2103 NW Woodland Dr
 City:                                     State:             Zip Code (Plus 4):
 McMinnville                               OR                 971286762
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Samuel Mercuris                                                                          ¤100.00
                                                                 4        27       2021
 Mailing Address:
 245 W 104th St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100258100



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Samuel Neubardt                                                                           ¤20.00
                                                                 4        27       2021
 Mailing Address:
 4317 Spruce St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191044747
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Samuel Neubardt                                                                           ¤50.00
                                                                 4        12       2021
 Mailing Address:
 4317 Spruce St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191044747
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Samuel Neubardt                                                                           ¤50.00
                                                                 3        30       2021
 Mailing Address:
 4317 Spruce St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191044747
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sandy Rodgers                                                                             ¤75.00
                                                                 4        27       2021
 Mailing Address:
 1122 17th St
 City:                                     State:             Zip Code (Plus 4):
 Sacramento                                CA                 958114014
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sara Anderson                                                                             ¤27.00
                                                                4         27       2021
 Mailing Address:
 4333 NE Beech St
 City:                                     State:             Zip Code (Plus 4):
 Portland                                  OR                 972131043
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sara Anderson                                                                             ¤27.00
                                                                5         1        2021
 Mailing Address:
 4333 NE Beech St
 City:                                     State:             Zip Code (Plus 4):
 Portland                                  OR                 972131043
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sara Milly                                                                               ¤250.00
                                                                4         21       2021
 Mailing Address:
 225 S 18th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191037905
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sara Salazar                                                                             ¤100.00
                                                                 4        27       2021
 Mailing Address:
 3740 Judah St
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941221227
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sara Spivey                                                                               ¤27.00
                                                                4         27       2021
 Mailing Address:
 235 S Bernardo Ave
 City:                                     State:             Zip Code (Plus 4):
 Sunnyvale                                 CA                 940866930



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sara Spivey                                                                               ¤27.00
                                                                4         27       2021
 Mailing Address:
 235 S Bernardo Ave
 City:                                     State:             Zip Code (Plus 4):
 Sunnyvale                                 CA                 940866930
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sarah Azad                                                                               ¤100.00
                                                                4         27       2021
 Mailing Address:
 12264 Titus Ave
 City:                                     State:             Zip Code (Plus 4):
 Saratoga                                  CA                 950703457
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sarah Gloeckner                                                                          ¤250.00
                                                                4         26       2021
 Mailing Address:
 1236 McGee Ct NE
 City:                                     State:             Zip Code (Plus 4):
 Keizer                                    OR                 973039447
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sarah Mendoza                                                                             ¤27.00
                                                                 4        26       2021
 Mailing Address:
 134 Nelson St
 City:                                     State:             Zip Code (Plus 4):
 Freeport                                  TX                 775419720
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sarah Mendoza                                                                             ¤27.00
                                                                 5         1       2021
 Mailing Address:
 134 Nelson St
 City:                                     State:             Zip Code (Plus 4):
 Freeport                                  TX                 775419720
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sarah Purpus                                                                             ¤100.00
                                                                4         27       2021
 Mailing Address:
 3517 La Rochelle Dr
 City:                                     State:             Zip Code (Plus 4):
 Columbus                                  OH                 432211535
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sarah Scott                                                                              ¤100.00
                                                                4         27       2021
 Mailing Address:
 4018 Florida St
 City:                                     State:             Zip Code (Plus 4):
 San Diego                                 CA                 921042440
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Sarah Smith-Benjamin                                                                     ¤100.00
                                                                 4        27       2021
 Mailing Address:
 37 Sabine Ave
 City:                                     State:             Zip Code (Plus 4):
 Narberth                                  PA                 190721740
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Saul Aguilar                                                                             ¤100.00
                                                                4         27       2021
 Mailing Address:
 268 Calle Amorosa
 City:                                     State:             Zip Code (Plus 4):
 Camarillo                                 CA                 930128607



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Saul Green                                                                               ¤200.00
                                                                4         16       2021
 Mailing Address:
 2769 Oakman Blvd
 City:                                     State:             Zip Code (Plus 4):
 Detroit                                   MI                 482382530
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Saul Kassin                                                                              ¤250.00
                                                                 4        15       2021
 Mailing Address:
 9 Lynde Ln
 City:                                     State:             Zip Code (Plus 4):
 Williamstown                              MA                 012672122
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Scott Alberts                                                                            ¤100.00
                                                                 4        30       2021
 Mailing Address:
 212 Glendale Rd
 City:                                     State:             Zip Code (Plus 4):
 Upper Darby                               PA                 190824018
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Scott Burris                                                                             ¤250.00
                                                                 4        10       2021
 Mailing Address:
 401 Woodside Ave
 City:                                     State:             Zip Code (Plus 4):
 Narberth                                  PA                 190722332
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Scott McPherson-Moncrief                                                                 ¤100.00
                                                                 4        26       2021
 Mailing Address:
 8100 E Jefferson Ave
 City:                                     State:             Zip Code (Plus 4):
 Detroit                                   MI                 482143942
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Scott Stefan                                                                             ¤100.00
                                                                 4        21       2021
 Mailing Address:
 15 Highview Pl
 City:                                     State:             Zip Code (Plus 4):
 White Plains                              NY                 106042305
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Scott Troyan                                                                              ¤75.00
                                                                 4        29       2021
 Mailing Address:
 1232 N. Ranodlan Street
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 19122
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Scott Troyan                                                                              ¤25.00
                                                                 4        26       2021
 Mailing Address:
 1232 N. Ranodlan Street
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 19122
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sean Keefe                                                                               ¤100.00
                                                                4         26       2021
 Mailing Address:
 2005 N 19th St
 City:                                     State:             Zip Code (Plus 4):
 Boise                                     ID                 837020822



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sergio Esposito                                                                          ¤250.00
                                                                 4        28       2021
 Mailing Address:
 108 E 16th St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100032111
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Setareh Alizadeh                                                                         ¤100.00
                                                                 4        28       2021
 Mailing Address:
 10219 NE 129th Ave
 City:                                     State:             Zip Code (Plus 4):
 Vancouver                                 WA                 986821770
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Seth Kreimer                                                                             ¤180.00
                                                                 3        30       2021
 Mailing Address:
 6310 Wissahickon Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191443722
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Seth Wainer                                                                              ¤100.00
                                                                 4        27       2021
 Mailing Address:
 1230 SE Lambert St
 City:                                     State:             Zip Code (Plus 4):
 Portland                                  OR                 972026360
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Shan Haq                                                                                 ¤100.00
                                                                4         27       2021
 Mailing Address:
 1611 S Charlotte Ct
 City:                                     State:             Zip Code (Plus 4):
 Lombard                                   IL                 601486148
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Shan Haq                                                                                 ¤100.00
                                                                5          2       2021
 Mailing Address:
 1611 S Charlotte Ct
 City:                                     State:             Zip Code (Plus 4):
 Lombard                                   IL                 601486148
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Shane Feit                                                                                ¤66.00
                                                                 5         1       2021
 Mailing Address:
 310 S M St
 City:                                     State:             Zip Code (Plus 4):
 Lake Worth                                FL                 334604520
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Shanika Strings                                                                          ¤100.00
                                                                 5         2       2021
 Mailing Address:
 16129 Annahill Ct
 City:                                     State:             Zip Code (Plus 4):
 Charlotte                                 NC                 282774155
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Shannan Martin                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 707 N 5th St
 City:                                     State:             Zip Code (Plus 4):
 Goshen                                    IN                 465282601



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 Full Name of Contributor:                                      MO.       DAY       YEAR
 Shari Stone-Mediatore                                                                     ¤125.00
                                                                 4        25        2021
 Mailing Address:
 2324 N Spaulding Ave
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606472557
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Shaunna Long                                                                              ¤100.00
                                                                 4        27        2021
 Mailing Address:
 5001 Pacific Blvd SW
 City:                                     State:             Zip Code (Plus 4):
 Albany                                    OR                 973213692
 Full Name of Contributor:                                      MO.      DAY        YEAR
 Shawn Fernandez                                                                           ¤100.00
                                                                 4        27        2021
 Mailing Address:
 3116 Flinthaven Dr
 City:                                     State:             Zip Code (Plus 4):
 San Jose                                  CA                 951481234
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Shawn Fernandez                                                                            ¤25.00
                                                                 4        28        2021
 Mailing Address:
 3116 Flinthaven Dr
 City:                                     State:             Zip Code (Plus 4):
 San Jose                                  CA                 951481234
 Full Name of Contributor:                                     MO.       DAY        YEAR
 Shea Goins                                                                                ¤200.00
                                                                 4        27        2021
 Mailing Address:
 189 Happy Landing Rd Tumon GU 96913
 City:                                     State:             Zip Code (Plus 4):
 Tumon                                     PA                 96913
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Shelby Ward                                                                                ¤20.00
                                                                 4        27        2021
 Mailing Address:
 2550 Yeager Rd
 City:                                     State:             Zip Code (Plus 4):
 West Lafayette                            IN                 479064036
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Shelby Ward                                                                                ¤50.00
                                                                 4        26        2021
 Mailing Address:
 2550 Yeager Rd
 City:                                     State:             Zip Code (Plus 4):
 West Lafayette                            IN                 479064036
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Shelley Blanton-Stroud                                                                    ¤100.00
                                                                 5         3        2021
 Mailing Address:
 440 Hopkins Rd
 City:                                     State:              Zip Code (Plus 4):
 Sacramento                                CA                  958645619
 Full Name of Contributor:                                      MO.       DAY       YEAR
 Sheredy Conley                                                                             ¤27.00
                                                                 4        27        2021
 Mailing Address:
 10734 W 132nd Pl
 City:                                     State:             Zip Code (Plus 4):
 Overland Park                             KS                 662133660



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 Full Name of Contributor:                                      MO.       DAY      YEAR
 Sheredy Conley                                                                            ¤27.00
                                                                 5         1       2021
 Mailing Address:
 10734 W 132nd Pl
 City:                                     State:             Zip Code (Plus 4):
 Overland Park                             KS                 662133660
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sheri Maali                                                                              ¤100.00
                                                                4         27       2021
 Mailing Address:
 618 Jefferson St
 City:                                     State:             Zip Code (Plus 4):
 Hinsdale                                  IL                 605213845
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sherita Gregory                                                                          ¤100.00
                                                                 4        26       2021
 Mailing Address:
 532 E Main St
 City:                                     State:             Zip Code (Plus 4):
 Bound Brook                               NJ                 088052203
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sherrie Perkins                                                                           ¤27.00
                                                                 4        26       2021
 Mailing Address:
 11579 Highway 157
 City:                                     State:             Zip Code (Plus 4):
 Florence                                  AL                 356334538
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sherrie Perkins                                                                           ¤27.00
                                                                 5         2       2021
 Mailing Address:
 11579 Highway 157
 City:                                     State:             Zip Code (Plus 4):
 Florence                                  AL                 356334538
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sherry Hanck                                                                             ¤100.00
                                                                4         27       2021
 Mailing Address:
 115 Glen Valley Rd
 City:                                     State:             Zip Code (Plus 4):
 Yardley                                   PA                 190677340
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Sheryl Brustein                                                                          ¤100.00
                                                                 4        27       2021
 Mailing Address:
 244 Princeton Rd
 City:                                     State:             Zip Code (Plus 4):
 Rockville Centre                          NY                 115702638
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Shirley Cook                                                                             ¤250.00
                                                                 4        27       2021
 Mailing Address:
 184 Grand St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100133746
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Simon Alicea                                                                              ¤15.00
                                                                 5         2       2021
 Mailing Address:
 6353 Fitchett St
 City:                                     State:             Zip Code (Plus 4):
 Rego Park                                 NY                 113742811



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Simon Alicea                                                                              ¤20.00
                                                                 4        27       2021
 Mailing Address:
 6353 Fitchett St
 City:                                     State:             Zip Code (Plus 4):
 Rego Park                                 NY                 113742811
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Simon Alicea                                                                              ¤20.00
                                                                 4        26       2021
 Mailing Address:
 6353 Fitchett St
 City:                                     State:             Zip Code (Plus 4):
 Rego Park                                 NY                 113742811
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Sonia Marfatia-Goode                                                                     ¤100.00
                                                                 4        27       2021
 Mailing Address:
 237 Robinson Dr
 City:                                     State:             Zip Code (Plus 4):
 Winchester                                VA                 226022325
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Spencer Mullet                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 1312 E Avery St
 City:                                     State:             Zip Code (Plus 4):
 Pensacola                                 FL                 325035370
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Spencer Steed                                                                            ¤100.00
                                                                 4        28       2021
 Mailing Address:
 976 E Harvard Ave
 City:                                     State:             Zip Code (Plus 4):
 Salt Lake City                            UT                 841051801
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Stacey Anderson                                                                          ¤160.00
                                                                4         27       2021
 Mailing Address:
 1127 Sheffield Dr
 City:                                     State:             Zip Code (Plus 4):
 Berwyn                                    PA                 193121815
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Stacy Joseph                                                                              ¤25.00
                                                                 5         3       2021
 Mailing Address:
 10516 Galleon Peak Ln
 City:                                     State:             Zip Code (Plus 4):
 Las Vegas                                 NV                 891665040
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Stacy Joseph                                                                              ¤50.00
                                                                4         26       2021
 Mailing Address:
 10516 Galleon Peak Ln
 City:                                     State:             Zip Code (Plus 4):
 Las Vegas                                 NV                 891665040
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Stan Himpe                                                                               ¤100.00
                                                                4         27       2021
 Mailing Address:
 184 Kent Ave
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112493508



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Stanley Horwitz                                                                           ¤13.50
                                                                 4        13       2021
 Mailing Address:
 2601 Pennsylvania Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191302329
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Stanley Horwitz                                                                            ¤5.00
                                                                 4        15       2021
 Mailing Address:
 2601 Pennsylvania Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191302329
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Stanley Horwitz                                                                           ¤25.00
                                                                 4        26       2021
 Mailing Address:
 2601 Pennsylvania Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191302329
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Stanley Horwitz                                                                            ¤5.00
                                                                 5         3       2021
 Mailing Address:
 2601 Pennsylvania Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191302329
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Stanley Horwitz                                                                            ¤5.00
                                                                 4        12       2021
 Mailing Address:
 2601 Pennsylvania Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191302329
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Stanley Nelson                                                                           ¤100.00
                                                                4         27       2021
 Mailing Address:
 11431 Cashmere St
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900493427
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Stephanie Fabian                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 20 Henderson Ct
 City:                                     State:             Zip Code (Plus 4):
 Pompton Lakes                             NJ                 074422122
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Stephanie Neal                                                                           ¤100.00
                                                                4        27        2021
 Mailing Address:
 1930 Kingsley Dr
 City:                                     State:             Zip Code (Plus 4):
 Pearland                                  TX                 775843727
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Stephanie Picton                                                                         ¤100.00
                                                                 5         1       2021
 Mailing Address:
 4845 Hammock Lake Dr
 City:                                     State:             Zip Code (Plus 4):
 Coral Gables                              FL                 331562217



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Stephanie Salomon                                                                        ¤100.00
                                                                 4        26       2021
 Mailing Address:
 118 Palencia Pl
 City:                                     State:             Zip Code (Plus 4):
 Lakeland                                  FL                 338033916
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Stephen Capanna                                                                          ¤250.00
                                                                 4        20       2021
 Mailing Address:
 3205 Warder St NW
 City:                                     State:             Zip Code (Plus 4):
 Washington                                DC                 200102520
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Steve Degenaro                                                                            ¤25.00
                                                                 5         3       2021
 Mailing Address:
 469 S Meadowcroft Ave
 City:                                     State:             Zip Code (Plus 4):
 Pittsburgh                                PA                 152281409
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Steve Degenaro                                                                           ¤100.00
                                                                4         27       2021
 Mailing Address:
 469 S Meadowcroft Ave
 City:                                     State:             Zip Code (Plus 4):
 Pittsburgh                                PA                 152281409
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Steve Early                                                                              ¤100.00
                                                                4         29       2021
 Mailing Address:
 747 Lobos Ave
 City:                                     State:             Zip Code (Plus 4):
 Richmond                                  CA                 948013715
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Stuart Lev                                                                               ¤100.00
                                                                4         13       2021
 Mailing Address:
 250 S 13th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191075616
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Susan Andrews                                                                            ¤100.00
                                                                 4        27       2021
 Mailing Address:
 310 Washington Blvd
 City:                                     State:             Zip Code (Plus 4):
 Marina Del Rey                            CA                 902925167
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Susan Delone                                                                             ¤100.00
                                                                4         29       2021
 Mailing Address:
 4300 Church Rd
 City:                                     State:             Zip Code (Plus 4):
 Doylestown                                PA                 189021727
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Susan L Dejarnatt                                                                        ¤100.00
                                                                 5         1       2021
 Mailing Address:
 501 Carpenter Ln
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191193402



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Susan Landau                                                                             ¤100.00
                                                                4         13       2021
 Mailing Address:
 3343 W Penn St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191291407
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Susan Landau                                                                              ¤50.00
                                                                 5         3       2021
 Mailing Address:
 3343 W Penn St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191291407
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Susan Lin                                                                                ¤100.00
                                                                4         5        2021
 Mailing Address:
 633 Wilder St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191475815
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Susan Voorhees                                                                           ¤250.00
                                                                4         5        2021
 Mailing Address:
 420 SW Westchester Rd
 City:                                     State:             Zip Code (Plus 4):
 Topeka                                    KS                 666062250
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Susan Whitaker                                                                           ¤100.00
                                                                4         21       2021
 Mailing Address:
 1090 N Anita Ave
 City:                                     State:             Zip Code (Plus 4):
 Tucson                                    AZ                 857057516
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Susan Windle                                                                             ¤125.00
                                                                4         12       2021
 Mailing Address:
 434 E Mount Airy Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191191142
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Susan Wooley                                                                             ¤100.00
                                                                4         22       2021
 Mailing Address:
 45 Circle Pl
 City:                                     State:             Zip Code (Plus 4):
 Camp Hill                                 PA                 170112928
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Susannah Gillette                                                                         ¤50.00
                                                                4          8       2021
 Mailing Address:
 1020 Grand Concourse
 City:                                     State:             Zip Code (Plus 4):
 Bronx                                     NY                 104512605
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Susannah Gillette                                                                         ¤25.00
                                                                4         26       2021
 Mailing Address:
 1020 Grand Concourse
 City:                                     State:             Zip Code (Plus 4):
 Bronx                                     NY                 104512605



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Susn Stoebner                                                                            ¤100.00
                                                                 4        27       2021
 Mailing Address:
 5159 Village Grn
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900165205
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Suzan Glueck                                                                             ¤100.00
                                                                5         2        2021
 Mailing Address:
 1102 Bellevue Way SE
 City:                                     State:             Zip Code (Plus 4):
 Bellevue                                  WA                 980046871
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Suzanne Landau                                                                           ¤100.00
                                                                 3        31       2021
 Mailing Address:
 628 Kenilworth St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191472114
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Suzanne Naples                                                                           ¤250.00
                                                                 4        21       2021
 Mailing Address:
 130 S 18th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191034930
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Suzette Turner                                                                           ¤100.00
                                                                 4        26       2021
 Mailing Address:
 170 W Graham Ave
 City:                                     State:             Zip Code (Plus 4):
 Hempstead                                 NY                 115506121
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Sybil Rosen                                                                              ¤200.00
                                                                4         29       2021
 Mailing Address:
 134 Hermosillo Rd
 City:                                     State:             Zip Code (Plus 4):
 Montecito                                 CA                 931082415
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Tahiti Castillo                                                                           ¤27.00
                                                                 5         1       2021
 Mailing Address:
 PO Box 197121
 City:                                     State:             Zip Code (Plus 4):
 Louisville                                KY                 402597121
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Tahiti Castillo                                                                           ¤27.00
                                                                 4        27       2021
 Mailing Address:
 PO Box 197121
 City:                                     State:             Zip Code (Plus 4):
 Louisville                                KY                 402597121
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Talis Abolins                                                                            ¤100.00
                                                                4         26       2021
 Mailing Address:
 1819 17th Ave
 City:                                     State:             Zip Code (Plus 4):
 Seattle                                   WA                 981222762



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Tamar Eskin                                                                              ¤100.00
                                                                4         27       2021
 Mailing Address:
 8209 Woburn Abbey Rd
 City:                                     State:             Zip Code (Plus 4):
 Glenn Dale                                MD                 207692023
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Tame Sauitufuga                                                                          ¤100.00
                                                                 4        27       2021
 Mailing Address:
 300 Ashland Pl
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112174093
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Tammie Stallings                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 115 Ocean Ave
 City:                                     State:             Zip Code (Plus 4):
 Brooklyn                                  NY                 112254728
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Tangela Sweeting                                                                         ¤100.00
                                                                 4        27       2021
 Mailing Address:
 2240 NW 175th St
 City:                                     State:             Zip Code (Plus 4):
 Opa Locka                                 FL                 330564631
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Tania Grambo                                                                             ¤100.00
                                                                 4        26       2021
 Mailing Address:
 315 Addison Ct
 City:                                     State:             Zip Code (Plus 4):
 Saint Johns                               FL                 322596902
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Tanya Nolan                                                                              ¤100.00
                                                                4         26       2021
 Mailing Address:
 9910 Kiley Park Ct
 City:                                     State:             Zip Code (Plus 4):
 Houston                                   TX                 770891906
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Taylor Johnson                                                                           ¤100.00
                                                                4         26       2021
 Mailing Address:
 1414 S 16th St
 City:                                     State:             Zip Code (Plus 4):
 Omaha                                     NE                 681083560
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ted Reed                                                                                  ¤25.00
                                                                 5         3       2021
 Mailing Address:
 251 S 24th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191037103
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ted Reed                                                                                  ¤25.00
                                                                 4         1       2021
 Mailing Address:
 251 S 24th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191037103



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ted Reed                                                                                  ¤25.00
                                                                 4         8       2021
 Mailing Address:
 251 S 24th St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191037103
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Tenzing Bhutia                                                                           ¤100.00
                                                                4         27       2021
 Mailing Address:
 1740 35th Ave
 City:                                     State:             Zip Code (Plus 4):
 Oakland                                   CA                 946013616
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Teresa Doyle                                                                             ¤100.00
                                                                4         23       2021
 Mailing Address:
 42 Glen Eden Ave
 City:                                     State:             Zip Code (Plus 4):
 Oakland                                   CA                 946114317
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Teresa McLucas                                                                           ¤100.00
                                                                4         27       2021
 Mailing Address:
 5910 Nasco Dr
 City:                                     State:             Zip Code (Plus 4):
 Austin                                    TX                 787573116
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Teresa Parli                                                                             ¤100.00
                                                                4         26       2021
 Mailing Address:
 77 Hudson St
 City:                                     State:             Zip Code (Plus 4):
 Jersey City                               NJ                 073028517
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Terrence McGuckin                                                                        ¤100.00
                                                                 3        31       2021
 Mailing Address:
 4216 Spruce St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191044129
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Terri Green                                                                              ¤100.00
                                                                5         3        2021
 Mailing Address:
 5002 S 28th St
 City:                                     State:             Zip Code (Plus 4):
 Paragould                                 AR                 724505184
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Theresa Apter                                                                            ¤100.00
                                                                4         27       2021
 Mailing Address:
 220 University Ave
 City:                                     State:             Zip Code (Plus 4):
 Missoula                                  MT                 598014352
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Theresa Ellis                                                                            ¤100.00
                                                                4         27       2021
 Mailing Address:
 129 Smith Dr
 City:                                     State:             Zip Code (Plus 4):
 Woodburn                                  OR                 970714549



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 Full Name of Contributor:                                      MO.      DAY       YEAR
 Thoi Pham                                                                                 ¤94.00
                                                                 5         3       2021
 Mailing Address:
 5800 3rd St
 City:                                     State:             Zip Code (Plus 4):
 San Francisco                             CA                 941243147
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Thomas Cook                                                                              ¤100.00
                                                                 4        27       2021
 Mailing Address:
 3500 30th Ave S
 City:                                     State:             Zip Code (Plus 4):
 Grand Forks                               ND                 582015954
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Thomas Eshelman                                                                          ¤100.00
                                                                 5         3       2021
 Mailing Address:
 2203 Delancey Pl
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191036501
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Thomas Goodwin                                                                            ¤27.00
                                                                 5         2       2021
 Mailing Address:
 PO Box 77
 City:                                     State:             Zip Code (Plus 4):
 Grantham                                  NH                 037530077
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Thomas Goodwin                                                                           ¤100.00
                                                                 4        26       2021
 Mailing Address:
 PO Box 77
 City:                                     State:             Zip Code (Plus 4):
 Grantham                                  NH                 037530077
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Thomas H Brubaker                                                                        ¤100.00
                                                                 4        21       2021
 Mailing Address:
 151 W Hortter St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191192707
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Thuy Vu                                                                                   ¤50.00
                                                                4         28       2021
 Mailing Address:
 6137 Colorow Dr
 City:                                     State:             Zip Code (Plus 4):
 Morrison                                  CO                 804652213
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Thuy Vu                                                                                   ¤50.00
                                                                3         30       2021
 Mailing Address:
 6137 Colorow Dr
 City:                                     State:             Zip Code (Plus 4):
 Morrison                                  CO                 804652213
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Tierney Dowling                                                                          ¤100.00
                                                                 4        27       2021
 Mailing Address:
 4764 S Wenatchee Cir
 City:                                     State:             Zip Code (Plus 4):
 Aurora                                    CO                 800156471



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Tiffany Duong                                                                            ¤100.00
                                                                 4        27       2021
 Mailing Address:
 152 Sioux St
 City:                                     State:             Zip Code (Plus 4):
 Tavernier                                 FL                 330702136
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Tiffany Wallace                                                                          ¤100.00
                                                                 4        27       2021
 Mailing Address:
 1331 S Taylor St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191464020
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Tiki Copeland                                                                            ¤100.00
                                                                 4         8       2021
 Mailing Address:
 23782 Swan St
 City:                                     State:             Zip Code (Plus 4):
 Moreno Valley                             CA                 925577928
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Timothy Walsh                                                                            ¤100.00
                                                                 5         3       2021
 Mailing Address:
 268 Lenox Rd
 City:                                     State:             Zip Code (Plus 4):
 Richmond                                  MA                 012545061
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Tina Hubbard                                                                              ¤50.00
                                                                 4        26       2021
 Mailing Address:
 3131 Excelsior Blvd
 City:                                     State:             Zip Code (Plus 4):
 Minneapolis                               MN                 554164600
 Full Name of Contributor:                                      MO.       DAY      YEAR
 Tina Hubbard                                                                              ¤50.00
                                                                 4        27       2021
 Mailing Address:
 3131 Excelsior Blvd
 City:                                     State:             Zip Code (Plus 4):
 Minneapolis                               MN                 554164600
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Tom Ivory                                                                                ¤100.00
                                                                 4        14       2021
 Mailing Address:
 9224 Manor Rd
 City:                                     State:             Zip Code (Plus 4):
 Elkins Park                               PA                 19027
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Toni Iacolucci                                                                           ¤100.00
                                                                 5         1       2021
 Mailing Address:
 233 W 99th St
 City:                                     State:             Zip Code (Plus 4):
 New York                                  NY                 100255058
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Toni Soto                                                                                ¤100.00
                                                                4         27       2021
 Mailing Address:
 3541 Dexter St
 City:                                     State:             Zip Code (Plus 4):
 Denver                                    CO                 802071000



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Tonya Bah                                                                                ¤125.00
                                                                 4        13       2021
 Mailing Address:
 1456 W Chew St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191412310
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Tracy Porter                                                                             ¤100.00
                                                                 4        26       2021
 Mailing Address:
 4733 Conejo Ave
 City:                                     State:             Zip Code (Plus 4):
 Woodland Hills                            CA                 913645018
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Travis Green                                                                             ¤100.00
                                                                 5         3       2021
 Mailing Address:
 1246 Hickory Ridge Dr
 City:                                     State:             Zip Code (Plus 4):
 Memphis                                   TN                 381168905
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Trish Austin                                                                             ¤100.00
                                                                 5         1       2021
 Mailing Address:
 60 Paul Ave
 City:                                     State:             Zip Code (Plus 4):
 Mountain View                             CA                 940412234
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Tristan Dahn                                                                             ¤200.00
                                                                 5         3       2021
 Mailing Address:
 5315 Catharine St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191432605
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Tron Rthe                                                                                ¤250.00
                                                                 4        27       2021
 Mailing Address:
 4311 Wilshire Blvd
 City:                                     State:             Zip Code (Plus 4):
 Los Angeles                               CA                 900103717
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Trovon Quetant                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 573 Margo Rd
 City:                                     State:             Zip Code (Plus 4):
 Boone                                     NC                 286078996
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ty Alper                                                                                 ¤100.00
                                                                4         30       2021
 Mailing Address:
 1712 Jaynes St
 City:                                     State:             Zip Code (Plus 4):
 Berkeley                                  CA                 947031126
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Ty Thomas                                                                                ¤100.00
                                                                 4        27       2021
 Mailing Address:
 3300 46th Ave S
 City:                                     State:             Zip Code (Plus 4):
 Minneapolis                               MN                 554062343



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Tyrone Brown                                                                             ¤100.00
                                                                4         27       2021
 Mailing Address:
 207 Remsen Rd
 City:                                     State:             Zip Code (Plus 4):
 Yonkers                                   NY                 107101028
 Full Name of Contributor:                                     MO.       DAY       YEAR
 V j Marshall                                                                             ¤250.00
                                                                4         12       2021
 Mailing Address:
 135 W Hines Hill Rd
 City:                                     State:             Zip Code (Plus 4):
 Hudson                                    OH                 442361032
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Vanessa Baker                                                                            ¤250.00
                                                                 4        30       2021
 Mailing Address:
 2531 E Clearfield St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191345031
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Vernon Anastasio                                                                         ¤100.00
                                                                 4        20       2021
 Mailing Address:
 939 Montrose St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191473837
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Vic Compher                                                                              ¤100.00
                                                                 4         8       2021
 Mailing Address:
 604 S Washington Sq
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191064122
 Full Name of Contributor:                                      MO.      DAY       YEAR
 Victoria DiStefano                                                                       ¤100.00
                                                                 4        27       2021
 Mailing Address:
 1230 Calle Cerrito
 City:                                     State:             Zip Code (Plus 4):
 Santa Barbara                             CA                 931014966
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Victoria Farwell                                                                         ¤100.00
                                                                4         27       2021
 Mailing Address:
 2037 E Burlingame Ave
 City:                                     State:             Zip Code (Plus 4):
 Fresno                                    CA                 937104501
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Victoria Miller                                                                           ¤50.00
                                                                 4        30       2021
 Mailing Address:
 1814 Kater St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191461437
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Victoria Miller                                                                           ¤50.00
                                                                 4        29       2021
 Mailing Address:
 1814 Kater St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191461437



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 Victoria Miller                                                                          ¤100.00
                                                                4         20       2021
 Mailing Address:
 1814 Kater St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191461437
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Victoria Miller                                                                           ¤25.00
                                                                4         13       2021
 Mailing Address:
 1814 Kater St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191461437
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Victoria Zellers                                                                          ¤25.00
                                                                4         21       2021
 Mailing Address:
 766 N Croskey St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191302608
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Victoria Zellers                                                                          ¤50.00
                                                                3         31       2021
 Mailing Address:
 766 N Croskey St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191302608
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Vikas Sharma                                                                             ¤100.00
                                                                4        26        2021
 Mailing Address:
 115 Woodcrest Dr
 City:                                     State:             Zip Code (Plus 4):
 San Ramon                                 CA                 945831269
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Virginia Mahan                                                                           ¤100.00
                                                                4         26       2021
 Mailing Address:
 92 Pepperidge Dr
 City:                                     State:             Zip Code (Plus 4):
 Manchester                                NH                 031036115
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Waheedah Shabazz-El                                                                      ¤100.00
                                                                 3        31       2021
 Mailing Address:
 5732 Drexel Rd
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191311204
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Wendy Barahona                                                                           ¤100.00
                                                                 4        27       2021
 Mailing Address:
 508 SW 8th St
 City:                                     State:             Zip Code (Plus 4):
 Hallandale Beach                          FL                 330096930
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Wilford Hilimire                                                                         ¤100.00
                                                                 4        21       2021
 Mailing Address:
 666 W Germantown Pike
 City:                                     State:             Zip Code (Plus 4):
 Plymouth Meeting                          PA                 194621079



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 Full Name of Contributor:                                     MO.       DAY       YEAR
 William Ayers                                                                            ¤100.00
                                                                4         30       2021
 Mailing Address:
 1329 E 50th St
 City:                                     State:             Zip Code (Plus 4):
 Chicago                                   IL                 606152905
 Full Name of Contributor:                                     MO.       DAY       YEAR
 William Ewing                                                                            ¤250.00
                                                                 4        14       2021
 Mailing Address:
 510 E Mount Pleasant Ave
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191191232
 Full Name of Contributor:                                     MO.       DAY       YEAR
 William Gehrman                                                                          ¤200.00
                                                                 4        11       2021
 Mailing Address:
 1441 S Broad St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191474919
 Full Name of Contributor:                                      MO.      DAY       YEAR
 William Mcavinney                                                                        ¤200.00
                                                                 4        22       2021
 Mailing Address:
 12 Douglas St
 City:                                     State:             Zip Code (Plus 4):
 Cambridge                                 MA                 021393404
 Full Name of Contributor:                                     MO.       DAY       YEAR
 William R Gibbons                                                                         ¤60.00
                                                                 5         3       2021
 Mailing Address:
 1633 Hinman Ave
 City:                                     State:             Zip Code (Plus 4):
 Evanston                                  IL                 602016044
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Yolanda Crudder                                                                          ¤100.00
                                                                4         26       2021
 Mailing Address:
 2417 Richland Chambers Ct
 City:                                     State:             Zip Code (Plus 4):
 Wylie                                     TX                 750980799
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Yoshiko Kendall                                                                          ¤100.00
                                                                 3        30       2021
 Mailing Address:
 220 W Durand St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191192505
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Yoshiko Kendall                                                                          ¤100.00
                                                                 4        24       2021
 Mailing Address:
 220 W Durand St
 City:                                     State:             Zip Code (Plus 4):
 Philadelphia                              PA                 191192505
 Full Name of Contributor:                                     MO.       DAY       YEAR
 Zachary Davies                                                                           ¤100.00
                                                                4         27       2021
 Mailing Address:
 PO Box 203
 City:                                     State:             Zip Code (Plus 4):
 Nome                                      AK                 997620203



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 Full Name of Contributor:                                                      MO.       DAY       YEAR
 Zak Goldstein                                                                                                      ¤250.00
                                                                                 4        16        2021
 Mailing Address:
 1153 S Dorrance St
 City:                                               State:                    Zip Code (Plus 4):
 Philadelphia                                        PA                        191462911
                                                                                                           Part B Total:
Enter Grand Total of Part B on Schedule I, Detailed Summary Page, Section 2.
                                                                                                              ¤109,944.05




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 Full Name of Contributor:                                                 MO.       DAY      YEAR
 Adolph Reed                                                                                          ¤500.00
                                                                            4          22     2021
 Mailing Address:
 33 Price Ave
 City:                                                     State:        Zip Code (Plus 4):
 Narberth                                                  PA            190722158
 Employer Name:                                                          Occupation:
 University of Pennsylvania
 Employer Mailing Address / Principal Place of Business:
 133 S 36th St Philadelphia, PA 191043291
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Alan B Epstein                                                                                       ¤500.00
                                                                            4          6      2021
 Mailing Address:
 1635 Market St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191032200
 Employer Name:                                                          Occupation:
 Spector Gadon Rosen P.C
 Employer Mailing Address / Principal Place of Business:
 1635 Market St Seven Penn Center - 7th Floor Philadelphia, PA 191032200
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Alex Blumberg                                                                                       ¤3,100.00
                                                                           4         25       2021
 Mailing Address:
 535 Dean St
 City:                                                     State:        Zip Code (Plus 4):
 Brooklyn                                                  NY            112175207
 Employer Name:                                                          Occupation:
 Spotify
 Employer Mailing Address / Principal Place of Business:
 150 Greenwich St Fl 62 New York, NY 100072474
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Alexander David                                                                                      ¤500.00
                                                                            4          13     2021
 Mailing Address:
 2047 North St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191303217
 Employer Name:                                                          Occupation:
 Retired
 Employer Mailing Address / Principal Place of Business:
 2047 North St Philadelphia, PA 191303217
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Alicia Kamin                                                                                         ¤250.00
                                                                            4          26     2021
 Mailing Address:
 4930 Bennett Valley Rd
 City:                                                     State:        Zip Code (Plus 4):
 Santa Rosa                                                CA            954049581
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 4930 Bennett Valley Rd Santa Rosa, CA 954049581




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Alicia Kamin                                                                                         ¤100.00
                                                                            5          1      2021
 Mailing Address:
 4930 Bennett Valley Rd
 City:                                                     State:        Zip Code (Plus 4):
 Santa Rosa                                                CA            954049581
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 4930 Bennett Valley Rd Santa Rosa, CA 954049581
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Amanda Branson Gill                                                                                  ¤500.00
                                                                            4          22     2021
 Mailing Address:
 725 S Highland Ave
 City:                                                     State:        Zip Code (Plus 4):
 Merion Station                                            PA            190661609
 Employer Name:                                                          Occupation:
 Kilo Films
 Employer Mailing Address / Principal Place of Business:
 725 S Highland Ave Merion Station, PA 190661609
 Full Name of Contributor:                                                 MO.      DAY       YEAR
 Amy Weinberg                                                                                         ¤500.00
                                                                            5          2      2021
 Mailing Address:
 3403 Calvend Ln
 City:                                                     State:        Zip Code (Plus 4):
 Kensington                                                MD            208953108
 Employer Name:                                                          Occupation:
 University of Maryland
 Employer Mailing Address / Principal Place of Business:
 8125 Paint Branch Dr College Park, MD 20740
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Anderson Delone                                                                                      ¤500.00
                                                                            4          26     2021
 Mailing Address:
 427 Glen Echo Rd
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191192915
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 427 Glen Echo Rd Philadelphia, PA 191192915
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Andrew Cramer                                                                                       ¤1,000.00
                                                                           4         28       2021
 Mailing Address:
 1224 Hallinan St
 City:                                                     State:        Zip Code (Plus 4):
 Lake Oswego                                               OR            970344936
 Employer Name:                                                          Occupation:
 TOC
 Employer Mailing Address / Principal Place of Business:
 19250 SW 65th Ave Ste 240 Tualatin, OR 970627745




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Andrew Righter                                                                                      ¤1,000.00
                                                                           5           1      2021
 Mailing Address:
 4810 Florence Ave
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191433421
 Employer Name:                                                          Occupation:
 Comcast
 Employer Mailing Address / Principal Place of Business:
 1701 John F Kennedy Blvd Philadelphia, PA 191032833
 Full Name of Contributor:                                                 MO.      DAY       YEAR
 Andrew Rodriguez                                                                                     ¤500.00
                                                                            5          2      2021
 Mailing Address:
 70 Pond St
 City:                                                     State:        Zip Code (Plus 4):
 San Francisco                                             CA            941141607
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 70 Pond St San Francisco, CA 941141607
 Full Name of Contributor:                                                 MO.         DAY    YEAR
 Andrew Saltz                                                                                          ¤32.00
                                                                            5          3      2021
 Mailing Address:
 1332 S 10th St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191475619
 Employer Name:                                                          Occupation:
 School District of Philadelphia
 Employer Mailing Address / Principal Place of Business:
 440 N Broad St Philadelphia, PA 191304015
 Full Name of Contributor:                                                 MO.       DAY      YEAR
 Andrew Saltz                                                                                         ¤250.00
                                                                            3          31     2021
 Mailing Address:
 1332 S 10th St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191475619
 Employer Name:                                                          Occupation:
 School District of Philadelphia
 Employer Mailing Address / Principal Place of Business:
 440 N Broad St Philadelphia, PA 191304015
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Andryea Buggs                                                                                        ¤500.00
                                                                           4           6      2021
 Mailing Address:
 4635 Ivanhoe St
 City:                                                     State:        Zip Code (Plus 4):
 Houston                                                   TX            770274709
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 4635 Ivanhoe St Houston, TX 770274709




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 Full Name of Contributor:                                                 MO.      DAY       YEAR
 Angelo Andrejewski                                                                                   ¤500.00
                                                                            5          1      2021
 Mailing Address:
 77 Knox St
 City:                                                     State:        Zip Code (Plus 4):
 Hanover Township                                          PA            187064128
 Employer Name:                                                          Occupation:
 Core-Mark
 Employer Mailing Address / Principal Place of Business:
 100 W End Rd Wilkes Barre, PA 187065449
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Anissa Sharief                                                                                      ¤1,000.00
                                                                            5          2      2021
 Mailing Address:
 3319 Madera Ave
 City:                                                     State:        Zip Code (Plus 4):
 Oakland                                                   CA            946193415
 Employer Name:                                                          Occupation:
 Pleasanton Unified
 Employer Mailing Address / Principal Place of Business:
 4433 Willow Rd Pleasanton, CA 945888520
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Anita Davidson                                                                                       ¤400.00
                                                                            4          27     2021
 Mailing Address:
 1325 Mifflin St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191482120
 Employer Name:                                                          Occupation:
 Swiftly Inc.
 Employer Mailing Address / Principal Place of Business:
 611 Mission St San Francisco, CA 941053534
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Ann Cohen                                                                                            ¤750.00
                                                                           5           2      2021
 Mailing Address:
 7501 Fowler St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191284149
 Employer Name:                                                          Occupation:
 Retired
 Employer Mailing Address / Principal Place of Business:
 7501 Fowler St Philadelphia, PA 191284149
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Anne Dalke                                                                                           ¤750.00
                                                                           4           29     2021
 Mailing Address:
 903 Clinton St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191076182
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 903 Clinton St Apt 2R Philadelphia, PA 191076182




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Annie Milligan                                                                                      ¤500.00
                                                                           4           27     2021
 Mailing Address:
 136 Locust Grove Rd
 City:                                                     State:        Zip Code (Plus 4):
 Bryn Mawr                                                 PA            190101336
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 136 Locust Grove Rd Bryn Mawr, PA 190101336
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Anthony Gwynn                                                                                       ¤500.00
                                                                            5          2      2021
 Mailing Address:
 14374 Old Creek Rd
 City:                                                     State:        Zip Code (Plus 4):
 San Diego                                                 CA            921314274
 Employer Name:                                                          Occupation:
 Audacy
 Employer Mailing Address / Principal Place of Business:
 2400 Market St Fl 4 Philadelphia, PA 191033041
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Arthur Newbold                                                                                      ¤600.00
                                                                            4          1      2021
 Mailing Address:
 160 Grubb Rd
 City:                                                     State:        Zip Code (Plus 4):
 Malvern                                                   PA            193553504
 Employer Name:                                                          Occupation:
 Dechert LLP
 Employer Mailing Address / Principal Place of Business:
 2929 Arch St Philadelphia, PA 191042857
 Full Name of Contributor:                                                 MO.       DAY      YEAR
 BARBARA BLOOMFIELD                                                                                  ¤250.00
                                                                            4          12     2021
 Mailing Address:
 8634 Millman Pl
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191183717
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 8634 Millman Pl Philadelphia, PA 191183717
 Full Name of Contributor:                                                 MO.       DAY      YEAR
 BARBARA BLOOMFIELD                                                                                  ¤500.00
                                                                            4          29     2021
 Mailing Address:
 8634 Millman Pl
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191183717
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 8634 Millman Pl Philadelphia, PA 191183717




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Ben Cohen                                                                                           ¤1,000.00
                                                                           4         29       2021
 Mailing Address:
 PO Box 16564822
 City:                                                     State:        Zip Code (Plus 4):
 Sioux Falls                                               SD            571860001
 Employer Name:                                                          Occupation:
 Executive
 Employer Mailing Address / Principal Place of Business:
 30 Community Dr South Burlington, VT 054036809
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Betsy Wice                                                                                           ¤300.00
                                                                            4          23     2021
 Mailing Address:
 1901 Walnut St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191034657
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 1901 Walnut St Apt 1201 Philadelphia, PA 191034657
 Full Name of Contributor:                                                 MO.         DAY    YEAR
 Bradley Bridge                                                                                       ¤500.00
                                                                            4          12     2021
 Mailing Address:
 229 W Nippon St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191192456
 Employer Name:                                                          Occupation:
 Defender Association of Philadlephia
 Employer Mailing Address / Principal Place of Business:
 1441 Sansom St Philadelphia, PA 191023016
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Camie Velin                                                                                          ¤100.00
                                                                            5          3      2021
 Mailing Address:
 655 Baker St
 City:                                                     State:        Zip Code (Plus 4):
 Anacortes                                                 WA            98221
 Employer Name:                                                          Occupation:
 Ocsa
 Employer Mailing Address / Principal Place of Business:
 1010 N Main St Santa Ana, CA 927013602
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Camie Velin                                                                                          ¤250.00
                                                                           4           30     2021
 Mailing Address:
 655 Baker St
 City:                                                     State:        Zip Code (Plus 4):
 Anacortes                                                 WA            98221
 Employer Name:                                                          Occupation:
 Ocsa
 Employer Mailing Address / Principal Place of Business:
 1010 N Main St Santa Ana, CA 927013602




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Camie Velin                                                                                          ¤250.00
                                                                           4         28       2021
 Mailing Address:
 655 Baker St
 City:                                                     State:        Zip Code (Plus 4):
 Anacortes                                                 WA            98221
 Employer Name:                                                          Occupation:
 Ocsa
 Employer Mailing Address / Principal Place of Business:
 1010 N Main St Santa Ana, CA 927013602
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Camie Velin                                                                                         ¤1,000.00
                                                                           5           3      2021
 Mailing Address:
 655 Baker St
 City:                                                     State:        Zip Code (Plus 4):
 Anacortes                                                 WA            98221
 Employer Name:                                                          Occupation:
 Ocsa
 Employer Mailing Address / Principal Place of Business:
 1010 N Main St Santa Ana, CA 927013602
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Carl Oxholm                                                                                         ¤3,100.00
                                                                           4           27     2021
 Mailing Address:
 1 Watawga Way W
 City:                                                     State:        Zip Code (Plus 4):
 Gouldsboro                                                PA            184248706
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 1 Watawga Way W Gouldsboro, PA 184248706
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Chip Shields                                                                                        ¤3,100.00
                                                                           4         14       2021
 Mailing Address:
 4055 NE 9th Ave
 City:                                                     State:        Zip Code (Plus 4):
 Portland                                                  OR            972121216
 Employer Name:                                                          Occupation:
 Schaeffer Mfg.
 Employer Mailing Address / Principal Place of Business:
 102 Barton St Saint Louis, MO 631044728
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Christopher R. Hall                                                                                 ¤1,000.00
                                                                            4          1      2021
 Mailing Address:
 9101 Green Tree Rd
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191182619
 Employer Name:                                                          Occupation:
 Saul Ewing LLC.
 Employer Mailing Address / Principal Place of Business:
 1500 Market St Fl 38 Philadelphia, PA 191022184




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 Full Name of Contributor:                                               MO.       DAY       YEAR
 Christopher Shelton                                                                                 ¤500.00
                                                                           4          23     2021
 Mailing Address:
 1307 Edgewood Rd
 City:                                                     State:       Zip Code (Plus 4):
 Havertown                                                 PA           190834132
 Employer Name:                                                         Occupation:
 GlaxoSmithKline
 Employer Mailing Address / Principal Place of Business:
 5 Crescent Dr Philadelphia, PA 191121001
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Daniel Altman                                                                                       ¤250.00
                                                                          4         14       2021
 Mailing Address:
 1229 Waterview Dr
 City:                                                     State:       Zip Code (Plus 4):
 Mill Valley                                               CA           949413412
 Employer Name:                                                         Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 1229 Waterview Dr Mill Valley, CA 949413412
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Daniel Altman                                                                                       ¤100.00
                                                                          4           9      2021
 Mailing Address:
 1229 Waterview Dr
 City:                                                     State:       Zip Code (Plus 4):
 Mill Valley                                               CA           949413412
 Employer Name:                                                         Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 1229 Waterview Dr Mill Valley, CA 949413412
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Daniel Berger                                                                                      ¤3,100.00
                                                                           4          26     2021
 Mailing Address:
 1622 Locust St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191036305
 Employer Name:                                                         Occupation:
 Berger and Montague PC
 Employer Mailing Address / Principal Place of Business:
 1622 Locust St Philadelphia, PA 191036305
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Daniel Hoffman                                                                                      ¤500.00
                                                                          4         21       2021
 Mailing Address:
 727 Crestview Rd
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191282302
 Employer Name:                                                         Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 727 Crestview Rd Philadelphia, PA 191282302




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 Full Name of Contributor:                                               MO.       DAY       YEAR
 Darian Swig                                                                                        ¤1,000.00
                                                                          3        30        2021
 Mailing Address:
 377 Marina Blvd
 City:                                                     State:       Zip Code (Plus 4):
 San Francisco                                             CA           941231213
 Employer Name:                                                         Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 377 Marina Blvd San Francisco, CA 941231213
 Full Name of Contributor:                                                MO.      DAY       YEAR
 David Blaine Gavigan                                                                                 ¤30.00
                                                                           4          29     2021
 Mailing Address:
 1027 N Hope St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191231606
 Employer Name:                                                         Occupation:
 Everybody Hits Philadelphia
 Employer Mailing Address / Principal Place of Business:
 529 W Girard Ave Philadelphia, PA 191231428
 Full Name of Contributor:                                                MO.      DAY       YEAR
 David Blaine Gavigan                                                                                 ¤75.00
                                                                           4          29     2021
 Mailing Address:
 1027 N Hope St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191231606
 Employer Name:                                                         Occupation:
 Everybody Hits Philadelphia
 Employer Mailing Address / Principal Place of Business:
 529 W Girard Ave Philadelphia, PA 191231428
 Full Name of Contributor:                                                MO.      DAY       YEAR
 David Blaine Gavigan                                                                                ¤150.00
                                                                           4          5      2021
 Mailing Address:
 1027 N Hope St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191231606
 Employer Name:                                                         Occupation:
 Everybody Hits Philadelphia
 Employer Mailing Address / Principal Place of Business:
 529 W Girard Ave Philadelphia, PA 191231428
 Full Name of Contributor:                                               MO.       DAY       YEAR
 David Dannenberg                                                                                    ¤750.00
                                                                          4         27       2021
 Mailing Address:
 7000 Wissahickon Ave
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191193730
 Employer Name:                                                         Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 7000 Wissahickon Ave Philadelphia, PA 191193730




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Dean Strang                                                                                         ¤500.00
                                                                            4          26     2021
 Mailing Address:
 533 W Main St
 City:                                                     State:        Zip Code (Plus 4):
 Madison                                                   WI            537034731
 Employer Name:                                                          Occupation:
 StrangBradley LLC
 Employer Mailing Address / Principal Place of Business:
 33 E Main St Ste 400 Madison, WI 537033095
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Diane Harrison                                                                                      ¤500.00
                                                                           4           25     2021
 Mailing Address:
 236 Philip Pl
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191063902
 Employer Name:                                                          Occupation:
 Hiregenics
 Employer Mailing Address / Principal Place of Business:
 2400 Meadowbrook Pkwy Duluth, GA 300964635
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Diane Harrison                                                                                      ¤500.00
                                                                            5          3      2021
 Mailing Address:
 236 Philip Pl
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191063902
 Employer Name:                                                          Occupation:
 Hiregenics
 Employer Mailing Address / Principal Place of Business:
 2400 Meadowbrook Pkwy Duluth, GA 300964635
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Drick Boyd                                                                                          ¤500.00
                                                                           4           22     2021
 Mailing Address:
 2205 Windsor Cir
 City:                                                     State:        Zip Code (Plus 4):
 Broomall                                                  PA            190082207
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 2205 Windsor Cir Broomall, PA 190082207
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Ed Fischer                                                                                          ¤500.00
                                                                           4         12       2021
 Mailing Address:
 408 Vine St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191061158
 Employer Name:                                                          Occupation:
 Retired
 Employer Mailing Address / Principal Place of Business:
 408 Vine St Philadelphia, PA 191061158




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 Full Name of Contributor:                                                MO.       DAY        YEAR
 Eliot Ferguson                                                                                       ¤1,000.00
                                                                            4          30      2021
 Mailing Address:
 72 Sullivan St
 City:                                                     State:        Zip Code (Plus 4):
 Brooklyn                                                  NY            112311605
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 72 Sullivan St Brooklyn, NY 112311605
 Full Name of Contributor:                                                 MO.      DAY        YEAR
 Elizabeth Turner                                                                                      ¤500.00
                                                                            4          23      2021
 Mailing Address:
 630 Preston Pl
 City:                                                     State:        Zip Code (Plus 4):
 Charlottesville                                           VA            229032041
 Employer Name:                                                          Occupation:
 University of Virginia
 Employer Mailing Address / Principal Place of Business:
 179 Culbreth Rd Charlottesville, VA 229032446
 Full Name of Contributor:                                                 MO.         DAY     YEAR
 Ellen Tedaldi                                                                                         ¤500.00
                                                                            4          12      2021
 Mailing Address:
 421 E Gowen Ave
 City:                                                     State:         Zip Code (Plus 4):
 Philadelphia                                              PA             191191025
 Employer Name:                                                           Occupation:
 Lewis Katz School of Medicine at Temple University
 Employer Mailing Address / Principal Place of Business:
 3500 N Broad St Philadelphia, PA 191404106
 Full Name of Contributor:                                                 MO.      DAY        YEAR
 Eric Vos                                                                                              ¤500.00
                                                                            4          22      2021
 Mailing Address:
 658 Calle Union
 City:                                                     State:        Zip Code (Plus 4):
 San Juan                                                  PR            00907
 Employer Name:                                                          Occupation:
 Federal Defender of Puerto Rico
 Employer Mailing Address / Principal Place of Business:
 241 Av. Franklin Delano Roosevelt San Juan, PR 00918
 Full Name of Contributor:                                                MO.       DAY        YEAR
 Erika Dizon                                                                                          ¤1,000.00
                                                                           5           2       2021
 Mailing Address:
 518 S Pegasus Way
 City:                                                     State:        Zip Code (Plus 4):
 Saratoga Springs                                          UT            840454521
 Employer Name:                                                          Occupation:
 Evite
 Employer Mailing Address / Principal Place of Business:
 8800 W Sunset Blvd West Hollywood, CA 900692105




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Evan Husted                                                                                         ¤2,000.00
                                                                            4          13     2021
 Mailing Address:
 246 Catharine St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191473303
 Employer Name:                                                          Occupation:
 Atlantic are
 Employer Mailing Address / Principal Place of Business:
 2500 English Creek Ave Egg Harbor Township, NJ 082345549
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Evan North                                                                                           ¤500.00
                                                                            4          27     2021
 Mailing Address:
 704 Manchester Ave
 City:                                                     State:        Zip Code (Plus 4):
 Media                                                     PA            190634022
 Employer Name:                                                          Occupation:
 DLA Piper LLP (US)
 Employer Mailing Address / Principal Place of Business:
 1650 Market St Ste 5000 Philadelphia, PA 191037348
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Frank Fellman                                                                                        ¤500.00
                                                                            4          21     2021
 Mailing Address:
 1479 Gold Rush Ct
 City:                                                     State:        Zip Code (Plus 4):
 Oakdale                                                   CA            953618868
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 1479 Gold Rush Ct Oakdale, CA 953618868
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Gordon Myers                                                                                         ¤500.00
                                                                           4           24     2021
 Mailing Address:
 5129 Scarsdale Rd
 City:                                                     State:        Zip Code (Plus 4):
 Bethesda                                                  MD            208162320
 Employer Name:                                                          Occupation:
 IFC
 Employer Mailing Address / Principal Place of Business:
 2121 Pennsylvania Ave NW Washington, DC 204330005
 Full Name of Contributor:                                                 MO.         DAY    YEAR
 Gordon Veneklasen                                                                                    ¤500.00
                                                                            4          26     2021
 Mailing Address:
 7 MacDougal Aly
 City:                                                     State:        Zip Code (Plus 4):
 New York                                                  NY            100119103
 Employer Name:                                                          Occupation:
 Michael Werner Inc
 Employer Mailing Address / Principal Place of Business:
 4 E 77th St Fl 2 New York, NY 100751727




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 Full Name of Contributor:                                               MO.       DAY       YEAR
 Howard Scher                                                                                       ¤500.00
                                                                           4          29     2021
 Mailing Address:
 130 S 18th St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191034945
 Employer Name:                                                         Occupation:
 Buchanan Ingersoll & Rooney
 Employer Mailing Address / Principal Place of Business:
 50 S 16th St Ste 3200 Philadelphia, PA 191022555
 Full Name of Contributor:                                               MO.       DAY       YEAR
 I-Perfection Harris                                                                                ¤500.00
                                                                          4        28        2021
 Mailing Address:
 5609 Rapallo Ter
 City:                                                     State:       Zip Code (Plus 4):
 Sugar Hill                                                GA           305186157
 Employer Name:                                                         Occupation:
 Self Employed
 Employer Mailing Address / Principal Place of Business:
 5609 Rapallo Ter Sugar Hill, GA 305186157
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Isabelle Buonocore                                                                                 ¤200.00
                                                                          4        15        2021
 Mailing Address:
 116 Carpenter St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191474264
 Employer Name:                                                         Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 116 Carpenter St Rear 1 Philadelphia, PA 191474264
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Isabelle Buonocore                                                                                 ¤100.00
                                                                          4        22        2021
 Mailing Address:
 116 Carpenter St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191474264
 Employer Name:                                                         Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 116 Carpenter St Rear 1 Philadelphia, PA 191474264
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Isabelle Buonocore                                                                                 ¤100.00
                                                                          5           2      2021
 Mailing Address:
 116 Carpenter St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191474264
 Employer Name:                                                         Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 116 Carpenter St Rear 1 Philadelphia, PA 191474264




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 Full Name of Contributor:                                               MO.       DAY       YEAR
 Jamarah Hayner                                                                                     ¤1,000.00
                                                                          4        22        2021
 Mailing Address:
 707 E Ocean Blvd
 City:                                                     State:       Zip Code (Plus 4):
 Long Beach                                                CA           908025181
 Employer Name:                                                         Occupation:
 JKH Consulting
 Employer Mailing Address / Principal Place of Business:
 1240 Rosecrans Ave Ste 120 Manhattan Beach, CA 902662558
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Jayne Atkinson-Gill                                                                                 ¤100.00
                                                                          4         26       2021
 Mailing Address:
 2 Knob Hl
 City:                                                     State:       Zip Code (Plus 4):
 Great Barrington                                          MA           012301015
 Employer Name:                                                         Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 2 Knob Hl Great Barrington, MA 012301015
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Jayne Atkinson-Gill                                                                                 ¤250.00
                                                                          4         29       2021
 Mailing Address:
 2 Knob Hl
 City:                                                     State:       Zip Code (Plus 4):
 Great Barrington                                          MA           012301015
 Employer Name:                                                         Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 2 Knob Hl Great Barrington, MA 012301015
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Jayne Atkinson-Gill                                                                                 ¤100.00
                                                                          5           3      2021
 Mailing Address:
 2 Knob Hl
 City:                                                     State:       Zip Code (Plus 4):
 Great Barrington                                          MA           012301015
 Employer Name:                                                         Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 2 Knob Hl Great Barrington, MA 012301015
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Jennifer Gale                                                                                       ¤500.00
                                                                          4         27       2021
 Mailing Address:
 7808 Lee Ave
 City:                                                     State:       Zip Code (Plus 4):
 Alexandria                                                VA           223081005
 Employer Name:                                                         Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 7808 Lee Ave Alexandria, VA 223081005




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Jenny Overman                                                                                        ¤500.00
                                                                            4          27     2021
 Mailing Address:
 2350 Vine St
 City:                                                     State:        Zip Code (Plus 4):
 Berkeley                                                  CA            947081835
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 2350 Vine St Berkeley, CA 947081835
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Joanna Oneal                                                                                         ¤500.00
                                                                           4           26     2021
 Mailing Address:
 6982 Peace Pipe Ct
 City:                                                     State:        Zip Code (Plus 4):
 Reno                                                      NV            895115676
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 6982 Peace Pipe Ct Reno, NV 895115676
 Full Name of Contributor:                                                MO.       DAY       YEAR
 John Creuzot                                                                                         ¤500.00
                                                                           4           21     2021
 Mailing Address:
 8185 San Leandro Dr
 City:                                                     State:        Zip Code (Plus 4):
 Dallas                                                    TX            752184404
 Employer Name:                                                          Occupation:
 Texas
 Employer Mailing Address / Principal Place of Business:
 133 N Riverfront Blvd LB 19 Dallas, TX 752074300
 Full Name of Contributor:                                                 MO.         DAY    YEAR
 John Hoffmeyer                                                                                      ¤1,100.00
                                                                            5          1      2021
 Mailing Address:
 7301 Germantown Ave
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191191726
 Employer Name:                                                          Occupation:
 Lutheran Theological Seminary
 Employer Mailing Address / Principal Place of Business:
 7301 Germantown Ave Philadelphia, PA 191191726
 Full Name of Contributor:                                                 MO.       DAY      YEAR
 John Shegda                                                                                         ¤2,500.00
                                                                            4          26     2021
 Mailing Address:
 2220 Cornwall Rd
 City:                                                     State:        Zip Code (Plus 4):
 Charlottesville                                           VA            229017708
 Employer Name:                                                          Occupation:
 See Management
 Employer Mailing Address / Principal Place of Business:
 307 7th Ave Rm 1607 New York, NY 100016043




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 Full Name of Contributor:                                                MO.      DAY       YEAR
 John Summers                                                                                       ¤2,500.00
                                                                           4          27     2021
 Mailing Address:
 2322 Pine St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191036415
 Employer Name:                                                         Occupation:
 Hangley Aronchick
 Employer Mailing Address / Principal Place of Business:
 1 Logan Sq Fl 27 Philadelphia, PA 191036910
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Jolley Bruce Christman                                                                              ¤500.00
                                                                           5          3      2021
 Mailing Address:
 1933 Pine St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191036616
 Employer Name:                                                         Occupation:
 Retired
 Employer Mailing Address / Principal Place of Business:
 210 S 25th St Unit 1203 Philadelphia, PA 191035877
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Jose Ongay                                                                                          ¤500.00
                                                                          4           27     2021
 Mailing Address:
 600 W Germantown Pike
 City:                                                     State:       Zip Code (Plus 4):
 Plymouth Meeting                                          PA           194621046
 Employer Name:                                                         Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 600 W Germantown Pike Ste 400 Plymouth Meeting, PA 194621046
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Joshua Mailman                                                                                     ¤1,000.00
                                                                           4          15     2021
 Mailing Address:
 115 Tower Hill Rd W
 City:                                                     State:       Zip Code (Plus 4):
 Tuxedo Park                                               NY           109874201
 Employer Name:                                                         Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 115 Tower Hill Rd W Tuxedo Park, NY 109874201
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Judith Perlman                                                                                     ¤1,000.00
                                                                           4          23     2021
 Mailing Address:
 430 Clavey Ln
 City:                                                     State:       Zip Code (Plus 4):
 Highland Park                                             IL           600354531
 Employer Name:                                                         Occupation:
 Retired
 Employer Mailing Address / Principal Place of Business:
 430 Clavey Ln Highland Park, IL 600354531




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Judith Perlman                                                                                      ¤100.00
                                                                            4          23     2021
 Mailing Address:
 430 Clavey Ln
 City:                                                     State:        Zip Code (Plus 4):
 Highland Park                                             IL            600354531
 Employer Name:                                                          Occupation:
 Retired
 Employer Mailing Address / Principal Place of Business:
 430 Clavey Ln Highland Park, IL 600354531
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Karl Schwartz                                                                                       ¤100.00
                                                                           4           14     2021
 Mailing Address:
 8220 Cadwalader Ave
 City:                                                     State:        Zip Code (Plus 4):
 Elkins Park                                               PA            190272406
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 718 Arch St Ste 702N Philadelphia, PA 191061530
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Karl Schwartz                                                                                       ¤400.00
                                                                           4           22     2021
 Mailing Address:
 8220 Cadwalader Ave
 City:                                                     State:        Zip Code (Plus 4):
 Elkins Park                                               PA            190272406
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 718 Arch St Ste 702N Philadelphia, PA 191061530
 Full Name of Contributor:                                                 MO.       DAY      YEAR
 Katherine Barnes                                                                                    ¤500.00
                                                                            4          14     2021
 Mailing Address:
 950 N 6th Ave
 City:                                                     State:        Zip Code (Plus 4):
 Tucson                                                    AZ            857057727
 Employer Name:                                                          Occupation:
 University of Arizona
 Employer Mailing Address / Principal Place of Business:
 PO Box 210176 Tucson, AZ 857210176
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Kathy Sutton                                                                                        ¤500.00
                                                                           5           3      2021
 Mailing Address:
 418 Wellesley Rd
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191192907
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 418 Wellesley Rd Philadelphia, PA 191192907




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Katie Stoll                                                                                          ¤500.00
                                                                           4         27       2021
 Mailing Address:
 4727 E Exeter Blvd
 City:                                                     State:        Zip Code (Plus 4):
 Phoenix                                                   AZ            850182841
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 4727 E Exeter Blvd Phoenix, AZ 850182841
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Kelly Davis                                                                                         ¤1,000.00
                                                                            5          3      2021
 Mailing Address:
 2207 Rittenhouse Sq
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191035504
 Employer Name:                                                          Occupation:
 Liftline Consulting
 Employer Mailing Address / Principal Place of Business:
 2207 Rittenhouse Sq Philadelphia, PA 191035504
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Kevin Flahaut                                                                                       ¤1,000.00
                                                                           4           27     2021
 Mailing Address:
 121 Saint Brides Rd W
 City:                                                     State:        Zip Code (Plus 4):
 Chesapeake                                                VA            233222350
 Employer Name:                                                          Occupation:
 Rocketgenius Inc.
 Employer Mailing Address / Principal Place of Business:
 1620 Centerville Tpke Ste 102 Virginia Beach, VA 234646500
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Larry Gross                                                                                          ¤500.00
                                                                            4          14     2021
 Mailing Address:
 329 S Sycamore Ave
 City:                                                     State:        Zip Code (Plus 4):
 Los Angeles                                               CA            900363005
 Employer Name:                                                          Occupation:
 U of Southern CA
 Employer Mailing Address / Principal Place of Business:
 3502 Watt Way Los Angeles, CA 900890054
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Laura Sanborn                                                                                        ¤250.00
                                                                            4          20     2021
 Mailing Address:
 192 Hall Dr
 City:                                                     State:        Zip Code (Plus 4):
 Orinda                                                    CA            945633655
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 192 Hall Dr Orinda, CA 945633655




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Laura Sanborn                                                                                         ¤50.00
                                                                            4          26     2021
 Mailing Address:
 192 Hall Dr
 City:                                                     State:        Zip Code (Plus 4):
 Orinda                                                    CA            945633655
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 192 Hall Dr Orinda, CA 945633655
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Lawrence Hess                                                                                       ¤3,100.00
                                                                           4         12       2021
 Mailing Address:
 6309 Cypress Point Rd
 City:                                                     State:        Zip Code (Plus 4):
 San Diego                                                 CA            921203816
 Employer Name:                                                          Occupation:
 Retired
 Employer Mailing Address / Principal Place of Business:
 6309 Cypress Point Rd San Diego, CA 921203816
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Lee Pauley                                                                                          ¤1,000.00
                                                                            4          27     2021
 Mailing Address:
 140 M St NE
 City:                                                     State:        Zip Code (Plus 4):
 Washington                                                DC            200023370
 Employer Name:                                                          Occupation:
 All American Papers DC
 Employer Mailing Address / Principal Place of Business:
 1334 N Capitol St NW Washington, DC 200023318
 Full Name of Contributor:                                                 MO.         DAY    YEAR
 Leonard Nakamura                                                                                     ¤500.00
                                                                            4          26     2021
 Mailing Address:
 526 Westview St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191193528
 Employer Name:                                                          Occupation:
 Federal Reserve Bank of Philadelphia
 Employer Mailing Address / Principal Place of Business:
 10 N Independence Mall W Philadelphia, PA 191061574
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Leslie Schlessinger                                                                                  ¤100.00
                                                                            5          3      2021
 Mailing Address:
 540 W Mermaid Ln
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191184206
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 540 W Mermaid Ln Philadelphia, PA 191184206




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Leslie Schlessinger                                                                                 ¤150.00
                                                                            4          22     2021
 Mailing Address:
 540 W Mermaid Ln
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191184206
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 540 W Mermaid Ln Philadelphia, PA 191184206
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Leslie Schlessinger                                                                                  ¤50.00
                                                                            4          26     2021
 Mailing Address:
 540 W Mermaid Ln
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191184206
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 540 W Mermaid Ln Philadelphia, PA 191184206
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Leslie Schlessinger                                                                                  ¤75.00
                                                                            4          27     2021
 Mailing Address:
 540 W Mermaid Ln
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191184206
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 540 W Mermaid Ln Philadelphia, PA 191184206
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Leslie Schlessinger                                                                                  ¤50.00
                                                                            5          2      2021
 Mailing Address:
 540 W Mermaid Ln
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191184206
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 540 W Mermaid Ln Philadelphia, PA 191184206
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Linda Howe                                                                                          ¤500.00
                                                                           5           3      2021
 Mailing Address:
 3806 W Armour St
 City:                                                     State:        Zip Code (Plus 4):
 Seattle                                                   WA            981993115
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 3806 W Armour St Seattle, WA 981993115




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Liv Dillon                                                                                          ¤2,500.00
                                                                           4        17        2021
 Mailing Address:
 2483 W 16th St
 City:                                                     State:        Zip Code (Plus 4):
 Brooklyn                                                  NY            112147004
 Employer Name:                                                          Occupation:
 City of New York
 Employer Mailing Address / Principal Place of Business:
 411 Pearl St New York, NY 100381432
 Full Name of Contributor:                                                 MO.      DAY       YEAR
 Marc Krupanski                                                                                        ¤25.00
                                                                            4          28     2021
 Mailing Address:
 152 Lincoln St
 City:                                                     State:        Zip Code (Plus 4):
 Montclair                                                 NJ            070424431
 Employer Name:                                                          Occupation:
 Open Society Foundations
 Employer Mailing Address / Principal Place of Business:
 224 W 57th St New York, NY 100193212
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Marc Krupanski                                                                                       ¤250.00
                                                                            4          15     2021
 Mailing Address:
 152 Lincoln St
 City:                                                     State:        Zip Code (Plus 4):
 Montclair                                                 NJ            070424431
 Employer Name:                                                          Occupation:
 Open Society Foundations
 Employer Mailing Address / Principal Place of Business:
 224 W 57th St New York, NY 100193212
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Margaret Lenzi                                                                                         ¤8.00
                                                                            4          2      2021
 Mailing Address:
 7213 Cresheim Rd
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191192424
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 7213 Cresheim Rd Philadelphia, PA 191192424
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Margaret Lenzi                                                                                       ¤250.00
                                                                            4          7      2021
 Mailing Address:
 7213 Cresheim Rd
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191192424
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 7213 Cresheim Rd Philadelphia, PA 191192424




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Marian B Tasco                                                                                       ¤250.00
                                                                            4          15     2021
 Mailing Address:
 1000 E Vernon Rd
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191503124
 Employer Name:                                                          Occupation:
 Retired
 Employer Mailing Address / Principal Place of Business:
 1000 E Vernon Rd Philadelphia, PA 191503124
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Marian B Tasco                                                                                       ¤300.00
                                                                            5          3      2021
 Mailing Address:
 1000 E Vernon Rd
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191503124
 Employer Name:                                                          Occupation:
 Retired
 Employer Mailing Address / Principal Place of Business:
 1000 E Vernon Rd Philadelphia, PA 191503124
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Marina Adams                                                                                        ¤1,000.00
                                                                           4         27       2021
 Mailing Address:
 32 Cooper Sq
 City:                                                     State:        Zip Code (Plus 4):
 New York                                                  NY            100037117
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 32 Cooper Sq Apt 5 New York, NY 100037117
 Full Name of Contributor:                                                 MO.      DAY       YEAR
 Marion Brown                                                                                         ¤250.00
                                                                            5          3      2021
 Mailing Address:
 553 Penny Ln
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191111201
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 553 Penny Ln Philadelphia, PA 191111201
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Marion Brown                                                                                         ¤200.00
                                                                            3          31     2021
 Mailing Address:
 553 Penny Ln
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191111201
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 553 Penny Ln Philadelphia, PA 191111201




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 Full Name of Contributor:                                                 MO.      DAY       YEAR
 Mark Aronchick                                                                                      ¤2,000.00
                                                                            4          26     2021
 Mailing Address:
 1116 Penshurst Ln
 City:                                                     State:        Zip Code (Plus 4):
 Penn Valley                                               PA            190721226
 Employer Name:                                                          Occupation:
 Hangley Aronchick
 Employer Mailing Address / Principal Place of Business:
 1 Logan Sq Fl 27 Philadelphia, PA 191036910
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Mel Heifetz                                                                                         ¤1,000.00
                                                                           4         21       2021
 Mailing Address:
 304 S 12th St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191075908
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 304 S 12th St Philadelphia, PA 191075908
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Mel Heifetz                                                                                         ¤1,000.00
                                                                           4         26       2021
 Mailing Address:
 304 S 12th St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191075908
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 304 S 12th St Philadelphia, PA 191075908
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Memesha Davis                                                                                        ¤250.00
                                                                            4          27     2021
 Mailing Address:
 431 Franklin Ave
 City:                                                     State:        Zip Code (Plus 4):
 Brooklyn                                                  NY            112382014
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 431 Franklin Ave Brooklyn, NY 112382014
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Memesha Davis                                                                                        ¤100.00
                                                                            4          26     2021
 Mailing Address:
 431 Franklin Ave
 City:                                                     State:        Zip Code (Plus 4):
 Brooklyn                                                  NY            112382014
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 431 Franklin Ave Brooklyn, NY 112382014




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 Full Name of Contributor:                                                 MO.         DAY     YEAR
 Micaela Root                                                                                          ¤500.00
                                                                            5           3      2021
 Mailing Address:
 1222 Titan St
 City:                                                     State:         Zip Code (Plus 4):
 Philadelphia                                              PA             191474508
 Employer Name:                                                           Occupation:
 Philadelphia Department of Public Health
 Employer Mailing Address / Principal Place of Business:
 1101 Market St Philadelphia, PA 191072934
 Full Name of Contributor:                                                MO.       DAY        YEAR
 Michael Coard                                                                                         ¤100.00
                                                                           5           2       2021
 Mailing Address:
 3623 N Percy St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191404325
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 1650 Market St Fl 36 Philadelphia, PA 19103
 Full Name of Contributor:                                                MO.       DAY        YEAR
 Michael Coard                                                                                         ¤100.00
                                                                           4           6       2021
 Mailing Address:
 3623 N Percy St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191404325
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 1650 Market St Fl 36 Philadelphia, PA 19103
 Full Name of Contributor:                                                MO.       DAY        YEAR
 Michael Coard                                                                                         ¤100.00
                                                                           4           2       2021
 Mailing Address:
 3623 N Percy St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191404325
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 1650 Market St Fl 36 Philadelphia, PA 19103
 Full Name of Contributor:                                                MO.       DAY        YEAR
 Michael Novogratz                                                                                    ¤3,000.00
                                                                            4          16      2021
 Mailing Address:
 77 Water St
 City:                                                     State:        Zip Code (Plus 4):
 New York                                                  NY            100054414
 Employer Name:                                                          Occupation:
 Galaxy Digital LP
 Employer Mailing Address / Principal Place of Business:
 107 Grand St New York, NY 100135903




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Michael Wall                                                                                        ¤1,000.00
                                                                           4         12       2021
 Mailing Address:
 808 S Warren Ave
 City:                                                     State:        Zip Code (Plus 4):
 Malvern                                                   PA            193553444
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 808 S Warren Ave Malvern, PA 193553444
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Michael Wiseman                                                                                      ¤500.00
                                                                            4          14     2021
 Mailing Address:
 406 N Swarthmore Ave
 City:                                                     State:        Zip Code (Plus 4):
 Swarthmore                                                PA            190811417
 Employer Name:                                                          Occupation:
 Wiseman & Schwartz
 Employer Mailing Address / Principal Place of Business:
 718 Arch St Ste 702 Philadelphia, PA 191061528
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Mira Baylson                                                                                         ¤500.00
                                                                            4          20     2021
 Mailing Address:
 4120 Apalogen Rd
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191295504
 Employer Name:                                                          Occupation:
 Drinker Biddle & Reath
 Employer Mailing Address / Principal Place of Business:
 1 Logan Sq Ste 2000 Philadelphia, PA 191036909
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Nancy Fullam                                                                                         ¤500.00
                                                                           5           3      2021
 Mailing Address:
 24 Coventry Rd
 City:                                                     State:        Zip Code (Plus 4):
 Concord                                                   NH            033013027
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 24 Coventry Rd Concord, NH 033013027
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Nancy Winkelman                                                                                      ¤500.00
                                                                            4          10     2021
 Mailing Address:
 650 S 51st St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191432259
 Employer Name:                                                          Occupation:
 City of Philadelphia
 Employer Mailing Address / Principal Place of Business:
 3 S Penn Sq Philadelphia, PA 191073407




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Natalia Uribe                                                                                       ¤500.00
                                                                           4           27     2021
 Mailing Address:
 12300 SW 104th Ter
 City:                                                     State:        Zip Code (Plus 4):
 Miami                                                     FL            331863615
 Employer Name:                                                          Occupation:
 JTCHS
 Employer Mailing Address / Principal Place of Business:
 5607 NW 27th Ave Ste 1 Miami, FL 331422826
 Full Name of Contributor:                                                 MO.      DAY       YEAR
 Natalie Hadaway                                                                                     ¤500.00
                                                                            5          1      2021
 Mailing Address:
 15190 NW 6th Ct
 City:                                                     State:        Zip Code (Plus 4):
 Pembroke Pines                                            FL            330281830
 Employer Name:                                                          Occupation:
 Envision
 Employer Mailing Address / Principal Place of Business:
 1005 N 35th Ave Hollywood, FL 330215402
 Full Name of Contributor:                                                 MO.       DAY      YEAR
 Neilay Shah                                                                                         ¤150.00
                                                                            5          3      2021
 Mailing Address:
 28649 Weybridge Dr
 City:                                                     State:        Zip Code (Plus 4):
 Westlake                                                  OH            441456754
 Employer Name:                                                          Occupation:
 Broad Street Movers
 Employer Mailing Address / Principal Place of Business:
 960 N 2nd St Philadelphia, PA 191232313
 Full Name of Contributor:                                                 MO.       DAY      YEAR
 Neilay Shah                                                                                         ¤100.00
                                                                            4          24     2021
 Mailing Address:
 28649 Weybridge Dr
 City:                                                     State:        Zip Code (Plus 4):
 Westlake                                                  OH            441456754
 Employer Name:                                                          Occupation:
 Broad Street Movers
 Employer Mailing Address / Principal Place of Business:
 960 N 2nd St Philadelphia, PA 191232313
 Full Name of Contributor:                                                 MO.       DAY      YEAR
 Neilay Shah                                                                                          ¤50.00
                                                                            4          9      2021
 Mailing Address:
 28649 Weybridge Dr
 City:                                                     State:        Zip Code (Plus 4):
 Westlake                                                  OH            441456754
 Employer Name:                                                          Occupation:
 Broad Street Movers
 Employer Mailing Address / Principal Place of Business:
 960 N 2nd St Philadelphia, PA 191232313




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Olga McGarity                                                                                       ¤250.00
                                                                            4          16     2021
 Mailing Address:
 4436 Dexter St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191284823
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 4436 Dexter St Philadelphia, PA 191284823
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Olga McGarity                                                                                        ¤25.00
                                                                            4          29     2021
 Mailing Address:
 4436 Dexter St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191284823
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 4436 Dexter St Philadelphia, PA 191284823
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Olga McGarity                                                                                       ¤200.00
                                                                            4          29     2021
 Mailing Address:
 4436 Dexter St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191284823
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 4436 Dexter St Philadelphia, PA 191284823
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Olga McGarity                                                                                        ¤50.00
                                                                            4          21     2021
 Mailing Address:
 4436 Dexter St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191284823
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 4436 Dexter St Philadelphia, PA 191284823
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Patricia Skuster                                                                                    ¤300.00
                                                                           4         21       2021
 Mailing Address:
 309 Wellesley Rd
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191192906
 Employer Name:                                                          Occupation:
 Ipas
 Employer Mailing Address / Principal Place of Business:
 300 Market St Chapel Hill, NC 275164493




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Paul George                                                                                         ¤500.00
                                                                            4          7      2021
 Mailing Address:
 7720A Stenton Ave
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191183118
 Employer Name:                                                          Occupation:
 Philadelphia DA office
 Employer Mailing Address / Principal Place of Business:
 3 S Penn Sq Philadelphia, PA 191073407
 Full Name of Contributor:                                                MO.       DAY       YEAR
 R.C. Tussey                                                                                         ¤500.00
                                                                           4           1      2021
 Mailing Address:
 702 Fort Crook Rd
 City:                                                     State:        Zip Code (Plus 4):
 Bellevue                                                  NE            68005
 Employer Name:                                                          Occupation:
 Retired
 Employer Mailing Address / Principal Place of Business:
 702 Fort Crook Rd Ste 201 Bellevue, NE 68005
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Ramana Lagemann                                                                                     ¤500.00
                                                                            4          28     2021
 Mailing Address:
 44 Huckleberry
 City:                                                     State:        Zip Code (Plus 4):
 Lincoln                                                   MA            01773
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 44 Huckleberry Lincoln, MA 01773
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Rebecca Harrington                                                                                  ¤300.00
                                                                            5          1      2021
 Mailing Address:
 178 Trewin School Rd
 City:                                                     State:        Zip Code (Plus 4):
 Park City                                                 MT            590638020
 Employer Name:                                                          Occupation:
 REI Co-op
 Employer Mailing Address / Principal Place of Business:
 711 Henry Chapple St Billings, MT 591061846
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Rebecca Spencer                                                                                     ¤500.00
                                                                            4          26     2021
 Mailing Address:
 145 Spring House Rd
 City:                                                     State:        Zip Code (Plus 4):
 Fairfield                                                 CT            068242161
 Employer Name:                                                          Occupation:
 Lofts125 Landlord
 Employer Mailing Address / Principal Place of Business:
 125 Goff Ave Pawtucket, RI 028602994




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 Full Name of Contributor:                                               MO.       DAY       YEAR
 Reesa F Anderson                                                                                   ¤1,000.00
                                                                          4        26        2021
 Mailing Address:
 534 Telner St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191184214
 Employer Name:                                                         Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 534 Telner St Philadelphia, PA 191184214
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Richard Brand                                                                                        ¤50.00
                                                                          5           1      2021
 Mailing Address:
 1224 Panama St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191075920
 Employer Name:                                                         Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 1224 Panama St Philadelphia, PA 191075920
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Richard Brand                                                                                       ¤250.00
                                                                          4        25        2021
 Mailing Address:
 1224 Panama St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191075920
 Employer Name:                                                         Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 1224 Panama St Philadelphia, PA 191075920
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Richard Dieter                                                                                      ¤200.00
                                                                           4          14     2021
 Mailing Address:
 12403 Denley Rd
 City:                                                     State:       Zip Code (Plus 4):
 Silver Spring                                             MD           209063805
 Employer Name:                                                         Occupation:
 Death Penalty Information Center
 Employer Mailing Address / Principal Place of Business:
 1701 K St NW Ste 205 Washington, DC 200061538
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Richard Dieter                                                                                      ¤100.00
                                                                           4          21     2021
 Mailing Address:
 12403 Denley Rd
 City:                                                     State:       Zip Code (Plus 4):
 Silver Spring                                             MD           209063805
 Employer Name:                                                         Occupation:
 Death Penalty Information Center
 Employer Mailing Address / Principal Place of Business:
 1701 K St NW Ste 205 Washington, DC 200061538




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 Full Name of Contributor:                                               MO.       DAY       YEAR
 Richard Dieter                                                                                      ¤100.00
                                                                           5          2      2021
 Mailing Address:
 12403 Denley Rd
 City:                                                     State:       Zip Code (Plus 4):
 Silver Spring                                             MD           209063805
 Employer Name:                                                         Occupation:
 Death Penalty Information Center
 Employer Mailing Address / Principal Place of Business:
 1701 K St NW Ste 205 Washington, DC 200061538
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Robert Bessin                                                                                      ¤1,000.00
                                                                          4        23        2021
 Mailing Address:
 2138 Deodara Dr
 City:                                                     State:       Zip Code (Plus 4):
 Los Altos                                                 CA           940247237
 Employer Name:                                                         Occupation:
 Woodside Priory School
 Employer Mailing Address / Principal Place of Business:
 302 Portola Rd Portola Valley, CA 940287851
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Robert Williams                                                                                    ¤3,100.00
                                                                          4         28       2021
 Mailing Address:
 1450 Brickell Ave
 City:                                                     State:       Zip Code (Plus 4):
 Miami                                                     FL           331313444
 Employer Name:                                                         Occupation:
 Dream Chasers Touring LLC
 Employer Mailing Address / Principal Place of Business:
 529 5th Ave New York, NY 100174608
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Roberta D Pichini                                                                                   ¤100.00
                                                                          5           3      2021
 Mailing Address:
 130 S 18th St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191034931
 Employer Name:                                                         Occupation:
 Feldman Shepherd
 Employer Mailing Address / Principal Place of Business:
 1845 Walnut St Fl 21 Philadelphia, PA 191034720
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Roberta D Pichini                                                                                   ¤500.00
                                                                          3        30        2021
 Mailing Address:
 130 S 18th St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191034931
 Employer Name:                                                         Occupation:
 Feldman Shepherd
 Employer Mailing Address / Principal Place of Business:
 1845 Walnut St Fl 21 Philadelphia, PA 191034720




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 Full Name of Contributor:                                                 MO.       DAY      YEAR
 Ronald Greenblatt                                                                                   ¤1,000.00
                                                                            4          14     2021
 Mailing Address:
 225 Haddon Ave
 City:                                                     State:        Zip Code (Plus 4):
 Haddon Township                                           NJ            081082662
 Employer Name:                                                          Occupation:
 Greenblatt Pierce Funt & Flores LLC
 Employer Mailing Address / Principal Place of Business:
 123 S Broad St Ste 2500 Philadelphia, PA 191096600
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Rosemarie Retacco                                                                                    ¤200.00
                                                                            4          21     2021
 Mailing Address:
 767 N Croskey St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191302607
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 767 N Croskey St Philadelphia, PA 191302607
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Rosemarie Retacco                                                                                    ¤100.00
                                                                            5          2      2021
 Mailing Address:
 767 N Croskey St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191302607
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 767 N Croskey St Philadelphia, PA 191302607
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Rosemary Batcheller                                                                                 ¤1,000.00
                                                                           4         26       2021
 Mailing Address:
 1005 Bay Ave
 City:                                                     State:        Zip Code (Plus 4):
 Mattituck                                                 NY            119521872
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 1005 Bay Ave Mattituck, NY 119521872
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Ryan Miller                                                                                          ¤500.00
                                                                            3          30     2021
 Mailing Address:
 220 Locust St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191060160
 Employer Name:                                                          Occupation:
 Fox Rothschild LLP
 Employer Mailing Address / Principal Place of Business:
 2000 Market St Fl 10 Philadelphia, PA 191037006




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Samuel Gross                                                                                        ¤2,000.00
                                                                            4          27     2021
 Mailing Address:
 422 Huntington Pl
 City:                                                     State:        Zip Code (Plus 4):
 Ann Arbor                                                 MI            481041800
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 625 S State St Ann Arbor, MI 481091215
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Samuel Gross                                                                                         ¤500.00
                                                                            4          14     2021
 Mailing Address:
 422 Huntington Pl
 City:                                                     State:        Zip Code (Plus 4):
 Ann Arbor                                                 MI            481041800
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 625 S State St Ann Arbor, MI 481091215
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Sara Atkins                                                                                          ¤300.00
                                                                            4          23     2021
 Mailing Address:
 145 Rock Glen Rd
 City:                                                     State:        Zip Code (Plus 4):
 Wynnewood                                                 PA            190963213
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 145 Rock Glen Rd Wynnewood, PA 190963213
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Sarah Anton                                                                                          ¤500.00
                                                                           4           15     2021
 Mailing Address:
 917 Federal St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191475050
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 917 Federal St Philadelphia, PA 191475050
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Sarah Kloss                                                                                          ¤500.00
                                                                            4          1      2021
 Mailing Address:
 1333 S 10th St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191475618
 Employer Name:                                                          Occupation:
 US EPA
 Employer Mailing Address / Principal Place of Business:
 1650 Arch St Philadelphia, PA 191032004




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 Full Name of Contributor:                                                 MO.         DAY     YEAR
 Sarah Lincoln                                                                                         ¤100.00
                                                                            4          26      2021
 Mailing Address:
 556 Quaker St
 City:                                                     State:         Zip Code (Plus 4):
 North Ferrisburgh                                         VT             054737016
 Employer Name:                                                           Occupation:
 The Schoolhouse Learning Center
 Employer Mailing Address / Principal Place of Business:
 8 Catkin Dr South Burlington, VT 054033001
 Full Name of Contributor:                                                 MO.         DAY     YEAR
 Sarah Lincoln                                                                                         ¤250.00
                                                                            5           1      2021
 Mailing Address:
 556 Quaker St
 City:                                                     State:         Zip Code (Plus 4):
 North Ferrisburgh                                         VT             054737016
 Employer Name:                                                           Occupation:
 The Schoolhouse Learning Center
 Employer Mailing Address / Principal Place of Business:
 8 Catkin Dr South Burlington, VT 054033001
 Full Name of Contributor:                                                 MO.         DAY     YEAR
 Sarah Lincoln                                                                                         ¤250.00
                                                                            4          27      2021
 Mailing Address:
 556 Quaker St
 City:                                                     State:         Zip Code (Plus 4):
 North Ferrisburgh                                         VT             054737016
 Employer Name:                                                           Occupation:
 The Schoolhouse Learning Center
 Employer Mailing Address / Principal Place of Business:
 8 Catkin Dr South Burlington, VT 054033001
 Full Name of Contributor:                                                MO.       DAY        YEAR
 Sarah O'Neill                                                                                        ¤1,000.00
                                                                           4         22        2021
 Mailing Address:
 79 Washington Pl
 City:                                                     State:        Zip Code (Plus 4):
 New York                                                  NY            100119137
 Employer Name:                                                          Occupation:
 Retired
 Employer Mailing Address / Principal Place of Business:
 79 Washington Pl Apt 8R New York, NY 100119137
 Full Name of Contributor:                                                 MO.         DAY     YEAR
 Saul Ewing Arnstein & Lehr LLP                                                                       ¤1,000.00
                                                                            4          26      2021
 Mailing Address:
 1500 Market St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191022184
 Employer Name:                                                          Occupation:


 Employer Mailing Address / Principal Place of Business:




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Shamika Madison                                                                                     ¤1,000.00
                                                                            4          18     2021
 Mailing Address:
 1701 Webster St
 City:                                                     State:        Zip Code (Plus 4):
 Houston                                                   TX            770035800
 Employer Name:                                                          Occupation:
 Midtown Specialty Rx
 Employer Mailing Address / Principal Place of Business:
 1701 Webster St Houston, TX 770035849
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Sharp Hall                                                                                           ¤500.00
                                                                           5           3      2021
 Mailing Address:
 5025 Walton Ave
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191431629
 Employer Name:                                                          Occupation:
 Azavea Inc
 Employer Mailing Address / Principal Place of Business:
 990 Spring Garden St Fl 5 Philadelphia, PA 191232639
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Sheila Weinberg                                                                                      ¤250.00
                                                                            4          7      2021
 Mailing Address:
 7720C Stenton Ave
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191183129
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 7720C Stenton Ave Apt 109 Philadelphia, PA 191183129
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Sheila Weinberg                                                                                      ¤100.00
                                                                            5          2      2021
 Mailing Address:
 7720C Stenton Ave
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191183129
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 7720C Stenton Ave Apt 109 Philadelphia, PA 191183129
 Full Name of Contributor:                                                 MO.      DAY       YEAR
 Sidney Booker                                                                                       ¤3,100.00
                                                                            5          3      2021
 Mailing Address:
 1912 Cobden Rd
 City:                                                     State:        Zip Code (Plus 4):
 Laverock                                                  PA            190387222
 Employer Name:                                                          Occupation:
 Sid Booker's Shrimp Corner
 Employer Mailing Address / Principal Place of Business:
 4600 N Broad St Philadelphia, PA 191401218




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 Full Name of Contributor:                                               MO.       DAY       YEAR
 Stanley Shapiro                                                                                    ¤250.00
                                                                           4          7      2021
 Mailing Address:
 7213 Cresheim Rd
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191192424
 Employer Name:                                                         Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 7213 Cresheim Rd Philadelphia, PA 191192424
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Stanley Shapiro                                                                                      ¤5.00
                                                                           4          2      2021
 Mailing Address:
 7213 Cresheim Rd
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191192424
 Employer Name:                                                         Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 7213 Cresheim Rd Philadelphia, PA 191192424
 Full Name of Contributor:                                                MO.       DAY      YEAR
 STEFAN ZAJIC                                                                                       ¤500.00
                                                                           4          2      2021
 Mailing Address:
 1423 E Montgomery Ave
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191252732
 Employer Name:                                                         Occupation:
 Coriell Institute for Medical Research
 Employer Mailing Address / Principal Place of Business:
 403 Haddon Ave Camden, NJ 081031505
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Stephen D. Shutt                                                                                    ¤80.00
                                                                          4         27       2021
 Mailing Address:
 871 N Woodstock St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191301439
 Employer Name:                                                         Occupation:
 Retired
 Employer Mailing Address / Principal Place of Business:
 871 N Woodstock St Philadelphia, PA 191301439
 Full Name of Contributor:                                               MO.       DAY       YEAR
 Stephen D. Shutt                                                                                   ¤200.00
                                                                          3         30       2021
 Mailing Address:
 871 N Woodstock St
 City:                                                     State:       Zip Code (Plus 4):
 Philadelphia                                              PA           191301439
 Employer Name:                                                         Occupation:
 Retired
 Employer Mailing Address / Principal Place of Business:
 871 N Woodstock St Philadelphia, PA 191301439




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Stephen Gold                                                                                         ¤500.00
                                                                            4          16     2021
 Mailing Address:
 2039 Mount Vernon St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191303235
 Employer Name:                                                          Occupation:
 Self Employed
 Employer Mailing Address / Principal Place of Business:
 112 N 8th St Ste 600 Philadelphia, PA 191072476
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Stephen Strahs                                                                                       ¤300.00
                                                                            4          29     2021
 Mailing Address:
 2401 Pennsylvania Ave
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191303002
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 2401 Pennsylvania Ave Philadelphia, PA 191303002
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Steve D Masters                                                                                      ¤500.00
                                                                           4           2      2021
 Mailing Address:
 621 W Mount Airy Ave
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191192955
 Employer Name:                                                          Occupation:
 JustLaws
 Employer Mailing Address / Principal Place of Business:
 621 W Mount Airy Ave Philadelphia, PA 191192955
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Steven B Datlof                                                                                      ¤500.00
                                                                           4         25       2021
 Mailing Address:
 236 Philip Pl
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191063902
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 1315 Windrim Ave Philadelphia, PA 191412710
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Sukey Novogratz                                                                                     ¤2,000.00
                                                                            4          16     2021
 Mailing Address:
 77 Water St
 City:                                                     State:        Zip Code (Plus 4):
 New York                                                  NY            100054414
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 77 Water St Fl 9 New York, NY 100054414




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 Full Name of Contributor:                                                   MO.       DAY      YEAR
 Susan Sarandon                                                                                        ¤1,000.00
                                                                              4          28     2021
 Mailing Address:
 160 N Pointe Blvd
 City:                                                     State:          Zip Code (Plus 4):
 Lancaster                                                 PA              176014134
 Employer Name:                                                            Occupation:
 Silly Goose Productions
 Employer Mailing Address / Principal Place of Business:
 160 N Pointe Blvd Lancaster, PA 176014134
 Full Name of Contributor:                                                   MO.       DAY      YEAR
 Susan Schewel                                                                                         ¤1,000.00
                                                                              4          25     2021
 Mailing Address:
 419 Gate Ln
 City:                                                     State:          Zip Code (Plus 4):
 Philadelphia                                              PA              191192815
 Employer Name:                                                            Occupation:
 Women's Medical Fund
 Employer Mailing Address / Principal Place of Business:
 PO Box 40748 Philadelphia, PA 191070748
 Full Name of Contributor:                                                  MO.       DAY       YEAR
 Suzanne Hess                                                                                          ¤3,100.00
                                                                             4           12     2021
 Mailing Address:
 6309 Cypress Point Rd
 City:                                                     State:          Zip Code (Plus 4):
 San Diego                                                 CA              921203816
 Employer Name:                                                            Occupation:
 Retired
 Employer Mailing Address / Principal Place of Business:
 6309 Cypress Point Rd San Diego, CA 921203816
 Full Name of Contributor:                                                  MO.       DAY       YEAR
 Taigen Leighton                                                                                       ¤1,000.00
                                                                             4           27     2021
 Mailing Address:
 4845 N Talman Ave
 City:                                                     State:          Zip Code (Plus 4):
 Chicago                                                   IL              606252762
 Employer Name:                                                            Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 4845 N Talman Ave Chicago, IL 606252762
 Full Name of Contributor:                                                   MO.      DAY       YEAR
 Thomas Earle                                                                                           ¤500.00
                                                                              3          31     2021
 Mailing Address:
 743 Humphreys Rd
 City:                                                     State:          Zip Code (Plus 4):
 Ardmore                                                   PA              190032020
 Employer Name:                                                            Occupation:
 Liberty Resources Inc
 Employer Mailing Address / Principal Place of Business:
 112 N 8th St Ste 600 Philadelphia, PA 191072476




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 Full Name of Contributor:                                                MO.       DAY       YEAR
 Varun Mehta                                                                                         ¤500.00
                                                                           4           28     2021
 Mailing Address:
 800 Jackson St
 City:                                                     State:        Zip Code (Plus 4):
 Hoboken                                                   NJ            070309229
 Employer Name:                                                          Occupation:
 Cloudflare
 Employer Mailing Address / Principal Place of Business:
 101 Townsend St San Francisco, CA 941071934
 Full Name of Contributor:                                                 MO.         DAY    YEAR
 Veta Richardson                                                                                     ¤500.00
                                                                            5          2      2021
 Mailing Address:
 6400 Oakton Way
 City:                                                     State:        Zip Code (Plus 4):
 Cheverly                                                  MD            207853160
 Employer Name:                                                          Occupation:
 Association of Corporate Counsel
 Employer Mailing Address / Principal Place of Business:
 1001 G St NW Ste 300W Washington, DC 200014557
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Vina Rust                                                                                           ¤500.00
                                                                           4           19     2021
 Mailing Address:
 8040 22nd Ave NW
 City:                                                     State:        Zip Code (Plus 4):
 Seattle                                                   WA            981174339
 Employer Name:                                                          Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 8040 22nd Ave NW Seattle, WA 981174339
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Walter Tsou                                                                                          ¤50.00
                                                                           4           8      2021
 Mailing Address:
 325 E Durham St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191191219
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 325 E Durham St Philadelphia, PA 191191219
 Full Name of Contributor:                                                MO.       DAY       YEAR
 Walter Tsou                                                                                          ¤50.00
                                                                           4           13     2021
 Mailing Address:
 325 E Durham St
 City:                                                     State:        Zip Code (Plus 4):
 Philadelphia                                              PA            191191219
 Employer Name:                                                          Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 325 E Durham St Philadelphia, PA 191191219




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 Full Name of Contributor:                                                      MO.       DAY       YEAR
 Walter Tsou                                                                                                        ¤250.00
                                                                                 5           3      2021
 Mailing Address:
 325 E Durham St
 City:                                                     State:              Zip Code (Plus 4):
 Philadelphia                                              PA                  191191219
 Employer Name:                                                                Occupation:
 Self
 Employer Mailing Address / Principal Place of Business:
 325 E Durham St Philadelphia, PA 191191219
 Full Name of Contributor:                                                      MO.       DAY       YEAR
 Wendy Meyer                                                                                                        ¤500.00
                                                                                  4          22     2021
 Mailing Address:
 210 W Rittenhouse Sq
 City:                                                     State:              Zip Code (Plus 4):
 Philadelphia                                              PA                  191033802
 Employer Name:                                                                Occupation:
 Not Employed
 Employer Mailing Address / Principal Place of Business:
 210 W Rittenhouse Sq Apt 2204 Philadelphia, PA 191033802
 Full Name of Contributor:                                                      MO.       DAY       YEAR
 William Beckler                                                                                                  ¤1,000.00
                                                                                 4           15     2021
 Mailing Address:
 1156 Saint Johns Pl
 City:                                                     State:              Zip Code (Plus 4):
 Brooklyn                                                  NY                  112132621
 Employer Name:                                                                Occupation:
 Medallia
 Employer Mailing Address / Principal Place of Business:
 200 W 41st St New York, NY 100367209
                                                                                                           Part D Total:
Enter Grand Total of Part D on Schedule I, Detailed Summary Page, Section 3.
                                                                                                              ¤128,425.00




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 Full Name of Contributor:                                              MO.      DAY        YEAR
 Larry Krasner                                                                                         ¤77.73
                                                                         4        1         2021
 Mailing Address:
 239 S Camac St
 City:                                                     State:      Zip Code (Plus 4):
 Philadelphia                                              PA          19107
 Employer of Contributor:                                              Occupation:
 District Attorney's Office
 Employer Mailing Address / Principal Place of Business:               Description of Contribution:
 3 S Penn Square Philadelphia, PA 19107                                Mailing Supplies
 Full Name of Contributor:                                              MO.      DAY        YEAR
 Larry Krasner                                                                                         ¤86.36
                                                                         4        1         2021
 Mailing Address:
 239 S Camac St
 City:                                                     State:      Zip Code (Plus 4):
 Philadelphia                                              PA          19107
 Employer of Contributor:                                              Occupation:
 District Attorney's Office
 Employer Mailing Address / Principal Place of Business:               Description of Contribution:
 3 S Penn Square Philadelphia, PA 19107                                Mailing Supplies
 Full Name of Contributor:                                              MO.      DAY        YEAR
 Larry Krasner                                                                                         ¤10.35
                                                                         4        28        2021
 Mailing Address:
 239 S Camac St
 City:                                                     State:      Zip Code (Plus 4):
 Philadelphia                                              PA          19107
 Employer of Contributor:                                              Occupation:
 District Attorney's Office
 Employer Mailing Address / Principal Place of Business:               Description of Contribution:
 3 S Penn Square Philadelphia, PA 19107                                Postage
 Full Name of Contributor:                                              MO.      DAY        YEAR
 Larry Krasner                                                                                        ¤384.50
                                                                         4        10        2021
 Mailing Address:
 239 S Camac St
 City:                                                     State:      Zip Code (Plus 4):
 Philadelphia                                              PA          19107
 Employer of Contributor:                                              Occupation:
 District Attorney's Office
 Employer Mailing Address / Principal Place of Business:               Description of Contribution:
 3 S Penn Square Philadelphia, PA 19107                                Postage
 Full Name of Contributor:                                              MO.      DAY        YEAR
 Larry Krasner                                                                                         ¤20.70
                                                                         4        26        2021
 Mailing Address:
 239 S Camac St
 City:                                                     State:      Zip Code (Plus 4):
 Philadelphia                                              PA          19107
 Employer of Contributor:                                              Occupation:
 District Attorney's Office
 Employer Mailing Address / Principal Place of Business:               Description of Contribution:
 3 S Penn Square Philadelphia, PA 19107                                Postage




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 Full Name of Contributor:                                                        MO.      DAY        YEAR
 Larry Krasner                                                                                                             ¤47.40
                                                                                   4          27      2021
 Mailing Address:
 239 S Camac St
 City:                                                     State:                Zip Code (Plus 4):
 Philadelphia                                              PA                    19107
 Employer of Contributor:                                                        Occupation:
 District Attorney's Office
 Employer Mailing Address / Principal Place of Business:                         Description of Contribution:
 3 S Penn Square Philadelphia, PA 19107                                          Postage
 Full Name of Contributor:                                                       MO.      DAY         YEAR
 Pennsylvania Working Families                                                                                         ¤1,116.00
                                                                                  4        23         2021
 Mailing Address:
 274 S 60th St
 City:                                                     State:               Zip Code (Plus 4):
 Philadelphia                                              PA                   191393847
 Employer of Contributor:                                                       Occupation:
 N/A
 Employer Mailing Address / Principal Place of Business:                        Description of Contribution:
                                                                                Staff Time
 Full Name of Contributor:                                                       MO.       DAY        YEAR
 Pennsylvania Working Families                                                                                           ¤223.20
                                                                                  4        16         2021
 Mailing Address:
 274 S 60th St
 City:                                                     State:               Zip Code (Plus 4):
 Philadelphia                                              PA                   191393847
 Employer of Contributor:                                                       Occupation:
 N/A
 Employer Mailing Address / Principal Place of Business:                        Description of Contribution:
                                                                                Staff Time
 Full Name of Contributor:                                                       MO.      DAY         YEAR
 Pennsylvania Working Families                                                                                         ¤2,303.31
                                                                                  4        30         2021
 Mailing Address:
 274 S 60th St
 City:                                                     State:               Zip Code (Plus 4):
 Philadelphia                                              PA                   191393847
 Employer of Contributor:                                                       Occupation:
 N/A
 Employer Mailing Address / Principal Place of Business:                        Description of Contribution:
                                                                                Staff Time
                                                                                                                Part G Total:
Enter Grand Total of Part G on Schedule II, Detailed Summary Page, Section 3.
                                                                                                                       ¤4,788.25




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 To Whom Paid:                                                   MO.       DAY       YEAR
 Alex Fall                                                                                  ¤4,195.18
                                                                  4         7        2021
 Mailing Address:
 1422 S 9th St
 City:                                      State:             Zip Code (Plus 4):
 Beatrice                                   NE                 683104921
 Description of Expenditure:
 Fundraising Consulting
 To Whom Paid:                                                   MO.       DAY       YEAR
 Amazon Inc                                                                                   ¤40.23
                                                                  4          9       2021
 Mailing Address:
 410 Terry Ave N
 City:                                       State:             Zip Code (Plus 4):
 Seattle                                     WA                 981095210
 Description of Expenditure:
 Clipboards
 To Whom Paid:                                                   MO.       DAY       YEAR
 Amazon Inc                                                                                   ¤43.41
                                                                  5          3       2021
 Mailing Address:
 410 Terry Ave N
 City:                                       State:             Zip Code (Plus 4):
 Seattle                                     WA                 981095210
 Description of Expenditure:
 Clipboards
 To Whom Paid:                                                   MO.       DAY       YEAR
 Charlotte Greer                                                                            ¤3,250.00
                                                                   4        30       2021
 Mailing Address:
 PO Box 50046
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191326046
 Description of Expenditure:
 Event Expenses
 To Whom Paid:                                                    MO.       DAY      YEAR
 Cheltenham Printing Co.                                                                    ¤1,246.56
                                                                   4        28       2021
 Mailing Address:
 518 Ryers Ave
 City:                                       State:             Zip Code (Plus 4):
 Cheltenham                                  PA                 190122131
 Description of Expenditure:
 Printing
 To Whom Paid:                                                   MO.       DAY       YEAR
 Christian Ford                                                                             ¤5,000.00
                                                                   5         3       2021
 Mailing Address:
 9001 Ridge Ave
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 19128
 Description of Expenditure:
 Event Planning
 To Whom Paid:                                                    MO.       DAY      YEAR
 Cornerstone Strategy                                                                       ¤7,000.00
                                                                   4         9       2021
 Mailing Address:
 PO Box 33
 City:                                       State:             Zip Code (Plus 4):
 Bala Cynwyd                                 PA                 190040033
 Description of Expenditure:
 Labor Consulting

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 To Whom Paid:                                                   MO.       DAY       YEAR
 Darien Veal                                                                                ¤4,500.00
                                                                  4         15       2021
 Mailing Address:
 5701 Nassau Rd
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191313429
 Description of Expenditure:
 Staff Salary
 To Whom Paid:                                                   MO.        DAY      YEAR
 Data Driven Democrats LLC                                                                  ¤1,000.00
                                                                   4        15       2021
 Mailing Address:
 2515 River Hills Dr
 City:                                       State:             Zip Code (Plus 4):
 Arlington                                   TX                 760063933
 Description of Expenditure:
 Digital Marketing Services




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 To Whom Paid:                                                   MO.       DAY       YEAR
 Fedex Office                                                                                  ¤58.32
                                                                   4        26       2021
 Mailing Address:
 3535 Market St
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191043309
 Description of Expenditure:
 Printing
 To Whom Paid:                                                   MO.       DAY       YEAR
 Harland Clarke                                                                               ¤199.42
                                                                   4         2       2021
 Mailing Address:
 15955 La Cantera Pkwy
 City:                                       State:             Zip Code (Plus 4):
 San Antonio                                 TX                 782562589
 Description of Expenditure:
 Bank Fees
 To Whom Paid:                                                   MO.       DAY       YEAR
 IHeart Media                                                                               ¤15,000.00
                                                                  4         30       2021
 Mailing Address:
 111 Presidential Blvd
 City:                                       State:             Zip Code (Plus 4):
 Bala Cynwyd                                 PA                 190041008
 Description of Expenditure:
 Advertising
 To Whom Paid:                                                   MO.       DAY       YEAR
 IHeart Media                                                                               ¤30,023.35
                                                                  4         30       2021
 Mailing Address:
 111 Presidential Blvd
 City:                                       State:             Zip Code (Plus 4):
 Bala Cynwyd                                 PA                 190041008
 Description of Expenditure:
 Advertising
 To Whom Paid:                                                    MO.       DAY      YEAR
 LA Translation and Interpretation                                                            ¤180.00
                                                                   5         3       2021
 Mailing Address:
 2975 Wilshire Blvd
 City:                                       State:             Zip Code (Plus 4):
 Los Angeles                                 CA                 900101114
 Description of Expenditure:
 Translation Services
 To Whom Paid:                                                   MO.       DAY       YEAR
 Liberty Square PAC                                                                         ¤20,000.00
                                                                   4         8       2021
 Mailing Address:
 3308 Baring St
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191043851
 Description of Expenditure:
 Political Contribution
 To Whom Paid:                                                   MO.        DAY      YEAR
 Marathon Grill                                                                                ¤51.12
                                                                   4         8       2021
 Mailing Address:
 121 S 16th St
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191022819
 Description of Expenditure:
 Meeting

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 To Whom Paid:                                                   MO.       DAY       YEAR
 Marijane E Binkley                                                                         ¤4,500.00
                                                                  4         14       2021
 Mailing Address:
 2804 Enfield Rd
 City:                                       State:             Zip Code (Plus 4):
 Austin                                      TX                 787033618
 Description of Expenditure:
 Staff Salary
 To Whom Paid:                                                   MO.       DAY       YEAR
 Peggy Browning Fund                                                                         ¤250.00
                                                                   4        15       2021
 Mailing Address:
 100 S Broad St
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191101015
 Description of Expenditure:
 Charitable Contribution




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 To Whom Paid:                                                   MO.       DAY       YEAR
 Real Justice PAC                                                                           ¤13,000.00
                                                                   4        30       2021
 Mailing Address:
 3041 Mission St
 City:                                       State:             Zip Code (Plus 4):
 San Francisco                               CA                 941104501
 Description of Expenditure:
 Political Consulting
 To Whom Paid:                                                   MO.       DAY       YEAR
 Real Justice PAC                                                                           ¤13,000.00
                                                                   4         5       2021
 Mailing Address:
 3041 Mission St
 City:                                       State:             Zip Code (Plus 4):
 San Francisco                               CA                 941104501
 Description of Expenditure:
 Political Consulting
 To Whom Paid:                                                   MO.       DAY       YEAR
 Scale to Win                                                                                 ¤899.46
                                                                  4         15       2021
 Mailing Address:
 13742 Harper St
 City:                                       State:             Zip Code (Plus 4):
 Santa Ana                                   CA                 927031419
 Description of Expenditure:
 Fundraising Expense
 To Whom Paid:                                                    MO.       DAY      YEAR
 South Philly Barbacoa                                                                        ¤700.00
                                                                   5         2       2021
 Mailing Address:
 1140 S 9th St
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191474675
 Description of Expenditure:
 Event Expenses
 To Whom Paid:                                                   MO.       DAY       YEAR
 Square Group Inc.                                                                          ¤15,000.00
                                                                   4         8       2021
 Mailing Address:
 2346 N 25th St
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191324206
 Description of Expenditure:
 Political Consulting
 To Whom Paid:                                                   MO.       DAY       YEAR
 SquareSpace                                                                                   ¤27.56
                                                                   4        12       2021
 Mailing Address:
 21 Clarkson St
 City:                                       State:             Zip Code (Plus 4):
 New York                                    NY                 100144330
 Description of Expenditure:
 Web Services
 To Whom Paid:                                                   MO.       DAY       YEAR
 SquareSpace                                                                                   ¤57.24
                                                                   4         2       2021
 Mailing Address:
 21 Clarkson St
 City:                                       State:             Zip Code (Plus 4):
 New York                                    NY                 100144330
 Description of Expenditure:
 Web Services

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 To Whom Paid:                                                   MO.       DAY       YEAR
 SquareSpace                                                                                ¤1.91
                                                                  4         26       2021
 Mailing Address:
 21 Clarkson St
 City:                                       State:             Zip Code (Plus 4):
 New York                                    NY                 100144330
 Description of Expenditure:
 Web Services
 To Whom Paid:                                                   MO.       DAY       YEAR
 SquareSpace                                                                                ¤1.91
                                                                  4         26       2021
 Mailing Address:
 21 Clarkson St
 City:                                       State:             Zip Code (Plus 4):
 New York                                    NY                 100144330
 Description of Expenditure:
 Web Services




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 To Whom Paid:                                                   MO.        DAY      YEAR
 SquareSpace                                                                                 ¤1.91
                                                                   4        26       2021
 Mailing Address:
 21 Clarkson St
 City:                                       State:             Zip Code (Plus 4):
 New York                                    NY                 100144330
 Description of Expenditure:
 Web Services
 To Whom Paid:                                                   MO.       DAY       YEAR
 SquareSpace                                                                                ¤76.32
                                                                   5         3       2021
 Mailing Address:
 21 Clarkson St
 City:                                       State:             Zip Code (Plus 4):
 New York                                    NY                 100144330
 Description of Expenditure:
 Web Services
 To Whom Paid:                                                   MO.       DAY       YEAR
 TD Bank                                                                                    ¤30.00
                                                                  4         13       2021
 Mailing Address:
 121 S Broad St
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191074544
 Description of Expenditure:
 Financial Fee
 To Whom Paid:                                                   MO.       DAY       YEAR
 TD Bank                                                                                    ¤30.00
                                                                  4         13       2021
 Mailing Address:
 121 S Broad St
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191074544
 Description of Expenditure:
 Financial Fee
 To Whom Paid:                                                   MO.       DAY       YEAR
 TD Bank                                                                                    ¤30.00
                                                                  4          7       2021
 Mailing Address:
 121 S Broad St
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191074544
 Description of Expenditure:
 Financial Fee
 To Whom Paid:                                                   MO.       DAY       YEAR
 TD Bank                                                                                    ¤30.00
                                                                  4          5       2021
 Mailing Address:
 121 S Broad St
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191074544
 Description of Expenditure:
 Financial Fee
 To Whom Paid:                                                   MO.       DAY       YEAR
 TD Bank                                                                                    ¤30.00
                                                                  4         28       2021
 Mailing Address:
 121 S Broad St
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191074544
 Description of Expenditure:
 Financial Fee

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 To Whom Paid:                                                   MO.       DAY       YEAR
 TD Bank                                                                                    ¤30.00
                                                                  4         28       2021
 Mailing Address:
 121 S Broad St
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191074544
 Description of Expenditure:
 Financial Fee
 To Whom Paid:                                                   MO.       DAY       YEAR
 TD Bank                                                                                    ¤30.00
                                                                  4         30       2021
 Mailing Address:
 121 S Broad St
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191074544
 Description of Expenditure:
 Financial Fee




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 To Whom Paid:                                                   MO.       DAY       YEAR
 TD Bank                                                                                       ¤30.00
                                                                  4         30       2021
 Mailing Address:
 121 S Broad St
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191074544
 Description of Expenditure:
 Financial Fee
 To Whom Paid:                                                   MO.       DAY       YEAR
 TD Bank                                                                                       ¤30.00
                                                                  4         14       2021
 Mailing Address:
 121 S Broad St
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191074544
 Description of Expenditure:
 Financial Fee
 To Whom Paid:                                                   MO.       DAY       YEAR
 TD Bank                                                                                       ¤30.00
                                                                  4         16       2021
 Mailing Address:
 121 S Broad St
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191074544
 Description of Expenditure:
 Financial Fee
 To Whom Paid:                                                   MO.       DAY       YEAR
 The New 42nd Ward                                                                           ¤1,250.00
                                                                   4        15       2021
 Mailing Address:
 PO Box 46121
 City:                                       State:             Zip Code (Plus 4):
 Philadelphia                                PA                 191606121
 Description of Expenditure:
 Political Contribution
 To Whom Paid:                                                    MO.       DAY      YEAR
 The Social Practice LLC                                                                    ¤31,000.00
                                                                   4        28       2021
 Mailing Address:
 3041 Mission St
 City:                                       State:             Zip Code (Plus 4):
 San Francisco                               CA                 941104501
 Description of Expenditure:
 Marketing Services
 To Whom Paid:                                                    MO.       DAY      YEAR
 The Social Practice LLC                                                                    ¤30,000.00
                                                                   4        13       2021
 Mailing Address:
 3041 Mission St
 City:                                       State:             Zip Code (Plus 4):
 San Francisco                               CA                 941104501
 Description of Expenditure:
 Marketing Services
 To Whom Paid:                                                    MO.       DAY      YEAR
 The Social Practice LLC                                                                    ¤30,000.00
                                                                   4        16       2021
 Mailing Address:
 3041 Mission St
 City:                                       State:             Zip Code (Plus 4):
 San Francisco                               CA                 941104501
 Description of Expenditure:
 Marketing Services

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 To Whom Paid:                                                             MO.        DAY      YEAR
 Tides Advocacy                                                                                            ¤11,000.00
                                                                             4        13       2021
 Mailing Address:
 1014 Torney Ave
 City:                                               State:               Zip Code (Plus 4):
 San Francisco                                       CA                   941291755
 Description of Expenditure:
 Polling
 To Whom Paid:                                                             MO.       DAY       YEAR
 Wren Collective                                                                                             ¤7,000.00
                                                                            4         15       2021
 Mailing Address:
 1408 Singleton Ave
 City:                                              State:                Zip Code (Plus 4):
 Austin                                             TX                    787021832
 Description of Expenditure:
 Political Consulting
                                                                                                      Schedule III Total:
Enter Grand Total of Expenditures on Page 1, Report Cover Page, Item D.
                                                                                                         ¤272,292.53




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                            THE BEASLEY FIRM, LLC                                    Attorneys for Plaintiff
                            By: James E. Beasley, Jr., Esquire
                                Louis F. Tumolo, Esquire
                                Lane R. Jubb, Jr., Esquire
                            I.D. Nos. 83282/314255/319272
                            1125 Walnut Street
                            Philadelphia, PA 19107-4997
                            (215) 592-1000
                            (215) 592.8360 (telefax)

                            CARLOS VEGA, ESQ.                             :          PHILADELPHIA COUNTY
                                                                          :           Court of Common Pleas
                                          Plaintiff,                      :
                                                                          :                 May, 2021
                                  vs.                                     :
                                                                          :                 No.: 00305
                            SHAUN KING                                    :
                                And                                       :          JURY TRIAL DEMANDED
                            REAL JUSTICE PAC                              :
                                And                                       :
                            LAWRENCE KRASNER FOR DA                       :
                                                                          :
                                          Defendants.                     :

                                                          CERTIFICATE OF SERVICE

                                  I, Louis F. Tumolo, Esquire hereby certify that a true and correct copy of the

                            foregoing was served upon the following:

                                                 Via the Court’s Electronic Filing System:

                                                                 Adam C. Bonin, Esq.
                                                          The Law Office of Adam C. Bonin
                                                            121 S. Broad Street, Suite 400
                                                               Philadelphia, PA 19107
                                                       Attorney for Lawrence Krasner for DA

                                                              Via First Class Mail

                                                   Shaun King                    Real Justice PAC
                                           114 Fifth Avenue, 18th Floor       3410 Mission Street 327
                                               New York, NY 10011             San Francisco, CA 94110



                            Date: 14 May 2021                                  BY:   /s/ Louis F. Tumolo
                                                                                     LOUIS F. TUMOLO
THE BEASLEY FIRM, LLC                                                     1
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107     ____________________________________________________________________________________________
       215 592 1000
    215 592 8360 (FAX)
                                                      CARLOS VEGA V. SHAUN KING, ET AL.
 WWW.BEASLEYFIRM.COM                                            CERTIFICATE OF SERVICE
